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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 JULIE AVERBACH FOR THE ESTATE OF                             :
 STEVEN AVERBACH, JULIE AVERBACH,                             :
 TAMIR AVERBACH, DEVIR AVERBACH,                              :
 SEAN AVERBACH, ADAM AVERBACH,                                :   SECOND AMENDED COMPLAINT
 MAIDA AVERBACH FOR THE ESTATE OF :                               JURY TRIAL DEMANDED
 DAVID AVERBACH, MAIDA AVERBACH, :
 MICHAEL AVERBACH, EILEEN SAPADIN, :
 MOSES STRAUSS, PHILIP STRAUSS,                               :
 BLUMA STRAUSS, AHRON STRAUSS,                                :   19-cv-00004-GHW-KHP
 ROISIE ENGELMAN, JOSEPH STRAUSS,                             :
 TZVI WEISS, LEIB WEISS, LEIB WEISS FOR :
 THE ESTATE OF MALKA WEISS,                                   :
 YITZCHAK WEISS, YERUCHAIM WEISS,                             :
 ESTHER DEUTSCH, MATANYA                                      :
 NATHANSEN, CHANA NATHANSEN,                                  :
 MATANYA NATHANSEN AND CHANA                                  :
 NATHANSEN FOR THE ESTATE OF                                  :
 TEHILLA NATHANSEN, YEHUDIT                                   :
 NATHANSEN, SHOSHANA NATHANSEN,                               :
 HEZEKIEL TOPOROWITCH, PEARL B.                               :
 TOPOROWITCH, YEHUDA TOPOROWITCH, :
 DAVID TOPOROWITCH, SHAINA CHAVA :
 NADEL, BLUMY ROM, RIVKA POLLACK, :
 RACHEL POTOLSKI, OVADIA                                      :
 TOPOROWITCH, TEHILLA GREINIMAN,                              :
 YISRAEL TOPOROWITCH, YITZCHAK                                :
 TOPOROWITCH, MICHAL HONICKMAN                                :
 FOR THE ESTATE OF HOWARD                                     :
 GOLDSTEIN, MICHAL HONICKMAN,                                 :
 LORRAINE GOLDSTEIN FOR THE ESTATE :
 OF EUGENE GOLDSTEIN, LORRAINE                                :
 GOLDSTEIN, RICHARD GOLDSTEIN,                                :
 BARBARA GOLDSTEIN INGARDIA,                                  :
 MICHAEL GOLDSTEIN, CHANA                                     :
 FREEDMAN, DAVID GOLDSTEIN, HARRY :
 LEONARD BEER, HARRY LEONARD BEER :
 AS EXECUTOR OF THE ESTATE OF ALAN :
 BEER, HARRY LEONARD BEER AS                                  :
 EXECUTOR OF THE ESTATE OF ANNA                               :
 BEER, PHYLLIS MAISEL, ESTELLE                                :
 CAROLL, SARRI ANNE SINGER, JUDITH                            :
 SINGER, ERIC M. SINGER, ROBERT                               :
 SINGER, DANIEL ROZENSTEIN, JULIA                             :
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 ROZENSTEIN SCHON, ALEXANDER          :
 ROZENSTEIN, ESTHER ROZENSTEIN,       :
 JACOB STEINMETZ, DEBORAH             :
 STEINMETZ, JACOB STEINMETZ AND       :
 DEBORAH STEINMETZ FOR THE ESTATE :
 OF AMICHAI STEINMETZ, NAVA           :
 STEINMETZ, ORIT MAYERSON, NETANEL :
 STEINMETZ, ANN COULTER FOR THE       :
 ESTATE OF ROBERT L. COULTER, SR.,    :
 DIANNE COULTER MILLER, ROBERT L.     :
 COULTER, JR., DIANNE COULTER MILLER :
 AND ROBERT L. COULTER, JR. FOR THE   :
 ESTATE OF JANIS RUTH COULTER,        :
 LARRY CARTER AS THE                  :
 ADMINISTRATOR OF THE ESTATE OF       :
 DIANE LESLIE CARTER, LARRY CARTER, :
 SHAUN CHOFFEL, RICHARD BLUTSTEIN :
 AND KATHERINE BAKER FOR THE          :
 ESTATE OF BENJAMIN BLUTSTEIN,        :
 RICHARD BLUTSTEIN, KATHERINE         :
 BAKER, REBEKAH BLUTSTEIN, NEVENKA :
 GRITZ FOR THE ESTATE OF DAVID GRITZ, :
 NEVENKA GRITZ, NEVENKA GRITZ FOR     :
 THE ESTATE OF NORMAN GRITZ,          :
 JACQUELINE CHAMBERS AND LEVANA       :
 COHEN AS THE ADMINISTRATORS OF       :
 THE ESTATE OF ESTHER BABLAR,         :
 JACQUELINE CHAMBERS, LEVANA          :
 COHEN, ELI COHEN, SARAH ELYAKIM,     :
 JOSEPH COHEN, GRETA GELLER, ILANA :
 DORFMAN, REPHAEL KITSIS AND TOVA :
 GUTTMAN AS THE ADMINISTRATORS OF :
 THE ESTATE OF HANNAH ROGEN,          :
 TEMIMA SPETNER, JASON                :
 KIRSCHENBAUM, ISABELLE               :
 KIRSCHENBAUM, ISABELLE               :
 KIRSCHENBAUM FOR THE ESTATE OF       :
 MARTIN KIRSCHENBAUM, JOSHUA          :
 KIRSCHENBAUM, SHOSHANA BURGETT, :
 DAVID KIRSCHENBAUM, DANIELLE         :
 TEITELBAUM, NETANEL MILLER, CHAYA :
 MILLER, AHARON MILLER, SHANI         :
 MILLER, ADIYA MILLER, ALTEA          :
 STEINHERZ, JONATHAN STEINHERZ,       :
 TEMIMA STEINHERZ, JOSEPH GINZBERG, :
 PETER STEINHERZ, LAUREL STEINHERZ, :



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 GILA ALUF, YITZHAK ZAHAVY, JULIE                             :
 ZAHAVY, TZVEE ZAHAVY and BERNICE                             :
 ZAHAVY,                                                      :
                                                              :
                             Plaintiffs,                      :
                                                              :
           -against-                                          :
                                                              :
 CAIRO AMMAN BANK,                                            :
                                                              :
                             Defendant.                       :
                                                              :
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 Plaintiffs Julie Averbach for the Estate of Steven Averbach, Julie Averbach, Tamir Averbach,
 Devir Averbach, Sean Averbach, Adam Averbach, Maida Averbach for the Estate of David
 Averbach, Maida Averbach, Michael Averbach, Eileen Sapadin, Moses Strauss, Philip Strauss,
 Bluma Strauss, Ahron Strauss, Roisie Engelman, Joseph Strauss, Tzvi Weiss, Leib Weiss, Leib
 Weiss for the Estate of Malka Weiss, Yitzchak Weiss, Yeruchaim Weiss, Esther Deutsch, Matanya
 Nathansen, Chana Nathansen, Matanya Nathansen and Chana Nathansen for the Estate of Tehilla
 Nathansen, Yehudit Nathansen, Shoshana Nathansen, Hezekiel Toporowitch, Pearl B.
 Toporowitch, Yehuda Toporowitch, David Toporowitch, Shaina Chava Nadel, Blumy Rom, Rivka
 Pollack, Rachel Potolski, Ovadia Toporowitch, Tehilla Greiniman, Yisrael Toporowitch, Yitzchak
 Toporowitch, Michal Honickman for the Estate of Howard Goldstein, Michal Honickman,
 Lorraine Goldstein for the Estate of Eugene Goldstein, Lorraine Goldstein, Richard Goldstein,
 Barbara Goldstein Ingardia, Michael Goldstein, Chana Freedman, David Goldstein, Harry Leonard
 Beer, Harry Leonard Beer as Executor of the Estate of Alan Beer, Harry Leonard Beer as Executor
 of the Estate of Anna Beer, Phyllis Maisel, Estelle Caroll, Sarri Anne Singer, Judith Singer, Eric
 M. Singer, Robert Singer, Daniel Rozenstein, Julia Rozenstein Schon, Alexander Rozenstein,
 Esther Rozenstein, Jacob Steinmetz, Deborah Steinmetz, Jacob Steinmetz and Deborah Steinmetz
 for the Estate of Amichai Steinmetz, Nava Steinmetz, Orit Mayerson, Netanel Steinmetz, Ann
 Coulter for the Estate of Robert L. Coulter, Sr., Dianne Coulter Miller, Robert L. Coulter, Jr.,
 Dianne Coulter Miller and Robert L. Coulter, Jr. for the Estate of Janis Ruth Coulter, Larry Carter
 as the Administrator of the Estate of Diane Leslie Carter, Larry Carter, Shaun Choffel, Richard
 Blutstein and Katherine Baker for the Estate of Benjamin Blutstein, Richard Blutstein, Katherine
 Baker, Rebekah Blutstein, Nevenka Gritz for the Estate of David Gritz, Nevenka Gritz, Nevenka
 Gritz for the Estate of Norman Gritz, Jacqueline Chambers and Levana Cohen as the
 Administrators of the Estate of Esther Bablar, Jacqueline Chambers, Levana Cohen, Eli Cohen,
 Sarah Elyakim, Joseph Cohen, Greta Geller, Ilana Dorfman, Rephael Kitsis and Tova Guttman as
 the Administrators of the Estate of Hannah Rogen, Temima Spetner, Jason Kirschenbaum, Isabelle
 Kirschenbaum, Isabelle Kirschenbaum for the Estate of Martin Kirschenbaum, Joshua
 Kirschenbaum, Shoshana Burgett, David Kirschenbaum, Danielle Teitelbaum, Netanel Miller,
 Chaya Miller, Aharon Miller, Shani Miller, Adiya Miller, Altea Steinherz, Jonathan Steinherz,
 Temima Steinherz, Joseph Ginzberg, Peter Steinherz, Laurel Steinherz, Gila Aluf, Yitzhak
 Zahavy, Julie Zahavy, Tzvee Zahavy and Bernice Zahavy, by their attorneys, allege the following:

                                  NATURE OF THE ACTION

        1.      This is a complaint for damages arising out of the unlawful conduct of Cairo

 Amman Bank (“CAB”) – a Jordanian bank headquartered in Amman, Jordan. CAB aided and

 abetted the Islamic Resistance Movement (“HAMAS”), a Foreign Terrorist Organization (“FTO”)

 (as that term is defined in 8 U.S.C. § 1189 of the Antiterrorism and Effective Death Penalty Act

 of 1996 (“AEDPA”)) by knowingly providing substantial assistance to HAMAS. CAB is civilly

 liable under the Anti-Terrorism Act (“ATA”) as amended by the Justice Against Sponsors of
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 Terrorism Act (“JASTA”), 18 U.S.C. § 2333(d), to those American citizens (and their estates,

 survivors and heirs) who have been killed or injured in their person by reason of such acts of

 international terrorism perpetrated by HAMAS, because CAB knowingly provided substantial and

 significant financial services to HAMAS in multiple related ways set forth below, by maintaining

 accounts for, and facilitating substantial payments on behalf of, several of HAMAS’s leaders,

 HAMAS-controlled institutions, the families of HAMAS suicide bombers and other “martyrs,”

 and HAMAS prisoners. CAB did so with general awareness that it was playing a role in an illegal

 enterprise from which HAMAS’s terrorist activities were a foreseeable risk.

        2.      CAB is also liable under the ATA, 18 U.S.C. § 2333(a), because CAB’s

 aforementioned conduct – including its knowing provision of material support to HAMAS –

 violated 18 U.S.C. § 2339B and satisfies all of the definitional requirements set forth in 18 U.S.C.

 § 2333(1). CAB, therefore, itself committed an “act of international terrorism,” and its own actions

 also proximately caused plaintiffs’ injuries because they constituted a substantial factor in the

 sequence of responsible causation of the attacks described herein, and plaintiffs’ injuries were a

 reasonably foreseeable consequence of that conduct.

                                  JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 1331 and 18 U.S.C. §§ 2333, 2338, as a civil action brought by citizens of the United States who

 have been killed or injured by reason of acts of international terrorism, and their estates, survivors,

 and heirs.

        4.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (d) and 18

 U.S.C. § 2334(a).

        5.      CAB is subject to personal jurisdiction in the State of New York pursuant to 18




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 U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because it has transacted business

 and committed tortious acts within the United States by transferring funds through the United

 States for the benefit of the FTO HAMAS and has purposefully availed itself of United States

 jurisdiction in the course of committing the wrongful acts alleged herein.

        6.      Specifically, CAB transfers most of its U.S. dollar wire transfers through three

 correspondent banks located in New York: Bank of New York Mellon Corporation, JP Morgan

 Chase, and Standard Chartered Bank. From at least 1999-2004, CAB maintained correspondent

 banking relationships in New York with Citibank, N.A., American Express Bank Ltd., and Bank

 of New York.

        7.      During the same period, CAB purposefully and knowingly used its correspondent

 bank accounts in New York, particularly its account with Citibank, N.A. (Account No. 3612-

 1701), to facilitate a large volume of U.S. dollar-denominated funds transfers to HAMAS.

        8.      During the same period, CAB also purposefully and knowingly used its

 correspondent bank accounts in New York with Bank of New York, N.A. (Account No.

 8900291605) and American Express Bank Ltd. (now Standard Chartered Bank) (Account No.

 300732396).

                                         THE PARTIES

        A.      The Plaintiffs

                   THE COMMUTER BUS #6 BOMBING – MAY 18, 2003

        9.      On May 18, 2003, Basem Takruri, a HAMAS suicide bomber, boarded Bus #6, a

 commuter bus heading for Jerusalem, and detonated his explosives.

        10.     Seven people ranging in age from 35 to 68 were killed by the explosion, and 20

 others were injured.




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 The Averbach Family

        11.        Steven Averbach was a citizen of the United States and a resident of the State of

 Israel when he died.

        12.        Steven died in 2010 as a result of injuries sustained during the suicide bombing that

 occurred on May 18, 2003. He was 44 years old.

        13.        At the time of the attack Steven resided near Tel Aviv, Israel. He was a married

 father of four sons ranging in age from 2 to 13 at the time. Steven and his wife, Julie, were married

 in 1994 and have two sons together, Sean Averbach and Adam Averbach.

        14.        Steven’s older sons, Tamir Averbach and Devir Averbach, are from a prior

 marriage.

        15.        On May 18, 2003, Steven boarded the commuter bus heading for Jerusalem and

 took a seat facing the back.

        16.        As the bus pulled away from the stop, it suddenly stopped, and the bus driver

 allowed another passenger to get on.

        17.        Steven caught a glimpse of him and saw that he was wearing a heavy coat in warm

 weather that covered bulges underneath it. He also saw what looked like a trigger mechanism in

 his right hand.

        18.        Having worked in the anti-terrorist division in the Israeli Army and the Israeli

 Police, knowing that Israeli buses do not usually pick up passengers after they have begun to leave

 the station, seeing the tension on the faces of the people on the bus, and considering Takruri’s

 aforementioned suspicious characteristics, Steven immediately recognized that a terrorist attack

 was imminent.




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        19.       Steven grabbed the gun he carried and turned toward Takruri, who detonated the

 explosives.

        20.       Steven absorbed a substantial amount of the impact of the explosion and multiple

 pieces of shrapnel.

        21.       Steven sustained a critical wound when a ball bearing originally packed together

 with the bomber’s explosives penetrated through the skin and muscles of his neck and lodged

 between his C3 and C4 vertebrae. The ball bearing lodged in his spinal canal causing severe

 compression damage to his spinal cord. The object was eventually removed during surgery, but

 not before it had caused severe damage to his spinal cord that rendered him a quadriplegic.

        22.       Following surgery, Steven was moved to intensive care where he stayed for five

 weeks. He almost died there several times because of an extremely high fever and from the blast

 injury to his lungs. He subsequently underwent numerous operations to his back, groin, and gastric

 intestines. He also had a tracheotomy and had a gastric feeding tube inserted as a result of the

 damage caused by the tracheotomy.

        23.       Steven was forced to return to the Intensive Care Unit at least twice with

 complications.

        24.       Steven was paralyzed from his neck down.

        25.       On more than one occasion, Steven pleaded with his doctors and family members

 to take him off of life support.

        26.       He was completely dependent on the 24-hour care provided to him and had no

 foreseeable hope of recovery.

        27.       Steven lived in constant pain. He battled depression and took antidepressants.

        28.       As a result of the attack, Steven Averbach sustained severe physical injuries and




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 experienced severe mental anguish and extreme emotional distress from May 18, 2003, until his

 death.

          29.   Plaintiff Julie Averbach is a citizen and resident of the State of Israel. She is the

 widow of Steven Averbach, and the mother of Sean Averbach and Adam Averbach.

          30.   Plaintiff Julie Averbach brings this action both individually and as the legal

 representative of the Estate of Steven Averbach.

          31.   As a result of the injuries Steven sustained, Julie had to relocate her family to be

 closer to the rehabilitation center where Steven resided for nearly a year. Steven moved home from

 the rehabilitation center in July 2004 but required continuous 24-hour care. Following the attack,

 Julie was, in most respects, a single parent and could not enjoy the normal companionship, day-

 to-day assistance, and mutual support that she had previously received from her husband.

          32.   Julie underwent psychological counseling after the attack.

          33.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Julie Averbach has

 experienced emotional pain and suffering, loss of her husband’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

          34.   Plaintiff Tamir Averbach is a citizen of the United States and a resident of the State

 of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

          35.   After the attack, Tamir underwent psychological counseling for approximately one

 year.

          36.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Tamir Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,




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 advice and counsel, and severe mental anguish and extreme emotional distress.

        37.     Plaintiff Devir Averbach is a citizen of the United States and a resident of the State

 of New Jersey. He is a son of Steven Averbach and Steven’s first wife.

        38.     After the attack, Devir experienced difficulty making friends, his grades declined,

 he cried, and he felt angry. He also underwent psychological counseling.

        39.     Tamir and Devir witnessed their father’s relentless and painful suffering and

 repeated surgeries and brushes with death. They remember what it was like before the attack when

 he was an able-bodied man.

        40.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Devir Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        41.     Plaintiff Sean Averbach is a citizen of the United States and a resident of the State

 of Israel. He is a son of Steven Averbach and Julie Averbach.

        42.     As a result of the brutal attack on his father, he has been emotionally traumatized

 and has lost the sense of protection and safety he once enjoyed from his father. Due to the severity

 of his father’s injuries, ordinary companionship, and simple pleasures of traveling with or playing

 sports with his father were denied to him.

        43.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Sean Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        44.     Plaintiff Adam Averbach is a citizen of the United States and a resident of the State




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 of Israel. He is a son of Steven Averbach and Julie Averbach.

        45.     As a result of the brutal attack on his father he has been emotionally traumatized

 and does not remember a time when his father was capable of using his arms and legs. Due to the

 severity of his father’s injuries, ordinary companionship, and simple pleasures of walking together,

 playing sports together, or driving in a car with his father were denied to him.

        46.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Adam Averbach has

 experienced emotional pain and suffering, loss of his father’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        47.     David Averbach was a United States citizen and resident of the State of New Jersey

 when he died in 2013. He was the father of Steven Averbach.

        48.     Plaintiff Maida Averbach is a citizen of the United States and a resident of the State

 of New Jersey. She is the mother of Steven Averbach.

        49.     Plaintiff Maida Averbach brings this action both individually and as the legal

 representative of the Estate of David Averbach.

        50.     Maida Averbach and David Averbach had returned home late on May 17, 2003,

 from a dinner honoring David. Soon thereafter, Maida switched on Fox News and learned that a

 bus had been bombed in Jerusalem on Sunday morning in Israel. Maida recognized her son’s body

 leaning out of a stretcher on the news footage but decided not to inform her husband until the next

 morning.

        51.     After a sleepless night, Maida received a telephone call on Sunday morning at 5:50

 a.m. from her daughter-in-law and a social worker from Hadassah Hospital. They explained that




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 Steven had been grievously wounded by the explosion and a ball bearing had lodged between his

 C3 and C4 vertebrae.

        52.     As a respected surgeon with many years of experience, David immediately

 understood the severity of his son’s injuries.

        53.     At the time of the attack, David Averbach and Maida Averbach had partially retired

 from their jobs so that they could spend more time with Steven and his children.

        54.     Following the attack, Steven’s constant inability to use his hands and legs, his

 inevitable battle with depression, and the emotional effect it has had on Steven’s four children

 were a constant source of anguish to both of his parents.

        55.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, (before he died) David Averbach

 experienced emotional pain and suffering, loss of his son’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        56.     Plaintiff Maida Averbach experienced severe mental anguish and extreme

 emotional distress as a result of the terrorist attack from the moment she saw her son’s body on

 television in the early morning hours of May 18, 2003.

        57.     As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Maida Averbach has

 experienced emotional pain and suffering, loss of her son’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

        58.     Plaintiff Michael Averbach is a citizen of the United States and a resident of the

 State of New Jersey. He is the brother of Steven Averbach.

        59.     Michael Averbach has always looked up to his brother and admired him. The




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 injuries that his brother sustained, as well as his subsequent death, have been a severe emotional

 blow to Michael.

          60.   Since the date of the attack, Michael flew to Israel repeatedly, often at his brother’s

 request, simply to sit by Steven’s bedside and talk.

          61.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Michael Averbach has

 experienced emotional pain and suffering, loss of his brother’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

          62.   Plaintiff Eileen Sapadin is a citizen of the United States and a resident of the State

 of New Jersey. She is the sister of Steven Averbach.

          63.   Eileen was staying at her parents’ home with her husband and three of her four

 children on the morning her mother received notification of the attack.

          64.   Eileen has experienced tremendous emotional pain and sadness as a result of the

 severity of the injuries that Steven sustained as a result of the attack, as well as his subsequent

 death.

          65.   After the attack, she suffered from anxiety and depression, had trouble sleeping,

 and cried every day.

          66.   Since the attack, she lost more than thirty pounds and has suffered physical

 exacerbations of a colitis condition that was in remission prior to the attack that severely injured

 her brother, and subsequently resulted in his death.

          67.   As a result of the suffering that Steven experienced following the attack and his

 death that resulted from the injuries sustained in the attack, plaintiff Eileen Sapadin has




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 experienced emotional pain and suffering, loss of her brother’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

              THE JERUSALEM EGGED BUS #2 BOMBING – AUGUST 19, 2003

        68.       On August 19, 2003, Ra’ed Abdul Hamid Misk, a HAMAS suicide bomber,

 detonated explosives on Egged Bus #2.

        69.       Twenty-three people were killed and over 130 others were injured in the attack.

 The Strauss Family

        70.       Plaintiff Moses Strauss is a citizen of the United States and a resident of the State

 of New Jersey.

        71.       Moses was studying in Israel in 2003 and was planning to return to the United States

 in April 2004.

        72.       At around 9:00 pm on August 19, 2003, he boarded Egged Bus #2 in Jerusalem

 after praying at the Kotel (also known as the “Western Wall” or “Wailing Wall”).

        73.       Approximately 15 minutes into the bus ride, Moses heard a deafening boom when

 Misk detonated the explosives on the bus.

        74.       Moses fell forward as a result of the explosion. His eyeglasses, jacket, hat, and cell

 phone flew off his body.

        75.       As Moses regained his bearings and realized what had occurred, he witnessed

 people screaming and crying, and he saw blood and body parts all around him.

        76.       His clothes were covered with blood, and his hearing was severely impaired.

        77.       To exit the bus, Moses stepped over bodies, and in a state of shock made his way

 toward his apartment. As he reached the corner near his apartment, he saw a friend, and they went

 into his friend’s apartment and telephoned Moses’s father, plaintiff Philip Strauss, to tell him




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 Moses had been in an attack, but was alive. After making the telephone call, the friend drove Moses

 to Hadassah Hospital.

          78.   As a result of the explosion, Moses’s body ached, especially his right ear and hand.

 After arriving at the hospital, he underwent numerous tests, and doctors removed the shrapnel from

 his ear and hand.

          79.   Days after the attack, Moses still experienced agonizing pain in his ear, and his

 hearing loss did not improve.

          80.   After the attack, Moses returned to the United States without completing his studies

 in Israel.

          81.   Moses was examined by medical specialists in both Israel and the United States.

 Both physicians confirmed that he would require surgery on his ear.

          82.   In the winter of 2004, Moses underwent ear surgery in the United States. His ear is

 still not completely healed, and he has been told that his condition will never improve. An ear

 specialist continues to monitor his condition.

          83.   Moses continues to relive the attack, the images of the attack replaying in his mind

 daily.

          84.   As a result of the attack, plaintiff Moses Strauss has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

          85.   Plaintiff Philip Strauss is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Moses Strauss.

          86.   Plaintiff Bluma Strauss is a citizen of the United States and a resident of the State

 of New York. She is the mother of plaintiff Moses Strauss.

          87.   After hearing of the attack, Bluma attempted unsuccessfully to reach Moses on his




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 cell phone. When she tried to reach him at his apartment, someone else answered the telephone

 and said that her son was not there. Bluma grew increasingly concerned.

        88.     Upon learning that her son was injured in the bombing, Bluma’s distress grew.

        89.     As a result of the attack, plaintiffs Philip Strauss and Bluma Strauss have

 experienced severe mental anguish and extreme emotional distress.

        90.     Plaintiff Ahron Strauss is a citizen of the United States and a resident of the State

 of New Jersey. He is a brother of plaintiff Moses Strauss.

        91.     Plaintiff Roisie Engelman is a citizen of the United States and a resident of the State

 of New Jersey. She is the sister of plaintiff Moses Strauss.

        92.     Roisie Engelman was on vacation when she received a telephone call advising her

 that there had been a bombing in Israel. Roisie attempted to contact Moses on his cellular telephone

 but was unable to reach him. She also telephoned her other brother, Ahron, attempting to locate

 Moses or her parents.

        93.     When Roisie finally received the news that Moses had been injured in the bus

 bombing, she was very concerned and extremely anxious.

        94.     Plaintiff Joseph Strauss is a citizen of the United States and a resident of the State

 of New Jersey. He is a brother of plaintiff Moses Strauss.

        95.     Joseph learned of the attack while watching the news on an airplane. He was aware

 that the bombing had occurred near the neighborhood where Moses lived. Upon arriving in

 California, Joseph spoke to his parents and learned of Moses’s condition. During the plane flight,

 Joseph experienced great anxiety because he was uncertain if his brother had been present at the

 bombing.




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        96.       Ahron Strauss, Roisie Engelman and Joseph Strauss experienced great anxiety after

 learning of the attack that caused the injuries that Moses sustained.

        97.       As a result of the attack, plaintiffs Ahron Strauss, Roisie Engelman and Joseph

 Strauss have experienced severe mental anguish and extreme emotional distress.

 The Weiss Family

        98.       Plaintiff Tzvi Weiss is a citizen of the United States and a resident of the State of

 New Jersey.

        99.       Tzvi was in Israel studying at a rabbinical college in 2003 and was planning to

 return to the United States on August 21, 2003.

        100.      On the evening of August 19, 2003, Tzvi boarded Egged Bus #2 in Jerusalem after

 visiting the Kotel, Judaism’s holiest site, to pray. He was on his way to a friend’s wedding.

        101.      As the bus arrived at Shmuel Hanavi Street, he heard a terrible explosion.

 Everything went black, and he could not hear anything but a deafening ringing in his ears.

        102.      In the panicked aftermath of the explosion, Tzvi jumped out of a window of the bus

 and began to run, stumbling over dead bodies and body parts as he fled the scene.

        103.      Tzvi was covered with blood, and his hand had been cut. His body was shaking

 from the shock of the experience, and he had a constant terrible ringing in his ears.

        104.      Once he got his bearings, Tzvi telephoned one of his brothers, plaintiff Yitzchak

 Weiss, and waited for him to arrive to accompany him to the hospital.

        105.      An ambulance transported Tzvi to Bikur Cholim Hospital where he underwent

 medical tests.




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        106.    Both of his eardrums had been completely torn, and his hearing in his left ear was

 severely impaired. He continued to experience severe pain in his hand and was unable to bend his

 fingers.

        107.    Tzvi decided to return home to the United States to be near his family while he

 began recovering from the injuries and the effects of having been a victim of a terrorist attack. He

 returned to the United States the following day and visited an ear specialist within hours of his

 arrival. He underwent tests and was advised to have surgery on his left ear to attempt to regain

 some of his hearing loss in that ear. Tzvi obtained a second opinion from another doctor who

 agreed with the diagnosis.

        108.    After a number of examinations by the initial physician, and after treatment with

 antibiotics, Tzvi underwent surgery on his left ear. After the surgery, the incessant ringing in his

 ears became louder and worse than before.

        109.    Tzvi also visited another physician for treatment of the severe pain in his hand. He

 was told the injuries might require surgery.

        110.    Tzvi continued to visit doctors on numerous occasions to assess his ears, and

 underwent many tests, but the agonizing ringing continued. Eventually, it was determined that the

 surgery on Tzvi’s left ear had not been successful. Tzvi suffered numerous panic attacks because

 of his injuries and the symptoms that continued to affect him.

        111.    As a result of the injuries that he sustained in the attack, combined with the

 memories of the attack itself, Tzvi’s mental health deteriorated. The suffering that Tzvi has

 endured as a result of the injuries he sustained in the attack is ongoing and relentless. It has

 negatively impacted every aspect of his life.

        112.    Tzvi enrolled in rabbinical college upon his return to the United States, but the




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 injuries and their symptoms prevented him from concentrating on his schoolwork, and he could

 no longer realize the academic success that he had achieved prior to the attack.

         113.    As a result of the attack, plaintiff Tzvi Weiss has sustained severe physical injuries

 and experienced severe mental anguish and extreme emotional distress.

         114.    Plaintiff Leib Weiss is a citizen of the United States and a resident of the State of

 New York. He is the father of plaintiff Tzvi Weiss.

         115.    Malka Weiss was a citizen of the United States and a resident of the State of New

 York when she died in 2018. She was the mother of plaintiff Tzvi Weiss.

         116.    Plaintiff Leib Weiss brings this action both individually and as the legal

 representative of the Estate of Malka Weiss.

         117.    Leib Weiss and Malka Weiss experienced great anxiety after learning of the attack

 that injured Tzvi and observing the suffering that he has endured as a result of his injuries.

         118.    As a result of the attack, plaintiffs Leib Weiss and Malka Weiss (before her death)

 have experienced severe mental anguish and extreme emotional distress.

         119.    Plaintiff Yitzchak Weiss is a citizen of the United States and a resident of the State

 of Israel. He is a brother of plaintiff Tzvi Weiss.

         120.    Plaintiff Yeruchaim Weiss is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Tzvi Weiss.

         121.    Plaintiff Esther Deutsch is a citizen of the United States and a resident of the State

 of New York. She is the sister of plaintiff Tzvi Weiss.

         122.    Yitzchak Weiss, Yeruchaim Weiss and Esther Deutsch experienced great anxiety

 after learning of the attack that injured Tzvi and observing the suffering that he has endured as a

 result of his injuries.




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        123.       As a result of the attack, plaintiffs Yitzchak Weiss, Yeruchaim Weiss and Esther

 Deutsch have experienced severe mental anguish and extreme emotional distress.

 The Nathansen/Toporowitch Family

        124.       Tehilla Nathansen was a citizen of the United States and a resident of the State of

 Israel when she died.

        125.       Tehilla was three (3) years old and sitting on her mother’s lap when she was

 murdered in the suicide bomb attack on August 19, 2003.

        126.       The Nathansen family had boarded the bus at the Kotel in Jerusalem, where they

 had just completed their prayers.

        127.       Plaintiff Matanya Nathansen is a citizen and resident of the State of Israel. He is

 the father of Tehilla Nathansen.

        128.       Plaintiff Chana Nathansen is a citizen of the United States and a resident of the

 State of Israel. She is the mother of Tehilla Nathansen.

        129.       Plaintiffs Matanya Nathansen and Chana Nathansen bring this action individually

 and on behalf of the Estate of Tehilla Nathansen.

        130.       As a result of the explosion, Matanya suffered fractures in both feet and in his collar

 bone, and sustained injuries to his lungs, eye, and finger. He is now hearing impaired and can no

 longer walk properly.

        131.       As a result of the attack, plaintiff Matanya Nathansen has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress from the injuries

 he sustained, from witnessing and experiencing first-hand the death of his 3-year-old daughter,

 Tehilla, as well as the severe injuries sustained by his wife and young daughters (all of whom are

 U.S. citizens).




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         132.    Chana was severely injured in the explosion that killed Tehilla, was taken to

 Hadassah Hospital, and remained there for 12 days.

         133.    Although Chana repeatedly asked about Tehilla’s whereabouts, she did not learn

 until the next day that she had been killed. That uncertainty was torture for Chana.

         134.    Chana’s spleen was torn, and her ribs were broken.

         135.    She had seven ball bearings that caused holes in her chest, leg, and arm that had to

 be removed from her body.

         136.    She has undergone numerous surgeries.

         137.    Shrapnel lodged throughout her body, including her eye.

         138.    Chana’s hip was crushed, necessitating a hip replacement. She still experiences pain

 in that area.

         139.    Her hearing is impaired, and she suffers from tinnitus.

         140.    Chana cannot walk long distances, and she has a limited range of movement.

         141.    She feels indescribable pain at losing Tehilla and seeing her daughter Yehudit

 injured and her daughter Shoshana severely injured.

         142.    Chana has undergone psychological counseling.

         143.    As a result of the attack, plaintiff Chana Nathansen has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress from the injuries

 she sustained, from witnessing and experiencing first-hand the death of her 3-year-old daughter,

 Tehilla, and witnessing the severe injuries sustained by her daughters, plaintiff Shoshana

 Nathansen, and plaintiff Yehudit Nathansen.




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        144.    Plaintiff Yehudit Nathansen is a citizen of the United States and a resident of the

 State of Israel. She is a daughter of plaintiffs Chana Nathansen and Matanya Nathansen, and the

 sister of Tehilla Nathansen and plaintiff Shoshana Nathansen.

        145.    At the time of the explosion, Yehudit was sitting with her aunt, a few seats away

 from her parents.

        146.    Yehudit incurred cuts on her neck and waist from the explosion and was treated at

 Bikur Cholim Hospital in Jerusalem.

        147.    She hears constant noise in her ears, which makes her tense.

        148.    Yehudit suffered nightmares, sadness and guilt and underwent psychological

 counseling.

        149.    As a result of the attack, plaintiff Yehudit Nathansen has sustained physical injuries

 and experienced severe mental anguish and extreme emotional distress due to her own injuries and

 from witnessing and experiencing first-hand the death of her 3-year-old sister, Tehilla, as well as

 the severe injuries sustained by her mother, father, and baby sister.

        150.    Plaintiff Shoshana Nathansen is a citizen of the United States and a resident of the

 State of Israel. She is a daughter of plaintiffs Chana Nathansen and Matanya Nathansen, and the

 sister of Tehilla Nathansen and plaintiff Yehudit Nathansen.

        151.    Shoshana Nathansen was sitting on Chana’s lap at the time of the explosion. She

 was 5 months old at the time. As a result of the explosion, Shoshana Nathansen sustained burns

 all over her face, and her eardrums were ruptured.

        152.    She suffered bilateral lung contusions and a fracture of her left femur and right leg

 and hip, deep lacerations in her arm that have left permanent scars, and scars on her face and legs.

        153.    Shoshana Nathansen also had multiple shrapnel and metal pellets lodged in her




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 body, including in her eyes, and a laceration of the bone of her left forearm and in her left wrist.

 She has pain in her upper left arm.

        154.    She is hearing impaired and suffers from tinnitus.

        155.    She underwent psychological counseling.

        156.    As a result of the attack, plaintiff Shoshana Nathansen has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        157.    Plaintiff Hezekial Toporowitch is a citizen of the United States and a resident of

 the State of Israel. He is the father of plaintiff Chana Nathansen and the grandfather of the three

 Nathansen girls.

        158.    Plaintiff Pearl B. Toporowitch is a citizen of the United States and a resident of the

 State of Israel. She is the mother of plaintiff Chana Nathansen and the grandmother of the three

 Nathansen girls.

        159.    In the middle of the night, Hezekial and Pearl were notified by telephone of the

 bombing that had killed their granddaughter, Tehilla, and crippled their daughter, Chana. That

 night they traveled to Jerusalem. Pearl attempted to obtain further details about the condition of

 her son-in-law and her granddaughters.

        160.    In the aftermath of the bombing, Chana, Matanya, and their children were

 transferred to different hospitals, thereby complicating the family’s efforts to locate them.

        161.    Hezekial was supposed to travel to the central morgue in Holon to attempt to

 identify his granddaughter’s body but was in too much shock to do so. He was initially told to

 identify the bodies of two granddaughters since Shoshana had not yet been identified at the hospital

 and was thought to be deceased.

        162.    As a result of the attack, plaintiff Hezekial Toporowitch has experienced severe




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 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old

 granddaughter, Tehilla, as well as the severe injuries sustained by his daughter, and injuries

 sustained by his granddaughters and son-in-law.

         163.    As a result of the attack, plaintiff Pearl B. Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of her 3-year-old

 granddaughter, Tehilla, as well as the severe injuries sustained by her daughter, and injuries

 sustained by her granddaughters and son-in-law.

         164.    Plaintiff Yehuda Toporowitch is a citizen of the United States and a resident of the

 State of New Jersey. He is a brother of plaintiff Chana Nathansen and an uncle of the three

 Nathansen girls.

         165.    In the middle of the night Yehuda was notified by telephone of the bombing that

 had killed his niece and crippled his sister.

         166.    He had been working at a resort when he received the telephone call, and he quickly

 rushed to a nearby television where graphic images of the bombsite were being broadcast by Israeli

 television.

         167.    Yehuda rushed home, traveled with his parents to the Tel Aviv area, and stopped at

 the home of one of his sisters. He took a taxicab to the central morgue and attempted to identify

 Tehilla’s remains but could not positively identify them because of the nature and extent of

 Tehilla’s injuries.

         168.    Yehuda then made arrangements for necessary DNA testing, which ultimately

 confirmed his niece’s identity.

         169.    As a result of the attack, plaintiff Yehuda Toporowitch has experienced severe

 mental anguish and extreme emotional distress from the death of his 3-year-old niece, Tehilla, and




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 the attempt to identify her remains. He has also experienced severe mental anguish and extreme

 emotional distress as a result of the severe injuries sustained by his sister and other niece and

 injuries to his brother-in-law.

          170.   Plaintiff David Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          171.   David was not present when his parents were notified by telephone of the bombing

 that killed his niece and crippled his sister. Instead, he had to piece together the events by himself

 after his family had already left for Jerusalem.

          172.   Like the rest of his immediate family, David visited his sister and niece in the

 hospital and experienced the shock and severe mental anguish and extreme emotional distress

 resulting from the emotional trauma of burying his young niece and dealing with the pain and loss

 experienced by his sister.

          173.   As a result of the attack, plaintiff David Toporowitch has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries sustained by his sister and other niece.

          174.   Plaintiff Shaina Chava Nadel is a citizen of the United States and a resident of the

 State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          175.   Like the rest of her immediate family, Shaina visited her sister and niece in the

 hospital and experienced the shock and mental anguish resulting from the emotional trauma of

 burying her young niece and dealing with the pain and loss experienced by her sister.

          176.   As a result of the attack, plaintiff Shaina Chava Nadel has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of her 3-year-old




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 niece, Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to

 her brother-in-law.

           177.   Plaintiff Blumy Rom is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

           178.   Like the rest of her immediate family, Blumy visited her sister and niece in the

 hospital and experienced the shock and mental distress resulting from the emotional trauma of

 burying her young niece, Tehilla, and dealing with the pain and loss experienced by her younger

 sister.

           179.   As a result of the attack, plaintiff Blumy Rom has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries sustained by her sister and other niece and injuries to her

 brother-in-law.

           180.   Plaintiff Rivka Pollack is a citizen of the United States and a resident of the State

 of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

           181.   Like the rest of her immediate family, Rivka visited her sister and niece in the

 hospital and experienced severe mental anguish and extreme emotional distress from burying her

 young niece and dealing with the pain and loss experienced by her older sister and injuries to her

 brother-in-law.

           182.   She stayed with her baby niece Shoshana, caring for her during the two weeks that

 she was hospitalized and for two months after her discharge from the hospital. Having to change

 the dressings on her niece’s wounds, care for her various injuries, and take her to doctors, has

 deeply affected her.

           183.   As a result of the attack, plaintiff Rivka Pollack has experienced severe mental




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 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece, and brother-in-law.

          184.   Plaintiff Rachel Potolski is a citizen of the United States and a resident of the State

 of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          185.   Like the rest of her immediate family, Rachel experienced the shock and mental

 distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with

 the pain and loss experienced by her younger sister.

          186.   As a result of the attack, plaintiff Rachel Potolski has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece, and brother-in-law.

          187.   Plaintiff Ovadia Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          188.   Like the rest of his immediate family, Ovadia experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

 the pain and loss experienced by his younger sister.

          189.   As a result of the attack, plaintiff Ovadia Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by his sister, other niece, and brother-in-law.

          190.   Plaintiff Tehilla Greiniman is a citizen of the United States and a resident of the

 State of Israel. She is a sister of plaintiff Chana Nathansen and an aunt of the three Nathansen girls.

          191.   Like the rest of her immediate family, Tehilla experienced the shock and mental

 distress resulting from the emotional trauma of burying her young niece, Tehilla, and dealing with




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 the pain and loss experienced by her younger sister.

          192.   As a result of the attack, plaintiff Tehilla Greiniman has experienced severe mental

 anguish and extreme emotional distress from experiencing the death of her 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by her sister, other niece, and brother-in-law.

          193.   Plaintiff Yisrael Toporowitch is a citizen of the United States and a resident of the

 State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          194.   Like the rest of his immediate family, Yisrael experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

 the pain and loss experienced by his younger sister.

          195.   As a result of the attack, plaintiff Yisrael Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by his sister, other niece, and brother-in-law.

          196.   Plaintiff Yitzchak Toporowitch is a citizen of the United States and a resident of

 the State of Israel. He is a brother of plaintiff Chana Nathansen and an uncle of the three Nathansen

 girls.

          197.   Like the rest of his immediate family, Yitzchak experienced the shock and mental

 distress resulting from the emotional trauma of burying his young niece, Tehilla, and dealing with

 the pain and loss experienced by his younger sister.

          198.   As a result of the attack, plaintiff Yitzchak Toporowitch has experienced severe

 mental anguish and extreme emotional distress from experiencing the death of his 3-year-old niece,

 Tehilla, as well as the severe injuries incurred by his sister, other niece, and brother-in-law.




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                  THE SHOOTING ATTACK ON ROUTE #60 – JUNE 20, 2003

        199.      On June 20, 2003, Ahmad Najjar and Farah Hamad, two HAMAS terrorists,

 perpetrated a shooting attack on Route #60 near the Yabroud underpass, killing one person and

 seriously injuring three others.

 The Goldstein Family

        200.      Howard Goldstein was a citizen of the United States and a resident of the State of

 Israel when he died.

        201.      He was murdered on June 20, 2003, while driving his car with his parents on Route

 #60 in Israel.

        202.      Howard was driving his parents and his wife from Eli to Jerusalem where they had

 stayed the previous night following the wedding of Howard’s son, plaintiff David Goldstein.

 Howard and his wife and parents were traveling for a weekend in Jerusalem to further celebrate

 David’s wedding (which had taken place the previous night).

        203.      While Howard was driving, Howard’s father, Eugene Goldstein, was seated in the

 front passenger seat and Howard’s mother, plaintiff Lorraine Goldstein, was seated behind her

 husband. Howard’s wife, plaintiff Michal Goldstein (now Michal Honickman), was seated in the

 rear seat of the car, on the driver’s side, behind Howard.

        204.      At some point, as Howard was driving, Eugene noticed two individuals on the side

 of the road near the Yabroud underpass. As the Goldsteins’ car approached, the men turned and

 began rapidly firing their guns at the Goldsteins’ vehicle.

        205.      Howard was struck by at least one bullet and ultimately succumbed to his injuries

 while driving and slumped over the steering wheel.

        206.      At some point in time, while Howard was slumped over the steering wheel, Eugene




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 grabbed the steering wheel and maintained control of the car until it crashed and rolled over,

 approximately eight miles south of where the HAMAS gunmen had opened fire.

        207.    Plaintiff Michal Honickman is a citizen of the United States and a resident of the

 State of Nevada. She is the widow of Howard Goldstein.

        208.    Plaintiff Michal Honickman brings this action both individually and as the legal

 representative of the Estate of Howard Goldstein.

        209.    As a result of the attack, Michal was injured when glass fragments from the

 vehicle’s windows struck her body, including her left eye. She also sustained hairline fractures of

 her ribs, bruising, and physical trauma when the vehicle eventually crashed and rolled over.

        210.    Michal has sustained severe physical injuries and experienced severe mental

 anguish and extreme emotional distress having been present during the attack, and witnessed the

 death of her husband, whom she had to bury and mourn with her children, while her in-laws were

 hospitalized, all in the context of what had been, prior to that point, a joyous family occasion

 celebrating her son David’s wedding.

        211.    As a result of Howard’s death, plaintiff Michal Honickman experienced emotional

 pain and suffering, loss of her husband’s society, companionship, comfort, advice and counsel,

 and severe mental anguish and extreme emotional distress.

        212.    Eugene Goldstein was a citizen of the United States and a resident of the State of

 Florida. He was the father of Howard Goldstein.

        213.    Plaintiff Lorraine Goldstein is a citizen of the United States and a resident of the

 State of Florida. She is the mother of Howard Goldstein. Lorraine Goldstein brings this action both

 individually and as the legal representative of the Estate of Eugene Goldstein.

        214.    Eugene suffered multiple gunshot wounds in the attack.




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        215.    His shoulder blade was fractured, and his lungs were punctured. Shrapnel was

 lodged in his lung, liver, and kidneys. A bullet remained stuck between his heart and his lungs.

        216.    These injuries, which caused Eugene immense pain, were life threatening. Indeed,

 it was highly improbable that Eugene would survive them.

        217.    Eugene’s injuries necessitated insertion of a trocar, a metal cylinder used to drain

 blood from his chest and facilitate insertion of a chest tube to maintain suction and permit healing

 of the lung. Insertions of a trocar and chest tube are extremely painful.

        218.    Eugene was unable to see Lorraine for approximately five days after the attack and

 did not have specific information about her condition. His uncertainty about Lorraine’s condition

 caused him immense anxiety.

        219.    As a result of the attack, Eugene had several bullet fragments lodged in his chest.

 He had to undergo an x-ray every three months to monitor their condition.

        220.    As a result of the attack, Eugene had difficulty falling and remaining asleep. He

 constantly replayed the image of the attack in his mind.

        221.    He blamed himself for taking his wife to attend his grandson’s wedding.

        222.    Lorraine was shot multiple times and severely injured in the attack.

        223.    She suffered a bullet fragment injury from a bullet that clipped the tip of her nose

 and her left upper lip and lodged in her mouth. The fragment necessitated intubation and

 emergency surgery, during which the fragment was removed from an area less than an inch from

 the carotid sheath, which contains the carotid artery and the internal jugular vein. Disruption of

 either of them would have resulted in her death.

        224.    At one point during her hospital stay, Lorraine was placed on life support.




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          225.   Lorraine’s chewing muscles were severely and permanently damaged, and she

 could not eat solid food for approximately one year.

          226.   She required physiotherapy that encompassed use of a ratchet-like device designed

 to force her jaws open. It was very painful.

          227.   Lorraine still requires physical therapy because the scar tissue in her jaw prevents

 her from fully opening it. She still suffers from pain and headaches.

          228.   She requires bridges (partials) because she lost her teeth as a result of the attack,

 and extensive periodontal and dental work.

          229.   She was also struck by bullets that entered her body through her left shoulder and

 right lower neck. The resulting wounds caused her excruciating pain at the time.

          230.   She must also deal with the harmful effects of shrapnel that lodged throughout her

 body, especially in her back. She also suffered a shattered nose and septum as well as various

 lacerations.

          231.   Lorraine had difficulty sleeping because she thought about Howard’s death.

          232.   Eugene and Lorraine remained in Jerusalem at Hadassah Hospital for

 approximately 10 days and were unable to return home when they were discharged from the

 hospital because the airline did not give Eugene permission to fly due to the poor condition of his

 lungs.

          233.   As a result of the attack, Eugene Goldstein and plaintiff Lorraine Goldstein have

 sustained severe physical injuries and experienced severe mental anguish and extreme emotional

 distress.

          234.   As a result of Howard’s death, Eugene Goldstein (before his death) and plaintiff

 Lorraine Goldstein have experienced emotional pain and suffering, loss of their son’s society,




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 companionship, comfort, advice, and counsel, and severe mental anguish and extreme emotional

 distress.

           235.   The Goldstein family in New York received notice of the attack from two cousins,

 one of whom saw images of the attack on the internet and sent an instant message to the immediate

 family.

           236.   The Goldstein family sat in horror as they watched images of the attack on the

 Cable News Network (CNN) shortly after the attack occurred. The video broadcast showed

 Howard, Eugene, and Lorraine being pulled from the wreckage of the car Howard had been

 driving.

           237.   Lorraine’s face and hair were covered with blood.

           238.   Plaintiff Richard Goldstein is a citizen of the United States and a resident of the

 State of New York. He is a son of Eugene Goldstein and plaintiff Lorraine Goldstein and a brother

 of Howard Goldstein.

           239.   After learning of the attack, plaintiff Richard Goldstein telephoned his sister,

 plaintiff Barbara Goldstein Ingardia, at work and asked her to return home immediately. When she

 arrived, her extended family was present. They shared the tragic news that their parents and brother

 had been attacked. Barbara then made plans to fly to Israel to care for her parents.

           240.   As a result of the attack, plaintiff Richard Goldstein has experienced severe mental

 anguish and extreme emotional distress caused by the life-threatening injuries to both of his

 parents.

           241.   As a result of Howard’s death, Richard Goldstein has experienced emotional pain

 and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.




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        242.    Plaintiff Barbara Goldstein Ingardia is a citizen of the United States and a resident

 of the State of New York. She is the daughter of Eugene Goldstein and plaintiff Lorraine Goldstein

 and the sister of Howard Goldstein.

        243.    Barbara left her job and her immediate family behind and traveled to Israel to care

 for her parents in Israel during their recovery and to mourn the loss of her brother.

        244.    In addition to grappling with the devastating emotional consequences of her

 brother’s death, she was forced to deal with the uncertainty of her mother’s recovery due to her

 severe injuries and age.

        245.    Barbara blames herself for encouraging her parents to attend the wedding.

        246.    As a result of the attack, plaintiff Barbara Goldstein Ingardia has experienced

 severe mental anguish and extreme emotional distress caused by the life-threatening injuries to

 both of her parents.

        247.    As a result of Howard’s death, Barbara Goldstein Ingardia has experienced

 emotional pain and suffering, loss of her brother’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        248.    Plaintiff Michael Goldstein is a citizen of the United States and a resident of the

 State of Florida. He is a son of Eugene Goldstein and plaintiff Lorraine Goldstein and a brother of

 Howard Goldstein.

        249.    As a result of the attack, plaintiff Michael Goldstein has experienced severe mental

 anguish and extreme emotional distress caused by the life-threatening injuries to both of his

 parents.

        250.    As a result of Howard’s death, Michael Goldstein has experienced emotional pain

 and suffering, loss of his brother’s society, companionship, comfort, advice, and counsel, and




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 severe mental anguish and extreme emotional distress.

        251.    Plaintiff Chana Freedman is a citizen of the United States and a resident of the State

 of New York. She is the daughter of Howard Goldstein and plaintiff Michal Honickman.

        252.    Chana and her husband were eating lunch at a mall in Jerusalem when they learned

 that her father and grandparents had been involved in what they believed to be an automobile

 accident.

        253.    Chana’s husband received a telephone call from his father informing the couple to

 go directly to Hadassah Hospital.

        254.    When Chana and her husband arrived at Hadassah Hospital, a social worker

 informed them that Chana’s father had died in the terrorist attack.

        255.    Chana informed her brother, David, and his wife, who had just been married, of the

 attack when they arrived at the hospital.

        256.    As a result of Howard’s death, plaintiff Chana Freedman has experienced emotional

 pain and suffering, loss of her father’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

        257.    Plaintiff David Goldstein is a citizen of the United States and a resident of the State

 of Israel. He is the son of Howard Goldstein and plaintiff Michal Honickman.

        258.    At the time of the attack, David was at a Jerusalem hotel awaiting his family’s

 arrival for weekend wedding celebrations when he was notified that something had happened to

 his parents and his grandparents, and that they had been taken to Hadassah Hospital.

        259.    Upon his arrival at the hospital, David learned that his father had been killed in the

 attack, and that his mother and grandparents had been injured.




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         260.    Prior to the attack, David frequently spoke to his father, including on the morning

 of his father’s death.

         261.    As a result of Howard’s death, plaintiff David Goldstein has experienced emotional

 pain and suffering, loss of his father’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

                   THE JAFFA ROAD BUS #14A BOMBING – JUNE 11, 2003

         262.    At approximately 5:30 p.m. on June 11, 2003, Abd el-Mu’ati Shabana, a HAMAS

 suicide bomber dressed as an ultra-Orthodox Jew, boarded Egged Bus #14A at the Mahane Yehuda

 market. A short while later, as the bus drove down Jaffa Road near the Davidka Square, Shabana

 detonated his bomb, destroying the bus and killing 17 people and injuring over 100 more, including

 dozens of bystanders.

 The Beer Family

         263.    Alan Beer was a citizen of the United States when he died.

         264.    Alan was on the bus returning from a condolence call to his friend’s family when

 Shabana detonated his explosives and killed him.

         265.    Alan’s friend, to whom he had paid the condolence call, learned of the bus bombing,

 and telephoned plaintiff Harry Leonard Beer, Alan’s brother, in Cleveland, Ohio. Harry quickly

 telephoned his sister, plaintiff Phyllis Maisel, whose son happened to have been in the area of the

 bombing earlier. Harry then telephoned his other sister, plaintiff Estelle Caroll, and informed her

 of the terrorist attack.

         266.    After speaking with her brother, Phyllis asked her son to return to the crime scene

 and identify Alan’s body. Thereafter, Alan’s mother, Anna Beer; Harry Leonard Beer; and Estelle

 Caroll flew to Israel to attend Alan’s funeral.




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         267.    Plaintiff Harry Leonard Beer is a citizen of the United States and a resident of the

 State of Ohio. He is the brother of Alan Beer.

         268.    Anna Beer was a citizen of the United States and a resident of the State of Ohio

 when she died in 2016. She was the mother of Alan Beer.

         269.    Plaintiff Harry Leonard Beer brings this action in his individual capacity, as the

 executor of the Estate of Alan Beer, and as the executor of the Estate of Anna Beer.

         270.    As a result of Alan’s death, plaintiff Harry Leonard Beer has experienced emotional

 pain and suffering, loss of his brother’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

         271.    Plaintiff Estelle Caroll is a citizen of the United States and a resident of the State

 of Virginia. She is a sister of Alan Beer.

         272.    Plaintiff Phyllis Maisel is a citizen of the United States and a resident of the State

 of Israel. She is a sister of Alan Beer.

         273.    As a result of Alan’s death, plaintiffs Estelle Caroll and Phyllis Maisel have

 experienced emotional pain and suffering, loss of their brother’s society, companionship, comfort,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         274.    As a result of Alan’s death, (before her death) Anna Beer experienced emotional

 pain and suffering, loss of her youngest child’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

 The Singer Family

         275.    Plaintiff Sarri Anne Singer is a citizen of the United States and a resident of the

 State of New Jersey.

         276.    On June 11, 2003, Sarri boarded Bus #14A in Jerusalem to meet a friend for dinner.




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 The bus was filled with rush hour commuters. Eventually she was able to take a seat near the

 window.

         277.      Shortly thereafter, Shabana detonated his bomb only two to three seats away from

 where Sarri was seated, killing everyone sitting and standing near her and causing the roof of the

 bus to fall in.

         278.      When the explosives were detonated, Sarri felt a shockwave across her face.

         279.      Sarri was struck with shrapnel from the explosion that entered her shoulder and

 broke her clavicle.

         280.      After the blast, she was unable to open her left eye, and her right eye was extremely

 restricted.

         281.      Sarri was unable to hear because of a loud ringing in her ears, and her eardrums

 ruptured.

         282.      Barely walking, Sarri was taken to an ambulance.

         283.      She incurred wounds to her face and legs resulting in scarring. She underwent

 physical therapy and additional surgery.

         284.      Shrapnel lodged in Sarri’s gums, moving her teeth, and necessitating dental work.

         285.      As a result of the attack, plaintiff Sarri Anne Singer has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

         286.      Plaintiff Judith Singer is a citizen of the United States and a resident of the State of

 New Jersey. She is the mother of plaintiff Sarri Anne Singer.

         287.      Judith learned of the attack when her son telephoned her at work.

         288.      As a result of the attack, plaintiff Judith Singer has experienced severe mental

 anguish and extreme emotional distress.




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         289.     Plaintiff Eric M. Singer is a citizen of the United States and a resident of the State

 of New Jersey. He is the brother of plaintiff Sarri Anne Singer.

         290.     Eric first learned of the attack when he received an emergency phone call from his

 father while Eric was having lunch in a restaurant. After speaking with his mother and notifying

 his office, Eric and his father flew that night to Israel to be with Sarri.

         291.     As a result of the attack, plaintiff Eric M. Singer has experienced severe mental

 anguish and extreme emotional distress.

         292.     Plaintiff Robert Singer is a citizen of the United States and a resident of the State

 of New Jersey. He is the father of plaintiff Sarri Anne Singer.

         293.     After learning of the attack, Robert traveled to Israel to be with his daughter.

         294.     As a result of the attack, plaintiff Robert Singer has experienced severe mental

 anguish and extreme emotional distress.

                THE MIKE’S PLACE BOMBING IN TEL AVIV - APRIL 30, 2003

         295.     On April 30, 2003, Asif Muhammad Hanif, a HAMAS suicide bomber, entered

 Mike’s Place, a popular bar situated on the seashore a few hundred meters from the American

 Embassy in Tel Aviv, and detonated his explosives,1 killing three people and injuring more than

 50 others.

         296.     Hanif, 22, was a British citizen who entered Israel through Jordan.

 The Rozenstein Family

         297.     Plaintiff Daniel Rozenstein is a citizen of the United States and a resident of the

 State of Florida.

         298.     Daniel was seated inside the bar and decided to step outside when he crossed paths


 1
           There were actually two bombers, both British nationals sent by HAMAS, but the explosive belt on one of
 the terrorists failed to detonate.


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 with Hanif in the entryway just as he detonated his explosives.

        299.    As a result of the attack, Daniel suffered second degree burns over his entire body.

        300.    After three days in the hospital, Daniel slipped into a coma that lasted eight days.

 He was placed on a respirator and other life supports for two weeks. He remained in the hospital

 for one and a half months, followed by eight months of treatment as an outpatient.

        301.    As a result of the bombing, he sustained severe hearing loss. He has also suffered a

 permanent loss of balance, is often dizzy, and frequently experiences black outs.

        302.    Daniel’s right hand no longer functions properly as it is covered in scar tissue. Much

 of the rest of his body is also covered by scar tissue, including his back.

        303.    He also suffers from memory loss, nightmares, and post-traumatic stress disorder

 (“PTSD”). He has also sustained a traumatic brain injury (“TBI”) and undergone psychological

 counseling.

        304.    As a result of the attack, plaintiff Daniel Rozenstein has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        305.    Plaintiff Julia Rozenstein Schon is a citizen of the United States and a resident of

 the State of Florida. She is the sister of plaintiff Daniel Rozenstein.

        306.    On the night of the bombing, Julia received a telephone call from the father of

 Daniel’s girlfriend. She was told there had been an attack and that no one was certain of Daniel’s

 condition.

        307.    When Julia first saw Daniel, she did not recognize him because his body was

 horribly burned, and his face and ears were swollen beyond recognition. She spent many days in

 the hospital and was there when her brother slipped into a coma.

        308.    Julia still suffers nightmares and is traumatized by the attack. Even now, she calls




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 her brother compulsively to be certain that he is not in danger.

         309.   As a result of the attack, plaintiff Julia Rozenstein Schon has experienced severe

 mental anguish and extreme emotional distress.

         310.   Plaintiff Alexander Rozenstein is a citizen of the United States and a resident of the

 State of Israel. He is the father of plaintiff Daniel Rozenstein.

         311.   As a result of the attack, plaintiff Alexander Rozenstein has experienced severe

 mental anguish and extreme emotional distress.

         312.   Plaintiff Esther Rozenstein is a citizen of the United States and a resident of the

 State of Florida. She is the mother of plaintiff Daniel Rozenstein.

         313.   As a result of the attack, plaintiff Esther Rozenstein has experienced severe mental

 anguish and extreme emotional distress.

                  THE SHOOTING ATTACK ON ROUTE #60 - JANUARY 29, 2003

         314.   On January 29, 2003, Farah Hamad, and Yasser Hamad, two HAMAS terrorists,

 perpetrated a shooting attack on Route #60, seriously injuring one person.

 The Steinmetz Family

         315.   Plaintiff Jacob Steinmetz is a citizen of the United States and a resident of the State

 of Israel.

         316.   Plaintiff Deborah Steinmetz is a citizen of the United States and a resident of the

 State of Israel. She is the wife of Jacob Steinmetz.

         317.   On January 29, 2003, Jacob was driving their car on Route #60. Deborah sat in the

 front passenger seat of the car. As their car made a turn, two masked men began shooting at the

 car. The entire driver’s side of the car was riddled with bullets.

         318.   Two bullets hit Jacob. One shot passed through the car seat and lodged in his leg.




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 The other shot entered his arm and passed through his elbow.

           319.   After arriving at the hospital and over the next few days, Jacob underwent a number

 of operations.

           320.   Four metal spikes were surgically inserted into his bone in order to restrain his arm.

 The spikes remained there for three months and severely restricted his arm’s mobility. Additional

 plastic surgeries were performed. Jacob received a skin graft from his leg to cover the opening in

 his elbow.

           321.   In 2003, Jacob underwent a complete elbow replacement that included the

 placement of a large metal hinge.

           322.   Presently, the use of Jacob’s arm is greatly limited.

           323.   As a result of the attack, plaintiff Jacob Steinmetz has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

           324.   As a result of being in the car that terrorists targeted and the injuries suffered by

 her husband, plaintiff Deborah Steinmetz has experienced great anxiety and severe mental anguish

 and extreme emotional distress.

           325.   Amichai Steinmetz was a citizen of the United States when he died. He is the son

 of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

           326.   In 2009, Amichai Steinmetz went missing while on a trip to India. In December

 2015, an Israeli court declared Amichai Steinmetz dead.

           327.   Following the attack and prior to his declaration of death in 2015, Amichai

 Steinmetz experienced severe mental anguish and extreme emotional distress as a result of the

 attack.

           328.   Plaintiffs Jacob Steinmetz and Deborah Steinmetz bring this action both




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 individually and on behalf of the Estate of Amichai Steinmetz.

        329.    Plaintiff Nava Steinmetz is a citizen of the United States and a resident of the State

 of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

        330.    Plaintiff Orit Mayerson is a citizen of the United States and a resident of the State

 of Israel. She is a daughter of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

        331.    Plaintiff Netanel Steinmetz is a citizen of the United States and a resident of the

 State of Israel. He is the son of plaintiffs Jacob Steinmetz and Deborah Steinmetz.

        332.    As a result of the attack, plaintiffs Nava Steinmetz, Orit Mayerson, and Netanel

 Steinmetz have experienced severe mental anguish and extreme emotional distress.

          THE HEBREW UNIVERSITY CAFETERIA BOMBING - JULY 31, 2002

        333.    On the afternoon of July 31, 2002, approximately 100 people were eating lunch in

 the Frank Sinatra cafeteria on the Hebrew University Mount Scopus campus in Jerusalem. A bomb

 planted inside the cafeteria exploded, killing nine people, five of them Americans, and injuring as

 many as 70 others.

        334.    HAMAS planned and perpetrated the attack.

        335.    Mohammad Odeh, a HAMAS operative, who worked at Hebrew University as a

 painter for an Israeli contractor, set off the bomb.

 The Coulter Family

        336.    Janis Ruth Coulter was a citizen of the United States when she died.

        337.    Janis was in the cafeteria when the bomb exploded, killing her, and injuring her

 friend who was eating lunch with her.

        338.    Janis was the assistant director of the Hebrew University’s Rothenberg

 International School’s Office of Academic Affairs in New York.




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        339.    She had arrived in Israel just one day before the bombing to accompany a group of

 19 American students who were scheduled to attend classes at the university.

        340.    Robert L. Coulter, Sr. was a citizen of the United States and a resident of the State

 of Massachusetts when he died in 2018. He was the father of Janis Ruth Coulter.

        341.    Robert L. Coulter, Sr.’s widow, Ann Coulter, brings this action on behalf of the

 Estate of Robert L. Coulter, Sr.

        342.    Robert L. Coulter, Sr. was watching television news that morning in the United

 States when he saw a “news flash” about a bombing at Hebrew University. Thinking he saw Janis’s

 head lying in an unsealed body bag, he called his other daughter, plaintiff Dianne Coulter Miller.

 Dianne called Janis’s boss in New York, and both Robert L. Coulter, Sr. and his daughter

 desperately tried to reach Janis on her cell phone without success.

        343.    Plaintiff Dianne Coulter Miller is a citizen of the United States and a resident of the

 State of Massachusetts. She is the sister of Janis Ruth Coulter.

        344.    Plaintiff Robert L. Coulter, Jr. is a citizen of the United States and a resident of the

 State of Massachusetts. He is the brother of Janis Ruth Coulter.

        345.    Plaintiffs Dianne Coulter Miller and Robert L. Coulter, Jr. bring actions

 individually and as the legal representatives of the Estate of Janis Ruth Coulter.

        346.    Robert L. Coulter, Jr. had heard about the bombing on the radio on the way to work

 but did not make the connection with Janis’s visit to Israel. His father called him at work about the

 possibility that Janis was at the cafeteria, whereupon he drove immediately to his father’s house.

        347.    Initially, Janis was identified only through the numbers on her medical alert

 bracelet. Eventually, the family retrieved Janis’s dental records and faxed them to Israel where,

 later that evening, her death was confirmed.




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         348.   As a result of Janis’s death, (before his own death in 2018) plaintiff Robert L.

 Coulter, Sr. experienced emotional pain and suffering, loss of his daughter’s society,

 companionship, comfort, advice and counsel, and severe mental anguish and extreme emotional

 distress.

         349.   As a result of Janis’s death, plaintiff Dianne Coulter Miller has experienced

 emotional pain and suffering, loss of her sister’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

         350.   As a result of Janis’s death, plaintiff Robert L. Coulter, Jr. has experienced

 emotional pain and suffering, loss of his sister’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

 The Carter Family

         351.   Diane Leslie Carter was a citizen of the United States when she died.

         352.   She was eating lunch in the cafeteria when the bomb exploded.

         353.   Diane was killed by the bomb blast.

         354.   In 1990, Diane had moved to Israel, where she worked as a librarian and archivist

 in the National Library on the Givat Ram campus of Hebrew University in Jerusalem.

         355.   Plaintiff Larry Carter is a citizen of the United States and a resident of the State of

 North Carolina. He is the father of Diane Leslie Carter.

         356.   Plaintiff Larry Carter brings this action both individually and as the Administrator

 of the Estate of Diane Leslie Carter.

         357.   Larry learned of his daughter’s death from a journalist who called his home. After

 conferring with his ex-wife, Diane’s mother, Larry was able to confirm that his daughter was, in

 fact, killed in the bombing.




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          358.   Plaintiff Shaun Choffel is a citizen of the United States and a resident of the State

 of Virginia. She is the sister of Diane Leslie Carter.

          359.   Both Larry and Shaun learned that Diane had been buried in Israel only moments

 before the funeral was scheduled to begin. Neither of them had the opportunity to say goodbye to

 Diane.

          360.   As a result of Diane’s death, plaintiff Larry Carter has experienced emotional pain

 and suffering, loss of his daughter’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

          361.   As a result of Diane’s death, plaintiff Shaun Choffel has experienced emotional

 pain and suffering, loss of her sister’s society, companionship, comfort, advice and counsel, and

 severe mental anguish and extreme emotional distress.

 The Blutstein Family

          362.   Benjamin Blutstein was a citizen of the United States when he died.

          363.   He was killed by the bomb blast.

          364.   Benjamin had come to Israel for a two-year study program at the Pardes Institute

 in Jerusalem to become a teacher.

          365.   Benjamin was scheduled to fly home to visit his family in Pennsylvania the day

 after he was murdered by HAMAS terrorists. Instead, two days after the attack, Benjamin’s body

 was flown home and buried in his parents’ hometown of Harrisburg, Pennsylvania.

          366.   Plaintiff Richard Blutstein is a citizen of the United States and a resident of the

 State of Pennsylvania. He is the father of Benjamin Blutstein.

          367.   Plaintiff Katherine Baker is a citizen of the United States and a resident of the State

 of Pennsylvania. She is the mother of Benjamin Blutstein.




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        368.    Plaintiffs Richard Blutstein and Katherine Baker bring this action both individually

 and on behalf of the Estate of Benjamin Blutstein.

        369.    Plaintiff Rebekah Blutstein is a citizen of the United States and a resident of the

 State of Pennsylvania. She is the sister of Benjamin Blutstein.

        370.    Richard first heard about the attack while watching Fox News early in the morning.

 He then called Benjamin’s cell phone and heard a recording. Shortly thereafter he contacted friends

 in Israel to ascertain if Benjamin had been injured in the attack. After a friend made a positive

 identification, Richard received a call confirming Benjamin’s death.

        371.    Katherine learned that her son had been killed in the attack when she received a call

 from a representative of the American Embassy. She was too overwhelmed with emotion to call

 her husband. Richard received the call from a neighbor, who was with Katherine. Katherine then

 composed herself enough to inform her daughter, Rebekah.

        372.    As a result of Benjamin’s death, plaintiff Richard Blutstein has experienced

 emotional pain and suffering, loss of his son’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        373.    As a result of Benjamin’s death, plaintiff Katherine Baker has experienced

 emotional pain and suffering, loss of her son’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        374.    Although Rebekah’s father had informed her about the attack, Rebekah learned that

 her brother had died when her mother telephoned her.

        375.    As a result of Benjamin’s death, plaintiff Rebekah Blutstein has experienced

 emotional pain and suffering, loss of her brother’s society, companionship, comfort, protection,

 advice and counsel, and severe mental anguish and extreme emotional distress.




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 The Gritz Family

        376.    David Gritz was a citizen of the United States when he died.

        377.    He was killed by the bomb blast.

        378.    He had come to Israel for the first time with the help of a scholarship from the

 Hartman Institute to study philosophy and write his doctorate.

        379.    He died after being in Israel for only two weeks.

        380.    Norman Gritz was a citizen of the United States and a resident of France when he

 died in 2005. He was the father of David Gritz.

        381.    Plaintiff Nevenka Gritz is a citizen and resident of France. She is the mother of

 David Gritz, who was an only child.

        382.    Plaintiff Nevenka Gritz brings this action individually and on behalf of the Estate

 of David Gritz and the Estate of Norman Gritz.

        383.    Nevenka and Norman were in New York on the day their son was murdered.

 Friends informed them that television reports had indicated that a bombing had taken place at

 Hebrew University. Nevenka and her husband attempted to reach their son by phone, and then

 called the Israeli consulate in the hopes of getting more information. Eventually, confirmation

 came from the Israeli consulate that David’s body had been identified.

        384.    As a result of David’s death, (prior to his death) Norman Gritz experienced

 emotional pain and suffering, loss of his only child’s society, companionship, comfort, advice and

 counsel, and severe mental anguish and extreme emotional distress.

        385.    As a result of David’s death, plaintiff Nevenka Gritz has experienced emotional

 pain and suffering, loss of her only child’s society, companionship, comfort, advice and counsel,

 and severe mental anguish and extreme emotional distress.




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                     THE SHEFFIELD CLUB BOMBING - MAY 7, 2002

        386.    On the night of May 7, 2002, Muhammad Muammar, a HAMAS suicide bomber,

 entered the third floor of a building in Rishon Letzion’s new industrial area that housed the

 Sheffield Club (social club) and detonated a bomb.

        387.    Fifteen people were killed in the attack, and more than 50 others were injured.

 The Bablar Family

        388.    Esther Bablar was a citizen of the United States when she died.

        389.    Although Esther initially survived the attack, she died of her injuries the following

 morning.

        390.    Plaintiff Jacqueline Chambers is a citizen of the United States and a resident of the

 State of Florida. She is a daughter of Esther Bablar.

        391.    Plaintiff Levana Cohen is a citizen of the United States and a resident of the State

 of Florida. She is a daughter of Esther Bablar.

        392.    Plaintiffs Jacqueline Chambers and Levana Cohen bring actions both individually

 and on behalf of the Estate of Esther Bablar.

        393.    Esther had spent the month before the bombing in Florida with her youngest

 daughter, Levana, who had just given birth to Esther’s grandchild. The day before the attack she

 had been in New York visiting her other daughter, Jacqueline.

        394.    On the day of the attack, a member of the Bablar family in Israel contacted Esther’s

 sister, Sarah Elyakim, in New York and told her the tragic news. Eventually Esther’s daughters

 were notified, and they quickly made arrangements to fly to Israel with their aunt and uncle.

        395.    As a result of Esther’s death, plaintiff Jacqueline Chambers has experienced

 emotional pain and suffering, and the loss of her mother’s society, companionship, comfort,




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 protection, attention, advice and counsel, and severe mental anguish and extreme emotional

 distress.

         396.    As a result of Esther’s death, plaintiff Levana Cohen has experienced emotional

 pain and suffering, and the loss of her mother’s society, companionship, comfort, protection,

 attention, advice and counsel, and severe mental anguish and extreme emotional distress.

         397.    Plaintiff Eli Cohen is a citizen of the United States and a resident of the State of

 New York. He is the son of Esther Bablar.

         398.    As a result of Esther’s death, plaintiff Eli Cohen has experienced emotional pain

 and suffering, and the loss of his mother’s society, companionship, comfort, protection, attention,

 advice and counsel, and severe mental anguish and extreme emotional distress.

         399.    Plaintiff Sarah Elyakim is a citizen of the United States and a resident of the State

 of New York. She is the sister of Esther Bablar.

         400.    As a result of Esther’s death, plaintiff Sarah Elyakim has experienced emotional

 pain and suffering and the loss of her sister’s companionship, advice and counsel, and severe

 mental anguish and extreme emotional distress.

         401.    Plaintiff Joseph Cohen is a citizen of the United States and a resident of the State

 of New York. He is the brother of Esther Bablar.

         402.    As a result of Esther’s death, plaintiff Joseph Cohen has experienced emotional

 pain and suffering and the loss of his sister’s companionship, advice and counsel, and severe

 mental anguish and extreme emotional distress.

             THE PASSOVER MASSACRE AT THE PARK HOTEL IN NETENAYA -
                                MARCH 27, 2002

         403.    On March 27, 2002, Abd al-Baset Odeh, a HAMAS suicide bomber, blew himself

 up near the dining area within the Park Hotel in Netanya. It was the night of the Jewish holiday of



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 Passover, and the hotel dining room was filled with hundreds of people celebrating the Passover

 Seder with their families and friends.

         404.    Thirty people were killed, and 140 others were injured.

 The Rogen Family

         405.    Hannah Rogen was a citizen of the United States when she died.

         406.    Hannah was severely wounded in the attack and died of her wounds six days later,

 on April 2, 2002.

         407.    Hannah was a Holocaust survivor who immigrated to the United States after World

 War II. She was attending the Passover Seder at the invitation of a childhood friend, Yulia Talmi,

 who was also killed in the attack.

         408.    Greta Geller is the great niece of Hannah Rogen. She, along with Ilana Dorfman,

 Rephael Kitsis, and Tova Guttman, bring this action as the court-appointed administrators of the

 Estate of Hannah Rogen.

                THE BEN YEHUDA STREET BOMBINGS - DECEMBER 1, 2001

         409.    In the late evening of December 1, 2001, Nabil Halabiya and Osama Bahar, two

 HAMAS suicide bombers, blew themselves up in a pedestrian mall in Jerusalem as part of a

 coordinated double suicide bombing. A large quantity of nails was packed with each of the bombs.

 Eleven people were killed, and 188 others were injured.

         410.    After the two suicide bombings, HAMAS terrorists detonated a car bomb near the

 site of the first two attacks.

 The Spetner Family

         411.    Plaintiff Temima Spetner is a citizen of the United States and a resident of the State

 of Missouri.




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        412.    On December 1, 2001, Temima was walking down the pedestrian mall in Jerusalem

 when one of the suicide bombers detonated his explosives approximately 10 yards from where she

 was standing. Temima was hit by shrapnel on her arms and fingers. While bleeding heavily, and

 with clothing soaked in blood, Temima began running up the walkway and fell. Someone came to

 her aid and attempted to stop the bleeding until ambulances arrived at the scene.

        413.    As a result of the attack, the femoral artery of Temima’s right leg was severed. She

 was transported to the hospital where doctors operated on her to stop the bleeding. The following

 day it was determined that Temima’s intestines had been punctured by shrapnel, and she underwent

 another operation to repair her intestines and remove most of the shrapnel. Temima remained in

 the hospital for ten days.

        414.    There is significant scarring on Temima’s thigh and the lower part of her abdomen.

 She continues to experience numbness in her right leg and is highly sensitive to pain in that leg.

        415.    Temima has also experienced psychological trauma as a result of the attack.

        416.    As a result of the attack, plaintiff Temima Spetner has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

 The Kirschenbaum Family

        417.    Plaintiff Jason Kirschenbaum is a citizen of the United States and a resident of the

 State of New York.

        418.    Jason Kirschenbaum was on Ben Yehuda Street in Jerusalem on December 1, 2001,

 when the double suicide bombing took place.

        419.    As a result of the first explosion, Jason was thrown to the ground. As he stood up,

 the second suicide bomber detonated his explosives and Jason was thrown in another direction.

        420.    When he got up the second time, he felt numb. Jason saw his left arm dangling back




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 and forth and held it because he thought it might fall off. When he began running up the street for

 help, he felt a sharp pain in his leg and back.

        421.    Jason was taken to Shaare Zedek Hospital in Jerusalem where he underwent two

 operations. Surgeons removed 8 metal bolts from his arm, leg and back.

        422.    Jason had to undergo several months of physical therapy for the injuries to his arm,

 leg, and back. He still has scarring where he was branded by the bolts that penetrated his skin.

        423.    As a result of the attack, plaintiff Jason Kirschenbaum has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

        424.    Plaintiff Isabelle Kirschenbaum is a citizen of the United States and a resident of

 the State of New York. She is the mother of plaintiff Jason Kirschenbaum.

        425.    Martin Kirschenbaum was a citizen of the United States and a resident of the State

 of New York when he died in 2008. He was the father of plaintiff Jason Kirschenbaum.

        426.    Plaintiff Isabelle Kirschenbaum brings this action both individually and as the

 representative of the Estate of Martin Kirschenbaum.

        427.    Isabelle first learned of the double suicide bombing while watching CNN. After

 numerous telephone conversations, she ultimately received a telephone call confirming that Jason

 had been injured in the attack.

        428.    As a result of the attack, plaintiff Isabelle Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

        429.    Martin Kirschenbaum learned of the attack when he and Isabelle Kirschenbaum

 received the telephone call confirming that Jason had been injured in the attack.

        430.    As a result of the attack, (before his death) Martin Kirschenbaum experienced

 severe mental anguish and extreme emotional distress.




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         431.   Plaintiff Joshua Kirschenbaum is a citizen of the United States and a resident of the

 State of New York. He is a brother of plaintiff Jason Kirschenbaum.

         432.   Joshua Kirschenbaum was in Tel Aviv at the time of the attack. Martin and Isabelle

 telephoned Joshua to advise him that his brother Jason had been injured in the attack in Jerusalem.

 Hours later, he finally located his brother in the emergency room at Shaare Zedek Hospital in

 Jerusalem.

         433.   As a result of the attack, plaintiff Joshua Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

         434.   Plaintiff Shoshana Burgett is a citizen of the United States and a resident of the

 State of New York. She is a sister of plaintiff Jason Kirschenbaum.

         435.   As a result of the attack, plaintiff Shoshana Burgett has experienced severe mental

 anguish and extreme emotional distress.

         436.   Plaintiff David Kirschenbaum is a citizen of the United States and a resident of the

 State of New York. He is a brother of plaintiff Jason Kirschenbaum.

         437.   As a result of the attack, plaintiff David Kirschenbaum has experienced severe

 mental anguish and extreme emotional distress.

         438.   Plaintiff Danielle Teitelbaum is a citizen of the United States and a resident of the

 State of New Jersey. She is a sister of plaintiff Jason Kirschenbaum.

         439.   As a result of the attack, plaintiff Danielle Teitelbaum has experienced severe

 mental anguish and extreme emotional distress.

 The Miller Family

         440.   Plaintiff Netanel Miller is a citizen of the United States and a resident of the State

 of Israel.




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        441.    On the evening of December 1, 2001, Netanel was with friends enjoying ice cream

 at the pedestrian mall in Jerusalem when one of the HAMAS suicide bombers detonated his

 explosives a few feet away from him. Netanel had his back to the bomber, and he was thrown to

 the ground as a result of the explosion.

        442.    A nut from the bomb lodged in the upper part of Netanel’s leg. Other nuts hit him

 in the back, resulting in burns. His hand and knee were also injured.

        443.    Netanel, in shock and unaware of the severity of his injuries, attempted to walk

 home, limping on his injured leg. After walking approximately 30 feet, Netanel collapsed on the

 sidewalk. Only then did Netanel become aware of how much he was bleeding from the wounds he

 had sustained in his leg. His attempts to use pressure to stop the bleeding were unsuccessful.

        444.    Some people stopped to help him, and Netanel handed them his cellular phone,

 asking them to call his parents, Arie and Chaya Miller. Netanel spoke to his father, who had been

 an Army medic. Arie asked Netanel specific questions about his condition and insisted Netanel

 seek medical help.

        445.    Ultimately, Netanel was taken to Shaare Zedek Hospital by ambulance. Since

 Netanel had lost a great deal of blood, he was given a blood transfusion.

        446.    Arie came to the hospital. Chaya arrived an hour or so later after she found someone

 to stay with her other children at her home.

        447.    Netanel was admitted to the hospital and remained there for two days.

        448.    Netanel endured the pain in his leg for nearly two years.

        449.    The pain in Netanel’s leg became so severe that he had to undergo surgery, and the

 nut that was still lodged in his leg was finally removed.

        450.    It is still painful for Netanel to hike, an activity that he has always enjoyed.




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         451.    Netanel had flashbacks as a result of the attack and underwent psychological

 counseling.

         452.    As a result of the attack, plaintiff Netanel Miller has sustained severe physical

 injuries and experienced severe mental anguish and extreme emotional distress.

         453.    Plaintiff Chaya Miller is a citizen of the United States and a resident of the State of

 Israel. She is the mother of plaintiff Netanel Miller.

         454.    Upon learning that her son Netanel had been injured in the bombing and knowing

 he has suffered greatly as a result of those injuries, plaintiff Chaya Miller experienced great

 concern and anxiety.

         455.    As a result of the attack, plaintiff Chaya Miller has experienced severe mental

 anguish and extreme emotional distress.

         456.    Plaintiff Aharon Miller is a citizen of the United States and a resident of the State

 of Israel. He is the brother of plaintiff Netanel Miller.

         457.    Plaintiff Shani Miller is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Netanel Miller.

         458.    Plaintiff Adiya Miller is a citizen of the United States and a resident of the State of

 Israel. She is a sister of plaintiff Netanel Miller.

         459.    As a result of the attack, plaintiffs Aharon Miller, Shani Miller, and Adiya Miller

 have experienced severe mental anguish and extreme emotional distress.

 The Steinherz Family

         460.    Plaintiff Altea Steinherz is a citizen of the United States and a resident of the State

 of Israel.

         461.    Plaintiff Jonathan Steinherz is a citizen of the United States and a resident of the




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 State of Israel. He was the husband of plaintiff Altea Steinherz at the time of the attack.

         462.    On December 1, 2001, Altea Steinherz was nine months pregnant. Altea and

 Jonathan were at a restaurant in Jerusalem when they heard a bomb explode nearby.

         463.    Altea wanted to get home to her daughter who was with a babysitter at the time, but

 she knew that bombings in Israel were frequently followed by a second bomb intended to kill or

 injure people fleeing from the first bomb.

         464.    A short time later Altea and Jonathan heard another bomb explode. Believing the

 bombing was now over, they began to walk home.

         465.    While walking in the street, they saw a crazed-looking man run past them. Altea

 thought that he might have been the bomber and insisted that the couple turn around, away from

 the direction from which the man had come.

         466.    As they began to run, Altea fell twice, and she broke her left arm as a result of one

 of the falls.

         467.    She experienced severe pain in her arm after the attack and continued to experience

 pain for many years afterward.

         468.    Altea was afraid that, as a result of her falls, her pregnancy might have terminated.

         469.    Until her son, Yitzhak, was born 11 days later, Altea and Jonathan feared for the

 condition of their unborn child.

         470.    Altea became less self-confident and more fearful generally. She had sleeping

 difficulties and underwent psychological counseling.

         471.    Jonathan felt tremendous anxiety and stress, had significant difficulty sleeping, and

 underwent psychological counseling.

         472.    As a result of the attack, plaintiff Altea Steinherz sustained physical injuries and




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 experienced severe mental anguish and extreme emotional distress.

        473.    As a result of the attack, plaintiff Jonathan Steinherz experienced severe mental

 anguish and extreme emotional distress.

        474.    Plaintiff Temima Steinherz is a citizen of the United States and a resident of the

 State of Israel. She is the daughter of plaintiffs Altea Steinherz and Jonathan Steinherz.

        475.    As a result of the attack, plaintiff Temima Steinherz has experienced severe mental

 anguish and extreme emotional distress.

        476.    Plaintiff Joseph Ginzberg is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Altea Steinherz.

        477.    As a result of the attack, plaintiff Joseph Ginzberg has experienced severe mental

 anguish and extreme emotional distress.

        478.    Plaintiff Peter Steinherz is a citizen of the United States and a resident of the State

 of New York. He is the father of plaintiff Jonathan Steinherz.

        479.    Plaintiff Laurel Steinherz is a citizen of the United States and a resident of the State

 of New York. She is the mother of plaintiff Jonathan Steinherz.

        480.    As a result of the attack, plaintiffs Peter Steinherz and Laurel Steinherz have

 experienced severe mental anguish and extreme emotional distress.

                  PATT JUNCTION BUS # 32A BOMBING - JUNE 18, 2002

        481.    At approximately 7:50 a.m. on June 18, 2002, Muhamad al-Ghoul, a HAMAS

 terrorist, boarded Bus #32A in the Gilo neighborhood of Jerusalem. Almost immediately, he

 detonated the large bomb stuffed with ball bearings which he carried in a bag. The blast destroyed

 the front half of the bus, packed with people on their way to work and a group of schoolchildren.

 Nineteen people were killed, and 74 others were injured.




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 The Aluf Family

         482.   Boaz Aluf was a citizen of the State of Israel when he died.

         483.   Plaintiff Gila Aluf is a citizen of the United States and a resident of the State of

 Israel. She is the widow of Boaz Aluf.

         484.   On the morning of June 18, 2002, Boaz was going to work in the computer

 department of Jerusalem’s Bank Tefahot and was on Bus #32A when al-Ghoul detonated the

 bomb.

         485.   As a result of Boaz’s death, plaintiff Gila Aluf has experienced emotional pain and

 suffering, and the loss of her husband’s society, companionship, comfort, protection, attention,

 advice and counsel, and severe mental anguish and extreme emotional distress.

                         THE ARIEL BOMBING – OCTOBER 27, 2002

         486.   On October 27, 2002, Muhammad Kazid Faysal al-Bustami, a HAMAS suicide

 bomber, detonated his explosives at a gas station outside of the West Bank town of Ariel, killing

 three Israeli soldiers and injuring 15 other people.

 The Zahavy Family

         487.   Plaintiff Yitzhak Zahavy is a citizen of the United States and a resident of the State

 of Israel.

         488.   On October 27, 2002, Yitzhak was waiting with his platoon for a transport pickup

 at a gas station at the entrance to the town of Ariel.

         489.   Al-Bustami emerged and stood approximately 50 meters from Yitzhak.

         490.   Three of Yitzhak’s fellow soldiers were killed as they (and Yitzhak) unsuccessfully

 attempted to stop al-Bustami before he detonated his explosives.

         491.   Yitzhak suffered shrapnel injuries to his leg and was taken to Meir Hospital.




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        492.    The emotional effects of the attack continue to affect Yitzhak to the present day.

        493.    As a result of the attack, plaintiff Yitzhak Zahavy has sustained physical injuries

 and experienced severe mental anguish and extreme emotional distress.

        494.    Plaintiff Julie Zahavy is a citizen of the United States and a resident of the State of

 Israel. She is the wife of plaintiff Yitzhak Zahavy.

        495.    As a result of the attack, plaintiff Julie Zahavy has experienced severe mental

 anguish and extreme emotional distress.

        496.    Plaintiff Tzvee Zahavy is a citizen of the United States and a resident of the State

 of New Jersey. He is the father of plaintiff Yitzhak Zahavy.

        497.    Plaintiff Bernice Zahavy is a citizen of the United States and a resident of the State

 of New Jersey. She is the mother of plaintiff Yitzhak Zahavy.

        498.    As a result of the attack, plaintiffs Tzvee Zahavy and Bernice Zahavy have

 experienced severe mental anguish and extreme emotional distress.

        B.      The Defendant

        499.    Cairo Amman Bank was founded in 1960 under the regulations of the Central Bank

 of Jordan and commenced its banking services on July 1, 1960. It operates 89 branches in Jordan,

 and its headquarters is located on Arar Street in Wadi Sarqra, PO Box 950661, Amman, Jordan,

 11195. CAB is a publicly traded company, listed on the Amman Stock Exchange.

        500.    CAB first opened a branch in the Palestinian Territories in 1961. It returned to the

 Palestinian Territories in 1986 and has since expanded to 21 branches there. CAB’s head office in

 the Palestinian Territories is located on National College Street in Ramallah.

        501.    CAB is one of the largest banks both in Jordan and in the Palestinian Territories.

 As of June 30, 2018, it has over 2.8 billion Jordanian Dinars (approximately $4 billion USD) in




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 total assets, and over 1,000 employees.

          502.     At all times relevant to this Second Amended Complaint, CAB’s Chairman of the

 Board of Directors was Khaled Sabih al-Masri. He served as Chairman from July 1999 to October

 2012. Although he is still a board member, Al-Masri was replaced as Chairman by Yazid Adnan

 Mustafa al-Mufti in 2012. Al-Mufti previously served as CAB’s General Manager from 1989 until

 October 2004.

                                         FACTUAL ALLEGATIONS

 I.       THE ISLAMIC RESISTANCE MOVEMENT (HAMAS)

          A.       HAMAS’s Founding

          503.     Several prominent terrorist organizations operate in Palestinian-controlled territory,

 most notably the Islamic Resistance Movement (“HAMAS”), a radical Islamist terrorist

 organization committed to the globalization of Islam through violent “jihad” (holy war).

          504.     HAMAS2 was established in the Gaza Strip on December 10, 1987, shortly

 following the outbreak of the First Intifada.3 HAMAS announced its founding in an “official”

 communique on December 14, 1987.

          505.     It represented the culmination of approximately 15 years of preparation and

 organization building, led by Ahmed Yassin (also known as “Sheikh Yassin”), the unrivaled leader

 of what had been the Muslim Brotherhood Movement in the Gaza Strip.4



 2
           HAMAS is an acronym of the Arabic “Harakat al-Muqawama al-Islamiya” – Islamic Resistance Movement
 – but its name also means, in Arabic, enthusiasm, courage, zeal for battle.

 3
         The term “First Intifada,” as used herein, relates to the violent conflict that broke out in December 1987
 between the Palestinians and Israel.

 4
          The Muslim Brotherhood Movement was established in Egypt in 1928 by Hassan al-Banna and was dedicated
 to the goals of fighting Western influences on Muslim society; ensuring the adherence of Muslims to Islamic law
 (Shari’a); and, following the rectification of Muslim society, establishing an Islamic state that would expand its rule
 over the world by means of jihad and a call to join Islam.


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          506.     Although Yassin had been confined to a wheelchair throughout his adult life, he

 worked unceasingly for the establishment of HAMAS in the Gaza Strip. When HAMAS was

 established in Yassin’s home in 1987, the Islamic Resistance Movement already had a defined

 ideology and a group of pre-existing institutions in Gaza, such as Al-Mujama Al-Islami (the Islamic

 Center), Al-Jam’iya Al-Islamiya (the Islamic Society) and the Islamic University of Gaza that were

 the flagship institutions of the Brotherhood’s civilian social framework – the da’wa.5

          507.     The U.S. Government has described the purpose of HAMAS’s da’wa as follows:

                   Through this grass-roots approach, (known as dawa - “preaching” or
                   “calling”), Hamas achieves a number of goals. Among other perceived
                   benefits, it (1) assures popular support for the movement, and through its
                   popular support improves its ability to compete with opposing political
                   factions; (2) provides a base from which to indoctrinate and recruit future
                   activists, including military recruits, to carry out suicide bombings and other
                   terrorist acts; (3) provides a benign cover through which millions of dollars
                   can be transferred from overseas into Hamas operated or controlled
                   institutions; and (4) since money is fungible, the overseas support for the
                   dawa frees resources that can then be devoted to terrorist activity.6

          508.     On December 10, 1987, after violence broke out in the Jabalia Refugee Camp,

 Sheikh Yassin invited six of the leaders of the Muslim Brotherhood in Gaza to his home.

          509.     There the group decided to establish HAMAS, an organization that would combine

 terror against Israel with its da’wa (civilian infrastructure) through organizations such as Al-

 Mujama Al-Islami and Al-Jam’iya Al-Islamiya.

          510.     In 1973, Yassin established Al-Mujama Al-Islami, and in 1976 he set up Al-Jam’iya

 Al-Islamiya. The two organizations, which were based in Gaza, quickly expanded and established




 5
           The word “da’wa,” whose basic meaning in Arabic is “the call to the believers to shelter beneath the faith –
 return to the faith,” is used herein to refer to “the civilian infrastructure of HAMAS.”
 6
        See Second Supp. Trial Brief of the United States, United States v. Holy Land Foundation, 3:04-cr-00240-P,
 ECF No. 1171, at 5-6 (N.D. Tex. Sept. 12, 2008). A copy of the Trial Brief is attached as Exhibit A to the Second
 Amended Complaint.


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 branches throughout the Gaza Strip, but neither of them was, at the time of its establishment,

 openly militant. That changed once HAMAS was founded.

         511.     Initially the two organizations placed their emphasis primarily on mosques. The

 mosques were not meant solely for prayer. They also served as centers for religious, social,

 educational, cultural, and political activity, while enjoying a measure of ex-territorial immunity

 that derived from their religious nature.7

         512.     Once HAMAS was established by Sheikh Yassin and other Mujama officials, Al-

 Mujama Al-Islami immediately transitioned into the central headquarters of the organization in the

 Gaza Strip and was widely identified as being synonymous with HAMAS.

         513.     The seven participants in the December 1987 meeting are considered by HAMAS

 to be its founding fathers. All of them were members of the Muslim Brotherhood, and six of them

 were members of Al-Mujama Al-Islami: Sheikh Yassin, Salah Shehada, Abd al-Aziz al-Rantisi,

 Muhammad Sham’a, Ibrahim al-Yazuri, Isa al-Nashar, and Abd al-Fatah Dukhan.

         514.     At the meeting, Sheikh Yassin was recognized as the supreme leader of HAMAS.

         515.     His six associates in founding the movement became HAMAS’s leadership council,

 and each of them was appointed to head a particular region: Salah Shehada was responsible for the

 northern Gaza Strip; Muhammad Sham’a was put in charge of Shati Refugee Camp; Ibrahim al-

 Yazuri was put in charge of Gaza City; Abd al-Fatah Dukhan was put in charge of the central

 camps (four refugee camps); Isa al-Nashar was put in charge of the Rafah area; and Abd al-Aziz

 al-Rantisi was responsible for the Khan Yunis area.



 7
          Yassin and the Muslim Brotherhood did not accept the secular Palestine Liberation Organization (“PLO”) as
 the sole official representative of the Palestinian people, and subsequently began challenging representatives of PLO
 organizations in the trade unions, charitable societies, and universities in Gaza and the West Bank. In Gaza, where
 Yassin’s leadership was more aggressive, the Muslim Brotherhood gradually seized control of the Islamic University
 of Gaza (founded in 1978) by removing the university’s PLO-affiliated administration and replacing it with members
 of Al-Mujama Al-Islami.


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        516.    All seven of HAMAS’s founders were members of the da’wa apparatus (the

 civilian infrastructure of the Muslim Brotherhood and later of HAMAS).

        517.    From its inception, HAMAS’s primary objective was to transform the essentially

 ethno-political Palestinian national cause into a holy war – i.e., a conflict defined in Islamic

 religious terms. Accomplishing this goal necessitated a transformation of what was once a

 relatively secular Palestinian society (compared to other Muslim societies in the Arab world) into

 one that was religiously zealous and politically extreme.

        518.    From the early 1990s, HAMAS’s policy and practice of carrying out terrorist

 attacks against civilian targets in Israel was notorious and well known to CAB and to the public at

 large because, from that period forward, HAMAS openly, publicly, and repeatedly acknowledged

 having such a policy and carrying out such attacks. HAMAS made these acknowledgments

 initially in pamphlets and official press releases and, during the relevant period, took credit for

 attacks on its official websites and in numerous news media interviews conducted by senior

 HAMAS officials.

        519.    HAMAS’s social and political elements are essential components of its efforts to

 radicalize Palestinian society and develop its violent activities. As noted terrorism expert Dr.

 Matthew Levitt wrote in his 2006 book, HAMAS: Politics, Charity, and Terrorism in the Service

 of Jihad:

                Indeed, Hamas relies on its political and social activists and organizations
                to build grassroots support for the movement, to spot and recruit future
                operatives, to provide day jobs and cover to current operatives, and to serve
                as the logistical and financial support network for the group’s terror cells.
                Often the Hamas operatives running the group’s political and charitable
                offices are closely tied to the group’s terror cells, or are themselves current
                or former terror-cell members. Muddying the waters between its political
                activism, good works, and terrorist attacks, Hamas is able to use its overt
                political and charitable organizations as a financial and logistical support
                network for its terrorist operations.



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               Inside the Palestinian territories, the battery of mosques, schools,
               orphanages, summer camps, and sports leagues sponsored by Hamas are
               integral parts of an overarching apparatus of terror. These Hamas entities
               engage in incitement and radicalize society, and undertake recruitment
               efforts to socialize even the youngest children to aspire to die as martyrs.
               They provide logistical and operational support for weapons smuggling,
               reconnaissance, and suicide bombings. They provide day jobs for field
               commanders and shelter fugitive operatives.

        520.   From the outset, the connection between HAMAS, Sheikh Yassin, and his “Islamic

 fundamentalist movement” was open and obvious.

        521.   For example, in a February 1, 1988, article titled “Islam’s Voice in Gaza,” Time

 Magazine wrote about Sheikh Yassin and his obvious connection to the Islamic Center in Gaza:

               Sheik Yasin, 51, is a spiritual leader of the Islamic fundamentalist
               movement in Gaza and thus a prime force behind the religious gale that has
               recently fanned the flames of unrest in the occupied territories. Born in the
               Arab village of Al-Joura, Sheik Yasin has been paralyzed below the neck
               since age 15 as the result of an athletic accident. He resides with his wife
               and eleven children in a one-story house in Gaza City. Family members
               assist him in dressing and eating. Despite his handicap, he runs al-
               Mujama al-Islami, a community organization that builds mosques and
               sponsors cultural activities. (Emphasis added.)

        522.   In a January 1998 interview with a HAMAS publication, Dr. Ibrahim al-Yazuri,

 one of the aforementioned founders of HAMAS, offered a telling description of HAMAS’s

 philosophy regarding charitable giving:

               Everyone knows that the Islamic Resistance Movement, HAMAS, is a
               Palestinian Jihad movement that strives for the liberation of all Palestine,
               from the (Mediterranean) sea to the river (Jordan), from the north to the
               south, from the tyrannical Israeli occupation, and this is the main part of its
               concern. Social work is carried out in support of this aim, and it is
               considered to be part of the HAMAS movement’s strategy . . . The HAMAS
               movement is concerned about its individuals and its elements, especially
               those who engage in the blessed jihad against the hateful Israeli occupation,
               since they are subjected to detention or martyrdom. The movement takes
               care of their families and their children and provides them with as much



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                   material and moral support as it can. This is one of the fundamental truths
                   of Islamic work and thus represents the duties of the Islamic state . . . The
                   movement provides this aid through the support and assistance it gives to
                   the zakat (Islamic alms-giving) committees and the Islamic associations and
                   institutions in the Gaza Strip.

          523.     Years before the establishment of HAMAS, Sheikh Yassin and the Muslim

 Brotherhood in the Gaza Strip had developed the civilian infrastructure (such as Al-Mujama Al-

 Islami, Al-Jam’iya Al-Islamiya and other organizations) which would soon form the backbone and

 recruiting grounds for HAMAS’s operational terrorist wing, later named the Izz al-Din al-Qassam

 Brigades (herein, the “Qassam Brigades”).8

          524.     As Joshua L. Gleis and Benedetta Berti wrote in their book, Hezbollah and Hamas,

 A Comparative Study:

                   Much of Hamas’s ideology is learned through its social welfare network,
                   which spans everything from mosques, schools, food banks, clinics,
                   summer camps, and hospitals. As is clearly outlined under Article 16
                   (Education of the [Young] Generation) of its charter, one of its major goals
                   is to instill Islamist values into Palestinian children from a young age. At
                   the same time, Hamas employs this wide social network to promote the
                   group and its militant agenda with respect to Israel. This manifests itself in
                   military activities for children in summer camps, indoctrination of
                   kindergarteners to praise suicide attackers and wish to be like them, the
                   reenactment of suicide bombings, and the use of schoolbooks laced with
                   Islamist, anti-Semitic, and anti-Western propaganda.

          525.     In January 1988, HAMAS also established a branch in the West Bank, through

 three of the leaders of the Muslim Brotherhood there: Jamil Hamami, Hamed Bitawi and Sa’id

 Bilal. As in the past, HAMAS relied on the infrastructure of the Muslim Brotherhood in the West

 Bank to build the backbone of command of HAMAS and its resources, while absorbing key zakat




 8
           In 1984, the Israel Defense Forces (“IDF”) uncovered a weapons cache in Yassin’s house. He was later
 arrested and convicted of “establishing a radical Islamic religious organization whose aim was to destroy the State of
 Israel and replace it with a religious Islamic state.” He was sentenced to 13 years in prison but released a year later as
 part of the “Jibril Prisoners’ Exchange” on May 21, 1985.


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 committees9 and charitable societies in the West Bank, and where necessary, also setting up new

 institutions.

         526.     On June 18, 1989, Israel outlawed HAMAS.

         527.     Media reported that hours after this action was taken, “the body of a Jewish settler,

 a knife stick in his chest, was found in a deserted area of the occupied West Bank.”10

         B.       HAMAS in the 1990s

         528.     In December 1992, as a result of increased terrorist activity perpetrated by

 HAMAS, the government of Israel decided to deport over 350 HAMAS operatives to Lebanon.

         529.     This step later became known as the Marj al-Zuhur Deportation because the

 deported Islamists were delivered to a check point by that name in southern Lebanon during their

 brief exile.

         530.     The Marj al-Zuhur Deportation was a formative moment in the history of HAMAS

 and its mythology. It established its status as a leading Palestinian political organization and

 brought it to prominence in the Arab and international arenas.

         531.     HAMAS members who were deported to Marj al-Zuhur have a special place in

 HAMAS’s history, quickly became the most iconic members of HAMAS, and later emerged as

 key leaders of the HAMAS da’wa.

         532.     The international community condemned the deportations and at the end of 1993

 the Israeli Supreme Court ultimately determined that the Government of Israel was compelled to

 return the Marj al-Zuhur deportees.




 9
          The term “Zakat” means tithing in Arabic. This is one of the five Pillars of Islam (Arkan al-Islam). It is
 loosely used herein to refer to a form of semi-compulsory charitable giving.

 10
         Ian Black, “Six killed as Israelis ban Gaza Islamic Groups,” The Guardian (June 19, 1989).


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         533.    The saga transformed the Marj al-Zuhur deportees into celebrities within the

 Palestinian arena. The HAMAS deportees later became the backbone of HAMAS leadership.

         534.    On September 13, 1993, President Clinton hosted the signing ceremony in

 Washington, D.C. for the so-called “Oslo Accords” presented by Yasser Arafat, Chairman of the

 Palestine Liberation Organization (“PLO”) and Israel’s Prime Minister Yitzhak Rabin and his

 foreign minister, Shimon Peres.

         535.    The agreement had several significant aspects, including the withdrawal of Israeli

 forces from parts of the West Bank and Gaza, and the creation of the Palestinian National Authority

 (“PA”), headed by PLO Chairman Yasser Arafat.

         536.    Under the agreement, the newly formed PA would perform the services previously

 provided by Israel, including education, health, social welfare, taxation, and tourism.

         537.    The agreement also included Letters of Mutual Recognition, whereby the Israeli

 government recognized the PLO as the legitimate representative of the Palestinian people, while

 the PLO recognized the right of Israel to exist and purportedly renounced terrorism, violence, and

 the desire for the destruction of Israel.

         538.    The Oslo Accords were not, however, universally accepted by the Palestinian

 factions.

         539.    HAMAS rejected the agreement for its recognition of Israel’s right to exist.

         540.    For HAMAS, the Oslo Accords contradicted its most valued tenet – the destruction

 of the State of Israel and the creation of an Islamic state in all of what is today Israel, the West

 Bank, and the Gaza Strip.

         541.    Accordingly, HAMAS pursued a three-pronged strategy in the early 1990s.




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         542.    First, it upgraded its terror apparatus, improving the capabilities of its Qassam

 Brigades and beginning to perfect its bomb-making skills.

         543.    Second, it intensified its efforts to subvert existing social welfare institutions –

 particularly in the West Bank – in order to systematically gain control of pre-existing zakat

 committees and other religious and social institutions that would ultimately compete with the PA

 for the “hearts and minds” of the Palestinian public in Gaza, the West Bank, and even the

 Palestinian refugee camps in Jordan and Lebanon.

         544.    Third, it accelerated the development of its world-wide fundraising network. While

 HAMAS received support from wealthy patrons in the Persian Gulf even in its prior incarnation

 as Sheikh Yassin’s Muslim Brotherhood “branch” in Gaza, the Oslo Accords galvanized the

 Brotherhood’s supporters in Europe, Africa, and even the United States.

         545.    HAMAS fundraisers and other operatives located abroad are key members of the

 HAMAS da’wa, closely tied to da’wa and Qassam Brigades operatives on the ground in the West

 Bank and the Gaza Strip, as well as to HAMAS political leaders in Turkey, Qatar, and elsewhere

 in the Middle East.

         546.    HAMAS’s push for global fundraising was described by the media during this time.

 An article in The Observer (UK) dated December 27, 1992, described how “Hamas’s finance

 comes from the contributions of its supporters around the world,” and how HAMAS established

 “charities, clinics, and mosques to further its cause.”

         547.    On February 26, 1996, then-Israeli Prime Minister Shimon Peres addressed the

 Israeli parliament (the “Knesset”) following two bombings the prior day. Discussing HAMAS’s

 terrorist attacks, he stated:

                 Hamas has established charitable organizations in order to camouflage its
                 true nature. These charitable organizations raise funds abroad, supposedly



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                   to aid orphans, but in fact they use the contributions to purchase explosives.
                   The countries in which these funds are raised must put an end to these
                   appeals.

                   Their infrastructure is demonstrated in public appearances in the territories.
                   They hold memorial rallies for murderers and brandish their weapons in
                   broad daylight. They maintain clandestine terrorist cells in the territories.
                   This grave picture poses a challenge for the Palestinian Authority.11

         548.      A March 10, 1996, article in The Observer specified that HAMAS’s fundraisers are

 “active in the West, including in Britain, the US and Germany.” The media also identified

 HAMAS’s increased social welfare operations, designed to provide cover for its fundraising and

 recruiting – the same March 10, 1996, article in The Observer reported that at one of HAMAS’s

 teaching colleges, HAMAS operative Abu Ahmed recruited college students to commit suicide

 bombings, leading Palestinian security in the West Bank to conduct a police raid on the college

 campus.

         549.      In fact, HAMAS made its presence in the West Bank known to the Palestinian

 public as well.

         550.      For example, The Guardian (UK) published reporting from The New York Times

 News Service on March 23, 1996, noting that “[i]n the West Bank and Gaza, most of the Zakat

 funds in institutions are now controlled by Hamas.”

         551.      The Associated Press, reporting on August 15, 1998, concerning the criminal

 prosecution in Chicago of Muhammad Salah (an alleged HAMAS fundraiser), quoted him as

 saying in an interview: “They (Hamas) have run schools, hospitals, mosques. They do so much for

 the Palestinians.”



 11
         See Shimon Peres, “Address to the Knesset by Prime Minister Peres on Hamas attacks in Jerusalem and
 Ashkelon,” Historical Documents 1995–1996, Israel Ministry of Foreign Affairs, February 26, 1996, https://mfa.gov.
 il/MFA/MFA-Archive/1996/Pages/PM%20Peres-%20Knesset%20Speech%20on%20Jerusalem%20and%20
 Ashkelon.aspx.


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          552.       As a result of Israeli and American pressure on the Palestinian Authority, in the five

 years preceding the Second Intifada,12 the Palestinian Authority periodically instituted a series of

 arrests and crackdowns against HAMAS operatives and institutions.

          553.       For example, in June 1995, the Palestinian Authority raided the office of the Islamic

 Society (Al-Jam’iya Al-Islamiya).

          554.       After a period of arrests of HAMAS operatives, however, in October 1996, the

 Palestinian Authority instituted a wholesale release of prisoners wanted by Israel. The most senior

 among them were often recruited into the Palestinian Police and General Security Service (“GSS”).

          555.       One of the prisoners released was Kamel Khalifa, a member of the Qassam

 Brigades who murdered two Israeli civilians in 1993 and killed two Israeli soldiers in a subsequent

 attack that same year.

          556.       Khalifa was recruited to join the GSS.

          557.       Likewise, Imad al-Din Aql, who served as an assistant to Yahya Ayyash,

 HAMAS’s pre-eminent bomb-maker (the so-called “Engineer”), was also recruited into the GSS

 after his arrest.

          558.       After a series of HAMAS suicide bombings, in September 1997 the Palestinian

 Authority temporarily closed Al-Jam’iya Al-Islamiya and 15 other societies identified with

 HAMAS.

          559.       On October 4, 1997, in an interview with the high-circulation Palestinian

 newspaper, Al-Hayat al-Jadida, Dr. Abd al-Aziz al-Rantisi, one of HAMAS’s founders, called for

 the Palestinian Authority to reopen all institutions it had previously closed.



 12
          The term “Second Intifada” refers herein to the violent conflict launched by Palestinian factions at the end of
 September 2000. While the violence had no “official” ending date, it is generally considered to have subsided at the
 end of 2004.


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          560.     The institutions were soon reopened, but the Palestinian Authority continued to

 periodically arrest (and release) senior HAMAS leaders, like Ibrahim al-Yazuri (briefly arrested

 in 1998)13; Qassam Brigades commander Ibrahim Hamed (briefly arrested in 1999 after he planned

 two murders); Ahmad Bahar, chairman of Al-Jam’iya Al-Islamiya (briefly arrested in October

 1998); Ahmad al-Kurd, chairman of al-Salah (briefly arrested in October 1998 during the same

 sweep); and Sheikh Hamed al-Bitawi, chairman of Al-Tadamun (arrested for a few hours on

 October 25, 1998).

          C.       HAMAS’s Global Fundraising Network

          561.     After HAMAS was established in 1987 as the Palestinian branch of the Muslim

 Brotherhood, the Muslim Brotherhood directed its world-wide chapters to establish so-called

 “Palestine Committees” to support HAMAS from abroad.

          562.     These “Palestine Committees” were then established throughout Europe, the United

 States, and elsewhere, often led by HAMAS operatives living abroad.

          563.     For example, Comité de Bienfaisance et de Secours aux Palestiniens (“CBSP”),

 HAMAS’s primary fundraiser in France, was founded in 1990 and registered there as a non-profit

 organization. It was one of the Muslim Brotherhood’s first “Palestine Committees.”

          564.     The Israeli government declared CBSP an illegal organization on May 6, 1997,

 because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,

 and subsequently designated it a terrorist organization on January 17, 1998.




 13
           In January 1998, al-Yazuri gave an interview to Filastin al-Muslima (“Muslim Palestine,” the official
 HAMAS newspaper) in which he was openly identified as “one of the founders of the Islamic Resistance Movement.”
 In the interview he was asked how Palestinian society has been affected by the Palestinian Authority’s actions against
 HAMAS’s social welfare organizations. Yazuri responded that “[t]he blows dealt to the infrastructure institutions of
 the Palestinian society, at the hands of the Palestinian Authority are hurtful, insulting and destructive not only for
 Hamas, but also the Palestinian masses who have enjoyed the assistance of these institutions.”


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        565.    Interpal, HAMAS’s most important fundraising organization in the United

 Kingdom, was formally registered as a charity with the U.K. Charity Commission on August 11,

 1994, under its official name, the “Palestinian Relief and Development Fund.”

        566.    Interpal was reported by the Western press, as well as by Israel and Arab press, “to

 be a principal conduit of funds for the Palestinian Hamas movement. Israeli officials say much of

 the money is spent on weapons.”14

        567.    Published reports in Israel in 1995 continued to link Interpal to HAMAS.

        568.    These reports were repeated in Western publications, including a March 10, 1996,

 article in The Observer, which described Israel’s claims that “Britain had become a ‘focal point’

 for Hamas military fund-raising, most of it carried out under the guise of charitable relief,” which

 was followed by the “Charity Commissioners [freezing] the assets of the Palestinian charity

 Interpal, pending an investigation.”

        569.    On March 13, 1996, the Financial Times in London similarly reported that:

                Israeli military intelligence claimed that Interpal, a UK-based charity whose
                bank accounts were frozen last week by the Charity Commission, had
                masterminded fund-raising for the Hamas Islamic movement in
                Europe. Israeli police, meanwhile, released documents about financial
                support given to the families of three Hamas military activists by two
                Nazareth-based charities which they claim are funded by Interpal. A senior
                military officer said Interpal, also known as the Palestinian Relief and
                Development Fund, raised money for Hamas institutions and directly
                provided support to families of Hamas guerillas and suicide
                bombers….

                The Israeli military officer alleged that Interpal was directly connected to
                the Finance Committee of Hamas […]. ‘All the European funds are
                coordinated by Interpal,’ he said. Mr Daya [identified as Interpal’s
                chairman] described this contention as ‘rubbish’.

                Last week police named Interpal and Al Aqsa, based in Germany, as the
                source of funds to Mr Suleiman Agbariah […]. Police say they have more
                than 60 cases proving that Mr Agbariah’s charities – the Islamic Salvation

 14
        Evans, Kathy, “Radical time-bomb under British Islam,” The Guardian (Feb. 7, 1994).


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               Fund and the Islamic Rescue Fund – gave money to the families of Hamas
               guerillas. They provided documents from three cases which they allege
               prove a link between Mr Agbariah and his charities with known activists in
               the Izz el-Deen al-Qassam Brigades….

               The [Israeli] intelligence officer said Israel had material evidence that some
               of the money sent by Interpal to registered schools, clinics, orphanages and
               welfare societies had been diverted to the families of Hamas guerillas. He
               said several lists of orphans who receive charity included people above the
               age of 18 who were known Hamas activists. In London, Mr Daya said
               Interpal supported no orphans over the age of 15. Asked if any of the 36
               charities which Interpal funds were linked to Hamas, he said: “Maybe.”

 (Emphasis added.)

        570.   Moreover, a detailed article on March 15, 1996, in The New York Times titled

 “ROOTS OF TERROR: A special report. Alms and Arms: Tactics in a Holy War,” described how

 HAMAS’s da’wa system works and how it raised money abroad, noting: “Israeli officials say that

 among the key Hamas fund-raising operations are the Holy Land Foundation of Richardson, Texas

 and the London-based Palestine and Lebanon Relief Fund, known, for its telex address, as

 Interpal.”

        571.   Similarly, a July 8, 1996, article in U.S. News & World Report detailed Saudi

 Arabian funding of HAMAS, reporting:

               From a spacious headquarters in a warehouse near Jidda Port, the
               International Islamic Relief Organization coordinates a multimillion-dollar
               campaign to fund communal and social work among refugees and the poor
               throughout Africa, Asia and the Middle East.

               But according to Western intelligence sources, the relief organization does
               much more than that: They believe that the IIRO, one of the largest
               nongovernmental organizations in Saudi Arabia, is a major clearinghouse
               for an estimated $ 20 million a year in Saudi financial aid to Islamic
               extremists in Gaza and the West Bank. It’s all a high-risk gamble for the
               kingdom. Allowing the raising of money for foreign groups that support
               religious extremism and terror, say these intelligence sources, could spark
               even greater dissent against the Saudi government.




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                Dangerous liaisons. Much of the aid sent to the West Bank and Gaza, report
                these sources, is given as unsupervised cash grants. The funds are first
                transferred to London and Amman bank accounts of Islamic welfare
                organizations such as the Palestine and Lebanon Relief Fund (PLRF)
                and the Palestinian Relief and Development Fund (Interpal). At least
                some of that money, say the sources, winds up financing Hamas
                activities, from funding the families of suicide bombers to bankrolling
                the suicide units.

                Farid Y. Gurashi, the general secretary of the IIRO, denies that his
                organization sends support to any political group, “even if it’s a good
                cause.” But, adds the American-educated Gurashi, “it would be silly and
                unacceptable to say we cannot help Palestinians.”

                According to a copy of a document obtained by U.S. News, officials of a
                Hamas fund-raising group in the West Bank and Gaza were instructed to
                send letters of thanks to the executives of the IIRO and another Saudi
                organization, the World Association of Muslim Youth, for “charity for this
                year. (Emphasis added.)

        572.    The Israeli government declared Interpal an illegal organization on May 6, 1997,

 because of its affiliation with HAMAS and the support it gave to HAMAS-affiliated institutions,

 and subsequently designated it a terrorist organization on January 17, 1998.

        573.    On August 22, 2003, following the aforementioned deadly suicide bombing aboard

 Bus #2 in Jerusalem on August 19, 2003, in which Tehilla Nathansen was killed and multiple

 members of her family severely injured, the U.S. Treasury Department designated five HAMAS-

 related charities and six senior HAMAS leaders as Specially Designated Global Terrorists

 (“SDGTs”).15

        574.    The five HAMAS-related institutions that were designated as SDGTs were:

                1.       CBSP, of France.

                2.       Association de Secours Palestinien (“ASP”), of Switzerland (an
                         organization affiliated with CBSP).




 15
        A copy of the U.S. Treasury Press Release is attached as Exhibit B to the Second Amended Complaint.


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                  3.       Palestinian Relief and Development                   Fund,     or    Interpal,
                           headquartered in the United Kingdom.

                  4.       Palestinian Association in Austria (“PVOE”).

                  5.       Sanabil Association for Relief and Development based in
                           Lebanon.16

           575.   The U.S. Treasury Press Release announcing the designations of these five entities

 stated:

                  The United States government has credible evidence that the following five
                  organizations are part of a web of charities raising funds on behalf of
                  HAMAS and using humanitarians [sic] purposes as a cover for acts that
                  support HAMAS. Funds are generated by, and flow through, these
                  organizations on behalf of HAMAS.

           576.   According to the U.S. Treasury Department, “Interpal, headquartered in the UK,

 has been a principal charity utilized to hide the flow of money to HAMAS. Reporting indicates it

 is the conduit through which money flows to HAMAS from other charities, e.g., the Al Aqsa

 Foundation (designated under Executive Order 13224 on May 29th) and oversees the activities of

 other charities. … Reporting indicates that Interpal is the fundraising coordinator of HAMAS. This

 role is of the type that includes supervising activities of charities, developing new charities in

 targeted areas, instructing how funds should be transferred from one charity to another, and even

 determining public relations policy.”

           577.   According to the U.S. Treasury Department, “CBSP and ASP are primary

 fundraisers for HAMAS in France and Switzerland, respectively. Founded in France in 1990,

 CBSP acts in collaboration with more than a dozen humanitarian organizations based in different

 towns in the West Bank and Gaza and in Palestinian refugee camps in Jordan and Lebanon. ASP,



 16
          Sanabil was hardly the only HAMAS institution operating in Lebanon. The Union of Good raised significant
 sums through bank accounts in Lebanon and its affiliated organization, the Welfare Association for Palestinian and
 Lebanese Families (“Al-Waqfiya”) (discussed below), was both a CAB customer and a significant HAMAS
 fundraising channel for the families of HAMAS “martyrs” and prisoners.


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 a subsidiary of CBSP, was founded in Switzerland in 1994. The group has collected large amounts

 of money from mosques and Islamic centers, which it then transfers to sub-organizations of

 HAMAS. Khalid Al-Shuli is the president of CBSP and ASP.”

        578.    According to the U.S. Treasury Department, “PVOE is controlled by the leader of

 HAMAS in Austria. The money is targeted to support members of HAMAS and is funneled

 through other charities in Lebanon, the West Bank and Gaza or other areas of the Middle East in

 order to ensure the transfer of funds is undetected and reaches its intended recipients. PVOE is part

 of the HAMAS network of charitable organizations that includes the Al Aqsa Foundation.”

        579.    The six senior HAMAS leaders who were designated SDGTs were:

                1.      Sheikh Yassin, the founder and spiritual leader of HAMAS.

                2.      Imad Khalil Al-Alami, a member of HAMAS’s Political Bureau in
                        Damascus, Syria.

                3.      Osama Hamdan, a senior HAMAS leader in Lebanon.

                4.      Khalid Mishal, (then) head of HAMAS’s Political Bureau and
                        Executive Committee in Damascus, Syria.

                5.      Moussa Abu Marzouk, (then) Deputy Chief of HAMAS’s Political
                        Bureau in Syria.

                6.      Abd al-Aziz al-Rantisi, (then) HAMAS leader in Gaza reporting to
                        Sheikh Yassin.

        580.    In September 2003, the Central Bank of Jordan asked local Jordanian banks,

 including CAB, to freeze the accounts of the individuals and entities designated by the U.S.

 government on August 22, 2003. The freezing order was subsequently rescinded because of the

 political uproar and public opposition in Jordan to the freezing of HAMAS accounts.

        581.    The Al-Aqsa Foundation, a major fundraiser for HAMAS, had branch offices in

 Holland, Belgium, Denmark, Sweden, Yemen, South Africa, and Pakistan. It was founded in July




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 1991 in Germany (Al-Aqsa e.V.), where it was headquartered, and which served as its main branch

 until at least 2002.

         582.    On May 6, 1997, Israel outlawed the Al-Aqsa Foundation (including its German

 headquarters). In January 1998, Israel declared it a terrorist organization.

         583.    On May 21, 1997, Agence France Presse reported that “Israel has banned five

 foreign-based fundraising groups from carrying out activities in the country or the occupied

 territories on grounds they help finance armed Palestinian militants,” and that the five groups

 included the “Palestine Development Fund [Interpal], also based in Britain, the Al-Aqsa

 Foundation in Germany and the Holy Land Fund in the United States.” It also noted that

 Israeli intelligence officials “accused the five foundations of supporting the Islamic Resistance

 Movement (HAMAS), the biggest Palestinian group still waging an armed struggle against Israel

 ….” (Emphasis added.)

         584.    An August 6, 1997, article in the Deutsche Presse—Agentur reported:

                 The Israeli government announced plans Wednesday to pressure the United
                 States, Britain, Germany and France to stem the flow of funds from
                 purportedly charitable organizations in those countries to the radical Hamas
                 group.

                 In a news conference for journalists from those countries, a high-ranking
                 Israeli army representative said crushing the Hamas infrastructure
                 invariably involved stopping the flow of funds from groups abroad
                 masquerading under the guise of charities.

                 He said Hamas--linked organizations in Europe included the Interpal
                 Palestinian charitable organization in London and the Al Aksa Fund in
                 Aachen, Germany. He claimed both organizations are firmly in the hand of
                 Hamas.

                 In America, the Holy Land Fund in suburban Dallas funneled 3 to 4 million
                 dollars annually to Hamas, the official said. Similar amounts are raised by
                 the groups in London and Aachen, he said. In France he cited the CBSP
                 organization as a front for Hamas fundraising efforts.




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                Israel has long asked governments of those countries to take steps to curtail
                Hamas activities on their soil, he said, but to no avail.

        585.    The following day, the Associated Press reported that an “Israeli official, requesting

 anonymity, said that Hamas had set up offices in London, Paris and Aachen, which collected

 donations of more than $10 million a year. In addition to Al-Aqsa in Germany, the others were

 identified as the Palestinian Relief and Welfare Fund in London, and the Companie Benificent De

 Solidarite Avec Palestine (CBSP) in France.”

        586.    On August 8, 1997, The Jerusalem Post reported:

                Israel is asking Britain, France, and Germany to close down major
                fundraising operations run by Hamas in Europe.

                An Israeli official said Hamas set up offices in London, Paris, and Aachen,
                which collected donations of more than $ 10 million a year.

                The official identified the fundraising organizations as the Palestinian
                Relief and Welfare Fund in London, the Companie Benificent De Solidarite
                Avec Palestine, and Al- Aksa, which coordinates fundraising from Austria,
                Switzerland, Belgium, and the Netherlands.

                A fourth Hamas fundraising organization is the Holy Land Foundation of
                Richardson, Texas - but the US has passed as yet unimplemented legislation
                to crack down on organizations like Hamas, the official said.

        587.    In 2001, the security service for the German State of Nordrhein-Westfalen

 concluded in its annual published report that “there are indications that the [Al Aqsa Foundation]

 is integrated into the financial infrastructure of Hamas and supports the extremist activities of

 Hamas under the guise of humanitarian aid for Palestine.”

        588.    On June 9, 2002, the German daily newspaper Die Welt reported on the ongoing

 controversy concerning the Al-Aqsa Foundation and its connections to HAMAS in an article titled:

 “Suspicion confirmed: German donations for the terror against Israel.”




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        589.    In July 2002, the German government closed the offices of the Al-Aqsa Foundation

 located in Germany.

        590.    According to the closure order, “AL-AQSA e.V. advocates, supports and calls for

 violence as means to achieve political, religious or other goals by awakening or at least

 strengthening the willingness of third parties to use violence as a political, religious or other

 means.”

        591.    With respect to Al-Aqsa’s connection to HAMAS, the order stated: “AL-AQSA

 e.V. already financially supported the predecessor organization of HAMAS, the ‘Al-Mujama Al-

 Islamiya’ and to this day forwards at least some of the incoming donations to HAMAS. The funds

 resulting from collections of donations are flowing either directly to HAMAS or via seemingly

 unsuspected aid organizations.”

        592.    On August 6, 2002, Newsday (NY) reported:

                German authorities shut down an Arab charity yesterday accused of
                collecting money for the militant Palestinian organization Hamas, the
                interior ministry said.

                Investigators seized the equivalent of $296,000 from accounts of the Al-
                Aqsa organization in the cities of Aachen and Cologne, Interior Minister
                Otto Schily told reporters. No one was arrested, but numerous documents
                were seized.

                Schily said Al-Aqsa raised money for families of suicide bombers who
                carried out deadly attacks against Israelis. The funds were transferred to
                “social and humanitarian organizations in the partially autonomous
                Palestinian territories which are connected with the organizational structure
                of Hamas or its associates,” Schily said.

                Mahmoud Amr, 45, chairman of Al-Aqsa, denied the organization was
                funneling money to Hamas.

        593.    According to the article, “[a]mong it’s [sic] activities, Al-Aqsa calls for donations

 to support ‘martyr families,’ which authorities interpreted as support for the families of suicide




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 bombers, [German Interior Minister Otto] Schily said.”

        594.    It also quoted Schily as stating that: “Organizations that support such horrific

 attacks must be shut down. We tolerate neither terrorist activities in Germany nor organizations

 that support attacks in foreign countries.”

        595.    On August 16, 2002, the Associated Press reported that police in two German cities

 carried out new raids against the Al-Aqsa Foundation and despite denials from the organization,

 “Interior Minister Otto Schily has said documents found in the group’s headquarters support the

 government’s belief that the charity was assisting Hamas, which has claimed responsibility for

 many of the suicide attacks in Israel.”

        596.    On August 20, 2002, The Wall Street Journal reported on Germany’s actions

 against the Al-Aqsa Foundation in an article titled “Report on al Qaeda Prompts German Ban of

 Islamic Group.” The article notes that the Al-Aqsa Foundation “raises money for the ostensibly

 humanitarian activities of Islamic militant group Hamas in the Palestinian territories, but al Aqsa

 also is accused of sending money to the families of suicide bombers.”

        597.    Following Germany’s ban of the Al-Aqsa Foundation in August 2002, the General

 Intelligence and Security Service of the Netherlands (AIVD) intensified its own investigation into

 the Dutch branch of the organization and published its findings in its annual report for 2002, noting

 that: “Al Aqsa raises funds in the Netherlands for benefit of Palestinian organizations and is

 associated with the support of the radical Islamic Palestinian organization Hamas. Unlike Israel

 and the United States, in Europe only the military wing of Hamas, the al Qassam Brigade, is

 designated as a terrorist organization. In the past, personnel and administrative ties between Al

 Aqsa Germany and Al Aqsa Netherlands were detected. Investigation by the AIVD now has




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 [further] indicators. It has been found that funds collected here by the Al Aqsa foundation have

 been used for violent activities in the Middle East.”

        598.    On April 3, 2003, the Netherland Ministry of Finance and Ministry of Foreign

 Affairs froze the accounts of the Al-Aqsa Foundation in the Netherlands citing its connection to

 HAMAS.

        599.    The Dutch government concluded that:

                The differentiation between social and terroristic activities of Hamas can no
                longer be upheld. Hamas, to which the named fundraising organizations are
                connected has to be viewed as an organization facilitating charitable
                services as well as terrorist acts, whereby these activities mutually
                complement each other.

                The Association Al-Aqsa maintains or maintained contacts with institutions
                raising funds in favor of Hamas. The association maintains or maintained
                contacts to Al-Aqsa in Germany (prohibited in mid-2002), Al-Aqsa in
                Denmark (assets frozen at the end of 2002), Al-Aqsa in Belgium, as well as
                to institutions raising funds for Hamas in Great Britain, Italy, Switzerland,
                Sweden and France.

                These fundraising institutions, including the Dutch Al-Aqsa, are carrying
                out a joint international action to raise funds for Hamas under the name of
                “Union of the Good” (in Arabic: Ittilaf Al-Khair). In the past, the head of
                the Union of the Good located in Qatar has approved suicide attacks for
                religious reasons.

        600.    On April 9, 2003, the Dutch daily newspaper Trouw (“True”) reported on the

 government’s actions against the Al-Aqsa Foundation:

                Minister of Foreign Affairs De Hoop Scheffer has frozen the funds of a
                Rotterdam foundation that is used by Dutch Muslims to send money to the
                Palestinians. According to the minister, the Al Aqsa Foundation supports
                terrorists. The measure, published in the Government Gazette, takes effect
                today. Furthermore, it is now prohibited to donate money to Al Aqsa. Banks
                are no longer allowed to provide financial services to the foundation.

                It was already known that Al Aqsa is transferring money to the Palestinian
                organization Hamas, responsible for suicide attacks in Israel and the
                Palestinian territories. Al Aqsa leaflets state that money can be deposited in
                a “martyrs’ fund.” Hamas is also concerned with social services. Until now,



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                the Dutch government took the position that Al Aqsa could not be brought
                down, because it could not be established that euros collected here in the
                Palestinian Territories were used for bombs and not for beds.

                Germany already banned the establishment of Al Aqsa in Aachen, after
                which the General Intelligence and Security Service intensified its
                investigation and now says it has hard evidence that money from Rotterdam
                is used directly for violent actions. It is still unknown whether Al Aqsa will
                also face criminal charges.

        601.    On May 29, 2003, the U.S. Treasury Department designated the Al-Aqsa

 Foundation (including all of its branches) as an SDGT pursuant to Executive Order 13224.17

        602.    The U.S. Treasury Press Release announcing Al-Aqsa’s designation stated:

                Al Aqsa is a critical part of Hamas’ terrorist support infrastructure. Through
                its headquarters in Germany and branch offices in the Netherlands,
                Denmark, Belgium, Sweden, Pakistan, South Africa, Yemen and elsewhere,
                Al Aqsa funnels money collected for charitable purposes to Hamas
                terrorists.

                Other nations, including the Netherlands, Germany, Denmark, Britain,
                Luxembourg and Switzerland, have also taken action against the Al-Aqsa
                Foundation.

        603.    CAB processed multiple transfers originating from Al-Aqsa Foundation branches

 to CAB account holders before the Al-Aqsa Foundation was designated an SDGT.

        604.    These included transfers to the Jenin Zakat Committee from Al-Aqsa Foundation

 in Germany in February 2000 and February 2001 and from the Al-Aqsa Foundation in Sweden in

 February and April 2003 (in USD).

        605.    CAB also processed multiple transfers originating from Al-Aqsa Foundation

 branches to CAB account holders after the Al-Aqsa Foundation was designated an SDGT.

        606.    These included transfers from the Al-Aqsa Foundation in Sweden to the Jenin Zakat

 Committee in July 2003 and May 2004.



 17
        A copy of the U.S. Treasury Press Release is attached as Exhibit C to the Second Amended Complaint.


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         607.     CAB also processed multiple transfers from the Al-Aqsa Foundation in Sweden to

 the HAMAS-operated Gaza office of the World Assembly of Muslim Youth (“WAMY”) both

 before and after the Al-Aqsa Foundation was designated an SDGT.

         608.     CAB maintained account no. 6266/1 for the Gaza Office of WAMY both during

 and after the relevant period.18

         D.       HAMAS in the United States – the Holy Land Foundation

         609.     In October 1993, less than one month after the public signing of the Oslo Accords,

 approximately 20 members of the so-called “Palestine Committee” in the United States (discussed

 above) gathered together in Philadelphia, Pennsylvania to discuss how to help HAMAS oppose

 the Oslo Accords and to continue and improve their fundraising and political activities in the

 United States.

         610.     The Federal Bureau of Investigation (FBI) learned of the Philadelphia meeting and

 obtained a warrant from the Foreign Intelligence Surveillance Court to monitor the meeting, which

 lasted approximately three days.

         611.     During the meeting, the participants discussed the problems that the Oslo Accords

 presented for those opposed to co-existence with Israel, and attendees were admonished not to

 mention “HAMAS,” but rather to refer to it as “Samah,” which is HAMAS spelled backwards.

         612.     Attendees agreed that they must operate under an ostensible banner of apolitical

 humanitarian exercise in order to continue supporting HAMAS’s vital social recruitment effort by

 financially supporting institutions, organizations, and programs in the West Bank and Gaza aligned

 with HAMAS.




 18
          In the context of this Second Amended Complaint, the relevant period encompasses the Second Intifada
 period and the years immediately preceding it (1997 through 2004).


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        613.    The attendees noted that the United States provided them with a secure base from

 which to operate and their belief that continuation of jihad was inevitable.

        614.    They decided that most of the funds raised in the future should be directed toward

 HAMAS and to providing support to the injured, the prisoners and their families, and the martyrs

 and their families.

        615.    Attendees identified several charitable societies and zakat committees as “ours,”

 identifying these outwardly charitable entities as belonging to HAMAS.

        616.    The Holy Land Foundation (“HLF”), which was established in 1989, emerged from

 the Philadelphia meeting as the preeminent HAMAS fundraising organization in the United States.

        617.    However, neither HLF nor the U.S.-based Palestinian Committee worked in

 isolation on behalf of HAMAS.

        618.    While HLF was a vital member of HAMAS’s international network of

 organizations dedicated to financing HAMAS’s agenda, it also worked in conjunction with

 organizations in Europe and throughout the world to funnel money to the same closed network of

 HAMAS-controlled charitable societies and zakat committees in the West Bank and Gaza.

        619.    These other organizations – including The Palestinian Relief and Development

 Fund (Interpal) in Great Britain, the Al-Aqsa Foundation in Germany, Belgium, and Holland, the

 CBSP in France, the ASP in Switzerland, the Palestinian Association in Austria (PVOE), and the

 Palestinian Branch of WAMY – all operated in similar ways, sharing fundraising techniques,

 projects, and connections to HAMAS leaders.

        620.    In May 1995, Israeli authorities raided HLF’s branch office in Beit Hanina, a village

 near Jerusalem. Their review of the HLF branch’s records led them to conclude that it was




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 distributing funds raised by the Texas-headquartered group and funneling them to HAMAS-

 controlled entities.

         621.    The raid yielded records listing dozens of HAMAS recipients of HLF money

 including the children of Yahya Ayyash, the aforementioned notorious “Engineer” – HAMAS’s

 first master bomb-maker, who was assassinated by Israel in 1996.

         622.    Another recipient was the mother of Ahmed Hussein Mahmoud Shukri, a HAMAS

 operative sentenced to life in prison in Israel for murdering a Jewish person in Tel Aviv in 1989.

         623.    Other recipients of HLF funds included the father of a HAMAS operative killed in

 a 1994 clash with the Israeli army, the mother of a man serving a life sentence for killing three

 Israeli civilians in 1992, and the family of a convicted bomber who murdered a Canadian tourist

 in 1990.

         624.    On March 15, 1996, a feature article in The New York Times detailed the financing

 of HAMAS by so-called charitable organizations: “Most of Hamas’s estimated $70 million annual

 budget goes to support a network of hundreds of mosques, schools, orphanages, clinics and

 hospitals that permeates virtually every village, town and refugee camp on the West Bank and

 Gaza Strip. But these social services provide both a cover and a recruiting ground for young

 terrorists. One of the important uses of charitable donations to Hamas is to provide lifetime

 annuities to the families of suicide bombers.” The article specifically discussed Israeli government

 claims that Richardson, Texas-based HLF and the London-based Palestine and Lebanon Relief

 Fund, known, for its telex address, as Interpal, were the “key fundraising operations” for HAMAS.

 It also noted HAMAS’s “Dawa activities -- from the Arabic word for the call to prayer” that

 included “the issuance of pamphlets and staging of ceremonies to spread Islamic doctrine” and

 “employing hundreds of people [as part of its] social and welfare network.”




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        625.    The April 8, 1996, edition of the Dallas Morning News contained an article titled:

 “Paper Trail Leads to Hamas; Two Organizations Based in Richardson Deny They Promote

 Agenda of Anti-Israeli Terrorists.” The article reported that:

                Leaders of the local groups denied affiliation with Hamas. Sharing a stage
                with Hamas speakers doesn’t mean they approve of Hamas terrorism or
                provide support for it, they say.

                “We have never raised money for Hamas or tried to recruit members for
                Hamas,” said Shukri Abu Baker, executive director of the Holy Land
                Foundation for Relief and Development.

                Public records, materials from the two groups and interviews over seven
                months show a pattern of personal, financial and philosophical ties between
                Hamas and the two nonprofit groups….

                Last month, the Israeli government closed the Jerusalem office of the Holy
                Land Foundation because of alleged ties to Hamas. Officials also closed the
                headquarters of an Islamic school partly funded by the Holy Land
                Foundation and arrested its director for allegedly being a Hamas activist.

                Mousa Abu Marzook, the political leader of Hamas, provided more than 10
                percent of all donations to the Holy Land Foundation in 1992, according to
                Internal Revenue Service records. Mr. Marzook’s wife is a cousin of
                Ghassan El-Ashi, a Holy Land Foundation board member, and …. The
                Israeli government alleges that Mr. Marzook is actually the military leader
                of Hamas and thus is involved in planning and financing the group’s
                terrorist operations.

        626.    On May 20, 1996, The Jerusalem Post reported on proceedings in the High Court

 of Justice resulting in a decree by the Israeli government shutting down HLF’s Jerusalem office

 and authorizing confiscation of all of its property.

        627.    On May 6, 1997, the government of Israel designated HLF a HAMAS organization

 and declared that HLF “deals in the practice of transferring monies to families of HAMAS

 activists, who carried out deadly attacks, or who were jailed in the wake of these attacks ….”




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          628.     Israeli designations of HAMAS organizations were published and publicized in the

 Palestinian Territories (as were all relevant Israeli laws as of June 8, 1967).19

          629.     On June 21, 1997, the Associated Press reported:

                   The Israeli government has outlawed a Texas-based Muslim charity on
                   grounds that the group has given financial support to the militant Palestinian
                   movement Hamas, a newspaper reported Saturday.

                   The Israeli Foreign Ministry provided a copy of the decree to The Dallas
                   Morning News along with a statement saying the order stemmed from [the]
                   determination about Hamas links to the Holy Land Foundation for Relief
                   and Development.

                   The group, based in Richardson, Texas, and three other Islamic groups
                   “have become part of the communications and economic infrastructure of
                   Hamas,” the statement said.

                   The decree, issued May 6, authorizes the Israeli government to seize the
                   group’s assets and any of its money found in Israel.
          630.     Following several HAMAS terror attacks, on September 25, 1997, the Palestinian

 Authority closed what it identified as 16 HAMAS institutions, including HLF’s Gaza offices.

          631.     Nevertheless, even after Israel’s and the Palestinian Authority’s identification of

 HLF as a HAMAS institution in 1997, CAB continued to maintain one or more U.S. dollar-

 denominated accounts for HLF, including Account No. 4883 (001 000 4883 03 2111 813) in

 Hebron, located in the Palestinian Territories.

          632.     At the beginning of 2001, the aforementioned account had a balance in U.S. dollars

 in excess of $600,000.


 19
           See Declaration of Shlomo Politis, Linde v. Arab Bank, PLC, No. 04-cv-2799-BMC-VVP (E.D.N.Y. Nov.
 25, 2014), ECF No. 1193-13, attached as Exhibit D to the Second Amended Complaint., ¶¶ 15-17, 24-31. From 1994
 to 2004, both the Palestinian Authority and the Government of Israel exercised jurisdiction over the Palestinian
 Territories. The Commanders of IDF forces in the Palestinian Territories therefore exercised governmental and
 administrative authority, including promulgation of laws and regulations. After September 1995, all notifications
 concerning new laws and regulations were promulgated through District Civil Liaison Offices (“DLCs”) which printed
 them, translated them into Arabic, and made them available to Palestinian Authority DLCs as well. All persons and
 entities in the Palestinian Territories, including banks, were legally presumed to have access and notice to such laws
 and regulations, including those proscribing illegal organizations.


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        633.    On January 26, 2001, Al-Hayat al-Jadida reported that HLF was paying $700 to

 martyrs’ families and $2,000 to married martyrs’ families during the Second Intifada.

        634.    Most of the funds HLF transferred from the United States to its offices in the

 Palestinian Territories were transferred through CAB’s correspondent account with Citibank in

 New York.

        635.    These transfers were often in very large amounts.

        636.    For example, a transfer from HLF in Richardson, Texas, to HLF in the Palestinian

 Territories dated December 28, 1999, for $190,743 was sent via “CITIBANK NY FFC CAIRO

 AMMAN BANK AMMAN JORDAN BR WADI SAKRAH FCC CAIRO AMMAN BANK

 ISLAMIC TRANSACTION HEBRON ISRAEL.”

        637.    A transfer from HLF in Richardson, Texas, to HLF in the Palestinian Territories

 dated January 16, 2001, for $229,283 was sent via “CITIBANK NY FFC CAIRO AMMAN

 BANK AMMAN JORDAN BR WADI SAKRAH FCC CAIRO AMMAN BANK ISLAMIC

 TRANSACTION HEBRON ISRAEL.” A copy is attached as Exhibit E to the Second Amended

 Complaint.

        638.    HLF’s Hebron branch not only helped fund other HAMAS institutions but it also

 provided funds to the families of Palestinian “martyrs” directly.

        E.      The United States Designates the Holy Land Foundation an SDGT in 2001

        639.    On December 4, 2001, HLF, a U.S.-based organization which provided millions of

 dollars to HAMAS, was designated an SDGT pursuant to Executive Order 13224 and a Specially

 Designated Terrorist (“SDT”) under Executive Order 12947. HLF’s designation was accompanied

 by an order blocking all its assets.

        640.    The U.S. Treasury Press Release announcing HLF’s designation stated, inter alia:




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                     The Holy Land Foundation for Relief and Development, headquartered
                      in Richardson, Texas, raises millions of dollars annually that is used by
                      HAMAS. Last year, Holy Land raised over $13 million.

                     Holy Land supports HAMAS activities through direct fund transfers to
                      its offices in the West Bank and Gaza that are affiliated with HAMAS
                      and transfers of funds to Islamic charity committees (“zakat
                      committees”) and other charitable organizations that are part of
                      HAMAS or controlled by HAMAS members.

                     Mousa Mohamed Abu Marzook, a political leader of HAMAS, provided
                      substantial funds to the Holy Land Foundation in the early 1990s. In
                      1994, Marzook (who was named a Specially Designated Terrorist by the
                      Treasury Department in 1995) designated the Holy Land Foundation as
                      the primary fund-raising entity for HAMAS in the United States.20

         641.     These findings were in part the product of an extensive FBI investigation that

 culminated in what has come to be referred to as the “Watson Memorandum” – named after former

 FBI official Dale Watson. A copy is attached as Exhibit G to the Second Amended Complaint.

         642.     The FBI report observed:

                  It is the FBI’s analysis that the zakat committees receiving HLFRD [Holy
                  Land Foundation] financial support are controlled by HAMAS. GOI
                  [Government of Israel] analysis has also determined that HAMAS activists
                  have been elected or appointed to senior leadership positions on these zakat
                  committees. GOI analysis, as well as open source reporting, has identified
                  that the civilian population is aware that the services being provided by
                  the zakat committees, whether it’s the distribution of food, medical
                  services or other social services, are being provided by HAMAS.
                  (Emphasis added.)

         643.     The FBI report also concluded that:

                  [E]vidence strongly suggests that the [HLF] has provided crucial financial
                  support for families of HAMAS suicide bombers, as well as the Palestinians
                  who adhere to the HAMAS movement. It is believed that by providing these
                  annuities to families of HAMAS members, the [HLF] assists HAMAS by
                  providing a constant flow of suicide volunteers and buttresses a terrorist
                  infrastructure heavily reliant on moral support of the Palestinian populace.



 20
         A copy of the August 29, 1995, update to the Federal Register noting Marzook’s designation is attached as
 Exhibit F to the Second Amended Complaint.


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               According to [an informant], in the words of Shukri Abu Baker, [HLF’s]
               mission is to support the families of the martyrs.

        644.   On December 6, 2001, the Los Angeles Times reported on the Watson

 Memorandum noting that the “FBI memo provides a glimpse of how the federal government has

 gone about amassing evidence against groups it believes are aiding terrorists…. The money flowed

 from Texas to charity committees controlled by Hamas in the Palestinian territories, to Holy Land

 offices in the West Bank or to other groups that support Hamas, the FBI concluded.”

        645.   On December 4, 2001, President Bush announced that “[t]he terrorists benefit from

 the Holy Land Foundation, and we’re not going to allow it. Money raised by the Holy Land

 Foundation is used by Hamas to support schools and indoctrinate children to grow up into suicide

 bombers [and] to recruit suicide bombers and support their families.”

        646.   These large deposits were then often translated into checks written by HLF in the

 Palestinian Territories to HAMAS da’wa institutions in smaller increments.

        647.   For example, HLF drafted separate checks on September 30, 2000, to three

 branches of Al-Jam’iya Al-Islamiya (the Islamic Society) for $2,906, $6,615, and $2,687.

        648.   The Watson Memorandum concluded that “FBI investigations of HAMAS

 activities in the United States have revealed that [HLF] is the primary fund-raising entity for

 HAMAS and that a significant portion of the funds raised by the [HLF] are clearly being used by

 the HAMAS organization…[and] that the [HLF] is acting for or on behalf of HAMAS. Further,

 senior members of the [HLF] support HAMAS ideology and activities. These HAMAS activities

 interfere with the Middle East peace process and pose a threat to the national security, foreign

 policy, or economy of the United States.”

        649.   In designating HLF as an SDGT, The Treasury Department found that:




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                  HAMAS raises tens of millions of dollars per year throughout the world
                  using charitable fundraising as cover. While HAMAS may provide money
                  for legitimate charitable work, this work is a primary recruiting tool for the
                  organization’s militant causes. HAMAS relies on donations from
                  Palestinian expatriates around the world and private benefactors located in
                  moderate Arab states, Western Europe and North America. HAMAS uses a
                  web of charities to facilitate funding and to funnel money. Charitable
                  donations to non-governmental organizations are commingled, moved
                  between charities in ways that hide the money trail, and are then often
                  diverted or siphoned to support terrorism.

                  The political leadership of HAMAS directs its terrorist networks just as they
                  oversee their other activities. HAMAS leader Yassin confirms this
                  relationship, stating to al-Sharq al-Awsat on August 12, 2002: “When we
                  make decisions on the political level and convey them to the military wing,
                  it abides by it normally.” The intensity of this relationship is reflected in
                  Yassin’s words quoted by Reuters on May 12, 1998:

                  “We cannot separate the wing from the body. If we do so, the body will not
                  be able to fly. HAMAS is one body.”

         650.     On December 5, 2001, the Palestinian daily newspaper Al-Quds reported on the

 U.S. designation of HLF and the freezing of its assets because of its support for HAMAS.

         651.     As a result of HLF’s lawsuit challenging its designation as an SDGT, the federal

 district court for the District of Columbia commenced a detailed review of the administrative

 record and reiterated the evidence on which the Treasury Department relied in making its

 determination to designate HLF as an SDGT. It found that the record contained “ample evidence

 that (1) HLF has had financial connections to Hamas since its creation in 1989; (2) HLF leaders

 have been actively involved in various meetings with Hamas leaders; (3) HLF funds Hamas-

 controlled charitable organizations; (4) HLF provides financial support to the orphans and families

 of Hamas martyrs and prisoners; (5) HLF’s Jerusalem office acted on behalf of Hamas; and (6)

 FBI informants reliably reported that HLF funds Hamas.”21



 21
          Holy Land Found. for Relief and Dev. v. Ashcroft, 219 F. Supp. 2d 57, 69 (D.D.C. 2002), affd, 333 F.3d 156
 (D.C. Cir. 2003).


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         652.    On August 9, 2002, the Dallas Morning News reported in an article titled “Court

 denies Muslim charity’s bid to have assets unfrozen,” that a U.S. District Judge determined “that

 the 3,130-page record that the Treasury Department’s Office of Foreign Assets Control compiled

 before moving against Holy Land - based in large measure on a nearly nine-year FBI investigation

 and Israeli intelligence - provides ‘ample support’ for its conclusion that Holy Land acts ‘for or on

 behalf of’ Hamas. ‘There is evidence that HLF raised funds for Hamas, that Hamas provided

 financial support to HLF, and that HLF paid for Hamas leaders to travel to the United States on

 fund-raising trips,’ Judge Kessler wrote.”

         653.    In 2004, HLF and several of its directors were indicted on criminal charges that it

 was illegally providing material support to HAMAS.

         654.    The U.S. government argued that HLF sent the money to “zakat” committees in the

 West Bank and Gaza (including CAB customers like the Jenin, Tulkarem and Nablus Zakat

 Committees) that are part of the “social wing” of HAMAS and that the social wing of HAMAS is

 “crucial to Hamas’s success” because, among other things, it “helps win the ‘hearts and minds’ of

 Palestinians while promoting its anti-Israel agenda and indoctrinating the populace in [HAMAS’s]

 ideology”; “supports the families of Hamas prisoners and suicide bombers, thereby providing

 incentives for bombing”; and “launders money for all of Hamas’s activities.”

         655.    For these reasons, the U.S. government argued that “aid to Hamas’s social wing

 critically assists Hamas’s goals while also freeing resources for Hamas to devote to its military

 and political activities.”

         656.    In 2008, after a jury trial, HLF and five of its former directors were found guilty of

 illegally transferring more than $12 million to HAMAS.22


 22
         Ghassan Elashi and Shukri Abu Baker, leading members of HLF, were convicted, inter alia, on one count of



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         F.       HAMAS Da’wa Organizations in Jordan and Lebanon

         657.     The UAE-based Human Appeal International (HAI) was established in 1984 under

 the name Human Appeal Committee; its name was changed to Human Appeal International in

 1998.

         658.     HAI claims to operate in more than 10 countries and is a charter member of the

 original Union of Good’s 101 Days Campaign.23

         659.     A 1996 CIA report identifies HAI as having acted as a fundraiser for HAMAS.

         660.     HAI transferred funds to various HAMAS-controlled organizations in the

 Palestinian Territories, but it also distributed substantial sums on behalf of HAMAS to select

 Palestinians living in Jordan.

         661.     HAMAS also established a network of organizations in Lebanon, first among them

 Sanabil Association for Relief and Development, which received millions of dollars in support

 from Interpal, HLF, and other parts of HAMAS’s fundraising network, and then channeled those

 funds to the Palestinian refugee camps in Lebanon to build HAMAS’s support within that

 community.

         662.     According to the Watson Memorandum, “FBI analysis has linked Sanabil, Interpal

 and the HLF.”

         G.       Early Media Coverage of the HAMAS Da’wa

         663.     As early as 1994, HAMAS fundraising activities were discussed in the media. For

 example, an article in The New York Times reported:


 conspiring to provide material support to a designated FTO, in violation of 18 U.S.C. § 2339B(a)(1); nine counts of
 providing material support to an FTO, in violation of 18 U.S.C. § 2339B(a)(1); and one count of conspiring to provide
 funds, goods, and services to a specially designated terrorist group, in violation of 50 U.S.C. §§ 1701-1706.
 23
         The Union of Good, chaired by Muslim Brotherhood spiritual leader Sheikh Yusuf al-Qaradawi, evolved into
 HAMAS’s premier fundraising umbrella organization. It began as a short-term fundraising campaign called the “101
 Days” campaign.


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                HAMAS funding of all its activities is estimated by the Israelis at about $30
                million a year. It comes from money collected by associations operating
                largely abroad but with ties to the international Muslim Brotherhood
                network. Money is also collected from Islamic and Arab communities in the
                United States and in Britain, the Netherlands and other Western European
                locations.

        664.    Also, on April 14, 1994, The Globe and Mail (Canada) published an article titled,

 “Hamas evolves from political to military group” by Patrick Martin.

        665.    The article explained HAMAS’s da’wa in straightforward terms and identified its

 best-known institution:

                The group calling itself Hamas first made its appearance in 1987, at the start
                of the Palestinian uprising known as the intifada. Concentrated in Gaza,
                where Islamic tendencies have always been strong, it stemmed from a
                decade-old Islamic movement known as the Mujamma …. Sheik Yassin,
                who had been an activist in the older Muslim Brotherhood, had been
                imprisoned by the Egyptians during the regime of Gamal Nasser. When the
                Mujamma turned into the political movement Hamas, Sheik Yassin was
                again arrested, this time by the Israelis.

        666.    In 1996, The New York Times reported on HAMAS’s intensified fundraising for its

 network of institutions:

                Israeli, Palestinian and Western intelligence officials say Jordan is a major
                conduit for much of the Hamas budget, estimated at $70 million a year,
                nearly all of it for the social service network of mosques, hospitals, schools
                and other institutions that form the movement’s political base in the West
                Bank and Gaza Strip.

                …Jordan, intelligence officials say, is a major path through which money
                reaches the Hamas network of mosques and charities. Jordanian intelligence
                reports indicate that much of the money is coming from the Persian Gulf
                emirates and Saudi Arabia.

        667.    On September 17, 1997, the British-based Mideast Mirror published an article

 titled “How to break the deadlock: Armed resistance, plus Arab pressure on U.S.”

        668.    The article quotes the Arabic press regarding Gulf State sources of funding for

 HAMAS:


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               According to al-Hayat’s sources, only some $ 10 million dollars is raised
               annually by Palestinian Islamist charities in the Gulf, most of which is paid
               directly to visiting fund-raising delegations or the charities’ bank accounts
               in Jordan, or via Palestinian support groups based in the U.S. or Britain.

               Gulf-based charities also say they make a point of ensuring that recipients
               are recognized by the Jordanian religious affairs ministry or the PA’s
               Jerusalem-based religious affairs department. They include the Zakat (alms)
               Committees in Hebron, Jerusalem, Tulkarem, Kalkilya and Gaza, which
               fund schools, Koran teaching classes and orphanages, provide cash or food
               aid to the families of martyrs, and run self-help schemes for needy families.
               Gulf funding also sustains the Islamic Charitable Society in Hebron,
               Jerusalem’s Makassed Hospital, and the Wafa Society in Gaza which looks
               after the elderly.

               Gulf donors also insist that they have always dealt openly with such
               organizations, which Israel accuses of constituting the “infrastructure” of
               Hamas. “We used to work with these organizations in broad daylight in the
               days of direct Israeli occupation, and continued dealing with them under the
               PA, though regrettably the pressures increased with the advent of the PA,”
               al-Hayat quotes one aid worker as saying.

               As for higher educational institutions, the main recipient of Gulf aid is Gaza
               Islamic University, which has long been described as a “Hamas
               stronghold.”

        669.   Similarly, an August 11, 2001, article in the Washington Post subsequently

 reported:

               On the streets of Gaza, and to a somewhat lesser extent in the West Bank,
               Hamas’s status has been underpinned by a network of medical clinics,
               schools and welfare institutions that distribute free and subsidized food to
               the needy.

               According to Yassin, the group distributes $2 million to $3 million in
               monthly handouts to the relatives of Palestinian suicide bombers; “martyrs”
               who have been killed by Israelis; and prisoners in Israeli jails. When
               pressed, he was vague about the provenance of the money, which, according
               to the State Department, comes mainly from Palestinians overseas, Iran and
               private benefactors in Saudi Arabia and other moderate Arab states.

               Under pressure from Israel and the West, Arafat cracked down on Hamas
               and Islamic Jihad following the suicide bombings in 1996. Scores of Hamas
               activists were jailed, and the terror attacks on Israel faded.




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          670.   As noted above, on September 25, 1997, the Palestinian Authority temporarily

 closed what it identified as 16 HAMAS institutions and associations, including HLF’s Gaza office,

 Al-Mujama Al-Islami (Islamic Center – Gaza) and Al-Jam’iya Al-Islamiya (Islamic Society –

 Gaza).

          671.   Agence France-Presse reported on the closures, describing them as the Palestinian

 Authority’s “most devastating blow on the infrastructure of the Islamic Resistance Movement

 (Hamas) in the Gaza Strip.”

          672.   The article further noted that the institutions were closed in front of “representatives

 of the international media, who were invited to accompany the operation” and that the Islamic

 Society in Gaza, “headed by Ahmad Bahr, one of Hamas[‘s] leaders” was also “used to host

 periodical meetings for the movement’s leaders.”

          673.   The article was reprinted in the September 26, 1997, edition of the Palestinian daily

 newspaper, Al-Quds.

          674.   The closures, including identification of HLF as a targeted HAMAS entity (together

 with the Islamic Society of Gaza and al-Mujama al-Islami), were detailed in a Jerusalem Post (an

 Israeli newspaper) news account on September 28, 1997.

          675.   As the U.S. Government would later note, “[o]ver the years, the PA would, from

 time to time, attempt to take measures against the zakat committees and other organizations run

 by Hamas. Closures, however, were always short lived, a product of the political reality in which

 the PA needed Hamas to provide services that it was unable to effectively provide itself.”24

          676.   An unclassified October 19, 2001 “Expert Opinion” issued by the Israeli Military’s

 Intelligence Directorate noted that the Palestinian Authority:


 24
         See U.S. v. Holy Land Foundation, 3:04-cr-00240-P, ECF No. 1171, p. 15 (N.D. Tex. 2008) attached as
 Exhibit A to the Second Amended Complaint.


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                 generally avoids damaging the HAMAS charitable associations and social
                 institutions. A prominent (and practically unique) exception was the
                 “Authority’s” action resulting from the February-March ‘96 suicide attacks.
                 At that time, the “Palestinian Authority” took vigorous steps against
                 HAMAS’s civilian infrastructure [by] closing several major charitable
                 associations; confiscating funds, documents, and office equipment; and
                 arresting heads of associations and other people involved in HAMAS-
                 related finance. In our opinion, these moves disrupted the coordination of
                 the associations’ activities. Israel acted simultaneously against the Islamic
                 movement’s institutions in Nazareth and Um-al-Fahem (primary channels
                 for transfer of funds to HAMAS in the territories) and against “The Holy
                 Land Foundation’s” representation in Beit Hanina.

                 However, a renewal of charitable association activity, even without formal
                 authorization by the Authority (which was usually given retroactively),
                 followed the mid-’96 decline in “Authority” activities against HAMAS’s
                 civilian and financial infrastructure.

         H.      Initial U.S. Designations of HAMAS

         677.    On January 24, 1995, pursuant to Executive Order 12947, President Clinton

 designated HAMAS as a Specially Designated Terrorist organization.

         678.    This designation made it illegal for any United States person or entity to engage in

 any unlicensed transactions or dealings involving the property or interests of HAMAS.

         679.    HAMAS’s designation as an SDT remained in place during the relevant period.

         680.    On October 8, 1997, the Secretary of State designated HAMAS as a “Foreign

 Terrorist Organization” under section 219 of the Immigration and Nationality Act. That

 designation has remained in place since October 8, 1997, including throughout the relevant period

 of this case.

         681.    As a result of HAMAS’s designation as an FTO, it became illegal for any person

 within the United States or subject to its jurisdiction to provide material support or resources to

 HAMAS.




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          682.   In 1996, under heavy pressure from Israel, the Palestinian Authority (under the

  leadership of Yasser Arafat and the PLO), which had just been established, took very public

  measures against HAMAS as a result of a wave of HAMAS terrorist attacks that killed 56 Israelis.

          683.   Over the years, the PA would, periodically, attempt to take measures against the

  charitable societies, zakat committees and other organizations controlled by HAMAS. Closures

  and arrests were, however, always temporary.

          I.     The Second Intifada

          684.   The Second Intifada (“al-Quds” or “al-Aqsa Intifada”), which broke out in

  September 2000, was a key turning point in HAMAS’s history.

          685.   In the initial weeks of the Second Intifada, large demonstrations were organized in

  several Palestinian cities. During this period, a Palestinian mob in Ramallah attacked two off-duty

  Israeli reservists, lynched them, and celebrated their deaths – with much of the scene captured on

  camera.

          686.   Soon thereafter, HAMAS, Palestinian Islamic Jihad, and the Palestinian

  Authority’s ruling faction, Fatah, all launched attacks on Israeli civilian centers, military

  installations, vehicles, and civilians through suicide bombings, drive-by shootings, and rocket

  launchings, which killed over 1,000 Israelis, and left thousands severely wounded.

          687.   From September 2000 forward, support by the Palestinian public for HAMAS grew

  steadily.

          688.   At least in part as a result of the public perception that HAMAS was leading the

  terror campaign against Israel, it won elections at Palestinian universities and trade unions, and

  later, municipal elections in May 2005.




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          689.     For approximately the next four years after the outbreak of the conflict in 2000,

  HAMAS launched hundreds of terrorist attacks targeting civilians that killed and injured hundreds

  of civilians, including numerous American citizens.

          690.     HAMAS’s improved political standing among the Palestinians was partially a result

  of the work of its da’wa institutions which were a supportive framework for HAMAS’s terror

  activities, including the use of suicide terrorists, in three main areas:

                       HAMAS’s da’wa’s educational institutions25 contributed to the
                        indoctrination of young Palestinians into what became a “culture of
                        martyrdom for Allah,” praising the religious virtues of those who
                        sacrificed themselves in the framework of jihad against Israel. Suicide
                        terrorists earned a place of honor when they received special praise as
                        martyrs (shuhada).

                       HAMAS’s da’wa institutions served as a mechanism to transfer money
                        to orphans, widows, and other relatives of suicide terrorists and
                        movement prisoners, and thus provided a unique safety net for potential
                        recruits concerned that their families would be adversely affected by
                        their deaths or imprisonment. HAMAS committees collected the names
                        of their activists and others who were killed by Israel and then solicited
                        aid from its network of charitable societies abroad. In 2001, Sheikh
                        Yassin, in an interview cited in the Washington Post, publicly disclosed
                        that the da’wa infrastructure distributed $2-3 million dollars to the
                        families of suicide bombers and prisoners.

                       HAMAS’s da’wa infrastructure provided a reservoir of new recruits for
                        suicide attacks and for HAMAS’s terror and murder apparatus.

          691.     As Joshua L. Gleis and Benedetta Berti have written in their book, Hezbollah and

  Hamas, A Comparative Study:



  25
           The da’wa institutions include kindergartens, schools, clubs, mosques, Quran recitation classes, and student
  councils, most of which were controlled by HAMAS in the course of the Second Intifada. The da’wa also funds
  student associations such as al-Kutla al-Islamiya, which is a key source for recruiting operatives into the Qassam
  Brigades. For example, during the first year of the Second Intifada, at least five students from al-Najah University
  carried out suicide attacks. Other suicide terrorists were students at Hebron Polytechnic University and at al-Quds
  Open University. The HAMAS charitable societies and zakat committees also ran summer camps, which
  systematically indoctrinated children with hatred against Israel.



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                 Recruitment for Hamas’s active supporters is carried out, mainly through
                 its web of social welfare activities. Palestinians with leadership skills are
                 identified from a young age, and their indoctrination is nurtured through
                 peers and mentors. Those deemed capable of meeting the physical and
                 mental challenges of joining the group’s military ranks are directed toward
                 that part of the organization, while others participate in Hamas’s plethora of
                 other departments, including its Political Bureau and its offices of finance,
                 propaganda, foreign affairs, and social welfare programs.

                 In the past, the group relied on a similar process to recruit members and
                 train them to become suicide bombers, which they view as shaheeds, or
                 “martyrs.” Volunteers to carry out such operations were recruited through
                 mosques, charities, universities, and student organizations such as the Kutla
                 Islamiya (Hamas’s Islamic block). Other community institutions that are
                 part of Hamas’s military, political, and social network also played roles in
                 recruitment. The group’s own social network was a natural choice for
                 Hamas recruiters. By maintaining a strong social apparatus, Hamas was able
                 to foster a sense of community and inclusiveness, with strong social bonds
                 between the organization and its members. These are all necessary elements
                 in developing a code of shared meanings and values to shape identity,
                 perceptions, and preferences. In turn, this increased the chances of recruits
                 to be loyal, reliable, and fully committed to their task. This was especially
                 so in the case of suicide bombers: “An overarching sense of collectiveness
                 consumes the individual. This fusion with group seems to provide the
                 necessary justification for their actions with an attendant loss of felt
                 responsibility ... if the group says it is required and justified, and then it is
                 required and justified.”

         692.    At the end of 2001, the Palestinian Authority (briefly) closed the offices of several

  Islamic associations identified with HAMAS, and the Palestinian Monetary Authority instructed

  bank managers in the Palestinian Territories to report all bank transfers of sums greater than $5,000

  and attached a special page of instructions detailing the names of those institutions whose accounts

  must be reported.

         693.    These included HAMAS institutions with accounts at CAB.




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          694.    In February 2002, Israel blacklisted 20 institutions belonging to HAMAS, including

  many of CAB’s customers.26

          695.    As a 2009 Report by the Israel Security Agency (“ISA”)27 found:

                  Since 1989, a gradual process began whereby Hamas took over charitable
                  associations, which were not affiliated with the Muslim Brotherhood’s
                  current. These associations became completely identified with Hamas, and
                  so, in effect, Hamas today controls a tangled web of charitable associations
                  spread across “the Territories” and uses their funds to carry out its “Da’wa”
                  activity….

                  Hamas is actually funding institutions, which are not strictly used for
                  charitable activities, and in effect they encourage terrorism. This is done
                  by supporting religious, welfare, and educational institutions which are
                  controlled by the movement. These institutions preach for “Jihad” and
                  strongly incite against Israel. They encourage the perpetration of
                  terrorist attacks against Israel, and support the terrorists (deceased,
                  prisoners and wounded) and their families, who are receiving benefits
                  that include grants and monthly allowances. (Emphasis in original.)

          J.      Cultivation of the Culture of Death

          696.    HAMAS’s da’wa institutions played (and play) a central role in financing its terror

  campaign by providing the means of raising funds to maintain the institutions that serve as

  recruiting grounds for HAMAS.

          697.    The terrorist attacks described herein cost between $500 and $5,000 to carry out,

  depending on the weapons used, whether a vehicle was purchased, or a safe house was rented.

          698.    The most significant operational costs incurred by HAMAS were reflected in its

  investment in its cradle-to-grave terrorism infrastructure.

          699.    From the 1990s through the end of the Second Intifada, HAMAS devoted the




  26
          As noted above, by law, all commercial entities in the Palestinian Territories, including CAB, were
  presumptively on notice of Israeli designations.
  27
          Attached to the Second Amended Complaint as Exhibit H, with an English translation.



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  majority of its resources to its da’wa institutions and activities.28 This infrastructure provided,

  among other things, (1) employment to HAMAS leaders and operatives, (2) physical structures

  from which to operate, hold meeting, and store weapons, (3) a means by which HAMAS could

  infiltrate mosques and civil society institutions and use them to enhance the organization’s public

  image, (4) a means to recruit young operatives (through camps and student organizations), (5) a

  means to indoctrinate young children into HAMAS’s culture of “jihad” and “martyrdom,” and (6)

  a vehicle to subsidize and reward its operatives and their families when they are killed, imprisoned,

  or wounded.

          700.     The organization’s strategy was set forth in an internal HAMAS memorandum

  captured by the Israeli army during a raid of the offices of the Islamic Charitable Society – Hebron.

  It confirmed that HAMAS arranged for the “transfer [of] large sums” to the charitable committees

  and other HAMAS da’wa institutions through the “charity activities” of their operatives abroad.

          701.     The memorandum emphasizes that HAMAS “require[s] new bank account

  numbers for money transfers” and promises that HAMAS will:

                   invest efforts to transfer money for the martyrs (the shuhada) and prisoners,
                   via the transfer [to] charitable institutions. This is a primary goal in the
                   framework of the effort to transfer aid money to these institutions, so that
                   these budgets are released in the best manner and in order to bring about an
                   improvement in the level of the movement’s performance.

          702.     The memorandum concludes with the promise that HAMAS will continue to “build

  up the activities and operations” of its charitable organizations by, among other things, “taking

  advantage of the conditions and the atmosphere of death.”




  28
           An op-ed in the Jerusalem Post from October 11, 1994, described a HAMAS terrorist attack involving
  automatic rifles and grenades fired into a crowded pub and cafe area in downtown Jerusalem. A questionnaire found
  on the HAMAS operative who committed the attack “was prepared by the Hamas-controlled Zakat committees” and
  asked the applicant about “the extent of his participation in Hamas activities,” followed by a question about “the
  applicant’s willingness to be a martyr in the name of the cause of jihad.”


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          703.    Through its network of charitable organizations, since the early 1990s HAMAS has

  intensified its efforts to consolidate its position within Palestinian society via its social and welfare

  projects.

          704.    Although these organizations perform actual social work and provide charitable

  services, they also raise substantial funds for HAMAS’s political and operational terrorist

  infrastructure and free up money to be redirected to those latter ends.

          705.    These charitable organizations provide streams of income to HAMAS operatives.

  They also assist HAMAS in recruiting new supporters; generating and disseminating HAMAS

  propaganda; and competing with the Palestinian Authority in delivering social services and

  facilitating payments of honorariums (including “martyr” payments) to families of HAMAS

  operatives killed, injured, or imprisoned as a result of their terrorist activities.

          706.    Funds raised by HAMAS’s charitable and social organizations are fungible and are

  allocated in part to terrorist activities (including recruitment, training, and propagandizing) or used

  to free up other funds that are then allocated for terrorist activities, including planning, and carrying

  out suicide bombings and other violent attacks.

          707.    The aforementioned unclassified October 19, 2001 “Expert Opinion” issued by the

  Israeli Military’s Intelligence Directorate noted that “HAMAS has acted to develop and expand

  [its religious-civilian infrastructure] in the ‘territories’ based on earlier activities of the ‘Muslim

  Brothers’ in the same fields” and that this activity:

                  is usually carried out under the heading of “charity” (“zakah” one of the five
                  basic principles of Islam). The movement’s ideology attributes great
                  importance to [charity] as central to expanding its circle of supporters in the
                  general population….

                  In the short term, this is designed to maintain HAMAS’s influence with the
                  public, to improve its ability to compete with the “Authority” [PA] regime,
                  and to recruit terror activists - including suicide attackers. In the longer



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                 term, the movement hopes that this infrastructure will help it broaden its
                 power base and even create an alternate civilian structure to the “Authority”
                 [PA] as part of its struggle against the “Authority” [PA] and the peace
                 process. HAMAS’s overt civilian infrastructure acts alongside its
                 clandestine and terrorist activities and is usually referred to as “Da’wa”
                 (literally: preaching). This infrastructure serves the movement and it has
                 implications for many aspects of the movement’s terrorist activities.
                 Money smuggled into the area and passed to institutions (generally
                 under the heading “charity”) reaches HAMAS activists, their families,
                 and the HAMAS apparatus [itself] - including the operational
                 apparatus. Other uses for HAMAS’s overt infrastructure include
                 disguising [other] activities and locating recruits to be suicide attackers.
                 (Emphasis added.)

          708.   The Palestinian Authority’s own intelligence assessment was similar, noting that

  “It is not a coincidence that Hamas officials tend to search for suicide operatives among their

  schools’ students or their sport groups and teams. Hamas pays monthly stipends to families of

  martyrs and the wounded.”

          709.   For example, Ayman Asad Shaaban al-Shawa was a Qassam Brigades operative

  arrested in 1993 for attempting a suicide attack. He received five life sentences and was released

  as part of a prisoner exchange in 2011. During the 18 years he spent in prison, his wife received

  prisoner rewards payments from a variety of sources to her account no. 75797700 at CAB.

          710.   Similarly, Ayd Abdalla Abd al-Hadi Musleh was a Qassam Brigades operative

  from the Gaza Strip who was arrested in 1992 for participating in attacks in which Israeli soldiers

  were killed. He received a life sentence and was released as part of the same prisoner exchange in

  2011. During the 19 years he spent in prison, his wife received prisoner rewards payments from a

  variety of sources to her account no. 764687 at CAB.

          711.   A June 30, 2002, research paper issued by the Israeli Coordinator of Government

  Activities in the Territories (“COGAT”), Department for Advisement on Palestinian Affairs, found

  that:




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                 The Da’wa’s informal education system, kindergartens, summer day camps
                 and private schools –the younger generation, from pre-school children to
                 teenagers, are educated in all these (and later also in the university
                 institutions such as the Islamic University in Gaza) to support Jihad and
                 martyrdom operations – the holy war and “death in the name of Allah.”
                 There is open and outright indoctrination in these institutions. Children
                 from kindergarten age are educated to revere the suicide attackers and they
                 receive a message according to which, when they grow up, they can fulfill
                 themselves best by carrying out a suicide attack against Israelis. These
                 institutions: kindergartens, charitable societies and schools that operate
                 under the open eye of the PA (apart from closing them for limited periods
                 and mainly for the sake of appearances) have no real limitations on their
                 activity. From the publications of the societies themselves (on the Internet)
                 and from confiscated documents it emerges that they enjoy financial support
                 from various bodies, including Islamic charitable societies throughout the
                 Arab and Western worlds, including international organizations for support
                 and aid throughout the world.

         712.    An October 2002 Human Rights Watch report (citing the Watson Memorandum)

  noted that: “Examples of Hamas-controlled societies that allegedly received funds from the Holy

  Land Foundation were the Islamic Charitable Society of Hebron, the Jenin Zakat Committee, and

  the Ramallah Zakat Committee, each of which had among its officials, persons who had allegedly

  admitted to armed activities with Hamas, including attacks against civilians.”

         713.    A report issued in December 2004 by the Israeli Civil Administration in the

  Palestinian Territories (“Government of Israel 2004 Report”) also found that:

                 The financial support for the families of suicide bombers also promotes the
                 phenomenon of suicide bombings, and increases the willingness to perform
                 them, because the terrorist who decides to do so need not worry about his
                 family, whose economic and social situation will improve following his
                 deed. This support, both economic and moral, takes the sting out of the
                 punishment, which in Israel’s eyes aims to deter others from joining the
                 ranks of terror. Hamas prisoners enjoy the benefits of special treatment by
                 the associations.

         714.    For example, the brother of Hamed Faleh Mustafa Abu Hijla, a HAMAS

  suicide bomber who blew himself up on Herzl Street in Netanya on January 1, 2001,

  received multiple payments rewarding the Hijla family for Hamed Hijla’s death, including


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  payments from the Shahid Foundation in Lebanon (discussed below) and from the Al-Islah

  Charitable Society in Ramallah (paid to Fathi Faleh Mustafa Abu Hijla’s account at CAB).

         715.    Similarly, the family of another HAMAS “martyr” named Iyad Taqi, who

  was killed in clashes with Israeli soldiers on November 6, 2001, received $5,100 from the

  Arab Liberation Front (“ALF”) to account 393501 at CAB.

         716.    As a 2009 Report by the Israel Security Agency also found:

                 Interrogations of Hamas activists and terrorists revealed that the
                 support to the family sometimes contributed significantly to the mere
                 decision to execute attacks, including suicide attacks….

                 In addition, Hamas’s “Da’wa” system serves as a central tool for
                 nurturing the “future generation” of Hamas supports and new recruits,
                 including those assigned to commit terrorist attacks. In effect, all the
                 “Da’wa” frameworks constitute a recruitment pool for the movement. The
                 financial aid, which is guaranteed in various fields (including reduced
                 tuitions and university scholarships), is luring people into joining the
                 movement, and even into taking part in its military activity and into
                 executing terrorist attacks.

                 In this context it should be mentioned that a terrorist knows he will be
                 rewarded even if he will only be injured. He also knows that in case he is
                 killed during a terrorist attack, Hamas will continue to financially support
                 his relatives, and so his death will not be in vain, as the livelihood of his
                 family is assured. (Emphasis in original.)

         K.      Union of Good

         717.    As noted above, the Union of Good (also known as the Charity Coalition or I’tilaf

  Al-Khayr in Arabic) was established in October 2000, at the beginning of the Second Intifada, as

  the umbrella organization for HAMAS’s global fundraising activity.

         718.    Comprising more than 50 separate organizations – several of which have been

  designated SDGTs by the U.S. Treasury Department, including Interpal and CBSP (two major

  HAMAS fundraising organizations in Europe) – the Union of Good originally was conceived of

  and initially operated as a one-time fundraising campaign to support the Second Intifada – the so-



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  called “101 Days Campaign” – but it ultimately developed into a permanent structure.

            719.      In 2001, the Union of Good created an Arabic language website for the 101 Days

  Campaign, simultaneously launching English and French webpages soliciting donations.

            720.      At the same time, HAMAS’s fundraising organization in the United Kingdom,

  Interpal, also created additional pages on its own website (www.interpal.org) to raise funds for the

  Union of Good and its “101 Days Campaign.”

            721.      In 2001, Interpal’s “International Donations” page listed the Holy Land

  Foundation29 as the designated donation point in the United States and provided its website and

  banking information:

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            722.      From its inception, Sheikh Yusuf al-Qaradawi, the Muslim Brotherhood’s spiritual

  leader served as the chairman of the Union of Good.

            723.      Sheikh al-Qaradawi was and remains one of the most recognized and famous




  29
           As noted above, in December 2001, the U.S. government designated the Holy Land Foundation as a Specially
  Designated Global Terrorist for its role in financing HAMAS. Accordingly, by February 2002, Interpal’s
  “International Donations” page substituted the Global Relief Foundation as the designated donation point in the United
  States and provided its website and banking information (while still listing a bank account for the Holy Land
  Foundation). In October 2002, the U.S. government designated the Global Relief Foundation for providing support to
  Osama Bin Laden, Al Qaeda, “and other known terrorist groups.”


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  people in the Arab and Muslim world. As illustrated below, his image is iconic:30
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          724.      When the Union of Good created its initial websites, Sheikh al-Qaradawi’s widely

  recognized image appeared prominently on the homepage. For example, the English language

  homepage for www.101days.org in July 2001 appeared as follows:



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  30
            The photograph shown here was taken in 2013 in Gaza where Sheikh al-Qaradawi was hosted by HAMAS
  (now supreme) leader Ismail Haniyah and other senior leaders of the organization. His image on the billboard has the
  place of honor above that of HAMAS’s founder and deceased spiritual leader, Sheikh Ahmed Yassin, and Ahmed al-
  Jabari, the former second-in-command of the Qassam Brigades who was killed in 2012 in a precision air strike by the
  Israeli Air Force.


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         725.    Born in 1926 in Egypt, Sheikh al-Qaradawi was an adherent of the teachings of

  Hassan al-Banna, the founder of the Muslim Brotherhood. Because of his connection with the

  Muslim Brotherhood, Sheikh al-Qaradawi was imprisoned for lengthy periods in Egyptian jails.

         726.    Sheikh Al-Qaradawi was (and is) one of the most recognizable figures in the Arab

  and Muslim world. During the years before, during, and after the Second Intifada, he was best

  known for his weekly television program on the Al Jazeera satellite channel called “Sharia and

  Life” (“al-Sharīʿa wa al-Ḥayāh”), on which he analyzed numerous topics through the lens of

  Islamic thought. The Al Jazeera-hosted program reached approximately 60 million viewers during

  its height before its end in 2013.

         727.    Sheikh al-Qaradawi was also one of the first Islamic scholars to launch his own

  website (Qaradawi.net) and was also a co-founder of the popular Muslim Brotherhood website

  IslamOnline.net, which features a large number of his fatwas (Muslim religious edicts). Both sites

  were launched in the late 1990’s, provide religious guidance, and receive heavy internet traffic.

  He has written over 120 books and has gained even greater eminence throughout the Muslim world

  by serving as the chairman of numerous Islamic organizations and operating on a variety of media

  platforms. For example, for many years he has served as the chairman of the Dublin-based

  European Council for Fatwa and Research (ECFR), an influential European Muslim institution

  that has issued fatwas for Europe’s practicing Muslims since its founding in 1997.

         728.    He is (and during the relevant period was) one of the Muslim world’s most

  prominent public supporters of HAMAS and its campaign of violence against Israel.

         729.    Sheikh al-Qaradawi has long stated that “[t]he martyr operations [sic] is the greatest

  of all sorts of Jihad in the Cause of Allah.”

         730.    Even before the Second Intifada erupted in 2000, Sheikh al-Qaradawi was a leading




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  voice in Arab and Islamic politics endorsing violence against Israel, publicly asserting, for

  example: “There should be no dialogue with these people [Israelis] except with swords.”31

          731.     Sheikh al-Qaradawi issued a fatwa that gave HAMAS and other terrorist groups

  religious approval authorizing suicide bombing attacks (including by women) against Israel.

  Indeed, in March 2002, in Filastin al-Muslima, al-Qaradawi stated that the participation of women

  in suicide terrorist attacks is not only permitted but even desirable, and that it is permitted for a

  woman to deviate from the rules that obligate her in daily life, from the point of view of preserving

  her modesty, to carry out the suicide attack (for example, in his ruling, al-Qaradawi permits women

  to travel for the purpose of carrying out the suicide attacks without being escorted by a male

  relative, and is even lenient in regard to covering her head and wearing a veil).

          732.     During 2001, on his Shariah and Life broadcast on Al Jazeera, Sheikh al-Qaradawi

  was asked what could be done to show the Palestinian people that there were people standing by

  them. He replied:

                   No doubt there are steps that need to be taken at the official and popular
                   level… There is another thing: Financial Jihad. Our brethren are struggling
                   for money. They are sacrificing themselves. They are giving martyrs every
                   day. Thank God this means that the Umma is giving martyrs. Women cry
                   for joy at the death of the martyrs… We should give aid to our brethren to
                   reinforce their steadfastness, to try and overcome the blockade enforced on
                   them.

          733.     Later in the interview, Sheikh al-Qaradawi answered further questions about the

  duties of Muslims regarding the conflict with Israel, and he said:

                   We should resist and resist with what we have. We do not have nuclear
                   weapons… I am surprised at any Muslim who calls these acts “suicide acts.”
                   These are martyrdom, commando and heroic acts. We should hail those who
                   carry out these acts and bless them and call on God to take them to live in
                   Paradise. They are there, God willing, because of their intentions, works,
                   efforts and Jihad.

  31
           See “Leading Muslim Cleric Under Fire for Meeting Israeli Chief Rabbi,” AP Worldstream, January 7, 1998,
  quoting a January 6, 1998, article by al-Qaradawi in the Arab newspaper Al-Shaab.


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            734.   In an interview in the Egyptian newspaper Al-Ahram Al-Arabi on February 3, 2001,

  al-Qaradawi explained his ruling:

                   He who commits suicide kills himself for his own benefit, while he who
                   commits martyrdom sacrifices himself for the sake of his religion and his
                   nation. While someone who commits suicide has lost hope with himself and
                   with the spirit of Allah, the Mujahid is full of hope with regard to Allah’s
                   spirit and mercy. He fights his enemy and the enemy of Allah with this new
                   weapon, which destiny has put in the hands of the weak, so that they would
                   fight against the evil of the strong and arrogant. The Mujahid becomes a
                   ‘human bomb’ that blows up at a specific place and time, in the midst of the
                   enemies of Allah and the homeland, leaving them helpless in the face of the
                   brave Shahid who... sold his soul to Allah, and sought the Shahada
                   [Martyrdom] for the sake of Allah.

            735.   In an April 25, 2001, interview with a Qatari newspaper, Al-Raya, al-Qaradawi

  further explained that suicide bombings against targets in Israel “are the supreme form of Jihad for

  the sake of Allah, and a type of terrorism that is allowed by the Shari’a.” He cited a Koranic verse

  stating that one must be prepared to “spread fear among one’s enemies and the enemies of Allah,”

  and added that “the term ‘suicide operations’ is an incorrect and misleading term, because these

  are heroic operations of martyrdom, and have nothing to do with suicide. The mentality of those

  who carry them out has nothing to do with the mentality of someone who commits suicide.”32

            736.   On September 16, 2001, al-Qaradawi appeared on Al Jazeera Television in Qatar

  to discuss the September 11, 2001, attacks on the World Trade Center and Pentagon. Striking a

  note of “moderation” he distinguished the September 11th attacks from those targeting civilians in

  Israel:

                   We must differentiate between two types of terror: the terror of those
                   defending their homeland and their rights… This kind of terror is legitimate.
                   The Palestinian factions defending their land, such as Fatah, Hamas, or
                   Islamic Jihad, are not terrorists. [It is] a Jihad for the sake of Allah…



  32
          Also quoted in Michael Slackman, “Islamic Debate Surrounds Mideast Suicide Bombers,” Los Angeles
  Times, May 27, 2001.


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                   Even if the US is guilty, in that it supports this Israeli terror, I say that this
                   does not mean that we may attack civilians in the US, because the civilians
                   are not guilty. We should fight the American military if we can, and if we
                   cannot, we should fight the US economically and politically.

         737.      On April 14, 2002, al-Qaradawi appeared on Al Jazeera extolling “jihad and

  martyrdom” against Israelis and denouncing the U.S. designation of HAMAS and other terrorist

  organizations.

         738.      Sheikh al-Qaradawi explained that:

                   one of this Intifada’s merits and its good effects and its blessed fruits, is the
                   awakening of the nation ... this blessed Intifada awakened the nation ... for
                   gathering aid and support. I’m afraid to call it donations ... it is not
                   voluntary. This is a duty which applies on the nation. Our brothers wage
                   holy war and sacrificing their soul in the path of Allah. So, at least we should
                   give some of our moneys ... the Quran always said: “fight the holy war with
                   your souls and moneys in the path of Allah.”

         739.      In a May 4, 2002, article published in Akhbar al-Khaleej (UAE), al-Qaradawi’s

  lecture (given in the UAE) reiterated his view that collecting money for the mujahideen (jihad

  fighters, or “Muslim holy warriors”) was not a donation or a gift, but “a duty necessitated by the

  sacrifices they made for the Muslim nation.”

         740.      On June 13, 2003, al-Qaradawi appeared on Qatar Television to discuss, among

  other things, the Bush Administration’s efforts to restart negotiations between the Palestinian

  Authority and Israel. Al-Qaradawi stated:

                   The Intifada expresses an assertive and proud people, a heroic people, a
                   people that is unperturbed by death. A people that wants to live free, in
                   honor, or die martyred. It is inconceivable that this people will die, despite
                   the attempts of the Zionist entity state and of its strategic ally, the U.S. As
                   much as they try to kill the Intifada and crush the resistance, they will not
                   succeed….

                   I say to [PA Prime Minister] Mahmoud Abbas, to [PA Security Minister]
                   Muhammad Dahlan, and to the ministers who support them, that the day
                   Hamas and [Islamic] Jihad, Al-Aqsa Martyrs Brigades, and the Mujahideen
                   cease to exist, nothing will remain to negotiate about or to cling to. You will



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                 stand in your nakedness. No one will support you. What pushed the Zionists
                 and the Americans to present the road map is the [defeat] they suffered as a
                 result of the martyrdom operations that shook their foundations,
                 undermined their existence, and sowed fear in their hearts.

         741.    In a July 7, 2004, interview for BBC’s “Newsnight,” al-Qaradawi, referring to the

  suicide attacks, said: “I consider this type of martyrdom operation as an evidence of God’s justice.”

         742.    As noted above, HAMAS has often relied on Sheikh Al-Qaradawi’s legal rulings

  in matters of current import and often turn to him to obtain legal rulings, which are published from

  time to time in HAMAS’s official newspapers (such as Filastin al-Muslima). As a 2009 ISA

  Report found: “Al-Qaradawi is considered by Hamas, among others, a religious and spiritual

  authority. His numerous public statements reveal his belief that ‘Jihad’ must be waged against

  Israel and the Jews.”

         743.    Al-Qaradawi’s support of terrorism led the United States to ban him from entering

  the country in 1999.

         744.    As noted above, the 101-day fundraising drive was so successful that the Union of

  Good was converted into a permanent institution. It quickly became the preeminent Muslim

  Brotherhood fundraising mechanism in the world, raising (at least) tens of millions of dollars for

  HAMAS.

         745.    HAMAS leaders have also served openly in the Union of Good’s executive

  leadership. For example, the Secretary General of the Union of Good, Essam Salih Mustafa

  Yussuf, also acted as the Vice-Chairman of Interpal while serving on the HAMAS executive

  committee under then-HAMAS leader Khalid Mishal.

         746.    On February 25, 2002, the Union of Good was designated by Israel in an order of

  the Minister of Defense of the State of Israel, based on its being “part of the Hamas organization

  or supporting it and strengthening its infrastructure.”



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        747.    The Government of Israel 2004 Report also found that:

                The “Union of Good” divided the Palestinian territories into four districts.
                In each district it was associated with institutions and societies that carried
                out projects on its behalf:

                •   Southern District - the city of Hebron, the surrounding villages and
                    refugee camps and the city of Bethlehem, including the surrounding
                    villages and refugee camps. The “Union” operates in this area in
                    conjunction with the “Islamic Society,” which is based in Hebron.

                •   Central District - Jerusalem, Ramallah, Al-Bireh and Jericho. In this
                    area, the “Union” operates in conjunction with the “Al-Islah” Charitable
                    Society, which is based in Ramallah.

                •   Northern District - Nablus, Tulkarem, Jenin and Qalqilya. Here, the
                    Nablus-based “Al-Tadamun” Society serves as the link.

                •   Gaza Strip District - Gaza, Khan Yunis, Rafah and the surrounding
                    villages and refugee camps.
        748.    The Union of Good was designated by the U.S. Treasury Department as an SDGT

  on November 12, 2008. According to the Treasury Department:33

                Union of Good acts as a broker for HAMAS by facilitating financial
                transfers between a web of charitable organizations—including several
                organizations previously designated under E.O. 13224 for providing
                support to HAMAS—and HAMAS-controlled organizations in the West
                Bank and Gaza. The primary purpose of this activity is to strengthen
                HAMAS’ political and military position in the West Bank and Gaza,
                including by: (i) diverting charitable donations to support HAMAS
                members and the families of terrorist operatives; and (ii) dispensing social
                welfare and other charitable services on behalf of HAMAS.

                Funds raised by the Union of Good affiliates have been transferred to
                HAMAS-managed organizations in the West Bank and Gaza. In addition to
                providing cover for HAMAS financial transfers, some of the funds
                transferred by the Union of Good have compensated HAMAS terrorists by
                providing payments to the families of suicide bombers. One of them, the
                Al-Salah Society, previously identified as a key support node for HAMAS,
                was designated in August 2007 under E.O. 13224. The Society employed a
                number of members of the HAMAS military wing and supported HAMAS-
                affiliated combatants during the first Intifada.


  33
        A copy of the U.S. Treasury Press Release is attached as Exhibit I to the Second Amended Complaint.


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            L.     World Assembly of Muslim Youth (“WAMY”) in Gaza

            749.   As noted above, WAMY operated an office for HAMAS in the Gaza Strip during

  the relevant period, and CAB maintained an account for WAMY in Gaza.

            750.   WAMY is reportedly the world’s largest Muslim youth organization. It was

  founded in Jeddah, Saudi Arabia, in 1972, and became a Union of Good member organization in

  2001.

            751.   Senior WAMY officials, Dr. Saleh Bin Sulaiman al-Wahibi (who served as the

  organization’s general-secretary) and Dr. Abd Al-Wahhab Nurwali, al-Wahibi’s aide in the region

  of Mecca, both sat on the Union of Good’s board of trustees during the relevant period.

            752.   In 1996, the Central Intelligence Agency determined that the International Islamic

  Relief Organization (IIRO) and WAMY, both Saudi charities associated with al-Qaeda, were also

  funding HAMAS through Interpal.

            753.   Indeed, WAMY’s Gaza office received funds from Interpal during the relevant

  period.

            754.   As described below, Saudi media reported in 2001 that WAMY provided funding

  to the Al-Salah Islamic Society – Gaza (“al-Salah”), which was then disbursed as financial

  assistance to the families of “martyrs.”

            755.   In July 2001, the mass-circulation Arabic newspaper, Al-Sharaq Al-Awsat, reported

  that WAMY had decided to build a new mosque in the Dir al-Balah area of Gaza, as part of the

  organization’s efforts to support the Palestinian people. According to the report, al-Salah was

  supervising the project.

            756.   WAMY invited HAMAS’s senior leader, Khalid Mishal, to its “Muslim Youth and

  Globalization” conference on October 29, 2002.




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         757.    According to an October 29, 2002, Agence France Presse report, “[Mishal] was

  hugged and kissed by hundreds of participants.”

         758.    The Arab News of April 12, 2002, reported: “The World Assembly of Muslim

  Youth (WAMY) has decided to raise its monthly contribution to Palestinian Intifada from [Saudi

  Riyal] 3 million [$800,000] to [Saudi Riyal] 10 million [$2.7 million] …” The increase in monthly

  aid to the Intifada was “in addition to the over $70 million they had collected from donations

  through WAMY offices abroad and on special occasions.”

         759.    WAMY was declared an unlawful association by Israel on February 25, 2002, in

  large part for its role in funding HAMAS institutions discussed below.

         760.    In October 2003, CAB processed a transfer from the Al-Aqsa Foundation

  (designated an SDGT in May 2003) to WAMY’s CAB account no. 6255/1 at its Gaza branch.

         761.    Even as late as 2004, CAB processed multiple funds transfers from the Al-Aqsa

  Foundation to WAMY’s CAB account no. 6255/1 at its Gaza branch.

         762.    On at least one occasion, a January 2004 wire transfer for $68,989.31 from the Al-

  Aqsa Foundation to WAMY’s CAB account was blocked in New York.

         763.    WAMY distributed at least some of the funds it received from the Al-Aqsa

  Foundation to Al-Jam’iya Al-Islamiya and the Jenin Zakat Committee.

  II.    CORE INSTITUTIONS OF HAMAS’S SOCIAL WELFARE NETWORK

         764.    All of the organizations listed below were integral parts of HAMAS during the

  relevant period, and CAB knew this was so because (1) HAMAS repeatedly acknowledged those

  relationships in various Arab language and even Western media, (2) various media outlets

  repeatedly identified these organizations as integral parts of HAMAS both before and during the

  relevant period, (3) the Palestinian Authority took periodic steps to close these institutions and




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  arrest their leaders, and (4) Israel designated many of these institutions, raided their offices, and

  arrested their leaders.

          765.    Most importantly, as the FBI determined in 2001, the Palestinian “civilian population is

  aware that the services being provided by the zakat committees …are being provided by HAMAS.” In

  fact, the primary purpose of these organizations was to help HAMAS maintain popular support, to

  compete with the Palestinian Authority, and to recruit activists, including individuals for its deadly

  terrorist attacks.

          A.      Key HAMAS Institutions in Gaza

          766.    At the Philadelphia Conference in 1993, the FBI’s wiretaps caught the words of Dr.

  Mu’in Shabib, a HAMAS operative, describing the close connection between HAMAS and several

  of its core institutions in Gaza:

                  The principal organization known to be affiliated with us is the Islamic
                  University of the Gaza region, and we will speak later regarding solutions.
                  We mention it because it is a real wound in our heart. Number two, the
                  Islamic Complex, which was founded in 1973 and received a license in
                  1976. The activities of the Complex were then more comprehensive.
                  The Islamic Society, which was founded in 1976. The al-Salah Society in
                  the region (Gaza), which supervises the sacrifices and other matters. The
                  Young Women’s Muslim Association and the al-Wafa Society for the
                  Care of the Elderly, the orphanage, a number of charity committees, a
                  number of social service institutions which received new licenses, such as
                  the Institution for Law and Justice, which cares for the prisoners. (Emphasis
                  added.)

          767.    Following the Palestinian Authority’s temporary closure of various HAMAS

  institutions, on October 14, 1997 the Palestinian newspaper Al-Quds reported that the Deputy

  Chairman of the Palestinian Legislative Council, Ibrahim Abu Al-Najja, met to discuss the closures

  with a delegation of Islamic organizations in Gaza, which included the secretary general of Al-

  Mujama Al-Islami [Islamic Center], Ibrahim Al-Yazuri; his deputy, Sheikh Muhammad Shama;




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  Chairman of Al-Jam’iya Al-Islamiya [Islamic Society], Sheikh Ahmad Bahar; and the chairman of

  the al-Salah Association, Ahmad Al-Kurd.

                 1.      Islamic University of Gaza

         768.    The Islamic University of Gaza was established in 1978 after the Egyptian

  government retaliated against the PLO for its criticism of Egypt’s peace treaty with Israel and

  blocked Gazan students from studying in Egypt.

         769.    Sheikh Yassin used the controversy to orchestrate the violent removal of the

  university’s PLO-affiliated administration and its replacement with Al-Mujama Al-Islami

  members. It took five years, but Yassin ultimately gained control, and the university was split into

  two entities: Al-Azhar University, which the PLO continued to control; and the Islamic University

  of Gaza, which came under the control of Al-Mujama Al-Islami and Yassin.

         770.    Since the 1990s, the Islamic University of Gaza has been identified exclusively

  with HAMAS and has served as a major source for recruitment of people into the organization’s

  ranks in Gaza, including into the ranks of the Qassam Brigades.

         771.    Since the 1990s, the university’s board, staff, and lecturers significantly overlapped

  with HAMAS’s leadership in the Gaza Strip and the boards of directors of Al-Mujama Al-Islami

  and the Islamic Society of Gaza (Al-Jam’iya Al-Islamiya) – both discussed in detail below.

         772.    Many of the university’s students were recruited by the Qassam Brigades, and

  committed suicide attacks during the Second Intifada, among them Nafedh Ayesh Mustafa al-

  Nadher, who blew himself up near a bus heading to Kfar Darom on July 9, 2001, thus “killing

  many of the sons of monkeys and pigs, the cowardly Zionist infidels,” according to the Qassam

  Brigades website.

         773.    The Qassam Brigades also used the Islamic University’s facilities for its military




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  purposes, such as storing weapons in it; exploiting the University’s laboratories for developing

  and manufacturing weapons; and holding secret meetings of the Brigades’ commanders and

  members in it. This was true both before and during the period relevant to this case.

         774.    On March 8, 1994, the South Florida Sun-Sentinel published an article titled

  “Hamas Official Vows to Block Mideast Peace,” reporting:

                 Soft-spoken Dr. Mahamoud Al-Zahar trains medical students and
                 nurses by day and runs a terror organization by night.

                 He just smiles when asked whether he actually does the latter. He lets others,
                 Palestinians and Israelis, confirm that he is a top operative of Hamas, the
                 vicious military arm of the Islamic Brotherhood.

                 With a kind smile, Al-Zahar goes on grading a batch of exams from nursing
                 students. Five pistol shots ring out outside, somewhere on the campus of
                 the Islamic University of Gaza, where he is dean of the School of
                 Nursing.

                 “Think nothing of it,” he said. He gets up to point out several bullet holes
                 in the glass partitions of an office nearby. “These shots were fired by the
                 (Israeli) soldiers. One has to protect himself.”

                 From his demeanor, it would be unlikely to think of Al-Zahar as anything
                 but an excellent surgeon and former chairman of the Arab Medical
                 Association.

                 But in the files of Shin Bet, the Israeli secret service, Al-Zahar is classified
                 as one of the ranking men of Hamas, which is fighting a war of terror against
                 Israel. (Emphasis added.)

         775.    A May 3, 1994, article in the Los Angeles Times referred to the Islamic University

  of Gaza as “a Hamas stronghold.”

         776.    A November 8, 1994, article in The New York Times reported:

                 Hebron has long been a bastion of Islamic fundamentalism. But the surge
                 in Palestinian Islamic militancy has now become widespread in the West
                 Bank and the Gaza Strip. Hamas, as the Islamic Resistance Movement is
                 known in Arabic, is well entrenched, amply financed and thoroughly
                 disciplined.




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                   Support for the group permeates the Palestinian landscape from the
                   courtyards of the militant Islamic University of Gaza to the little villages
                   of the West Bank to the Arab restaurants of East Jerusalem, where wealthy
                   Palestinian merchants and businessmen meet. (Emphasis added.)

          777.     The Miami Herald reported on November 27, 1994, on its front page:

                   Outside the white-walled Islamic University of Gaza, a center of Hamas
                   support with a student body of about 5,000, a 19-year-old physics major
                   said in perfect English that the peace process will not liberate Palestinians.

                   “The Hamas people don’t like to kill people,” said the student, who
                   identified himself only as Mos. “But I think Jews are our enemy, not our
                   friends. They can’t be our friends. They hate us. We hate them. We want all
                   of Palestine, not just Gaza Strip.” (Emphasis added.)

          778.     On December 18, 1995, Agence France Presse reported:

                   Islamic Resistance Movement (HAMAS) militants put on a play Monday
                   showing a Palestinian killing a Jew, on the day their movement began
                   reconciliation talks with the PLO, witnesses said.

                   The play was shown at the Islamic university of Gaza City in front of
                   1,000 students crying “Allah Akbar” (God is great), the witnesses said.

                   A masked Palestinian representing HAMAS used a dagger and a pistol to
                   kill the Jewish character, identified by his kippa hat, as students chanted:
                   “We will throw the sons of the Zionists into the dustbin of Palestine.”

                   The play marked the final day of a HAMAS campaign for student council
                   elections at the university which take place on Tuesday. (Emphasis added.)

          779.      On March 6, 1996,34 the Mideast Mirror reported that:

                   [O]n Wednesday, Arafat sent his police into the Islamic University of
                   Gaza, a stronghold of Hamas, in a six-hour search for weapons and
                   wanted activists.

                   Arafat, under intense Israeli and U.S. pressure to crush Hamas, told
                   reporters in Gaza he was taking “very big and tough” measures against the
                   group.




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           The following day the Toronto Star reported on the raid: “A force of 200 police broke down the doors of the
  Islamic University of Gaza, a Hamas stronghold that had previously been immune from security sweeps.”


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                 A Reuter correspondent who visited the university in Gaza after the swoop
                 said police had shot open or broken doors and ripped asbestos roofs off
                 several structures during the search.

                 “They were asking about weapons and wanted Hamas activists,” one of the
                 guards said.

                 No students were at the school during the night raid by 200 policemen and
                 none came to class later.

                 The Islamic University of Gaza condemned the raid, during which it said a
                 number of guards were arrested and facilities damaged. In a statement it
                 urged Arafat to stop such actions. (Emphasis added.)

         780.    HAMAS’s founders, Salah Shehada (who later co-founded HAMAS’s Qassam

  Brigades), Ibrahim Fares al-Yazuri, and Abd al-Aziz al-Rantisi were among several prominent

  HAMAS leaders who were publicly affiliated with the University. In fact, more than ten percent

  (47) of the Marj al-Zuhur deportees were employees, administrators, or students at the Islamic

  University of Gaza.

         781.    Khalil Isma’il Ibrahim al-Haya, who also served as Deputy Chairman of Al-

  Mujama Al-Islami in the Gaza Strip between 2002 and 2005, lectured in Islamic Law at the Islamic

  University of Gaza. Haya is now the deputy of Hamas’s senior leader in Gaza, Yahya Sinwar.

         782.    Current supreme HAMAS leader Ismail Haniya (an SDGT) served as the dean of

  the University of Gaza.

         783.    Muhammad Saleh Taha (discussed in detail below), a co-founder of Al-Mujama Al-

  Islami, also lectured at the Islamic University of Gaza as did other HAMAS luminaries, including

  Ahmed Bahar and Mahmud al-Zahar (both contemporaneously identified as senior HAMAS

  spokesmen and leaders in numerous news reports).

         784.    A March 7, 1996, article in the French daily newspaper Nouvel Obs titled “Who

  can stop the killers of Hamas?” reported that HAMAS is not only a terrorist organization, but also




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  – and mostly – a nebula of associations, schools, and orphanages, and that HAMAS controls most

  of Gaza’s kindergartens, as well as the Islamic University of Gaza and 40% of its mosques. Among

  the institutions controlled by HAMAS, the article also mentions al-Salah [Islamic Society] and the

  Islamic Society of Gaza – all CAB customers.

         785.    On March 10, 1996, the Los Angeles Times reported:

                 In the past week, Arafat has rounded up most of Hamas’ political leaders,
                 along with about 600 suspected Hamas activists detained since the wave of
                 bombings began Feb. 25.

                 The latest, Ibrahim Yazouri, one of seven Hamas founders and a pharmacist
                 who heads the Islamic Community Center in Gaza,35 was arrested at his home
                 Friday night, his family confirmed Saturday.

                 Palestinian security officials said they also arrested Ahmed Bahar, another
                 co-founder of Hamas and a professor of religion at the Islamic University of
                 Gaza, but relatives denied it.

         786.    In a March 13, 1996, Op-Ed in Newsday, Gary E. Rubin, then executive director of

  Americans for Peace Now wrote: “The Palestinian Authority must prove it can control its own

  territory and has already taken several significant steps. Yasser Arafat has denounced the terrorists

  publicly and in Arabic. He has staged antiterror demonstrations in Gaza and the West Bank. His

  security forces have raided Hamas institutions - including the Islamic University of Gaza - that

  were misused to support terrorism, and have arrested over 600 Hamas supporters, including

  military wing leaders.”

         787.    An April 8, 1996, article in the Dallas Morning News about the Holy Land

  Foundation titled “Paper trail leads to Hamas; 2 organizations based in Richardson deny they

  promote agenda of anti-Israel terrorists,” notes that “[i]n Gaza and the West Bank, Middle East

  experts say, Hamas is widely regarded as one of the largest and most efficient providers of social



  35
         Al-Mujama Al-Islami.


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  services. The Holy Land Foundation helps support some of those Hamas institutions. The Islamic

  University of Gaza is listed by the foundation as one recipient. It is known as a Hamas bastion ….”

         788.    A December 11, 1996, article published by United Press International reported:

                 More than a thousand supporters of the extremist Islamic Resistance
                 Movement, Hamas, called Wednesday for a renewal of attacks on Israel
                 at ceremonies marking the movement’s ninth anniversary. During the
                 gathering at the Islamic University of Gaza, carried out without
                 opposition by Yasser Arafat’s governing Palestinian Authority, students
                 burned an Israeli flag, chanted “revenge...revenge” and called for the
                 resumption of the attacks against Israel.

                 The students also waved pictures of the movement’s ailing spiritual leader
                 Sheikh Ahmed Yassin, who is serving a life sentence after he was convicted
                 in 1989 for giving orders to kidnap and kill two Israeli soldiers. (Emphasis
                 added.)

         789.    On December 15, 1997, the German news service Deutsche Presse-Agentur

  reported:

                 Hamas activists Monday called for a resumption of suicide attacks on Israel,
                 sources in Gaza said.

                 Hundreds of Hamas and Islamic Jihad supporters made the call at a
                 student council election rally at the Islamic University of Gaza.

                 Dozens of students at the university burned an effigy of Israeli Prime
                 Minister Benjamin Netanyahu, calling him a war criminal, and calling on
                 Hamas to “fight the enemies of Allah,” a reference to the Israelis. The
                 activists also burnt Israeli and U.S. flags.

                 The election campaign also featured banners calling for a renewal of suicide
                 bombings against Israel and posters depicting a blown-up Israeli bus.

                 “Jewish settlements are cancer in the Palestinians’ body,” read one poster.
                 “The only way to eliminate it is by blood and martyrdom.”

                 Dozens of Israelis have been killed in suicide attacks perpetrated by the
                 Moslem fundamentalist Hamas and Islamic Jihad in an effort to sabotage
                 the peace process.

                 Supporters of fundamentalist Islamic movements have won every
                 annual election to the Islamic University’s student council since its



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                 establishment in 1979. The last suicide attack occurred in early September
                 in a Jerusalem pedestrian mall. (Emphasis added.)

         790.    On April 22, 1998, the German news service Deutsche Presse-Agentur reported:

                 Islamic opposition leaders in the Gaza Strip called on the Palestinian police
                 to release more than 300 prisoners from the Palestinian prisons.

                 Hamas leader Ismael Haneya told about 2,000 students in a rally at
                 the Islamic University of Gaza that the arrests will “never dissuade Hamas
                 from continuing its Jihad (holy war) against Israel.”

         791.    A March 28, 2000, news item published by United Press International reported:

  “Palestinian Police forces on Monday broke into the Islamic University of Gaza looking for what

  they called ‘incitement materials’, Palestinian sources said Tuesday. The Islamic University is

  known as a supporter of the Islamic resistance movement Hamas.”

         792.    A June 5, 2000, article in the Jerusalem Report (written by The New York Times

  correspondent Isabel Kershner) offered a detailed comparison between Al-Azhar University in

  Gaza and its rival, the Islamic University of Gaza:

                 The two universities of Gaza - one a Fatah institution, the other a bastion of
                 Hamas - sit side by side but are worlds apart.

                 ZA’ED HASSANAT STRUTTED through the campus of Al-Azhar
                 University in Gaza a day before the May 8 student council elections, relaxed
                 in the knowledge that victory was only 24 hours away. Indeed, by the end
                 of vote-counting the next evening, Hassanat’s Shabibah bloc, the youth
                 wing of Yasser Arafat’s Fatah organization, had garnered 88 percent of the
                 vote and Hassanat was safely installed as the new president of the student
                 council.

                 The fact that Hassanat faced no serious opposition is easily explained: Al-
                 Azhar is a “Fatah” university, founded in 1991 on direct orders from Arafat.
                 “It was a political decision to establish a national Palestinian university,”
                 recalls Mazen Hamdan, director of Al-Azhar’s president’s office. “The
                 order came from Tunis and we were obliged to respond.”

                 The idea was to set up a counter to the Strip’s only other university, the
                 Islamic University of Gaza (IUG), one of Hamas’s leading institutions,
                 with prominent members of Hamas’s local political leadership, such as


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              Dr. Mahmud Zahar and Dr. Abd al-Aziz Rantisi, on its staff. In student
              council elections at IUG in early April, the pro-Hamas bloc won 74 percent
              of the vote.

              The campuses sit side-by-side in downtown Gaza, with only an old stone
              wall between them. Yet despite the proximity, the two universities are living
              in two very different realities. While the Shabibah-dominated Al-Azhar
              basks in the approval of the Palestinian Authority, the Hamas students and
              staff next door have fallen uncharacteristically silent, afraid of being
              arrested at every turn.

                                                 ***
              Student relations aren’t always neighborly. Both campuses were closed
              down for a week shortly before the Al-Azhar elections in the wake of
              serious rioting between the Shabibah and Hamas students that left around
              40 injured and the dividing wall demolished.

              There are different versions of how the disturbances started, but it seems
              that the trouble began in the aftermath of the student elections at IUG.
              Members of the Shabibah contingent within IUG, who make up over 20
              percent of the student body, had pasted posters of Arafat around the campus.
              The removal of the posters by the Hamas-dominated student council
              infuriated the Shabibah. The IUG conflict quickly spread to the next-door
              campus and stones started flying between the two. Al-Azhar’s Hassanat
              claims he saw Islamist students running at the Shabibah with iron bars,
              shouting “Allahu Akbar, let me kill one and go to paradise.” Meanwhile,
              the Shabibah from both campuses staged a sit-in on a disputed soccer
              ground that belongs to IUG, but to which the Al-Azhar students are laying
              claim.

              According to eyewitnesses, the Palestinian Authority police only arrived
              two hours after the mayhem started. And when they finally showed up, they
              invaded the IUG campus in full riot gear, swinging clubs, while a few
              plainclothes members of the security forces went to deal quietly with the
              Shabibah on the soccer field and at the university next door. That, seasoned
              Gazan observers say, is because the police and Al-Azhar students are not
              just sitting cozily on the same side: with so many of the Shabibah activists
              on the PA security services’ payroll, they are almost indivisible.

              To a large degree, the student clash and its aftermath reflect the wider
              political atmosphere in Gaza. Until a few years ago Hamas activists in the
              Strip freely spouted against the Palestinian Authority police, openly
              accusing them of collaborating with the Israeli enemy. Now, administrators
              and Islamist students at IUG sit tight-lipped, refusing to make any
              pronouncements for fear of arrest. (Emphasis added.)




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         793.    An October 9, 2001, article by Lee Hockstader of the Washington Post appeared in

  the Pittsburgh Post-Gazette. It reported that:

                 Palestinian officials were embarrassed by scenes of celebration that broke
                 out in some neighborhoods immediately after the Sept. 11 attacks in the
                 United States. After Sunday’s strikes on Afghanistan, officials of the
                 Palestinian Authority predicted confidently there would be no
                 demonstrations against the United States or in sympathy with bin Laden.
                 Arafat allied himself with Iraq during the 1991 Persian Gulf War and is
                 determined not to isolate his movement that way again.

                 But at 10 a.m., about 1,000 students spilled out from the gates of the
                 Islamic University of Gaza and began marching west on 30th Street, a
                 major Gaza City thoroughfare, toward the offices of the Palestinian
                 Legislative Council. Some displayed posters of bin Laden and chanted anti-
                 American slogans.

                 Islamic University, with about 14,000 students, is a stronghold of
                 Hamas, the Islamic Resistance Movement, a radical group that has
                 carried out a string of suicide bombings against Israelis. The Islamic
                 students were joined by students from neighboring Al-Azhar University,
                 which is affiliated with Arafat’s mainstream Fatah movement.

                 Hundreds of Palestinian riot police blocked the march, and the students
                 began pelting them with stones and bottles. The police drove them back
                 several hundred yards into the walled Islamic University campus. Around
                 11 a.m., as the students continued to hurl rocks and bottles at the police from
                 inside the gated campus, police opened fire with military rifles. (Emphasis
                 added.)

         794.    The unclassified October 19, 2001 “Expert Opinion” issued by the Israeli Military’s

  Intelligence Directorate noted that “‘The Islamic University’ in Gaza is a HAMAS stronghold and

  is in fact run by the movement.”

         795.    The June 30, 2002, research paper issued by COGAT found that a “considerable

  number of suicide attackers studied at the Islamic University in Gaza and participated in Islamic

  student activity there.”




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          796.    On June 29, 2003, the Toronto Star reported:

                  … al-Mujamma al Islami, or the Islamic Bloc, established 30 years ago by
                  spiritual leader Yassin, operates projects ranging from kindergartens to
                  health clinics. In the Islamic tradition of giving alms, even the sons and
                  daughters of Palestinian collaborators share in the Bloc’s bounty.

                  Also associated with the Hamas social-welfare apparatus is the Islamic
                  Society, el-Salah benevolent society, al-Arqam School and the Islamic
                  University of Gaza.

                  A visit to Islamic University of Gaza last week was a lesson in the tension
                  surrounding Hamas. Like virtually all the related institutions, IUG has
                  drawn a veil upon itself, with administrators refusing to meet with foreign
                  media.
                                                     ***
                  With a student body of more than 10,000, IUG has gained respect for its
                  schools of engineering, nursing, math and sciences, as well as for religious
                  studies.

                  In its employ are three of the five main leaders of the Hamas political
                  wing in Gaza, including ultra-hard-line professor Abdel Aziz Rantisi, a
                  pediatrician by training and a target of botched Israeli assassination attempt
                  three weeks ago. (Emphasis added.)

          797.    From the early 1990s through 2004, the Islamic University of Gaza received

  financial support from CBSP, Interpal, the Al-Aqsa Foundation – Germany and many other

  HAMAS fundraising organizations.

                  2.       The Islamic Center (or Complex) – Gaza (Al-Mujama Al-Islami)

          798.    As noted above, the Islamic Center (Al-Mujama Al-Islami) was established in 1973

  by Ahmed Yassin, the founder of HAMAS and the organization’s spiritual leader.36

          799.    The foundations, infrastructure, and key operatives of Al-Mujama Al-Islami laid the

  basis for the establishment of HAMAS, the future growth and expansion of HAMAS in the Gaza

  Strip, and later throughout the Palestinian arena.


  36
          In 2004, in prepared remarks accompanying the indictment of the Holy Land Foundation, Attorney General
  John Ashcroft confirmed, “The Islamic Center of Gaza was established by HAMAS leader and founder Sheik Ahmed
  Yassin and was used by him to coordinate and conduct HAMAS activities.”


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           800.   Both Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya (the Islamic Society), which

  was founded three years later, in 1976, opened branches throughout the Gaza Strip.

           801.   In 1978, a branch of Al-Mujama Al-Islami was established in Khan Yunis.

           802.   In that same year, several kindergartens which belonged to the organization in

  Gaza, were established.

           803.   In 1985, Al-Mujama Al-Islami’s al-Aqsa School was built in Khan Yunis. Shortly

  after HAMAS’s establishment, an additional seven branches were set up throughout the Gaza

  Strip.

           804.   These branches were run by people who later would become the founders of

  HAMAS, including al-Rantisi (the branch in Khan Yunis Refugee Camp) and Abd al-Fatah

  Dukhan (Nusairat branch).

           805.   A 2000 fundraising brochure explicitly linked Al-Mujama to Al-Aqsa Foundation

  – Germany. The brochure referred to the “fragrance of the blood of the martyrs and wounded

  which watered the pure soil” and confirmed that Al-Aqsa Foundation donors “are committing

  Jihad with your monies in the land of [the people of] steadfastness, whose blood is violated and

  whose sanctuaries are desecrated everyday...”

           806.   A subsequent brochure touting Al-Mujama’s social welfare activities featured

  photographs of HAMAS’s iconic founder and spiritual leader, Sheikh Yassin, directly above one

  of the organization’s bank account numbers at CAB. Attached as Exhibit J.

           807.   An article in the December 19, 1992, issue of The Economist stated: “Ahmed

  Yassin, the wheelchair-bound founder of the fundamentalist Palestinian Islamic movement Hamas,

  is in prison for kidnapping and murder. Yassin, a former member of the Muslim Brotherhood,

  founded the Islamic Center in 1973 and Hamas in 1987.” (Emphasis added.)




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         808.    A December 31, 1992, article in the French daily newspaper Le Monde, titled

  “The Hamas Movement Struggles for the Creation of an Islamic State in Palestine” also noted that

  Al-Mujama was created by HAMAS’s spiritual leader, Sheikh Ahmed Yassin.

         809.    A September 11, 1993, article in Le Monde, titled “Israel-PLO: Mutual

  Acknowledgment - Hamas, the Main Obstacle,” explained how HAMAS used Al-Mujama al-

  Islami to develop multiple networks: sports clubs, youths and women organizations, day care

  centers, clinics, Qur’anic schools, and how it took control over students and workers unions.

         810.    A November 7, 1993, article in The New York Times reported:

                 On the grass-roots level, Hamas leaders hope to maintain their movement’s
                 influence, which has been built through a growing network of social service
                 organizations aided by financing from Saudi Arabia, other gulf Arab states
                 and Iran. Hamas has used Islamic welfare groups to win support, especially
                 in the impoverished Gaza Strip, where it has filled gaps left by inadequate
                 Government services.

                 Islamic associations run kindergartens and summer camps. They give food
                 and money to poor families, provide clothing and financial aid to orphans
                 and needy pupils and have organized cleanup and home repair campaigns
                 in refugee neighborhoods. One group in Gaza appealed this week for
                 donations to families whose houses were recently rocketed by Israeli troops
                 searching for armed fugitives.

                 “Our actions speak louder than 100 mosque sermons,” said Ibrahim al-
                 Yazuri, a pharmacist who leads Al-Mujama al-Islami, an Islamic group
                 founded in Gaza in the 1970’s. Hamas, a militant offshoot of Al-Mujama
                 al-Islami, emerged when the Palestinian uprising began in the occupied
                 territories in December 1987.

         811.    An October 21, 1994, article in Le Monde, titled “Après l’attentat de Tel-Aviv

  Hamas, mouvement de la résistance islamique” reported that HAMAS’s spiritual leader, Sheikh

  Ahmed Yassin, was sentenced to life in prison in October 1991 for murder, incitement to violence

  and arms possession. It notes that he created Al-Mujama Al-Islami, which used to engage in

  Muslim proselytism, but which transformed into HAMAS with the advent of the First Intifada.




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         812.    An October 27, 1994, article in the French daily newspaper Nouvel Obs titled

  “Palestine: The Financial Supporters of Hatred,” reported that HAMAS’s objective is to destroy

  Israel; that one of its main tools is money; and that the Societe d’Aide Publique (Public Aid

  Society) and the Collectif Islamique (Al-Mujama Al-Islami) are HAMAS organizations. It further

  explained that HAMAS uses its funds to combine help for the poor (by funding schools, hospitals,

  and other social services) and terrorism.

         813.    A January 26, 1995, article in the Jerusalem Report magazine reported:

                 The bearded, thirtysomething organizers of Mujama Islami (“Islamic
                 Collective”), another charity, decline to meet us, although we have an
                 appointment. “We’ve decided not to talk to the press,” their spokesman
                 apologizes. “They only write that we’re working for Hamas.” It’s not
                 hard to see why. The charity is housed in one of Gaza City’s most
                 imposing modern mosques, from whose pulpit crippled preacher
                 Sheikh Ahmad Yassin launched Hamas, the Islamic Resistance
                 Movement. Yassin, who has been in an Israeli prison since 1989 convicted
                 of organizing terrorist cells and operations, lived nearby in the Sabra
                 neighborhood. The mosque’s polished limestone walls are spray-painted
                 liberally with the current Hamas slogan – “Dying for the Sake of Allah is
                 our Highest Goal” - and plastered with posters of the latest “martyrs.”
                 (Emphasis added.)

         814.    On December 1, 1996, the Associated Press ran a story titled, “From Gaza Alleys

  to Turkish Slums, Helping Hand Key to Success.” The article reported:

                 The Islamic Society is part of a sprawling network of charities and
                 social institutions with ties to the Islamic Resistance Movement, better
                 known as Hamas, whose gunmen and suicide bombers have staged
                 repeated attacks inside Israel.

                 But before any Hamas activist picked up a gun, its affiliated social
                 service groups were building popular support, mixing charity, Islamic
                 consciousness and politics.

                 “Hamas is a grass-roots organization,” said Khalil Shikaki, director of a
                 Palestinian think tank. “It’s very well-organized, its traditional message
                 works well and it excelled in services under the occupation when you had
                 no government to provide them.”




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                   Financed by up to $ 120 million a year, largely donated by Palestinians
                   working abroad and supporters in the Persian Gulf, the community work of
                   Hamas overshadows its smaller but influential military wing, to which only
                   a fraction of its thousands of supporters belong.

                   The biggest charity in Gaza, al-Mujama al-Islamiya, was founded by
                   Sheik Ahmad Yassin, the jailed leader of Hamas.

                   (Emphasis added.)

         815.      On January 15, 1997, the Chicago Tribune ran the same article quoted in the prior

  paragraph.

         816.      A December 9, 2001, article in Le Monde, titled “Sheikh Ahmed Yassin: The Soul

  of Extremists,” reported that Sheikh Ahmed Yassin was the spiritual leader of HAMAS and

  Palestinian Islamists more generally. The article describes HAMAS as a movement included on

  the U.S. government’s list of terrorist organizations and that it is responsible for most anti-Israeli

  terrorist attacks, including suicide attacks. It further attributes to Yassin the creation of Al-Mujama

  Al-Islami and HAMAS, whose charter states that “every Jew and every [Jewish] colonizer is a

  target and must be killed.”

         817.      It is this violent terrorist goal of HAMAS that Al-Mujama institutions adhere to in

  carrying out their activities. For example, an April 25, 2002, article in the San Francisco Chronicle

  described the work of Al-Mujama al-Islami in encouraging children to grow up to become martyrs

  and kill Jews:

                   Six days a week, kindergarten teacher Samira Ali El Hassain tells her class
                   of 30 5-year-old boys and girls what makes the world go round.

                   “Here is how an egg becomes a chicken,” she says to a student. “Here is
                   how to draw a circle,” she tells another.

                   Hassain then quizzes the class about a previous, more serious lesson. “Who
                   are the Jews?” she asks.



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              The children know the answer by heart: “The enemy!” they reply in unison.

              “And what should we do to them?” Hassain asks in a voice that is as casual
              as when she discussed chickens and eggs.

              “Kill them!” the children cry out.

              Hassain works at a school run by Al-Mujamma Al-Islami (the Islamic
              Association), an Islamic charity group created in 1973 by Sheikh Ahmed
              Yassin, the founder and spiritual leader of the militant group Hamas. Such
              schools represent about 10 percent of Gaza kindergarten classes and are the
              only ones to teach such vitriol.

              Signs that extol violence are found everywhere these days in the streets of
              Gaza City, the capital of the Palestinian-dominated Gaza Strip.

              On the walls, graffiti calls on residents to “kill the Jews” and “die like shahid
              (martyrs)” – the men and women who have died trying to kill Israelis.
              Instructions on how to become a shahid are spray-painted, along with
              photos of weapons, exploding buses and portraits of men wrapped in
              explosives.

              And if that isn’t enough to convince Gaza’s children – many of whom spend
              their days roaming the dusty streets, playing in sandbag barricades, shooting
              toy assault rifles and throwing stones at each other – hatred of Israelis is
              part of their kindergarten lesson plan.

              TEACHING RESENTMENT

              “I tell them that they are Palestinians, that they must defend their land when
              they grow up, that this land belongs to them and not to the Jews, our
              enemies,” said the 35-year-old Hassain. “Every morning, I ask them: ‘Did
              you watch the news? Do you love the enemy who massacres the Palestinian
              people? Would you want to make peace with them when you grow up?’”

              Her 24-year-old colleague, Istama Showish, imparts a similar message.

              “We teach them that Jews who live in Jerusalem and Palestine are occupiers,
              that they have taken even the air that we breathe,” she said.

              Al-Mujamma Al-Islami has won the hearts of many poor Palestinians in
              the Gaza Strip by donating food and clothes and setting up affordable
              schools. The kindergarten where Showish and Hassain teach costs just $7 a
              month, about half the cost of a regular day-care facility here.




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                 But Yassin, the organization’s founder, who uses a wheelchair and lives in
                 a compound in the slums of the city, is also indelibly linked with Hamas –
                 which claimed responsibility for some of the deadliest suicide bombings in
                 Israel, including the March 27 attack that killed 25 Israelis at a Passover
                 meal.

                 Abdel Aziz Rantisi, a top Hamas political leader, denies that his group is
                 linked with Al-Mujamma Al-Islami. But he clearly supports the
                 association’s anti-Israeli curricula for 5-year-old children.

                 “You see? Even children want to sacrifice themselves for the sake of
                 Palestine,” Rantisi recently told The Chronicle at Hamas headquarters in
                 Gaza City. “We are using our own, simple means to say to the aggression
                 of a strong army: ‘Stop.”

                 Back in Gaza, however, the kids at the Al-Mujamma Al-Islami
                 kindergarten class started a new game last week called “martyr’s funeral.”

                 “One of them pretended to be a martyr, while the others lifted him up and
                 pretended that they were burying him,” said Showish. “We tell them that
                 the shahid are very good people, our heroes. We tell them that they must
                 grow up and do the same.” (Emphasis added.)

         818.    In a September 9, 2002, article titled “Hamas Uses Charity as Draw; Surpasses

  Arafat’s Group in Popularity,” New York’s Newsday reported:

                 Hamas acknowledges exploiting the economic situation for political gain.

                 “Yes, we do it like any other political movement,” said Ismail Abu Shanab,
                 a senior Hamas leader in Gaza. Charitable work “comes from our
                 ideological conception and our beliefs. … It has totally increased, maybe
                 three times.”
                                                      ***

                 “Most of our funding comes from Islamic organizations in Europe and some
                 charitable organizations and individuals,” said Mohammed Shama’a, the
                 head of Al-Mujama al-Islami. (Emphasis added.)

         819.    According to an April 2003 report by the International Crisis Group, the affiliation

  of the extensive network of institutions that comprise Al-Mujama with HAMAS is “readily

  apparent” and “all but official.”

         820.    In an article on the popular Islamist website Islamonline.net, Ismail Haniya,



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  HAMAS’s current supreme leader, stated that Al-Mujama Al-Islami, Al-Jam’iya Al-Islamiya, and

  al-Salah Charitable Society provide financial support to the martyrs’ families, the injured, the

  prisoners, and the detainees of the Intifada.

           821.     Following are details of the most important figures in Al-Mujama Al-Islami:

                        Ahmed Yassin: Sheikh Yassin, one of the founders of HAMAS and the
                         founder of Al-Mujama Al-Islami. Yassin was arrested in 1984 after
                         founding al-Mujahidun al-Filastiniyun37 and was sentenced to 13 years’
                         imprisonment. He was released in 1985 as part of the “Jibril Prisoners’
                         Exchange.” He was arrested a second time in 1989, tried and sentenced
                         to life imprisonment for his role in planning the murder of two Israeli
                         soldiers before being released from prison once more, as a result of a
                         botched Israeli assassination attempt in Jordan in 1997. On January 25,
                         1995, the U.S. Department of Treasury designated Yassin a Specially
                         Designated Terrorist. Upon his return to Gaza, Yassin rebuilt his
                         standing within the HAMAS leadership.38 On August 22, 2003, the
                         United States declared him a Specially Designated Global Terrorist for
                         his involvement in HAMAS. On March 22, 2004, Yassin was killed by
                         Israel’s security forces. To this day, Yassin has remained an object of
                         veneration for HAMAS supporters, who see him as a source of authority
                         and inspiration for the continuation of their jihad against Israel.

                        Abd al-Aziz al-Rantisi: Al-Rantisi was one of the seven founders of
                         HAMAS, and one of the organization’s key leaders in the Gaza Strip.
                         With the founding of HAMAS in 1987, Rantisi was appointed to head
                         the military wing (Qassam Brigades) in the southern districts of the
                         Gaza Strip. Rantisi served as a member of Al-Mujama Al-Islami’s
                         administrative board and founded the organization’s Khan Yunis
                         branch. In 1992 he was temporarily deported, along with other senior
                         members of HAMAS, to Marj al-Zuhur, where he served as HAMAS’s
                         chief spokesman to the Western media.39 In March 1998, Rantisi was
  37
           The organization was the Muslim Brotherhood’s precursor to HAMAS’s Qassam Brigades.
  38
           It is difficult to overstate Yassin’s stature and notoriety within Palestinian and even pan-Arab culture from
  the mid-1990s until his death in 2004. For example, Agence France Presse reported on October 6, 1997: “Yassin, who
  has become an icon of resistance for Islamist and secular Palestinians during his years of prison, had to be lifted in his
  wheelchair to push through the cheering crowds towards the stage at Gaza’s Yarmouk stadium. At the entrance, the
  armed wing of HAMAS, Ezzedin al-Qassam, which conducts HAMAS’s bomb attacks, stretched a banner reading:
  ‘We renew our oath and loyalty to the holy Warrior Sheikh Ahmed Yassin.’”
  39
           Rantisi was regularly quoted on behalf of HAMAS in the Western press. For example, Agence France Presse
  reported on August 21, 1997, that “the social network created by HAMAS – kindergardens, medical clinics, charity
  organizations, youth clubs, even a matchmaking service -- employs hundreds of people and, more importantly, benefits
  thousands. ‘Our services provide a large section on Palestinian society, and not just HAMAS supporters. This is public



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                       arrested by the Palestinian Authority and held for a period of 15 months
                       for his continued activities related to HAMAS. He was considered the
                       most radical voice within HAMAS political leadership in the Palestinian
                       Territories. He publicly and explicitly encouraged HAMAS operatives
                       to carry out suicide actions against Israel; he praised those who
                       responded to the call for “self-sacrifice”; and he preached ceaseless war
                       that would end with the destruction of Israel. On August 22, 2003, the
                       United States designated Rantisi an SDGT. After Sheikh Yassin was
                       killed by Israeli forces on March 22, 2004, Rantisi was declared his
                       successor and appointed as leader of HAMAS in the Palestinian
                       Territories. On April 17, 2004, Rantisi was killed by Israel’s security
                       forces.

                      Ibrahim Fares al-Yazuri: Al-Yazuri was one of the “founding fathers”
                       of HAMAS and a close friend of Ahmed Yassin. He was also one of the
                       founders of Al-Mujama Al-Islami in the seventies and a member of the
                       organization’s administrative board from its inception. Al-Yazuri
                       served as Chairman of Al-Mujama Al-Islami following Yassin’s arrest
                       and imprisonment in 1984. In 2000, he was listed as the Secretary
                       General of Al-Mujama Al-Islami. He also taught at the Islamic
                       University of Gaza. Al-Yazuri was later sentenced to 26 months
                       imprisonment in Israel because of his HAMAS-related activities and
                       subsequently arrested several times by the Palestinian Authority
                       (following terrorist attacks carried out by HAMAS against Israel). In
                       October 1998, the PA arrested Yazuri because he was a HAMAS leader.

                      Muhammad Hasan Sham’a: Sham’a was involved in the
                       establishment of Al-Mujama Al-Islami and oversaw the organization’s
                       public relations. Sham’a was also listed as Deputy Secretary General of
                       Al-Mujama Al-Islami. Subsequently he was one of the seven founders
                       of HAMAS and one of its political leaders. He was among the deportees
                       to Marj al-Zuhur and was later arrested by the Palestinian Authority in
                       199540 and 1998.

                      Issa Khalil al-Nashar: Al-Nashar was one of the seven founders of
                       HAMAS and was responsible for its activity in Rafah. He served on the
                       board of Al-Mujama Al-Islami. Al-Nashar was briefly arrested by Israel
                       in 1988 for his membership in HAMAS and later deported to Marj al-
                       Zuhur. In November 1995, he participated in the creation of HAMAS’s
                       National Islamic Salvation Party and served as head of its political


  work,’ said Abdel Aziz al-Rantisi, a HAMAS political leader in Gaza City.”
  40
          Agence France Presse reported on June 26, 1995, that those arrested by the PA “included two HAMAS
  founders -- Ibrahim al-Yazuri and Mohammad Shama -- and three other senior fundamentalists, Mahmud Zahar,
  Sheikh Ahmed Bahr and Sheikh Ahmed Nimr.”


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                  bureau. In 1995, Al-Nashar was detained for four months by the PA
                  Security Forces.

                 Khalil Isma’il Ibrahim al-Haya: Haya served as Deputy Chairman of
                  Al-Mujama Al-Islami in the Gaza Strip between 2002 and 2005. In 1981,
                  during his studies at the Islamic University of Gaza, he became a
                  member of the Islamic Students Association (al-Kutla al-Islamiya) and
                  tried, on several occasions, to take control of the University’s campus
                  together with other members of Al-Mujama Al-Islami. He served as
                  Chairman of the HAMAS faction in the Palestinian Legislative Council
                  in 2006-2007 and was one of the best-known HAMAS leaders in the
                  Gaza Strip. He was imprisoned by Israel in 1991 for activities connected
                  with HAMAS.

                 Abd al-Fatah Dukhan: Dukhan was one of the seven founders of
                  HAMAS. He served as head of the Al-Mujama Al-Islami branch in
                  Nusairat Refugee Camp and was one of the Marj al-Zuhur deportees.
                  He has served as a member of the Palestinian Legislative Council as part
                  of HAMAS’s Change & Reform Party.

                 Khalil Ibrahim al-Quqa: Al-Quqa was one of the founders of Al-
                  Jam’iya Al-Islamiya and headed the Al-Mujama Al-Islami branch in
                  Shati. He was also one of the first to join HAMAS. Two weeks after
                  HAMAS’s establishment, Al-Quqa was arrested by Israeli security
                  forces for incitement against Israel. Al-Quqa was deported by Israel to
                  Lebanon in 1988, and from there he moved to Tunis and later Egypt.
                  Two years later he was expelled from Egypt (1991) to the United Arab
                  Emirates, where he died of natural causes in 2005.

                 Muhammad Saleh Taha: Taha, a CAB customer discussed further
                  below, took part together with Ahmed Yassin in the founding of Al-
                  Mujama Al-Islami and served as a member of the organization’s
                  Administrative Council. He was arrested on several occasions, both by
                  Israel and by the Palestinian Authority, for his HAMAS-related
                  activities and was deported to Marj al-Zuhur in 1992 along with Rantisi
                  and Sham’a. He has served as a lecturer at the Islamic University of
                  Gaza. Taha was arrested numerous times by both Israel and the PA.

                 Osama al-Mazini: Al-Mazini was one of the heads of HAMAS’s
                  political leadership and one of the movement’s prominent spokesmen.
                  Al-Mazini served as a member of the Administrative Council of Al-
                  Mujama Al-Islami. He also served as a lecturer in the Department of
                  Psychology at the Islamic University of Gaza. He is married to Ahmed
                  Yassin’s daughter. Al-Mazini was arrested many times by Israel and by
                  the Palestinian Authority, following terrorist attacks committed by
                  HAMAS.


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                       Nizar Muhammad Awd-Allah: As one of Ahmed Yassin’s close
                        associates, Awd-Allah was involved in the kidnapping and murder of
                        Israeli soldiers Sasportas and Saadon in 1989, for which Yassin was
                        sentenced to 13 years in prison. Awd-Allah was a senior operative in
                        both HAMAS and Al-Mujama Al-Islami. Awd-Allah was also appointed
                        as the commander of the Qassam Brigades in Gaza following the arrest
                        of Salah Shehada in 1988.

                       Maryam Muhammad Yusuf Farhat: In 1981, Farhat supervised the
                        women’s activities at Al-Mujama Al-Islami. Her eldest son, Nidal
                        Farhat, joined the Qassam Brigades in 2000 where he oversaw the
                        planning and carrying out of numerous terror attacks and became a
                        HAMAS bombmaker. Farhat encouraged another son, Muhammad, to
                        carry out a suicide attack, and was photographed with him before he
                        departed for the attack. Farhat was elected in 2006 to the Palestinian
                        Legislative Council as part of HAMAS’s Change and Reform Party. She
                        died in 2013.

           822.     Because it was HAMAS’s operational headquarters in Gaza, Al-Mujama Al-Islami

  was temporally closed by the PA on September 25, 1997.

           823.     On August 24, 2003, the Palestinian Monitory Authority issued an order to freeze

  Al-Mujama Al-Islami bank accounts in all banks in the Palestinian Territories in order to stop

  funding HAMAS institutions.41

           824.     Due to its central role as a supporter of HAMAS’s jihad activity, Al-Mujama Al-

  Islami was declared an unlawful association by the Israeli Minister of Defense on February 25,

  2002, as an institution belonging to HAMAS, and by the commander of the Israel Defense Forces

  (“IDF’s”) Central Command on June 30, 2002.

           825.     Throughout the relevant period (including 2002-2003 after Israel separately

  outlawed Al-Mujama Al-Islami), CAB maintained accounts for Al-Mujama Al-Islami.

           826.     On May 29, 2007, the United States Department of Justice identified Al-Mujama


  41
           USA Today reported on the freeze order, including the actions taken against Al-Mujama and also noting that
  “Palestinian officials confirmed Thursday that the Palestinian prime minister believes two of the charities – Al Jamiya
  Al Islamiya and As-Salah - are fronts for Hamas ….”


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  Al-Islami as an “organization that operates on behalf of, or under the control of, Hamas” in the list

  of unindicted co-conspirators in the criminal case of United States v. Holy Land Foundation.

         827.    From the early 1990s through 2004, Al-Mujama Al-Islami enjoyed financial support

  from HAMAS fundraising organizations through its account(s) at CAB that included the HLF in

  the United States (designated an unlawful association by Israel in 1997 and a terror organization

  in 1998 and as an SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association

  by Israel in 1997 and a terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal

  (designated an unlawful association by Israel in 1997 and terror organization in 1998 and as an

  SDGT by the U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful

  association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003)

  and many other HAMAS fundraising organizations.

         828.    From HAMAS’s founding in 1987, Al-Mujama Al-Islami has been synonymous

  with HAMAS and has served as the nerve center of the movement. Its leadership, operatives, and

  activities have all been inextricably linked with HAMAS’s violent terrorist activities.

                 3.      The Islamic Society – Gaza (Al-Jam’iya Al-Islamiya)

         829.    The Islamic Society (Al-Jam’iya Al-Islamiya) was founded in the Gaza Strip in

  1976 by Ahmed Yassin and other senior member of the Muslim Brotherhood.

         830.    Like Al-Mujama Al-Islami (the Islamic Center), it served as a base for

  disseminating ideology and the political platform of the Muslim Brotherhood in Gaza in the

  seventies.

         831.    From the time of HAMAS’s establishment, Al-Jam’iya Al-Islamiya was a

  significant HAMAS stronghold, operated and controlled by individuals who were identified

  initially with the Muslim Brotherhood and ultimately with HAMAS.




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          832.     Al-Jam’iya Al-Islamiya’s official web site has, for many years, featured an image

  of Ahmed Yassin, the founder of HAMAS and Al-Jam’iya Al-Islamiya.

          833.     Similarly, senior HAMAS figures regularly participate in Al-Jam’iya Al-Islamiya

  events. Since the mid-1990s, the society has not hidden its affiliation with HAMAS from Western

  journalists, and this fact was published by the leading Western media outlets.

          834.     As early as 1993, an article in the Independent by Sarah Helm described a Gaza

  kindergarten “run by the Islamic Society which is controlled by Hamas, the militant Islamic

  movement.”42

          835.     An article in the Boston Globe on September 5, 1993, about tensions between

  HAMAS and the PLO, reported: “‘The military option is the only way to liberate the rest of

  Palestine,’ said Sheik Hassan Deib, head of the Islamic Society of Gaza, when asked if Hamas

  activists would give up their arms to a Palestinian police force. ‘The struggle between us and the

  Jews is eternal . . . I expect Arafat to try to suppress us. If that happens, we’ll have to resist.’”

          836.     Similarly, both The New York Times (“In Gaza, Peace Meets Pathology,”

  November 27, 1994) and the Financial Times (“Fundamentalists Split Palestinian Unity,”

  September 9, 1988) identified the Islamic Society of Gaza as part of HAMAS.

          837.     A December 18, 1994, Jerusalem Post article described a HAMAS rally in Gaza

  where a banner at the entrance to the soccer stadium showed a Qassam Brigades operative,

  “emerging from an exploding grenade with the words, ‘We count the gates of paradise with the

  skulls of Jews.’” According to the article, “Sheikh Ahmed Bahr, head of the Islamic Society” was

  a featured speaker at the rally.



  42
           Even the International Labour Review (Vol. 132 – 1993) noted that “Hamas has drawn its greatest support
  from a programme of Islamic education and welfare run by its social wing, the Islamic Society, which distributes alms
  to the poor and runs nine kindergartens. It teaches children reading, writing and Islam.”


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         838.    A January 26, 1995, article in the Jerusalem Report magazine reported:

                 The bearded, thirtysomething organizers of Mujama Islami (“Islamic
                 Collective”), another charity, decline to meet us, although we have an
                 appointment. “We’ve decided not to talk to the press,” their spokesman
                 apologizes. “They only write that we’re working for Hamas.” It’s not hard
                 to see why. The charity is housed in one of Gaza City’s most imposing
                 modern mosques, from whose pulpit crippled preacher Sheikh Ahmad
                 Yassin launched Hamas, the Islamic Resistance Movement. Yassin, who
                 has been in an Israeli prison since 1989 convicted of organizing terrorist
                 cells and operations, lived nearby in the Sabra neighborhood. The mosque’s
                 polished limestone walls are spray-painted liberally with the current Hamas
                 slogan – “Dying for the Sake of Allah is our Highest Goal” - and plastered
                 with posters of the latest “martyrs.”

                 The biggest of the major charities, the Islamic Society, is less bashful,
                 though its middle-aged managers say they’re leaving for an out-of-town
                 funeral when we pull up at their gate. The society’s director is Sheikh
                 Ahmad Bahar, a senior Hamas ideologue who returned a year ago after
                 being deported to Lebanon in 1992. About 120 children are enrolled in one
                 of its two Gaza City kindergartens, near the Shati refugee camp. Some of
                 the little girls arrive with their heads covered for modesty. As well as verses
                 from the Koran, they learn to sing songs in praise of Hamas operations.
                 Their teachers regale them with stories of the armed struggle, which they
                 project as the only way to build an Islamic state and “liberate” Jerusalem
                 from the Jews. (Emphasis added.)

         839.    On April 11, 1995, an article in Le Monde titled “Peace threatened by Palestinian

  Kamikazes” describes Bahar’s rationalization for Hamas-perpetrated terrorist attacks:

                 The Imams of [Islamic] Jihad and Hamas, the Islamic resistance movement,
                 found the theological parade. “They are not suicide operations”—Sheikh
                 Ahmad Bahar, one of the leaders of Hamas, Head of Jamaya Islamiya,
                 first Islamic charitable association in Gaza, will explain to us with a soft
                 voice. “We call them Jihad operations. Jihad is recommended by the Koran
                 against the enemy. In the eyes of Allah, it is legitimate to inflict upon the
                 enemy what it inflicts upon you. It is God’s vengeance, not man’s. God
                 chooses the sacrificial hero, no one else. Allah’s will must be
                 accomplished.” (Emphasis added.)

         840.    On June 30, 1995, following a Palestinian Authority raid of Al-Jam’iya Al-

  Islamiya’ s offices, Agence France Presse described it as a charity linked to the Islamic Resistance

  Movement [HAMAS] and identified Ahmed Bahar as a senior figure in HAMAS:



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                 Palestinian intelligence officers raided Friday a charity linked to the Islamic
                 Resistance Movement (Hamas) and confiscated files, video tapes and 400
                 dollars, Hamas said.

                 Hamas members described the raid at the Islamic Association office in Gaza
                 City as “very serious”.

                 The charity association was set up in 1976 by Sheikh Ahmad Bahr, today a
                 senior figure in Hamas which spearheads resistance to Israeli occupation
                 and PLO autonomy.

         841.    An August 29, 1997, article in The Guardian (UK) reported:

                 Hamas has won a string of small but indicative elections in student and
                 professional organisations, and now controls the student body on almost
                 every Palestinian campus. In Gaza City, its “Islamic Society” kindergarten
                 for the children of the poor, political detainees and “martyrs” is one of the
                 best-funded in the Strip.

                 The school, one of more than 10 controlled by Hamas, also holds summer
                 camps for older children and computer workshops for adults.

         842.    In September 1997, the Palestinian Authority (temporarily) closed Al-Jam’iya Al-

  Islamiya, along with 15 other societies identified with HAMAS.

         843.    Following a HAMAS terrorist attack in Israel in October 1998, the Palestinian

  Authority began a wave of arrests against HAMAS operatives in Gaza. Among those arrested were

  the Chairman of Al-Jam’iya Al-Islamiya, Sheikh Ahmed Bahar, Muhammad Faraj Mahmud

  Husain al-Ghul, and other senior personnel in the society.

         844.    A July 23, 1999, article published by the Knight Ridder wire service titled “Hamas

  wedding a political event” noted: “Thursday night’s event was organized by the Islamic Society,

  the social arm of Hamas, the militant Islamic organization better known for the deadly suicide

  bombings that stalled the Israeli-Palestinian peace process in 1996.” (Emphasis added.)

         845.    The article described how the Islamic Society organized a mass wedding in Gaza.

  HAMAS distributed $100 in cash and $100 in gifts to each bridegroom. The Qassam Brigades




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  distributed fliers that called for a renewal of the Jihad against Israel and the United States. When

  Ahmed Yassin arrived at the celebration, the crowd cried out, “We have spilled our blood for you,

  Sheikh Yassin. Your way is the Jihad. We hope to die in the way that God has chosen.” HAMAS

  leader (and the current head of HAMAS), Ismail Haniya, declared: “No leader may hand over even

  a meter of the territory of Palestine. This is Islamic land, belonging to the nation.”

         846.    On August 6, 2000, the Dallas Morning News published an article about its

  reporter’s interview with HAMAS leader Mahmoud Zahar, described as a “frequent spokesman

  for Hamas” and “a co-founder of the Islamic Society, the social services wing of Hamas.”

         847.    According to HAMAS’s official website, in December 2000, the Islamic Society

  of Gaza organized a ceremony in honor of the “martyrs’” families attended by Sheikh Ahmed

  Yassin. During the ceremony, the society’s chairman, Ahmed Bahar, stated that “martyrdom” is

  life for the nation and the “martyrs” will be advocates for their relatives on judgment day. He

  expressed how proud he was of the “martyrs” and declared the upcoming victory of Allah’s

  worshippers.

         848.    In December 2001, the Palestinian Authority closed a number of societies run by

  Islamic organizations (HAMAS and Palestinian Islamic Jihad), among them Al-Jam’iya Al-

  Islamiya. And on January 6, 2002, the Palestinian Monetary Authority directed the Palestinian

  banks to report on the sums of money held in the accounts of Al-Jam’iya Al-Islamiya and required

  them to consult with it prior to withdrawing funds from those accounts.

         849.    Also in December 2001, Ahmed Bahar, Chairman of Al-Jam’iya Al-Islamiya,

  delivered a speech in the Al-Omri Mosque in Gaza during the funeral of a Palestinian “activist.”

  In the speech, Bahar condemned the policy of arrests carried out by the PA and called on the public

  to join “the warriors protecting the nation’s honor and the Al-Aqsa Mosque.” He demanded the




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  PA join the jihad, since it is the only way, according to Bahar, to get rid of the Israeli occupation.

  In addition, he called on the Qassam Brigades to land “painful blows on the Jews” and protect the

  Palestinian cities.

          850.    A particularly disturbing example of indoctrination activity undertaken by the

  Islamic Society in Gaza is reflected in a video43 of a graduation ceremony held for 1,650 children

  from its 41 kindergartens. According to a widely distributed video and photographs of the event,

  the children were dressed in uniforms and given “toy” rifles or suicide belts to carry and performed

  by swearing an oath “to pursue jihad, resistance, and Intifada.”

          851.    One little girl posed with her hands dipped in red paint mimicking the bloodied

  hands proudly displayed by several Palestinians after lynching two Israeli army reservists who had

  become lost near Ramallah. Another pair of children were dressed as Sheikh Yassin and

  Hezbollah’s supreme leader, Sheikh Hassan Nasrallah, while many other children dressed as

  suicide bombers. Children read excerpts of Nasrallah’s (then) recent speeches, and their friends

  waved Hezbollah flags.

          852.    Al-Jam’iya Al-Islamiya was declared an unlawful association by the Israeli Minister

  of Defense on February 25, 2002, as an institution belonging to HAMAS, and by the IDF’s Central

  Command on June 30, 2002.

          853.    On January 1, 2002, the BBC Monitoring Service published an article translating a

  HAMAS report (put out by the HAMAS political bureau’s official website) claiming “a large-

  scale campaign” by Palestinian police forces “closing a number of Hamas Islamic Resistance

  Movement and Islamic Jihad-backed institutions and societies.”



  43
          Images from the video are attached to the Second Amended Complaint as Exhibit K. The video can be
  viewed at https://www.osenlaw.com/sites/default/files/uploaded/Counter-Terrorism/Arab_Bank/hamas_org/PX1132.
  mp4. The event was covered in the June 29, 2002, editions of multiple publications.


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           854.     The report identified the Islamic Society of Gaza (Al-Jam’iya Al-Islamiya) as one

  of “[t]he Hamas-backed societies.”

           855.     The Mail on Sunday (London) published an article in 2002 about a controversial

  donation made by the British Consulate in Jerusalem to the Islamic Society of Gaza.

                    But our inquiries have revealed the leadership of the Islamic Society,
                    known in Arabic as Al Jamayia Al Islamiya is closely associated with
                    Hamas and the group has been shut down several times on Yasser Arafat’s
                    orders.

                    Its secretary general, Sheikh Ahmed Bahar, was arrested by the Palestinian
                    Authority’s security forces alongside several Hamas leaders in October
                    1998 during a clampdown on terrorism. He was then described by the
                    Palestinians as leader of the Hamas splinter group the Islamic National
                    Salvation Party.

                    Indeed, the Islamic Society makes no secret of its support for the terrorists.
                    (Emphasis added.)

           856.     Following are details of some of the important leaders in Al-Jam’iya Al-Islamiya:

                       Ahmed Yassin: He was also one of the founders of Al-Jam’iya Al-
                        Islamiya.

                       Ahmed Bahar: Bahar was Chairman of Al-Jam’iya Al-Islamiya
                        between 1985 and 2004. Bahar was arrested by the Israeli security
                        forces and was imprisoned several times in Israeli jails, as a result of his
                        membership in HAMAS. One of the Marj al-Zuhur deportees in 1992,
                        he was arrested several times by the Palestinian Authority following
                        terrorist attacks carried out by HAMAS. In June 1995 he was arrested
                        by the PA’s Preventive Security, and his beard was shaved off as an act
                        of humiliation by his captors.44 Ahmed Bahar worked at the Islamic
                        University of Gaza between 2002-2003, as a lecturer in the department
                        of Arabic language and as deputy dean of the Faculty of Arts. Bahar
                        also served as first deputy speaker of the Palestinian Legislative Council
                        on HAMAS’s “Change and Reform Bloc” political party.



  44
            In 1996, HAMAS took a tentative step into electoral politics, briefly forming the Islamic National Salvation
  Party. United Press International reported on March 22, 1996, that: “Four others of the 19 members of the party’s
  board have been arrested recently in a crackdown by Palestinian police against Hamas. One of them is Ahmed Bahar,
  senior head of the Islamic Society, who was deported by Israel in 1992 to South Lebanon, among more than 420
  activists expelled.”


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                    Muhammad Faraj Mahmud Husain al-Ghul: Al-Ghul is one of the
                     founders of Al-Jam’iya Al-Islamiya, a member of its administrative
                     board, and served as its Secretary General. Al-Ghul also worked at the
                     Islamic University of Gaza as a lecturer. Before the outbreak of the
                     Second Intifada, he also served as attorney for senior HAMAS figures
                     imprisoned in Israel, among them Sheikh Ahmed Yassin. Al-Ghul was
                     jailed by Israel between 1981 and 1992 for terrorist activities and was
                     one of the Marj al-Zuhur deportees; in 1998 he was arrested by the PA
                     Preventive Security Services.

                    Isma’il Hassan Muhammad Abu Shanab: Abu Shanab was one of the
                     founders of Al-Jam’iya Al-Islamiya. He also worked at Islamic
                     University of Gaza as a lecturer at the faculty of engineering and as
                     president of the Faculty of Applied Science. Abu Shanab was also
                     Sheikh Yassin’s deputy. He was arrested by Israel in 1989 and
                     imprisoned for 8 years. After his release from Israeli prison, Abu Shanab
                     became a political leader of HAMAS until he was killed in 2003.

                    Ismail Abd al-Salam Ahmed Haniya: Haniya served as a member of
                     the administrative board of Al-Jam’iya Al-Islamiya’s senior
                     administrative body and headed its club in Gaza for approximately ten
                     years. Haniya led the Islamic Students Association (al-Kutla al-
                     Islamiya) in the Islamic University of Gaza in the early 1980s and was
                     the head of the Islamic University Student Union in 1985-86. Haniya
                     held several positions at the Islamic University of Gaza, among them
                     Secretary of the Board of Trustees and the University’s Director of
                     Academic Affairs. Haniya was arrested by Israel several times and was
                     also one of the Marj al-Zuhur deportees. He served as Sheikh Yassin’s
                     chief of staff following Yassin’s release from prison in 1997. In 2006,
                     he became “Prime Minister” in the HAMAS government in Gaza, and
                     in 2017 he was appointed as the overall leader of HAMAS.

         857.    In a letter dated November 28, 2002, the German Intelligence Service (BND)

  informed the German Ministry of the Interior in Berlin that it believed the Islamic Society of Gaza

  was part of HAMAS.

         858.    According to the BND:

                 The association Al-Jam’iya Al-Islamiyaya should be considered closely
                 associated with HAMAS. Al-Jam’iya Al-Islamiyaya has [at] least ten
                 branches in the Gaza Strip. The president of the entire association is Dr.
                 Ahmad Bahr, a member of the HAMAS leadership. In the winter of
                 2001/2002 Al-Jam’iya Al-Islamiyaya was banned by the Palestine
                 Authority because of allegations of its affiliation with HAMAS. In 2001,


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                 the association ran 41 of its own kindergartens for 1650 children of
                 preschool age. During a schoolyear-end party of these kindergartens in the
                 summer of 2001 in the center owned by the association in the refugee camp
                 al-Shati (Gaza Strip) several kindergarten classes presented paramilitary
                 performances and parades which clearly called for the glorification of
                 violence and support for HAMAS suicide attacks. Thus, boys about 5 years
                 old in uniform and equipped with toy automatic weapons presented
                 paramilitary exercises. They wore the headbands of HAMAS suicide
                 bombers with which assassins record a video message to their families
                 before attacks. During the same party’s show scenes appeared of a child
                 disguised as HAMAS-leader Sheikh YASSIN, surrounded by more children
                 with “bomb belts” and thus recognizable as suicide bombers. In another
                 scene a girl before a model of the Jerusalem Dome of the Rock dipped her
                 hands in “blood” (red paint) and with “bloody” hands held high
                 symbolically called for the continuation of the Intifada. In closing the
                 festive event, the president of the association Dr. Ahmad BAHR held a
                 speech in which he praised, among other things, the “martyrs” fallen against
                 Israel, more particularly he named the “martyr Mahmud MARMASH as a
                 shining example for the children. On 5/18/2001, Mahmud MARMASH
                 carried out a suicide attack in Netanya, during which 5 Israelis were killed
                 and 74 injured.

         859.    Payments to Marmash’s family as a result of his “martyrdom” were deposited into

  CAB Account No. 1518 26968400 in Tulkarem.

         860.    From the early 1990s through 2004, Al-Jam’iya Al-Islamiya enjoyed financial

  support from HAMAS fundraising organizations through its account(s) at CAB that included the

  HLF in the United States (designated an unlawful association by Israel in 1997 and a terror

  organization in 1998 and as an SDGT by the U.S. in 2001) as well as CBSP (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003), Interpal (designated an unlawful association by Israel in 1997 and terror organization in

  1998 and as an SDGT by the U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003) and many other HAMAS fundraising organizations.

         861.    In sum, Al-Jam’iya Al-Islamiya was (and is) synonymous with HAMAS and since




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  the founding of HAMAS in 1987, has been closely intertwined with HAMAS’s violent terrorist

  activities.

                 4.     Al-Salah Islamic Society – Gaza (Jam’iyat al-Salah al-Islamiya)

          862.   Al-Salah Islamic Society – Gaza (“al-Salah”) was founded in the town of Dir al-

  Balah in the Gaza Strip in 1978 and was a key part of HAMAS’s da’wa in Gaza after 1987.

          863.   As part of its designation of Al-Salah, the U.S. government has determined that:

                 AL-SALAH SOCIETY is controlled by, or acts for or on behalf of, Hamas
                 since it is directed and run by an identified Hamas leader and employs a
                 number of Hamas members, including members of Hamas’ military wing;
                 (2) the AL-SALAH SOCIETY assists, sponsors, or provides financial,
                 material, or technological support for, or financial or other services to or in
                 support of Hamas by providing Hamas with ostensibly legitimate
                 charitable cover to conceal terrorist activity, by providing high quality new
                 recruits predisposed to the plans and methods of Hamas, by generating
                 popular support for the Hamas agenda, and by providing funds for Hamas
                 combatants, prisoners and martyrs; and (3) Gaza-based Hamas leader
                 Ahmad Harb AL-KURD plays an active role in the running of the Hamas
                 movement….

                 The AL-SALAH SOCIETY serves as a key node in the Hamas finance
                 and support structure. In late 2001 and early 2002, the AL-SALAH
                 SOCIETY was identified as the largest, best-funded Hamas organization
                 in the Palestinian territories and included on a target list of Hamas
                 infrastructure to be shut by the Palestinian Authority.

          864.   The U.S. government also noted that:

                 As of early 2001, nearly all non-governmental Persian Gulf money provided
                 for aid in the West Bank and Gaza went to Hamas-controlled Islamic
                 associations such as the AL-SALAH SOCIETY headed by Ahmad AL-
                 KURD, according to long-time Hamas watcher and former Hamas member
                 in Gaza, then-PA Minister of Communications Imad Falouji. Speaking on
                 March 14, 2001, Falouji reported that associations like the AL-SALAH
                 SOCIETY were not publicly labeled as Hamas, “though everyone knew
                 they were affiliated with Hamas and had Hamas directors.”

                 In addition to providing the means for “charitable” work, external financial
                 support for the AL-SALAH SOCIETY is used as a tool for Hamas….
                 Neither Saudi officials nor NGOs have hidden that their support for the AL-
                 SALAH SOCIETY goes to the families of “martyrs.” Ain-Al-Yaqeen, a



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                   Saudi owned weekly political magazine, reported in 200145 that Saudi
                   support for the AL-SALAH SOCIETY has come through Saudi relief
                   committees including the Muslim World League and the World Assembly
                   of Muslim Youth at the direction of Saudi Interior Minister Prince Naif Ibn
                   Abdul Aziz. The report openly stated that the financial assistance goes to
                   the families of “martyrs,” as well as other activities, according to the Ain-
                   Al-Yaqeen article.

          865.     The U.S. government has also determined that “the leadership of the AL-SALAH

  SOCIETY is composed primarily of Hamas members and its membership includes members of

  the Hamas military wing … the AL-SALAH SOCIETY is controlled by, or acting for on behalf

  of Hamas.”

          866.     In sum, throughout the relevant period, al-Salah has been closely intertwined with

  HAMAS’s terrorist activities.

          867.     This was indirectly confirmed by al-Salah’s website featuring a certificate of

  appreciation from the central district of the “Islamic block committee” of the al-Kutla al-Islamiya

  – HAMAS’s student organization, a key source of recruiting for HAMAS’s Qassam Brigades. The

  certificate thanks al-Salah for its contribution to the success of an event called the “special third

  Al Quds camp” that took place in the central district.

          868.     A January 26, 1995, article in the Jerusalem Report magazine reported on “Islamic

  charities managed by Hamas activists” and specifically identifies al-Salah as one of them. It also

  reported on its interview with a director of al-Salah’s kindergartens, Aladdin Hassan, who was

  proud of “having served six months in an Israeli prison for Hamas activities.”




  45
           The article was dated December 14, 2001. Another article from April 13, 2001, in Ain-Al-Yaqeen, identified
  Ahmad Al-Kurd as “Chairman of the Islamic Salah Society” and described him as saying that the “Saudi Commission
  presented SR 20,000 (US $ 5300) to each of 400 martyrs’ families as well as SR 20,000 for each of around 1000
  injured and disabled because of the Intifada.”


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         869.    The al-Salah Society was closed in September 1997 by the Palestinian Authority

  (along with Al-Mujama Al-Islami and Al-Jam’iya Al-Islamiya in Gaza) as a result of Israeli and

  American pressure on the Palestinian Authority.

         870.    In November 1998, the Free Palestine News website published an article

  concerning the wave of arrests made by the Palestinian Authority following a HAMAS terrorist

  attack. The arrests were carried out by the Palestinian General Security agencies together with the

  Palestinian police. The arrest of Ahmad Al-Kurd, the Chairman of al-Salah, was reported along

  with his surrender to the Palestinian General Security service.

         871.    Isma’il Abu Shanab, one of the senior leaders of HAMAS, gave an interview in

  January 2001 to the Jordanian newspaper al-Watan, in which he referred to al-Salah as an integral

  part of HAMAS’s social infrastructure.

         872.    An Associated Press article on March 2, 2001, described HAMAS’s successful

  fundraising efforts particularly in the Persian Gulf and Saudi Arabia, adding: “With the money

  from Saudi Arabia alone, Islamic activists have distributed 200,000 food packages, and more are

  on the way, said Ahmed al-Kourd [sic], head of the Al Salah Charity Committee in Gaza City.”

         873.    A 2001 Reuters article titled “Hamas feeds struggle against Israel with charity”

  reported that “[a] charity called Al-Salah runs the facility. The Islamic fundamentalist group

  Hamas, best known for suicide bus bombings in Israel, says the charity is part of its welfare arm

  that generates grass roots support in Gaza and the West Bank.”

         874.    The article also reported that:

                 Senior Hamas leader Ismail Abu Shanab says al-Salah is one of three
                 Islamic charities that form Hamas’s welfare arm.

                 The militant movement, which opposes peacemaking with Israel and killed
                 scores of Israelis in a wave of suicide bomb attacks in 1996, also has a
                 military and political wing.



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                 “The political level is the face of Hamas but without the other divisions,
                 Hamas would not be as strong as it is now. So it needs the three parts to
                 survive,” Abu Shanab said, explaining that the military, political and
                 welfare branches are kept separate.

                 Talking as he hands out sweets on an Islamic holiday to families of
                 Palestinian “martyrs” and prisoners held in Israeli jails, Abu Shanab says
                 helping poor families with food and money feeds their determination to
                 fight Israel.

                 “If nobody supports these needy families, maybe nobody would think of
                 martyrdom and the resistance of occupation,” he said.

                 Abu Shanab, a construction engineer who studied at Colorado State
                 University in the United States, teaches engineering at Gaza’s Islamic
                 University. He is a founder of Hamas and one of its top seven political
                 leaders.

         875.    In January 2001, the Omani newspaper Al-Watan quoted Ahmad Al-Kurd, the

  Chairman of al-Salah, as saying: “the Association provides aid amounting to US$ 8 million and

  food baskets to 200,000 families in the West Bank and the Gaza Strip.” He added that al-Salah is

  planning to give $5,300 to the family of every Palestinian “martyr” and the same amount to every

  injured paralyzed person.

         876.    Later, as a result of heavy pressure from Israel and the United States on the

  Palestinian Authority following several terrorist attacks, Palestinian security forces periodically

  arrested the leaders of al-Salah, while the Palestinian Monetary Authority temporarily froze its

  bank accounts in December 2001.

         877.    Al-Salah was declared an unlawful association by the Israeli Minister of Defense

  on February 25, 2002, as an institution belonging to HAMAS, and by the IDF’s Central Command

  on June 30, 2002.

         878.    On May 10, 2002, the Israeli Foreign Ministry posted a report on one of its embassy

  websites noting that the Saudi Committee for the Support of the Intifada Al Quds (a Union of Good



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  member organization) was transferring funds to al-Salah:

                [T]he Saudi committee does not transfer its financial aid via the PA
                [Palestinian Authority] but it operated via charity committees and Islamic
                charity bodies which are mostly identified with Hamas. The Al Salah
                Association in Gaza (mentioned in one of the captured documents) and
                the Islamic Association in Hebron, two of the largest Hamas institutions
                in the PA areas play a prominent role in channeling the money. Prominent
                Hamas activists such as Ahmed Al Kared [al-Kurd] in the Gaza Strip and
                Nabil Naim Al Natse [Al-Natshe] in the West Bank, are senior members in
                the committees and hold ties with the Saudi committee. (Emphasis added.)

         879.   A July 19, 2002, article in the online magazine Salon.com titled “Economic chaos

  - and a looming humanitarian crisis - undermine both the Palestinian Authority and the intifada”

  quoted long-time senior HAMAS leader Isma’il Abu Shanab:

                The Islamic Resistance Movement, better known as Hamas, is less
                circumspect about the ties it has with the Islamic charities. “Of course,
                Salah and other Islamic foundations are identified with us,” says Ismael
                Abu Shanab, a senior spokesman who lives in the Sheikh Radwan
                neighborhood. Hamas made huge strides in popularity among the
                Palestinians at the beginning of the intifada with its hard-hitting attacks
                against Israelis, but Hamas is clearly worried now that economic pressure
                may cause most people to abandon the uprising. Hamas may derive some
                political gain from the works of these organizations, Abu Shanab concedes,
                but he insists that is not the objective. Even though the tactics have not
                changed, he says, Hamas considers it prudent to also emphasize its
                humanitarian work. “We don’t want to derive immediate political benefits,”
                he explains. “We see it more as a means of extending the life span of the
                intifada.” (Emphasis added.)

         880.   In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed al-Salah was part of HAMAS.

         881.   According to the BND:

                The association Jam’iyat al-Salah / Al-Salah Islamic Association in the
                center of the Gaza Strip is an Islamic social club to be directly linked to the
                HAMAS environment. The association’s president, Ahmad AL-KURD, is
                a leading member of HAMAS.




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          882.    On August 7, 2007, the United States Treasury Department declared al-Salah a

  Specially Designated Global Terrorist. In a press release announcing the declaration, the Treasury

  stated that:

                  Hamas has used the al-Salah Society, as it has many other charitable fronts,
                  to finance its terrorist agenda. ... The al-Salah Society supported Hamas-
                  affiliated combatants during the first Intifada and recruited and
                  indoctrinated youth to support Hamas’s activities. It also financed
                  commercial stores, kindergartens, and the purchase of land for Hamas. One
                  of the most senior Gaza-based Hamas leaders and founders, Ismail Abu
                  Shanab, openly identified the al-Salah Society as “one of the three Islamic
                  charities that form Hamas’s welfare arm.” The al-Salah Society has
                  received substantial funding from Persian Gulf countries, including at least
                  hundreds of thousands of dollars from Kuwaiti donors.46

          883.    Al-Salah also received funding from several notable radical Islamic charitable

  organizations, which were members of the Union of Good: Interpal (SDGT), CBSP (SDGT), Al-

  Aqsa Foundation (SDGT) and HLF (SDGT).

          884.    An article published in the December 2005 Issue of Filastin al-Muslima reported

  that from the outbreak of the Second Intifada in September 2000 to December 2005, al-Salah’s

  annual average budget was ten million dollars.

          885.    Ahmad Harb Ahmad al-Kurd served as the chairman of al-Salah and the dominant

  senior figure in the Society during the relevant time period, as well as being a member of the Union

  of Good.

          886.    Al Kurd was a senior HAMAS member in Gaza and is considered one of HAMAS’s

  senior da’wa operatives.

          887.    On August 7, 2007, the United States designated Ahmad al-Kurd, former Chairman

  and then board member of al-Salah, as a Specially Designated Global Terrorist, and declared (in




  46
          A copy of the U.S. Treasury Press Release is attached as Exhibit L to the Second Amended Complaint.


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  the same press release47 announcing the declaration regarding al-Salah itself):

                   The al-Salah Society is directed by Ahmad al-Kurd, a recognized high-
                   ranking Hamas leader in Gaza. Al-Kurd’s affiliation with Hamas goes
                   back over a decade. During the first Intifada, al-Kurd served as a Hamas
                   Shura Council member in Gaza. As of late 2003, al-Kurd was allegedly the
                   top Hamas leader in Dir al-Balah, Gaza. Since mid-2005, he has served as
                   the mayor of Dir Al-Balah, elected as a Hamas candidate. (Emphasis
                   added.)48
          888.     Several former members on the administrative board of al-Salah, in its various

  branches, were also known as prominent operatives in HAMAS’s da’wa, among them:

                       Osama al-Mazini: al-Mazini was a senior HAMAS operative and
                        political leader in the Gaza Strip. Al-Mazini was a member of the Board
                        of al-Salah, (as well as Al-Mujama Al-Islami, as mentioned above). He
                        was imprisoned by Israel between 1988-1994. Al-Mazini was arrested
                        by the PA as well, following terrorist attacks committed by HAMAS.

                       Salem Salama: Salama was a senior HAMAS member, a member of
                        the administrative board of al-Salah, and one of the Marj al-Zuhur
                        deportees. Salam was arrested several times by Israel during the First
                        Intifada. Salama was a long-time member of the Palestinian Religious
                        Scholars Association (“PRSA”), a body comprising senior Islamic legal
                        scholars in the Palestinian Territories identified with HAMAS and the
                        Muslim Brotherhood that provides HAMAS with religious legitimacy
                        for its activities. The PRSA issued a 2002 fatwa sanctioning suicide
                        attacks against Israel as lawful acts based on Islamic duty. Salama was
                        later elected in 2006 to the Palestinian Legislative Council as a HAMAS
                        candidate.

                       Mansur Abu Hamid: Hamid was a senior member of HAMAS and
                        Chairman of the Rafah branch of the al-Salah Society.

          889.     From the early 1990s through 2004, al-Salah enjoyed financial support from

  HAMAS fundraising organizations through its CAB account(s) that included the HLF in the



  47
          http://www.ustreas.gov/press/releases/hp531.htm.

  48
            The U.S. government elsewhere noted that “just over a decade earlier in 1995, AL-KURD was characterized
  as an ‘extremely fanatic’ and ‘dangerous’ Hamas member who played ‘an active role in running the Hamas
  movement.” In fact, an Agence France Presse report of arrests of HAMAS militants in Deir el-Balah in August 1994
  referred to the fact that a senior HAMAS figure named Ahmad al-Kurd was detained for questioning by the Palestinian
  security forces.


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  United States (designated an unlawful association by Israel in 1997 and a terror organization in

  1998 and as an SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association

  by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), the Al-

  Aqsa Foundation – Germany (designated an unlawful association by Israel in 1997 and terror

  organization in 1998 and as an SDGT by the U.S. in 2003) and many other HAMAS fundraising

  organizations.

                   5.     Al-Wafa Charitable Society – Gaza (Jam’iyat Al-Wafa’ Liri’ayat Al-
                          Musinnin)

         890.      The Al-Wafa Charitable Society was founded in 1980 in the Gaza Strip by the

  Muslim Brotherhood, and after 1987 it became a key component of HAMAS’s da’wa network in

  the Gaza Strip, providing medical care to Gazan residents. Al-Wafa’s administration, its center for

  the elderly, and the al-Wafa Hospital are located in the al-Saja’iya neighborhood of Gaza City. Al-

  Wafa established a medical center in Khan Yunis, whose establishment was funded by Interpal

  and the al-Aqsa Society in Yemen.

         891.      Al-Wafa opened a branch in Rafah in 2003.

         892.      An FBI recording made at the Philadelphia Conference in 1993 referred to the al-

  Wafa Society for the Care of the Elderly as one of “the principal organization known to be

  affiliated with us…”

         893.      The Al-Wafa Charitable Society’s annual budget during the relevant period was

  approximately $10 million dollars.

         894.      Its principal sources of funding were, inter alia, Islamic foundations in Arab states

  (Saudi Arabia, Yemen, the Persian Gulf States, and Jordan); and organizations around the world

  that were part of HAMAS’s fundraising network, including:




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                    CBSP – France (designated an unlawful association in 1997 and terror
                     organization in 1998 by Israel, and an SDGT in 2003 by the U.S.)
                    Interpal – Britain (designated an unlawful association in 1997 and terror
                     organization in 1998 by Israel, and an SDGT in 2003 by the U.S.)
                    Al-Aqsa Foundation – Germany (designated an unlawful association in
                     1997 and terror organization in 1998 by Israel, and an SDGT in 2003 by
                     the U.S.)
                    IRFAN Fund – Canada (designated a terrorist organization in 2014 by
                     Canada)
                    The Union of Good (Itilaf al-Khair) – Lebanon/Saudi Arabia/UK
                     (designated an unlawful association in 2002 by Israel and an SDGT in
                     2008 by the U.S.)
                    Palestinian Association in Austria (“PVOE”) – Austria (designated an
                     SDGT in 2003 by the U.S.)
                    Al-Aqsa Islamic Charitable Society – Yemen (designated an unlawful
                     association in 1997 and terror organization in 1998 by Israel, and an
                     SDGT in 2003 by the U.S.)
                    WAMY – Saudi Arabia (designated an unlawful association in 2002 by
                     Israel).

         895.    The Mideast Mirror reported on September 17, 1997, in an article titled “How to

  break the deadlock: Armed resistance, plus Arab pressure on U.S.” that Israel accused Al-Wafa

  and other organizations “of constituting the ‘infrastructure’ of Hamas.”

         896.    The Al-Wafa Charitable Society was declared an unlawful association by the Israeli

  Minister of Defense on February 25, 2002, as an institution belonging to HAMAS, and by the

  IDF’s Central Command on June 30, 2002.

         897.    The Society’s bank account was confiscated by Israel in February 2004, during IDF

  operations to confiscate the funds of HAMAS associations in Ramallah.

         898.    From the early 1990s through 2004, Al-Wafa Charitable Society enjoyed financial

  support from HAMAS fundraising organizations through its account(s) at CAB that included the

  HLF in the United States (designated an unlawful association by Israel in 1997 and a terror

  organization in 1998 and as an SDGT by the U.S. in 2001) as well as CBSP (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.



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  in 2003), Interpal (designated an unlawful association by Israel in 1997 and terror organization in

  1998 and as an SDGT by the U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003) and many other HAMAS fundraising organizations.

         899.    CAB processed multiple funds transfers from Interpal to CAB’s Al-Wafa

  Charitable Society account after Interpal was designated an SDGT.

         900.    Many of Al-Wafa Charitable Society’s key operatives are publicly known to be

  members of HAMAS. Its principal leaders included:

                    Muhammad Rafiq al-Khudari: Al-Khudari was Chairman of Al-Wafa
                     Charitable Society’s Board of Directors during the relevant period. He
                     was known as a senior civilian official in HAMAS and was in regular
                     contact with the HAMAS leadership.

                    Basem Naim Muhammad Naim: Naim served as a member of Al-
                     Wafa Charitable Society’s Board of Directors and was a prominent
                     HAMAS operative in the Gaza Strip. He later served as “Health
                     Minister” in the HAMAS government in Gaza.

                    Dr. Muhammad Abd al-Hadi Abd al-Rahman Muhammad Shihab:
                     Shihab served as General Secretary for Al-Wafa Charitable Society
                     Hospital’s pharmacies and medical supplies department and was a
                     prominent HAMAS leader and was later elected as a member of the
                     Palestinian Legislative Council for HAMAS’s Change & Reform Party.

                    Taysir Nasr al-Baltaji: Al-Baltaji is the Director General of Al-Wafa
                     Charitable Society and Al-Wafa Hospital. He was one of the HAMAS
                     leaders at the Islamic University of Gaza in 1985 and was known as a
                     senior civilian official in HAMAS.

                    Salah al-Rantisi: Rantisi was a board member of Al-Wafa Charitable
                     Society and also the Director of Social Health Department in the de
                     facto HAMAS Health Ministry in Gaza. Rantisi is the younger brother
                     of deceased HAMAS leader Abd al-Aziz al-Rantisi.

                    Muhi al-Din Saleh al-Hilu: Al-Hilu was a member of the board of the
                     Al-Wafa Charitable Society. Al-Hilu is also the headmaster of Dar al-
                     Arqam school, which belongs to HAMAS.



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                    Hazem al-Nakhala: Al-Nakhala is a member of the board of the Al-
                     Wafa Charitable Society. He is also the head of the Institutions
                     Committee in HAMAS’s Public Relations Department.

                    Jamal al-Zabda: Zabda was the chairman of the Al-Wafa Charitable
                     Society. He was also a professor at the Islamic University of Gaza, Dean
                     of Community Service and Continuing Education, and a member of the
                     University’s board. In 2003, Zabda was elected on the HAMAS list to
                     the Palestinian Engineers Association in Gaza.

         B.     Key HAMAS Institutions in the West Bank

                1.      Islamic Charitable Society – Hebron
                        (al-Jam’iya al-Khiriya al-Islamiya al-Khalil)

         901.   The Islamic Charitable Society – Hebron (“ICSH”) was an important component in

  the da’wa infrastructure of HAMAS in the Hebron area, where it was considered the central

  civilian institution of HAMAS and was publicly identified with HAMAS (including by the

  Associated Press). The Society was also known as the central civilian institution of HAMAS in

  the entire West Bank, and HAMAS transfers money through it to other institutions identified with

  it.

         902.   The ICSH was founded in 1962 and unlike other da’wa institutions of HAMAS,

  such as Al-Mujama Al-Islami, Al-Jam’iya Al-Islamiya and al-Salah in the Gaza Strip, it was not

  under the complete control of HAMAS when HAMAS was officially founded in 1987.

         903.   ICSH had branches in the Hebron-area villages of Shuyukh, Beit Ula, Yata, Dura,

  Bani Na’im, Beit Omar, Halhul, Tafuh, Dahariya and Samu’a.

         904.   Since at least 1991, it has been widely associated with and controlled by HAMAS.

         905.   For example, in an article dated November 27, 1994, in the Miami Herald, a

  spokesman for the ICSH, while denying any “political acts,” “acknowledged that many workers,

  including the society president, were active Hamas supporters.”




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          906.     On March 5, 1996, Israel closed the offices of the ICSH, due to suspicions regarding

  the Society’s relationship with HAMAS.49 The Society’s offices remained closed for a brief period

  but were then reopened by the Palestinian Authority.

          907.     A report published in February 2001 on HAMAS’s website describing an armed

  clash in the Al-Rian ranch, which is owned by the ICSH, noted that the administrative director of

  the ICSH and the HAMAS spokesman in Hebron, Abd al-Khaleq al-Natshe, said that the

  “occupation authorities” had summoned the acting head of the Society, Adel al-Junaydi, and the

  director of the ranch, Ibrahim Farjallah, and asked them to move the ranch elsewhere. The article

  also noted the “martyr,” Shaker Mawas Al-Manasra, worked as the night supervisor on the ranch

  and was a known supporter of HAMAS.

          908.     Abd al-Khaleq al-Natshe also appeared in public and lectured at HAMAS

  gatherings. For example, at a large HAMAS gathering at Hebron University in 2001, thousands of

  the organization’s operatives and supporters came to hear Sheikh Yassin urge continuation of the

  Intifada and promise that HAMAS would continue the Intifada. Al-Natshe appeared in person on

  behalf of HAMAS and called for national unity while emphasizing the importance of continuing

  the Intifada and demanding the release of prisoners from the PA jails.

          909.     A March 2, 2001, Associated Press article described a warehouse run by the ICSH

  and stated that across the Palestinian areas Islamic charities were filling a growing need created

  by skyrocketing unemployment and poverty and identified ICSH with HAMAS.




  49
            The Associated Press ran a story about the closures on March 5, 1996. The Hebron-area closures were also
  reported in the Mideast Mirror on March 6, 1996, noting that the Israeli army “ordered shut Hamas-affiliated
  institutions suspected of channeling funds supporting Hamas,” including “the Islamic Charitable Society, which run
  boarding schools, kindergartens and medical clinics.” It was also reported in Australia’s Daily Telegraph on March 7,
  1996, and the March 6, 1996, edition of the St. Louis Post-Dispatch.


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         910.    In August 2001, HAMAS’s website published a report concerning a parade in

  Hebron that was attended by thousands of HAMAS supporters commemorating the assassination

  of two prominent HAMAS leaders. According to HAMAS’s website, leading the parade were the

  “leaders and symbols of Islamic and nationalist activity headed by Abd al-Khaleq al-Natshe, the

  HAMAS representative of Hebron.” Mustafa Shawar, another member of the ICSH administrative

  board, was also mentioned in the HAMAS website report and is quoted as saying that the deaths

  of the two HAMAS leaders “is the true price of victory.” The report added that the marchers

  demanded that the Qassam Brigades and HAMAS avenge the deaths of their leaders.

         911.    In December 2001, HAMAS’s website published a report quoting Abd al-Khaleq

  al-Natshe as the HAMAS representative in the Hebron region. In that role, he condemned the PA’s

  closure of four Islamic institutions in Hebron. He argued that this step constituted “surrendering

  to the American and Zionist pressure” and asserted it would not influence the future activity of

  HAMAS and Palestinian Islamic Jihad.

         912.    A December 8, 2001, Los Angeles Times article titled “The World; Social Work

  and Suicide Bombing” identified ICSH closely with Abd al-Khaleq al-Natshe and noted its receipt

  of money from HLF:

                 Here in Hebron, Hamas has been on the ascendancy for years. The Islamic
                 Charitable Society is not officially a Hamas organization, but its director
                 and several of its managers are members of the militant group. Hamas has
                 recently sought to distance itself from many of the charitable organizations
                 to shield them from any Palestinian Authority reprisal.

                                                       ***

                 Some of the money goes directly to [Abd al-Khaleq] Natshe’s group and
                 pays for things such as the Ramadan care packages, and some of it goes into
                 the bank accounts of relatives of Palestinians killed or wounded or to those
                 whose homes have been destroyed in Israeli raids. The charity says it has
                 delivered 100,000 care packages this Ramadan.




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                 Natshe said his agency has also received money from a U.S. group, the Holy
                 Land Foundation for Relief and Development. The U.S. government this
                 week shut down Holy Land for allegedly funneling money to Hamas.

          913.   On December 13, 2001, the Associated Press published an article titled “Hamas Is

  a Slippery Target.” The article stated:

                 The Hamas leader in the West Bank town of Hebron, Abdel Khaleq Natche,
                 said he was confident that the Palestinian Authority would not move against
                 Hamas.

                 “Nobody can close institutions that provide services to all the Palestinian
                 people,” said Natche, who also heads the Islamic Charitable Society, which
                 runs nine schools in the Hebron area for 2,500 orphans and children from
                 broken homes.

                 Natche suggested that Hamas would not resist an Arafat crackdown.
                 “Hamas is pointing its guns toward the occupiers, not anyone else,” he said.

          914.   Due to its activity and organizational identification with HAMAS, the ICSH was

  declared to be an illegal organization by the Israeli Minister of Defense on February 25, 2002, as

  an institution belonging to HAMAS, and by the head of the IDF Central Command on June 30,

  2002.

          915.   On September 8, 2002, a Time Magazine article identified “Abdel Khaleq Natshe,

  48,” as the head of “the Islamic Charitable Society in Hebron” and reported that “[a]fter Defensive

  Shield [Israel’s military operation in April 2002], Israeli officials and Palestinian sources say,

  Natshe began providing funding and coordination for Izzedine al-Qassam. They say Natshe was

  behind an April attack on the Israeli settlement of Adora, in which Hamas gunmen shot four

  Israelis. Natshe was finally arrested by Israeli soldiers two weeks ago in Hebron.”

          916.   According to the BBC “Summary of World Broadcasts,” the Voice of Palestine

  (radio) reported on March 24, 2003, that the (Israeli) “occupation forces” “closed the headquarters

  of the Islamic Charitable Society in the town of Dura and arrested its director Hashim al-Rujub….”




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          917.    In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed the Islamic Charitable Society (Hebron) was part of HAMAS.

  According to the BND:

                  Islamic Charitable Society (Hebron) is an Islamic social club directly linked
                  to HAMAS. This club is the most important HAMAS association on the
                  West Bank. In April of 2002 a document of the HAMAS Leadership Abroad
                  (Damascus) of October 2000 was found on the premises of the club, which
                  contained a direct call to violent Intifada against Israel.

          918.    As stated above and reported in a December 8, 2001, Los Angeles Times article, the

  ICSH provided subsidies to the families of Palestinian “martyrs.”

          919.    HAMAS also used ICSH to provide employment to its operatives released from

  prison. For example, Jawad Ja’abari was a HAMAS operative since 1995 and first arrested in 1997.

  In 1998, he served as HAMAS spokesman in Israeli Megiddo prison. He was again arrested by the

  PA in January 1999 and upon his release in March 1999, he was given a job as the manager of the

  ICSH’s cattle farm and later placed in charge of the ICSH’s summer camp. By July 2000, he was

  appointed by ICSH’s board to be the organization’s agricultural farm manager.

          920.    In addition, the Government of Israel 2004 Report described a document sent from

  overseas in January 2001 that was found in 2002 in the Islamic Charitable Society in Hebron that

  listed its activities, including:

                      Immediate and rapid response to the needs of the resistance, in parades
                       and confrontations.

                      Mapping and identifying the main places of friction, and the weak points
                       of the settlements and of the enemy’s outposts, for the purpose of
                       attacking them.

                      Developing plans to mobilize the public, in a planned and organized
                       manner, to confront the enemy, in a way that will minimize losses.

                      Mapping the enemy’s methods of operation in countering the popular
                       resistance and identifying ways of protecting against them.



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         921.    The January 2001 document states that the organizational structure of the “popular

  resistance apparatus for the management and leadership of the Intifada” includes the establishment

  of an “organizational network which will cover all the areas of the required activities at times of

  need, such as trade areas, schools, mosques, neighborhoods, societies and universities.”

         922.    After his arrest in 2002, Abd al-Khaleq Hasan Shadli al-Natshe, the leader of the

  ICSH, gave a statement confirming that he was the representative of HAMAS’s “political wing”

  in Hebron and that he was in charge of matters relating to the mosques, and caring for the families

  of HAMAS prisoners. He also confirmed that he was in direct contact with (then senior external

  HAMAS leader) Khalid Mishal, that he delivered money to the families of “prisoners,” and that in

  May 2002 the Islamic Charitable Society of Hebron received $7 million dollars in donations to a

  CAB account in Hebron.

         923.    According to a Government of Israel 2004 Report, the Islamic Charitable Society

  of Hebron rented houses for the families of suicide terrorists whose houses were demolished by

  the IDF. It also hosted “Mourning Houses” in honor of those killed in terrorist operations on the

  premises of the Society.

         924.    During searches carried out at the offices of the Society, the IDF unearthed:

                    Copies of an Islamic magazine containing the “Last Will and
                     Testament” of a suicide terrorist who blew himself up in a bus in 1996.

                    Copies of HAMAS publications dealing with the position of the
                     movement with respect to the pressures applied by the West for
                     “Causing the Failure of the Intifada.”

                    A book by Abdullah Azzam (Osama bin Laden’s mentor), dealing with
                     protecting Muslim soil, its front cover displaying fighters bearing
                     weapons on their shoulders.

                    Numerous posters of “martyred” Qassam Brigades operatives.



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          925.     Throughout the relevant period, most members of the ICSH administrative board

  were publicly identified with HAMAS. Five of the board members of the ICSH, during that period,

  were senior operatives in the da’wa infrastructure of HAMAS. Several board members were even

  Qassam Brigades commanders.

          926.     The following is a partial list of the prominent HAMAS leaders who served as

  ICSH officials:

                       Abd al-Khaleq Hasan Shadli al-Natshe: Al-Natshe was the
                        Administrative Manager of the ICSH until August 28, 2002, when he
                        was arrested by Israel and sentenced to 10 years’ imprisonment. Among
                        other things, he assisted Qassam Brigades operatives. Until his arrest in
                        2002, he was considered as the head of HAMAS in Hebron and was
                        among the Marj al-Zuhur deportees.50 Al-Natshe was arrested several
                        times by Israel in the 1980s and 1990s for membership in HAMAS and
                        his role in facilitating terrorism.51 In July 1997, he was convicted for his
                        membership in HAMAS, for transferring funds to HAMAS operatives,
                        and for his links with HAMAS leadership abroad and for receiving
                        directions from it. According to the Government of Israel 2004 Report,
                        “Al-Natshe is known as the most senior Hamas activist in Hebron
                        and is considered by the public as the head of the movement and its
                        representative in the district…. Prior to his arrest, he frequently
                        appeared on and was interviewed by the media as a Hamas
                        representative and disseminated the movement’s ideology. Al-Natshe
                        moved through the city accompanied by bodyguards.” (Emphasis
                        added). In fact, an article in the Palestinian daily newspaper al-Hayat
                        al-Jadida from November 13, 2001, publicly identified al-Natshe as a
                        member of the Hamas Political Bureau. In 2003, Khalid Mishal, then


  50
           As part of his job, al-Natshe led HAMAS demonstrations in which he spoke about HAMAS’s activities and
  ideology. He distributed propaganda material, served as the local spokesman describing HAMAS attacks and
  eulogizing “martyred” members, and distributed funds to families of HAMAS prisoners. His arrest was widely
  covered in the Palestinian media. HAMAS’s website also reported on his arrest and purportedly interviewed his wife
  who related the circumstances of her husband’s arrest and the searches conducted in their home. She reportedly added
  that he was interrogated about his responsibility for the HAMAS and Qassam Brigades cells in Hebron that carried
  out attacks during 2002. The HAMAS article also noted that al-Natshe worked as the administrative director of the
  ICSH.
  51
           On October 27, 1995, the Jerusalem Post reported on an unusual meeting between Palestinian Authority
  Chairman Yasser Arafat and HAMAS leaders, including al-Tadamun’s Jamal Salim and al-Natshe. On December 15,
  1995, Salim and al-Natshe were part of a HAMAS delegation to Khartoum, Sudan. According to the BBC Summary
  of World Broadcasts Service, the Palestinian newspaper Al-Quds reported on August 17, 1996, that HAMAS was
  conditioning dialog on a cease-fire on the release of Dr. Abd al-Aziz al-Rantisi and Abd al-Khaleq al-Natshe, among
  others.


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                       the external leader of HAMAS, publicly identified him as one of the
                       founders of HAMAS in Hebron.52

                      Adel Nu’man Salim al-Junaydi: Al-Junaydi was the Chairman of the
                       ICSH from the year 2000. In June 2002, he was arrested and convicted
                       for his activity in HAMAS and was sentenced to eight months in
                       prison;53 in December 2004, he was again arrested by Israel. Al-Junaydi
                       is a senior operative in HAMAS and was among the Marj al-Zuhur
                       deportees.

                      Azam Nu’man abd al-Rahman Salhab al-Tamimi: Salhab was a
                       member of the ICSH administrative Board and served as Deputy
                       Chairman under al-Junaydi. He is also a senior operative in HAMAS
                       and was among the Marj al-Zuhur deportees. In 2003, Khalid Mishal,
                       then the leader of HAMAS’s Political Bureau, publicly identified him
                       as one of the founders of HAMAS in Hebron.54 Salhab was also on the
                       Board of Trustees of the Union of Good.

                      Mustafa Kamil Khalil Shawar: Shawar was a member of the ICSH
                       administrative board and was among the Marj al-Zuhur deportees. In
                       2003, Khalid Mishal identified him as one of the founders of HAMAS
                       in Hebron. He also served on the board of the Muslim Youth
                       Association in Hebron (discussed below).

                      Nabil Naim Ishaq al-Natshe: Al-Natshe was a member of the ICSH
                       administrative board and was among the Marj al-Zuhur deportees. He
                       was also arrested several times by Israel, inter alia, based on
                       information that he was involved in terror activities of the Qassam
                       Brigades which included recruiting operatives and equipping them with
                       weapons. In 2002, he was arrested and convicted for his HAMAS
                       activities.55

                      Fathi Abd al-Aziz Amru: Amru was a long-time leader of the Muslim
                       Brotherhood in Hebron and after 1987 became one of HAMAS’s leaders
                       in the Hebron area. He was arrested several times by Israel and was


  52
          According to al-Natshe’s police statement on October 30, 2002, he also held a personal account at CAB.
  53
           HAMAS’s website reported on the arrest of several HAMAS operatives and identified al-Junaydi as one of
  those arrested.
  54
          According to the FBI: “During an interview in December 1990, Salhab admitted being recruited by HAMAS
  and being a member of the HAMAS headquarters and in charge of the prison committee.”
  55
            Nabil al-Natshe recruited Qassam Brigades operative Suleiman Qawasmeh and transferred M-16 rifles, a
  pistol, and ammunition to Qawasmeh and his Qassam Brigades cell. Al-Natshe was later convicted in early 2003 for
  serving as a board member of ICSH, which was in unlawful association with, and providing services to, HAMAS.


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                    among the Marj al-Zuhur deportees. Amru served as a manager at ICSH
                    and on the board of directors of ICSH’s Dura branch.

                   Naef Mahmud Muhammad Al-Rajub. Rajub is one of HAMAS’s
                    most prominent leaders and officials in Hebron. He was arrested by
                    Israel in 1989, was among the Marj al-Zuhur deportees in 1992 and was
                    arrested in 1994 and 1996 by Israel and briefly by the Palestinian
                    Authority in 1996. Rajub served on the board of directors of ICSH’s
                    Dura branch.

         927.   From the early 1990s through 2004, ICSH received financial support from HAMAS

  fundraising organizations through its CAB accounts that included HLF in the United States

  (designated an unlawful association by Israel in 1997 and a terror organization in 1998 and as an

  SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association by Israel in 1997

  and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful association by Israel in

  1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003) and many other

  HAMAS fundraising organizations.

         928.   CAB processed multiple funds transfers from Interpal to CAB’s ICSH account(s)

  after Interpal was designated an SDGT.

         929.   The link between HAMAS’s da’wa network and its Qassam Brigades is

  exemplified by ICSH’s Dura branch.

         930.   Both Fathi Abd al-Aziz Amru, the prominent HAMAS leader, and his brother,

  Muhammad Abd al-Aziz Abd Muhammad Amru, a professor of Islamic law, helped run and

  oversee the finances of the ICSH’s Dura branch.




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         931.    In 2000, after graduating from university, Majdi Muhammad Amru went to work

  for the ICSH’s Dura branch. In university, he was a member of al-Kutla al-Islamiya, HAMAS’s

  student organization.

         932.    In February 2001, while working at the ICSH’s Dura branch, Amru was recruited

  into HAMAS’s Qassam Brigades.

         933.    In July 2001 he participated in the murder of an Israeli citizen.

         934.    In March 2003, he participated in the planning and execution of a suicide bus

  bombing in Haifa that claimed 15 lives.

         935.    In sum, throughout the relevant period, ICSH was closely intertwined with

  HAMAS’s terrorist activities.

         936.    On May 29, 2007, the United States Department of Justice identified the ICSH as

  an “organization that operates on behalf of, or under the control of, Hamas” in the list of unindicted

  co-conspirators in the criminal case of United States v. Holy Land Foundation.

                 2.       Tulkarem Zakat Committee (Lajnat al-Zakaa Tulkarem)

         937.    The Tulkarem Zakat Committee is a part of HAMAS’s civilian infrastructure, and

  as such is involved in a wide range of activities, including: financial aid; provision of clothing and

  food for the needy; and support for prisoners and the families of those killed, with emphasis on

  transferring funds to the families of terror operatives.

         938.    The Tulkarem Zakat Committee was founded in 1981 but has, for many years, been

  identified as part of HAMAS’s da’wa apparatus.

         939.    When Israeli forces raided the Tulkarem Zakat Committee’s offices in April 2002,

  they found posters, handbills, and other material praising suicide bombers and encouraging other

  Palestinian youths to follow in their footsteps. One handbill included a statement from the mother




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  of Muhammad Farhat, a nineteen- year-old HAMAS terrorist who killed five people and wounded

  24 in a March 2002 rifle and grenade attack, calling on her fellow Palestinian mothers not to stand

  in the way of their sons’ “martyrdom.” A poster featuring Abdullah Azzam, Osama Bin Laden’s

  mentor, includes a typical passage from Azzam: “Love of Jihad has taken over my life, my soul,

  my sensations, my heart and my emotions. If preparing [for jihad] is terrorism, then we are

  terrorists. If defending our honor is extremism, then we are extremists. If jihad against our enemies

  is fundamentalism, then we are fundamentalists.”

         940.    The Tulkarem Zakat Committee was declared an unlawful association by the Israeli

  Minister of Defense on February 25, 2002, as an institution belonging to HAMAS, and by the head

  of the IDF’s Central Command on June 30, 2002.

         941.    On May 7, 2002, the Baltimore Sun published an article titled: “Arab documents

  seized in West Bank, Israel says; Released on eve of Sharon visit; Disclosure may be effort to spoil

  U.S.-Saudi ties.” The article reported that:

                 Israeli officials say that in the past 16 months, the Saudis have sent $135
                 million to Palestinian organizations and individuals, including some
                 involved in or connected to terrorism, such as Hamas and a group called the
                 Tulkarm Charity Committee, which Israel said is identified with Hamas.

                 Several suicide bombers have come from Tulkarm, a West Bank town on
                 the pre-1967 border with Israel, or from nearby communities. The
                 documents include the names of reported recipients, including the families
                 of suicide bombers and of well-known Palestinian militants killed by Israeli
                 troops.

         942.    On May 10, 2002, the Israeli Foreign Ministry posted a report on one of its embassy

  websites noting that the Saudi Committee for the Support of the Intifada Al Quds (a Union of Good

  member organization) was transferring funds to an account of another bank in the Palestinian

  Territories for “The Tulkarm ‘Charity Committee’ (identified with the Hamas)” – thereby




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  providing further notice of the HAMAS affiliation of the Committee and its participation in

  HAMAS’s Union of Good fundraising campaign. The report went on to note:

               According to the captured documents, money from Islamic associations
               from around the world was deposited in the bank accounts of the Tulkarm
               “Charity Committee,” including groups identified with radical Islam such
               as: “the Coalition of Benevolence” (“A’atalef Al-Khir”) headed by Sheikh
               Yousef Kardawi who lives in Qatar (see below) or the “Holy Land
               Foundation for Assistance and Development” in the United States which
               was made illegal there. A title of one of the captured documents is: “The
               aid project for Palestinian families, the coalition of benevolence - financing
               of the Saudi committee for support of the Intifada Al Aqsa, in cooperation
               with the Tulkarm “Charity Committee.” The document includes details of
               89 families (apparently a project of the Saudi committee in cooperation with
               the “Charity Committee” which the Coalition of Benevolence has decided
               to assist). Persons and entities associated with the Hamas and with Radical
               Islam are the main beneficiaries of the funds of the Saudi Committee for
               Support of Intifada Al Aqsa.

                                                    ***

               The Tulkarm Charity Committee: An entity identified with Hamas,
               which is also connected to the Hamas terrorist-operational apparatus
               … The Tulkarm Charity Committee where documents of the Saudi
               Committee for Support of the Intifada Al Aqsa were found, is identified as
               one of the power centers of the Hamas in Tulkarm. It is headed by
               Husseini Hussein Hawaja [Husni Hasan Hussein al-Khawaja] who is
               known to be a Hamas activist … Additional Hamas activists are also
               members of the committee.

               It is emphasized that on the surface, the committee carries out wide-ranging
               social-religious-economic activity. It operates two large centers for the
               study of the Koran, hospitals, clinics, a beehive project, sewing factories,
               elementary school and a kindergarten. It owns a residential building with
               some units rented out to the needy. However, it is known and clearly
               proven by the material captured in the Tulkarm Charity Committee
               offices, that the committee also has ties with the operational apparatus
               of the Hamas which recruits youths in order to perpetrate suicide
               attacks and is engaged in carrying out terrorist attacks. (Emphasis
               added.)




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         943.    In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed the Tulkarem Zakat Committee was part of HAMAS.

  According to the BND:

                 The Zakat-Committee of Tulkarm is clearly under the control of HAMAS.
                 The HAMAS member Husni Hasan HAWAJA is president of the Zakat
                 Committee. The Zakat Committee runs a chain of kindergartens under the
                 direction of the two HAMAS members….

         944.    In sum, throughout the relevant period, the Tulkarem Zakat Committee was closely

  intertwined with HAMAS’s terrorist activities.

         945.    On May 29, 2007, the United States Department of Justice identified the Tulkarem

  Zakat Committee as an “organization that operates on behalf of, or under the control of, Hamas”

  in the list of unindicted co-conspirators in the criminal case of United States v. Holy Land

  Foundation.

         946.    Through late 2007, when the Palestinian Authority finally acted against the

  HAMAS civilian infrastructure in the West Bank and replaced a significant portion of the

  Tulkarem Zakat Committee’s board, the key members of the Committee’s board were known

  HAMAS operatives. Many of the leaders of the Tulkarem Zakat Committee, in the relevant period,

  did not attempt to hide their radical positions, and sometimes even gave lectures in mosques whose

  clear purpose was to incite hatred of Jews and Israelis.

         947.    The following is a partial list of the prominent HAMAS leaders who served as

  Tulkarem Zakat Committee officials:

                    Husni Hasan Hussein al-Khawaja: Al-Khawaja was Chairman of the
                     Tulkarem Zakat Committee from 1993 until his resignation from the
                     position in June 2008, and he was Chairman of the Board of Directors
                     of the hospital associated with the Committee and signatory on most of
                     the Committee’s bank accounts at CAB. He is a publicly known
                     HAMAS operative. Agence France Presse reported on March 18, 1996,




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                  on his arrest by Palestinian police during an “ongoing crackdown on
                  HAMAS.”

                 Sheikh Bilal Khamis Yusuf abu Safira (a.k.a. Belal Khamis):
                  Khamis was among the founders of the Tulkarem Zakat Committee and
                  served in a variety of senior positions until its reorganization in 2007.
                  During the relevant period he was a signatory on most of the
                  Committee’s bank accounts at CAB. Among the positions in which he
                  served are Deputy Chairman, Treasurer, and Acting Director of the
                  Tulkarem Zakat Committee’s hospital. He was publicly known as a
                  professed HAMAS operative who had influence in the various
                  organizations connected with HAMAS in the town of Tulkarem. The
                  same Agence France Presse report on March 18, 1996, described
                  Khamis’s arrest by the Palestinian police.

                 Sheikh Amar Tawfiq Ahmad Badawi: Badawi was among the
                  founders of the Tulkarem Zakat Committee and was a member of its
                  board. He is one of the leaders of HAMAS in the region and signatory
                  on most of the Committee’s bank accounts at CAB.

                 Dr. Bashar Adnan Ibrahim al-Karmi: Al-Karmi was a member of the
                  Tulkarem Zakat Committee’s administrative board and served as
                  Director of the Committee’s hospital. Al-Karmi was publicly known to
                  be a HAMAS operative and was among the Marj al-Zuhur deportees.

                 Ikhlas Abd al-Karim al-Sawis: Al-Sawis is the wife of Abbas al-
                  Sayed, who was a senior commander in the Qassam Brigades convicted
                  by an Israeli court of planning the suicide bombing during Passover
                  2002 at the Park Hotel in Netanya, one of the attacks implicated in this
                  case. Al-Sawis worked as Director of the Tulkarem Zakat Committee’s
                  kindergartens.

                 Fathi Muhammad Ali Qasem Qar’awi: Qar’awi was a member of the
                  Tulkarem Zakat Committee’s administrative board from at least 1996 to
                  1999. He was publicly known to be a HAMAS operative and was among
                  the Marj al-Zuhur deportees. On March 17, 1996, the Al Quds radio
                  reported that the PA arrested Qar’awi as part of a wave of arrests against
                  HAMAS operatives. In 1997, the IDF arrested him and detained him for
                  six months. Reuters reported on March 10, 2001, that during a funeral
                  the previous day of Ahmad Oliyan, a HAMAS suicide bomber who
                  carried out an attack in the Israeli city of Natanya, a massive rally was
                  organized by HAMAS within the funeral itself and Qar’awi delivered a
                  eulogy praising the attack. Hezbollah leader Hassan Nasrallah also
                  delivered a speech by phone praising HAMAS and the attack carried out
                  in Natanya.



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          948.    From the early 1990s through 2004, the Tulkarem Zakat Committee enjoyed

  financial support from HAMAS fundraising organizations that included the HLF in the United

  States (designated an unlawful association by Israel in 1997 and a terror organization in 1998 and

  as an SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association by Israel

  in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal (designated

  an unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the

  U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful association by Israel

  in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003) and many other

  HAMAS fundraising organizations..

          949.    The Government of Israel 2004 Report noted that “all the members of the

  [Tulkarem Zakat Committee] Board are recognized by the public as Hamas activists.”

          950.    That same report indicates that Tulkarem Zakat Committee maintained at least four

  accounts at CAB as of December 2004.

                  3.      Nablus Zakat Committee (Lajnat al-Zakaa Nablus)

          951.    The operations of the Nablus Zakat Committee (“NZC”) in the fields of social

  welfare, education, religious studies, and health have contributed to the prestige of HAMAS in the

  area and have reinforced its image as a movement with “clean hands,” which looks after the public

  in general, in contrast to the operations of the Palestinian Authority in the Nablus District, which

  were perceived as inefficient and corrupt for a protracted period of time.

          952.    The NZC was founded in 1977. It was part of the da’wa infrastructure in the West

  Bank during the period under review. Additional zakat committees operate in the villages of the

  Nablus district; they are subordinate to the zakat committee in the city of Nablus and receive funds

  that are transferred through it.




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         953.    Sheikh Hamed al-Bitawi, the Deputy Chairman of the NZC and Chairman of the

  Al-Tadamun Charitable Society in Nablus (discussed below), has since the 1990s been a very

  public leader and spokesman for HAMAS. In fact, he later served as a member of the Palestinian

  Legislative Council on behalf of HAMAS,

         954.    For example, a Jerusalem Post article from November 13, 1994, reported that

  Yasser Arafat “appointed two Hamas activists to official positions on the Palestinian religious

  courts, in the first appointments of Hamas members to the PA since he took office” and that

  “Hamed Bitawi of Tulkarm” was one of the appointees. The Post described al-Bitawi as “among

  the 400 Hamas activists expelled by Israel for one year to Marj a-Zahour, in south Lebanon, in

  1992. He is considered to have great influence on Hamas ideology.”

         955.    An Associated Press article dated July 11, 1997, titled “Hamas wins Palestinian

  hearts with inexpensive Islamic group wedding” described “Sheikh Hamed Bitawi [as] the leading

  Hamas figure in Nablus” who organized inexpensive group weddings for devout Muslims. The

  article quotes Zohair Dubai, a mosque preacher loyal to Fatah criticizing the event: “‘Hamas is

  entering the house through the window, staging social activities to strengthen itself politically.’

  Undeterred, Bitawi announced that Hamas also would establish a matchmaking office in Nablus.”

         956.    An IPS-Inter Press Service article dated September 25, 1997, titled “Palestine:

  Hamas Plays Fundamental Role in Palestinian Society” reported on HAMAS’s group weddings

  and that in the “West Bank town [of Nablus], Bitawi’s name is synonymous with Hamas, the

  militant organization that regularly dispatches suicide bombers to Israel -- so much so that a groom

  who participated in a wedding party for 15 couples staged by Bitawi in July has had trouble living

  the association down.” (Emphasis added.)




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         957.   Describing the same group wedding phenomenon, the Christian Science Monitor

  reported on July 27, 1998:

                The Islamic fundamentalist group, better known abroad for sending suicide
                bombers into Israeli cities, sponsored a mass wedding in Nablus’s stadium
                July 9 before a rock-concert-size audience. It’s an approach likely to keep
                winning fans.

                 In contrast with the Western tradition, an Arab groom and his family must
                foot the bill. The husband-to-be also must provide a dowry, buy the bride’s
                wedding dress, and provide a new home.

                 Palestinians - who emphasize premarital chastity, usually marry young, and
                face a dismal economy - have often had to postpone matrimony until they
                can afford it.

                But by reducing the cost of weddings, Hamas is finding a way to cure the
                wedding blues in a way that suits conservative Palestinian tastes - and
                waging a public-relations battle against the West.

                                                   ***

                As with Hizbullah in Lebanon and the Muslim Brotherhood in Egypt,
                Islamic fundamentalists here owe much of their success to community-
                outreach work. Palestinians don’t automatically associate Hamas, the
                Islamic Resistance Movement, with bombings that kill innocent civilians
                and sabotage the chances of peace with Israel. They also think of Hamas’s
                clinics, kindergartens, and loan societies - and now, even wedding
                ceremonies.

                Hashash, a schoolteacher who turned religious in college while studying
                Islamic law, doesn’t deny that this kind of beneficence helps attract
                Muslims who are much less committed than he is.

                 “Of course, Hamas’s honest dealing with the people builds their belief in
                them,” he says.

                But Sheikh Ahmed Bitawi, who organized the first such wedding last
                summer, says the event is less about building political clout than about
                fighting the encroachment of American style.

                “A uniform celebration eases the financial burden on these people, but
                money isn’t the only reason,” says Sheikh Bitawi.

                 “Our concern is to avoid the wrongdoing in this country that people have
                inherited from the West, like women taking off their veils and dressing
                provocatively, men and women dancing together, and the drinking of


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                alcohol. We realize that you [in the West] have ultimately paid a price for
                such corruption. We want to show the West that Islam is not a severe
                religion, that there is joy, but within a limit.”

                Bitawi, a known figure in the social wing of Hamas here in Nablus, says
                such weddings will soon be held in other West Bank cities and Gaza. He
                also runs an Islamic matchmaking service for those looking for a spouse.

  (Emphasis added.)

         958.   An Associated Press article on August 27, 1998, reported:

                Palestinian militants burned American flags Thursday and called on Saudi
                dissident Osama bin Laden, suspected of being behind the East Africa
                embassy bombings, to attack Israel and the United States.

                Some 400 people participated in the rally, where groups of masked men
                burned three American and then three Israeli flags.

                “Bin Laden, we want bombs, bombs on America, bombs on Tel Aviv,”
                crowds of young men chanted.

                “Bin Laden is now the head of the war against America, so I support him,”
                said Ala Taher, a 26-year-old bearded laborer at the rally.

                Thursday’s rally was one of several held by militant groups in Palestinian
                territories in support of bin Laden and against the recent U.S. missile strikes
                on suspected terror bases in Afghanistan and a factory in Sudan.

                In the West Bank town of Nablus, a leader of the militant Islamic Hamas
                group, which opposes peace with Israel, called the strikes an attack on
                Muslims and Arabs. “America is the first terror state in the world, America
                is an enemy of Arab and Islamic people,”‘ Jamal Salim said.

                Sheik Hamad Bitawi said he would ask worshipers at Friday prayer
                services to donate money to help Sudan rebuilt its destroyed
                pharmaceuticals plant. (Emphasis added.)

         959.   The infamous al-Bitawi was also quoted by the media for his calls to violence on

  behalf of HAMAS. An Associated Press article on November 24, 2000, reported on the funeral of

  Ibrahim Bani Odeh, a senior HAMAS operative and bombmaker who was assassinated by Israel.

  HAMAS pledged revenge for his death. The article quotes Sheik Hamed al-Bitawi “the Hamas




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  leader in Nablus” as stating “‘Our response will be more car bombs and they (the Israelis) will pay

  a high price.”

         960.      On September 18, 2001, the Associated Press reported that HAMAS had issued a

  “religious edict” against Muslims cooperating with the United States in the wake of the September

  11, 2001, attacks. According to the news service: “Tuesday’s religious edict was issued by Sheik

  Hamed Bitawi, a spiritual leader of Hamas in the West Bank town of Nablus. ‘It is illegal for any

  Muslim group or state … to cooperate or align itself with America in any way, whether by fighting

  alongside it, or facilitating its mission, or opening the skies or airports or harbors to its forces to

  wage an aggression against any Muslim country,’ Bitawi said. Those violating the ban commit

  ‘one of the biggest crimes and treason against God, the Prophet Muhammad and the believers,’

  Bitawi told a news conference.”

         961.      A New York Sun article dated October 3, 2002,56 titled “Judge Praises Suicide

  Bombers” reported that:

                   Sheikh Hamed Bitawi, one of the Palestinian Authority’s senior religious
                   judges, has given his authorization for the participation of women and
                   children in suicide attacks.

                   He also praised all those who have already fulfilled the “commandment of
                   Jihad.”

                   Mr. Bitawi was appointed head of the appellate courts in Nablus at the
                   establishment of the P.A. in 1995 and has been on Israel’s wanted list since
                   the beginning of the intifada.

                   He is considered an authority on religious edicts for Hamas in the
                   Nablus area. During the past two years, he has encouraged Hamas
                   activists to go the way of Jihad and carry out suicide attacks against
                   Israel.

                   Mr. Bitawi told the Islam Online Website that “according to a religious edict
                   and [relying on] the words of Allah: Youths and adults, Make haste. Fight


  56
         A similar report appeared on the same day in the Jerusalem Post.


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              the war of Jihad using your money and [sacrificing] your souls for the way
              of Allah.”

              In a special forum dedicated to religious sages and edicts, he said religious
              sages have pointed out that men, women, and children alike should all
              follow this route [of Jihad]. “In the era of Muhammad the prophet, the
              participation of children [in Jihad] was a well-known fact; now we live in
              this reality in Palestine,” he explained.

              “We hold a great deal of love towards Jihad and for the sacrifice of one’s
              self in honor of Allah. This situation has brought many children to compete
              amongst themselves regarding the carrying out of the operations of Jihad
              and acts of suicide.

              “However, many of these acts and operations were unsuccessful, and
              especially due to the anticipation and forecasting abilities of the enemy.
              Therefore, the Islamic movement was forced to ask these children to wait
              patiently and not carry out the suicide acts until they’ve completed their
              studies, trained, and learned to act diligently and with caution.”

              Asked about the religious ruling regarding the participation of women in
              suicide attacks, Mr. Sheikh Bitawi, who is on the Palestinian Authority’s
              payroll, said:

              “The sages have said that when the enemy occupies and conquers a land
              belonging to Muslims, the Jihad becomes a commandment that must be
              fulfilled by every Muslim man or woman. A woman can carry out Jihad
              without her husband’s permission. The women in the era of Muhammad the
              prophet used to take part in Jihad. Women throughout Palestine can
              participate in a form of Jihad, including suicide terror attacks.”

              He said several “blessed women” have already fulfilled their tasks. But he
              added that women should be patient “because there is a very long queue of
              men willing to carry out suicide attacks.”

              He noted that the Palestinian women have shown great examples of
              willingness to participate in Jihad, following the tradition of the Islamic
              heroine H’ansa, who sent her four sons to the battle of Kadisiya in the era
              of Muhammad.

              “The public has seen on their television screens how a mother sends her son
              to carry out Jihad, bids him farewell, and encourages him,” Mr. Bitawi said.

              Many mothers and women, after hearing their son was killed, cry out
              exclamations of happiness and joy. We raise our heads up high in honor of
              these women.” (Emphasis added.)




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          962.   In 2002, the offices of the NZC’s Quranic Studies Center were raided by the IDF.

  Among other incitement materials, the Center displayed a placard in memory of the deceased

  HAMAS leader Salah Al-din Daruzah.

          963.   The Israeli army also recovered from the NZC’s Quran center evidence of the

  Committee’s support for HAMAS’s violent terrorist activities. For example, the IDF recovered a

  video of a children’s graduation ceremony at which its deputy chairman Hamed al-Bitawi spoke

  and lashed out at “the Jews, the Crusaders” and the “heretics,” a video of the Qassam Brigades,

  postcards of HAMAS suicide bombers, and teaching aides showing pictures of bombings and

  wounded Israelis. The Committee also was in possession of a videotape depicting an armed

  individual reciting a speech about a planned kidnapping of someone from the Israeli Security

  Agency.

          964.   According to the Government of Israel 2004 Report “[a]ll the members of the Zakat

  Committee Board of Directors are known as Hamas activists.”

          965.   The NZC was declared an unlawful association by the Israeli Minister of Defense

  on June 9, 2006, and by the head of the IDF Central Command on September 3, 2006, because of

  its HAMAS-related activities and organizational relevancy to HAMAS.

          966.   The following is a partial list of the prominent HAMAS leaders who served as NZC

  officials:

                    Dr. Abd al-Rahim Muhammad Radi al-Hanbali: Hanbali’s father
                     Muhammad established the NZC in 1977 and served as its Chairman
                     before Abd al-Rahim inherited the post in 1993. Hanbali also served as
                     a member of al-Tadamun’s administration and on the executive
                     management of the Beit El-Mal Holdings, which was declared an
                     unlawful association by Israel and designated an SDGT on the same day
                     as the HLF in December 2001. The Government of Israel 2004 Report
                     described Hanbali as “a senior political Hamas activist.”




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                       Sheikh Hamed Suleima Jaber Khader al-Bitawi: Bitawi was
                        considered one of the senior religious and HAMAS leadership figures
                        in the West Bank and served as a member of al-Tadamun’s
                        administrative board since 1991. Bitawi served as Chairman of al-
                        Tadamun (in addition to his role as Deputy Chairman of the NZC) until
                        the end of 2008. Bitawi was a senior member of the Muslim
                        Brotherhood in the Nablus region (he joined in 1962) and is considered
                        (and considered himself) a HAMAS religious authority. He served as
                        Chairman of the Palestinian Religious Scholars Association since its
                        establishment in 1992: this Association has approved suicide terrorist
                        attacks against Israelis. Bitawi was also the Northern representative of
                        the West Bank on the board of the Union of Good and one of the three
                        West Bank representatives on the Union’s board of trustees. Bitawi was
                        arrested several times by both Israel and the PA. Bitawi was one of the
                        Marj al-Zuhur deportees. He was known for his poisonous sermons
                        against the Palestinian Authority and against Israel and Jews, which
                        included calls for the murder of Jews and for jihad.57 For example: on
                        August 1, 2001, Bitawi gave a speech in Nablus before an audience of
                        150,000 people at the funeral of two senior HAMAS operatives, Jamal
                        Mansur and Jamal Salim, and additional HAMAS operatives, and called
                        for quick revenge for the deaths of the HAMAS operatives.58 The
                        Government of Israel 2004 Report described Bitawi as someone
                        “considered to be Hamas[‘] spiritual leader in Judea and Samaria.”

                       Adli Rif’at Salah Ya’ish: Ya’ish served as Treasurer of the Committee.
                        He is presently Mayor of Nablus on behalf of HAMAS (he was elected
                        in the local elections of December 2005). Ya’ish is publicly known in
                        Nablus and the West Bank in general as a HAMAS member; he has
                        fulfilled many functions in the da’wa of HAMAS, including
                        membership in the executive management of the Beit al-Mal Company,
                        and he has served as Chairman of the al-Tadamun Charitable Society.
                        Ya’ish was also among the Marj al-Zuhur deportees.

          967.     From the early 1990s through 2004, the NZC enjoyed financial support through its

  account(s) at CAB from HAMAS fundraising organizations that included the HLF in the United

  States (designated an unlawful association by Israel in 1997 and a terror organization in 1998 and



  57
          Following a suicide bombing at a Tel Aviv café in March 1997, Bitawi told a crowd of 10,000 HAMAS
  supporters, “I have good news. There is a suicide bombing in Tel Aviv.” He continued, “This is the only language the
  occupiers understand, the language of martyrdom.”
  58
            Images from the video are attached as Exhibit M to the Second Amended Complaint. The video of the Nablus
  event is available at https://www.youtube.com/watch?v=KKma5eW7_sw (12:12-14:18).


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  as an SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association by Israel

  in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal (designated

  an unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the

  U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful association by Israel

  in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003) and many other

  HAMAS fundraising organizations.

         968.    In sum, throughout the relevant period, the NZC was closely intertwined with

  HAMAS’s terrorist activities.

         969.    On May 29, 2007, the United States Department of Justice identified the NZC as

  “an organization which operates in the name of, or under the control of, Hamas” in the list of

  unindicted co-conspirators in the criminal trial of United States v. Holy Land Foundation.

                 4.     Al-Tadamun Charitable Society – Nablus
                        (Jam’iyat al-Tadamun al-Khiriyah Al-Islamiya)

         970.    Al-Tadamun Charitable Society – Nablus (“al-Tadamun”) was founded in Nablus

  in 1956 and is one of the oldest charitable societies in the West Bank. Like other charitable

  societies or zakat committees, al-Tadamun is involved in a wide range of social activities.

         971.    Unlike other institutions in HAMAS’s da’wa infrastructure, such as Al-Mujama Al-

  Islami (The Islamic Center) or Al-Jam’iya Al-Islamiya (the Islamic Society), al-Tadamun was not

  a society out of which HAMAS grew. Rather, over time, HAMAS took control of al-Tadamun,

  such that by the end of the 1990s, the al-Tadamun management committee was composed

  primarily of HAMAS leaders, and its primary goal was to promote HAMAS’s goals. Hamed

  Bitawi, one of the Society’s prominent leaders, was one of the Palestine representatives in the

  Union of Good’s leadership.




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         972.    Al-Tadamun is publicly identified as connected to HAMAS; in fact, it is largely

  considered the “flagship” of HAMAS’s da’wa apparatus in the northern West Bank. The al-

  Tadamun Society works in close cooperation with the NZC (most of the management committee

  members serve in both associations at the same time), which also has a close connection with

  HAMAS.

         973.    Al-Tadamun’s da’wa activities focused on the areas of social welfare, education

  and leisure, health, and other special activities, all carried out with the aim of strengthening

  HAMAS’s power base; deepening its influence among the public; and emphasizing its image as a

  public national movement, providing social services to the whole population. The Society’s

  success in promoting HAMAS’s standing in the eyes of the public is attested to by the fact that

  many HAMAS representatives elected to the municipal council and Palestinian Legislative

  Council came from the Society’s ranks.

         974.    Al-Tadamun’s principal involvement in the support of HAMAS terror is reflected

  in the transfer of funds from al-Tadamun to other zakat committees and charitable societies that

  are part of HAMAS’s da’wa infrastructure, including the Jenin Zakat Committee and the Tulkarem

  Zakat Committee.

         975.    During the relevant period, Al-Tadamun also provided subsidies to the families of

  HAMAS terrorists, including suicide bombers associated with HAMAS, and to terrorists

  associated with other terrorist organizations, such as Palestinian Islamic Jihad and Fatah’s Al-Aqsa

  Martyrs Brigades.

         976.    To effectuate these payments, Al-Tadamun collected information on HAMAS

  “martyrs” to help facilitate payments to their family members.

         977.    For example, the “Martyr File” for HAMAS operative Amjad Abd al-Rahim Abd




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  al-Razaq Tubasi (killed in a clash with the IDF on December 4, 2001) attached as Exhibit N to

  the Second Amended Complaint, includes his father’s bank card from CAB identifying the account

  to which reward payment for Tubasi’s death should be paid.

         978.    Al-Tadamun also provided the Society’s buildings for mourning tents for HAMAS

  suicide terrorists and senior operatives “martyred” by Israel. For example, it set up a mourning

  tent for Hani Mustafa Rawajba, a Qassam Brigades operative who was killed while perpetrating a

  suicide attack. Similarly, it set up mourning tents for senior HAMAS terrorists Salah al-Din

  Darwazah and Yahya Ayyash. HAMAS and the Darwazah family announced on July 26, 2001,

  that the traditional reception for mourners would be held for three days at al-Tadamun’s hall, and

  that on the last day a memorial service would be held there. A similar service took place at al-

  Tadamun after Israel killed Yahya Ayyash, HAMAS’s first master bomb-maker.

         979.    Due to pressure from the United States and other countries following the September

  11, 2001, terrorist attacks, the Palestinian Authority temporarily closed the main offices of Al-

  Tadamun in December 2001.

         980.    Al-Tadamun was declared an unlawful association by the Israeli Minister of

  Defense on February 25, 2002, as an institution belonging to HAMAS, and by the head of the

  IDF’s Central Command on June 30, 2002.

         981.    In a letter dated November 28, 2002, BND informed the German Ministry of the

  Interior in Berlin that it believed the Al-Tadamun Charitable Society was part of HAMAS.

         982.    According to the BND:

                 The association Jam’iyat al-Tadamun / Al-Tadamun Charitable Society is
                 directly linked to the HAMAS sphere of influence. In the winter of
                 2001/2002, the association was banned by the Palestinian Authority based
                 on charges of affiliation with HAMAS. The association’s leadership
                 includes several persons who were deported as HAMAS activists to South
                 Lebanon (Marj al-Zuhur) and who were among the leading HAMAS



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                   members, for example Munir AQD, Nabil BISHAWI, Kamal Abu AISHA,
                   Abd Nassir QADAH, Adli YA’ISH, Salah al-Din MUSLAH and Hamza
                   JABIR.

          983.     The following is a partial list of the prominent HAMAS leaders who served as al-

  Tadamun officials:

                       Sheikh Hamed Suleiman Jaber Khader al-Bitawi: (See above.)

                       Dr. Abd al-Rahim Muhammad Radi al-Hanbali: A member of the
                        Society’s administrative board. Hanbali also served as Chairman of the
                        NZC from 1990 (when he inherited his father’s place on the Committee)
                        until the beginning of 2008. He is a senior political operative in
                        HAMAS.

                       Adli Rif’at Saleh Ya’ish: Ya’ish served in several senior positions in
                        al-Tadamun, including Treasurer and Chairman of the management
                        committee, during the 1990s until his election as Mayor of Nablus in
                        2005, on behalf of the HAMAS list. Similarly, he served as Treasurer
                        of the NZC since 1990. He was one of the Marj al-Zuhur deportees.

                       Jamal Salim Ibrahim Damuni: Salim was a member of al-Tadamun’s
                        administrative board until he and Jamal Mansur, another HAMAS
                        leader, were killed in an IDF operation in July 2001. He was considered
                        one of the most senior HAMAS figures in the northern West Bank, and
                        he often represented HAMAS in delegations in various negotiations
                        with Fatah.59 Salim was a disciple of Abdallah Azzam. Salim served
                        several terms of imprisonment in Israel between 1985 and 1991 and was
                        also among the Marj al-Zuhur deportees.60 He was briefly arrested by
                        the PA police in 1996.61 Salim led a riot in Nablus in 1997 protesting a
                        U.S. Congressional resolution recognizing Jerusalem as Israel’s
                        capital.62
  59
           For example, Salim was interviewed on Voice of Palestine’s October 7, 1995, radio program, “New Day”
  and introduced as a “member of the Islamic Resistance Movement, Hamas.” On December 4, 1995, the Associated
  Press interviewed him and identified him as “a Hamas leader.” The Associated Press again identified him as a
  HAMAS leader in a newswire story on October 8, 1998. The Jordanian weekly Al-Sabil interviewed him on November
  25, 1998, regarding HAMAS’s disagreements with the Palestinian Authority.
  60
          Agence France Presse reported his arrest by the IDF on December 12, 1994, noting his prior deportation to
  Marj al-Zuhur.
  61
          On March 29, 1996, Agence France Presse reported on the arrest.
  62
           On June 21, 1997, the Associated Press reported: “In fiery speeches, leaders condemned both Jewish
  settlement construction and a recent resolution in the U.S. Congress recognizing Jerusalem as Israel’s capital. The
  Palestinians claim the city’s eastern sector, captured by Israel from Jordan in the 1967 Mideast War, as their own



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                       Abdallah Abd al-Rahman Abd al-Fatah Hijawi: Hijawi was
                        secretary of al-Tadamun. He also served as one of the directors of the
                        Quran Memorization Society, operated by the NZC. From the early
                        1990s he was a member of the NZC. He took part in HAMAS public
                        activities (for example, The Martyrs’ Day in Nablus that was initiated
                        by HAMAS and which was also attended by relatives of senior HAMAS
                        members).

                        Nasuh Abas Muhamad Barham “al-Ramini”: Barham was a
                         member of al-Tadamun’s board of directors and a HAMAS candidate
                         for the Palestinian Legislative Council, standing for HAMAS’s Change
                         & Reform Party. He was arrested by the IDF on numerous occasions
                         from 1975 to 1996 and was under house arrest between 1981 and 1982.
                         He was also among the Marj al-Zuhur deportees.

                       Hamza Muhammad Hussein Jaber: Jaber was also active in the al-
                        Tadamun Charitable Society and the Islamic Sports Club of the al-
                        Tadamun Society. He is known as a veteran political HAMAS operative
                        in Nablus, who formerly worked, inter alia, in the HAMAS media office
                        in Nablus. Jaber was among the Marj al-Zuhur deportees.

          984.     The Government of Israel 2004 Report states that:

                   The Society is run by Sheikh Hamed Bitawi, and its executive body is the
                   same eleven activists running the Nablus Zakat Committee, all identified as
                   members of Hamas …. In the past, Jamal Salim, one of the senior Hamas
                   movement members in Judea and Samaria, and who was killed during a
                   targeted prevention operation carried out by IDF forces, was also a member
                   of the executive body. In addition, Hamas activists who were some of the
                   “Marj Al-Zuhur” deportees were also members of the executive body ….

          985.     From the early 1990s through 2004, the al-Tadamun enjoyed financial support

  through its account(s) at CAB from HAMAS fundraising organizations that included the HLF in

  the United States (designated an unlawful association by Israel in 1997 and a terror organization

  in 1998 and as an SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association

  by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal



  future capital. East Jerusalem has 180,000 Palestinian residents. ‘We are sending a message to the American Congress
  that the crowds here are ready to die for Jerusalem,’ said Jamal Salim, a Hamas leader in Nablus. Pictures of Arafat
  and Yehiya Ayyash, a Hamas bomb maker assassinated last year - reportedly by Israel - draped the stage.”


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  (designated an unlawful association by Israel in 1997 and terror organization in 1998 and as an

  SDGT by the U.S. in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful

  association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003),

  the Union of Good (designated an unlawful association by Israel in 2002 and as an SDGT by the

  U.S. in 2008) and many other HAMAS fundraising organizations.

           986.     For example, the Union of Good transferred more than $50,000 to al-Tadamun at

  CAB’s Account No. 321494 in 2002, and it used al-Tadamun as its coordinator for sending funds

  to the northern part of the West Bank.63

           987.     CAB processed multiple funds transfers from Interpal to CAB’s al-Tadamun

  account(s) after Interpal was designated an SDGT.

           988.     In sum, throughout the relevant period, al-Tadamun was closely intertwined with

  HAMAS’s terrorist activities.

                    5.       Jenin Zakat Committee (Lajnat al-Zakaa Jenin)

           989.     The Jenin Zakat Committee (“JZC”) was founded in 1985 but has been controlled

  by prominent HAMAS operatives as early as the first years of the 1990s.

           990.     The JZC’s operations in the areas of health and education, services for children,

  and employment have increased HAMAS’s prestige.

           991.     According to the Voice of Palestine (radio), the Israeli army “stormed” the offices

  of the Jenin Zakat Committee in March 1995 and confiscated many of its files.

           992.     In 1996, the Palestinian Authority temporarily closed down JZC’s offices.

           993.     The JZC was closely intertwined in HAMAS’s violent terrorist activities. In fact,


  63
            Al-Tadamun even served as an intermediary for disbursing Saddam Hussein’s terror rewards payments. A
  letter addressed to the ALF found in the charity’s files explained that two “martyrs” had not yet received their $10,000
  payments and requested that ALF “please take care of this matter,” confirming the significant coordination between
  al-Tadamun and ALF with respect to these types of payments.


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  one of the core functions of the Jenin Zakat Committee during 2000-2004 was to provide payments

  to the families of “martyred” HAMAS operatives and other Palestinian “martyrs.”

         994.    The Jenin Zakat Committee’s central role in supporting HAMAS’s terrorism was

  confirmed by the criminal conviction of Ahmad Salim Ahmad Salatneh by an Israeli military court.

  The verdict noted that from July 2002 until the day of his arrest (September 25, 2005), he was a

  member of the Jenin Zakat Committee, “an illegal association” that “supports and strengthens

  Hamas’s infrastructure.”

         995.    The verdict noted that the Jenin Zakat Committee received funds from:

                 illegal associations which operate outside of Israel, such as Interpal in
                 London, the Al-Aqsa institutions in Belgium, Holland and Germany, the
                 Union of Good, The Holy Land Foundation for Relief and Development in
                 the United States, the eastern region of the International Islamic Relief
                 Organization - Saudi Arabia, the World Assembly of Muslim Youth in
                 Saudi Arabia and [CBSP] in Paris, France. Among other things, the
                 Committee transferred funds to relatives of senior military activists in
                 Hamas and the Palestinian Islamic Jihad organizations, who were killed
                 during confrontations with IDF forces; to relatives of the heads of the
                 military infrastructures of the said organizations; as well as to the families
                 of suicide attackers, who committed suicide attacks in the territory of the
                 State of Israel and caused tens of fatal casualties.

         996.    For example, the JZC made a martyr payment to the CAB account (no. 253062) of

  the family of Imad Faruq Mahmud al-Nashrati, who served as the head of HAMAS’s Qassam

  Brigades in the Jenin area. He was responsible for organizing suicide bombings and other terror

  attacks, including the suicide bombing on an Egged bus at the Meron junction on August 4, 2002,

  in which 9 Israelis were killed and 53 injured. He was also responsible for a long line of shootings

  and bombings targeting Israeli soldiers before he was accidentally killed on November 26, 2002,

  while preparing explosive charges for a terror attack.

         997.    The JZC also made a martyr payment to the CAB account (no. 266353) of the

  family of Shaman Hussein Muhammad Subh, another senior operative of HAMAS’s Qassam



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  Brigades in the Jenin area who was responsible for recruiting terror cells which planned to execute

  many terror attacks and kidnap soldiers. He was killed on December 23, 2002, during a clash with

  Israeli soldiers.

          998.    The JZC also made a martyr payment to the CAB account (no. 243491) of the

  family of Shadi Zakariya Rida al-Tubasi, the HAMAS operative who perpetrated the suicide

  bombing at the “Matza” Restaurant in Haifa on March 31, 2002, killing 15 people.

          999.    The JZC also made a martyr payment to the family of Izz al-Din Shuhail Ahmad

  al-Masri, the HAMAS operative who perpetrated the suicide bombing at the Sbarro pizzeria in

  Jerusalem on August 9, 2001, killing 15 people.

          1000. The JZC was declared to be an unlawful organization by the Israeli Minister of

  Defense on February 25, 2002, as an institution belonging to HAMAS, and by the head of the IDF

  Central Command on June 30, 2002.

          1001. On October 6, 2003, the IDF raided the JZC’s offices.

          1002. The Government of Israel 2004 Report noted that:

                  Documents were found in the offices of the Zakat Committee, which
                  unequivocally prove the support received by the families of Palestinian
                  terrorists from the Committee. One of the documents contains a request for
                  aid for 12 activists, who were dominant figures amongst the terrorists in the
                  Jenin region. This proves and exposes the connection between the Zakat
                  Committee and terrorists and their families. In other documents, members
                  of the Zakat Committee point to those killed (“shahids”), amongst them
                  military Hamas operatives, as being the only ones whose families qualify
                  for aid from the “Friends of the Arab Emirates Society.”

          1003. In February 2004, the IDF confiscated the JZC’s funds from its bank accounts in

  Ramallah, as part of a comprehensive operation against terror financing.




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          1004. The same 2004 Civil Administration report noted that even after the Israeli Army’s

  February 2004 seizure of terrorist funds from CAB, the JZC still used a Jordanian dinar account

  at CAB to fund its operations.

          1005. Until the replacement of the executive management of the committees by the

  Palestinian Authority in late 2007, most of the members of the JZC executive management were

  openly related to HAMAS and were considered HAMAS operatives. Furthermore, the Chairman

  and the Administrative Manager of the JZC, who jointly made all the important decisions regarding

  the JZC throughout the relevant period and served as its de facto managers, were also HAMAS

  members.

          1006. The following is a partial list of the prominent HAMAS leaders who served as JZC

  officials:

                    Sheikh Zayd Mahmud Abd al-Rahim Zakarneh: Zakarneh, who is
                     known as a prominent HAMAS operative in the Jenin area, was among
                     the founding members of the JZC and chaired the Committee from the
                     early 1990s until 2008. In September 2005, Zakarneh was arrested and
                     later convicted of membership in HAMAS.

                    Ahmad Salim Ahmad Salatneh: Salatneh was the Administrative
                     Manager of the JZC from 2002 to 2005 and de facto second-in-
                     command to the Chairman of the Committee. Salatneh was involved in
                     transferring bomb-making components in 1992 and was implicated in a
                     car bomb attack in 1993. He was arrested by the Palestinian Authority
                     and has also been arrested several times by Israel and was convicted
                     twice for terrorist activities by Israel.

                    Jamal Abd al-Salam Asad Abu al-Hija: Al-Hija was an employee of
                     the JZC. He was arrested by the Palestinian security forces several
                     times, starting in 1996. On April 12, 1999, Al-Hija was sentenced by an
                     Israeli military court to 13 months’ imprisonment, after having been
                     convicted of membership in HAMAS. In April 2002, during an IDF
                     campaign in Jenin, he served as commander of HAMAS in the Jenin
                     area. Al-Hija also participated in the planning of several suicide
                     bombings and recruited suicide bombers. He was involved in the
                     planning of a suicide bombing in the Sbarro Restaurant in
                     Jerusalem in August 2001, a suicide bombing of a bus on Mt. Meron


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                         in August 2002, and a suicide bombing in the Matza Restaurant in
                         Haifa in March 2002.64 Al-Hija has been serving nine consecutive life
                         sentences in an Israeli prison since August 2002.

                        Naser Khaled Ibrahim Jarar: Jarar was one of the commanders of
                         HAMAS’s terror apparatus in Jenin. According to Israeli intelligence,
                         he was “active in recruiting terrorist-operatives and in locating and
                         dispatching suicide bombers and planned a series of deadly attacks
                         against Israeli targets.” He was also a founding member of the JZC.
                         Jarar was arrested several times by Israel between 1989-1998.

                        Ibrahim Hasan Ali Jaber: Jaber became a member of the JZC in 1988
                         and worked in its various institutions. He was also a senior HAMAS
                         operative who was responsible for several lethal attacks against Israeli
                         targets. During questioning, he admitted to planning the attacks,
                         transporting explosive devices, providing military training, and
                         possessing weapons.

           1007. From the early 1990s through 2004, the JZC enjoyed financial support through its

  account(s) at CAB from HAMAS fundraising organizations that included HLF in the United States

  (designated an unlawful association by Israel in 1997 and a terror organization in 1998 and as an

  SDGT by the U.S. in 2001) as well as CBSP (designated an unlawful association by Israel in 1997

  and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003), the Al-Aqsa Foundation – Germany (designated an unlawful association by Israel in

  1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), and many other

  HAMAS fundraising organizations.

           1008. For example, in April 2003, CAB processed funds transfers from the Al-Aqsa

  Foundation (designated an SDGT in May 2003) to the CAB account for the JZC.




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            On April 24, 2002, the New York Sun reported that HAMAS’s website quoted “Sheikh Jamal Abu Al-Hija,
  the commander of the Hamas Izz Al-Din Al-Qassam Brigades in the Jenin refugee camp” referring to HAMAS’s
  effort to resist an Israeli army incursion into Jenin: “Some of the youths stood fast, and filled their school bags with
  explosive devices,” the website quoted Abu al-Hija as saying.


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          1009. In July 2003, CAB processed funds transfers from the Al-Aqsa Foundation to the

  CAB account for the JZC, after the Al-Aqsa Foundation was designated an SDGT.

          1010. CAB processed multiple funds transfers from Interpal to CAB’s Jenin Zakat

  Committee’s account(s) after Interpal was designated an SDGT.

          1011. On May 29, 2007, the United States Department of Justice identified the Jenin

  Zakat Committee as an “organization that operates on behalf of, or under the control of, Hamas”

  in the list of unindicted co-conspirators in the criminal case of United States v. Holy Land

  Foundation.

                   6.       Ramallah – Al-Bireh Zakat Committee
                            (Lajnat al-Zakaa Ramallah Wal-Bireh)

          1012. The Ramallah al-Bireh Zakat Committee (“RBZC”) was founded in 1977 but has

  for many years been identified as part of the HAMAS da’wa system in the West Bank.

          1013. The principal da’wa activities of the RBZC are support for orphans, providing

  health services, and running summer camps.

          1014. On March 17, 1996, Palestinian security forces raided several institutions,

  including the RBZC, and confiscated many documents.65

          1015. A Palestinian Authority intelligence document dated May 22, 2000, notes: “The

  monitoring of the Committee [RBZC] that we carried out made it clear that the Committee [RBZC]

  transfers funds from abroad to Hamas.”

          1016. The RBZC was closely intertwined with HAMAS’s violent terrorist activities. The

  Palestinian Authority’s General Intelligence Service noted in an undated report seized by Israeli

  forces in 2002 that the charity “supports the families of imprisoned and deported individuals” and


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           Agence France Presse reported on February 1, 1995, that the IDF raided the committee’s office charging that
  “Moslem fundamentalists, particularly the Islamic Resistance Movement HAMAS, collect money to support the
  armed struggle under the cover of charity, social or educational institutions.”


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  that the “higher echelons of this society and others like it belong to Hamas, and some of them are

  movement [HAMAS] activists.” In fact, the Committee’s expense report for November and

  December 2000 reveals that among the families who benefited from the Committee’s financial aid

  were several senior HAMAS operatives. The expense report also included entries for payments to

  the families of “martyrs.”

          1017. The RBZC was declared an unlawful association by the Israeli Minister of Defense

  on February 25, 2002, as an institution belonging to HAMAS, and by the head of the IDF’s Central

  Command on June 30, 2002.

          1018. In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed the RBZC was part of HAMAS.

          1019. The BND concluded that the “Zakat Committee of Ramallah is closely connected

  with HAMAS and therefore, as part of the social network, it is to be linked to the immediate sphere

  of influence of HAMAS.”

          1020. The following is a partial list of the prominent HAMAS leaders who served as

  RBZC officials:

                       Dr. Husni Muhammad Abd al-Qader Abu Awad: During the relevant
                        period, Awad served as Chairman of the Committee, and according to a
                        Palestinian Authority intelligence report, was identified with HAMAS.

                       Hasan Yusuf Daud al-Khalil (a/k/a Hassan Yousef): Khalil was one
                        of the founders of the RBZC and a member of its Board. He is one of
                        HAMAS’s most senior and prominent leaders in the West Bank.66

  66
            See, e.g., The Economist, December 2, 1995 (describing “Hassan Yousef, a Hamas leader in the West Bank”);
  Associated Press, February 1, 1996 (describing “Hamas spokesman Hassan Yousef”); United Press International,
  February 29, 1996 (“In the West Bank town of Ramallah Hamas spokesman Sheik Hassan Yousef, called on the PA
  to release the arrested activists.”); Deutsche Presse-Agentur (German wire service), August 26, 1999 (“Hassan Yousef,
  a Hamas representative, said the roundup of Hamas activists does not help national Palestinian reconciliation and
  inter-Palestinian dialogue.”); Associated Press, November 22, 1999 (“Hassan Yousef, a Hamas leader in the West
  Bank, said the deportations were a setback, but the movement would survive.”); Reuters News Agency, October 18,
  2000 (“Hassan Yousef, a senior Hamas leader in the West Bank.”); Associated Press, May 18, 2001 (“In Ramallah,
  Hamas preacher Hassan Yousef announced the name [of the suicide bomber] over mosque loudspeakers Friday, after



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                         Khalil was among the Marj al-Zuhur deportees, and he even served as
                         Secretary of the deportees’ camp. He was later arrested by the
                         Palestinian Authority in 1996 and again by Israel on several other
                         occasions.

                        Ibrahim Sa’id Hasan Abu Salem: Abu Salem was one of the founders
                         of the RBZC and served as the Committee’s Director. In 1989 he was
                         arrested by Israel and imprisoned for five months due to his ties with
                         HAMAS. He was among the Marj al-Zuhur deportees and was arrested
                         by the Israeli security forces in 1994 and 1999.

                        Fadel Muhammad Saleh Hamdan: Fadel Hamdan was one of the
                         founders of the RBZC and one of the most prominent HAMAS
                         operatives in the Ramallah region. The FBI’s Watson Memorandum
                         noted that Hamdan was “directly connected with the planning of
                         suicide attacks and the psychological preparation of those who were
                         about to carry out suicide attacks, including the Mahane Yehuda
                         attack in July 1997.” Fadel Hamdan was among the Marj al-Zuhur
                         deportees and was imprisoned in 1996 by the Palestinian Authority.
                         CNN reported on his arrest by the IDF on December 1, 2003 “along with
                         several other Hamas members.”

                        Mahmud Ibrahim Mahmoud Muslih: Mahmud Muslih was director
                         of the RBZC and is considered one of the senior HAMAS operatives in
                         the Ramallah region. During the First Intifada, Muslih was one of
                         HAMAS’s senior leaders in charge of public relations. In 1995 and 1996
                         he served as HAMAS’s official spokesman. He was arrested and
                         imprisoned by Israel in 1997-1998 and again in 2003-2005 on charges



  noon prayers. Yousef said the blast came in retaliation for the killing of five Palestinian policemen by Israeli security
  forces earlier this week.”); USA Today, June 13, 2001 (“Sheik Hassan Yousef, a senior Hamas leader in Ramallah,
  urged Palestinian leader Yasser Arafat on Tuesday to reject the U.S. plan, warning that ‘the street will explode.’ He
  said Hamas attacks, including suicide bombings like the one June 1, at a Tel Aviv disco that killed 21 people, would
  continue.”); Sunday Telegraph (UK) August 5, 2001 (“Hassan Yousef, the once highly visible Hamas political chief
  in Ramallah, is also among those who have gone to ground.”); The Atlanta Journal-Constitution, October 8, 2001
  (“‘What America is doing is a terrorism against Islam and Muslims,’ said Hassan Yousef, spokesman for Hamas, a
  militant group that has claimed responsibility for a series of suicide bombings against Israelis.”); Chicago Tribune,
  December 8, 2001 (“‘We in the Hamas movement, we read the situation locally and regionally and globally. We
  understand and see the changes and we are moving in this frame,’ explained Hassan Yousef, a leader in the West
  Bank.”); Newsweek, December 31, 2001 (“‘We will fight against Israel inside the occupied territories,’ Sheik Hassan
  Yousef, a Hamas spokesman in Ramallah, told NEWSWEEK. ‘We have the right to defend ourselves in our land.’”);
  The Globe and Mail (Canada), January 10, 2002 (“A Hamas spokesman, Hassan Yousef, said yesterday that it was
  resuming its attacks because there was never a truce on the Israeli side.”); Christian Science Monitor, March 29, 2002
  (“‘We are going on with this,’ says Sheikh Hassan Yousef, the West Bank spokesman for the Islamic Resistance
  Movement, or Hamas, the organization responsible for the Netanya bombing, referring to attacks on Israelis.”); Los
  Angeles Times, September 1, 2002 (“Israeli forces Saturday also captured the senior Hamas political figure in the West
  Bank, Sheik Hassan Yousef, who was taken from his hide-out in the city of Ramallah. Israel accuses him of inciting
  Palestinians to attack Israelis, but Hamas said Yousef is just a politician, and vowed revenge.”).


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                       of membership and activity in HAMAS. Muslih was identified in 2003
                       by Khalid Mishal as one of the founders of HAMAS in Ramallah.

                      Omar Hamdan: Omar Hamdan, was a member of the RBZC. He is a
                       prominent senior HAMAS operative in Ramallah. He also served as
                       director and chairman of the al-Islah Charitable Society in Ramallah,
                       which was also a central HAMAS-controlled institution in Ramallah.
                       Hamdan served long periods of imprisonment in Israeli jails for his
                       HAMAS-related activities.

         1021. The RBZC’s accountant during this period, Raeq Sakeb Ibrahim Omar, previously

  worked at CAB’s branch in Ramallah.

         1022. Omar was himself a HAMAS operative and was among the Marj al-Zuhur

  deportees in 1992. Upon his repatriation from Lebanon, he joined CAB and eventually became a

  deputy branch manager.

         1023. From the early 1990s through 2004, the Ramallah al-Bireh Zakat Committee

  received funding through its CAB account(s) from HAMAS fundraising organizations such as

  HLF in the United States (after it was designated an unlawful association by Israel in 1997 and

  terror organization in 1998) as well as CBSP (designated an unlawful association by Israel in 1997

  and terror organization in 1998 and as an SDGT by the U.S. in 2003), Interpal (designated an

  unlawful association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S.

  in 2003), WAMY (designated an unlawful association by Israel in 2002), the Al-Aqsa Foundation

  – Germany (designated an unlawful association by Israel in 1997 and terror organization in 1998

  and as an SDGT by the U.S. in 2003), the Union of Good (designated an unlawful association by

  Israel in 2002 and as an SDGT by the U.S. in 2008) and many other HAMAS fundraising

  organizations.

         1024. On May 29, 2007, the United States Department of Justice named the Ramallah al-

  Bireh Zakat Committee as an “organization that operates on behalf of, or under the control of,




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  HAMAS” in the list of unindicted co-conspirators in the criminal case of United States v. Holy

  Land Foundation.

                    7.      Muslim Youth Association – Hebron

          1025. The Muslim Youth Association – Hebron (“MYAH”) was established in Hebron in

  1985. For many years, it has been identified as part of the HAMAS da’wa system in the West

  Bank.

          1026. The principal da’wa activities of the MYAH are support for the education

  (particularly Islamic education) of poor students through financial support to kindergartens,

  schools, and libraries.

          1027. During the relevant period, the MYAH served as a “breeding ground” for the

  recruitment of HAMAS terrorists.

          1028. In March 1996, the Israeli Army ordered the temporary closure of MYAH.

          1029. A March 10, 1996, article in the Atlanta Journal and Constitution reporting on the

  closure stated:

                    [C]losing Hamas’ loose network of institutions is just what Israel and the
                    Palestinian Authority set out to do in the past week. Their forces shut dozens
                    of schools, mosques and recreation centers in poor neighborhoods
                    throughout the West Bank and the Gaza Strip.

                    One such spot in Hebron was the Muslim Youth Association, a meeting
                    hall on the fifth floor of a shabby office building that served as a type of
                    Boys Club for nearly 1,000 teenagers. Israeli troops surrounded the building
                    late Wednesday night, emptied it and welded shut the heavy steel doors to
                    the association.

                    To Israeli authorities, the club was a breeding ground for terrorists. The
                    evidence of strident ideology was scrawled in Arabic on the hallway walls:
                    “Hamas is everywhere,” and “Ayyash is the symbol of courage” - a
                    reference to master Hamas bombmaker Yehiya Ayyash, whose
                    assassination in January, allegedly by Israeli agents, led to the revenge
                    bomb attacks. (Emphasis added.)




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         1030. Moreover, the Government of Israel 2004 Report notes that during searches carried

  out at the offices of the Muslim Youth Association, “incitement [video] tapes were unearthed that

  document the closing ceremonies of educational institutions and scout camps during which the

  children glorify HAMAS terrorists, with the ‘Engineer,’ Yihya Ayash, at the top of the list, and

  also calling out cries in favor of the ‘Izz Al-Din Al-Qassam’ Brigades, promising the coming of

  thousands [of holy warriors] in the wake of those killed, carrying toy R.P.G. [rocket propelled

  grenade] launchers on their shoulders, staging the murder of an ISA operative, operating weapons

  and calling out taunts against the Zionists and for the return of Jerusalem, Beit She’an, Acre, Jaffa

  and Haifa to the Palestinians.”

         1031. In December 2001, the Palestinian Authority temporarily closed MYAH and

  imposed limitations on the Association’s bank accounts due to pressure following the September

  11, 2001, attacks in the United States. The closures were reported on one of HAMAS’s official

  websites contemporaneously.

         1032. The MYAH was declared an unlawful association by the Israeli Minister of Defense

  on February 25, 2002, as an institution belonging to HAMAS, and by the head of the IDF’s Central

  Command on June 30, 2002.

         1033. In March 2003, the executive offices of MYAH were shut down and sealed off

  (under an order from the head of the IDF’s Central Command).

         1034. The following is a partial list of the prominent HAMAS leaders who served as

  MYAH officials:

                    Mustafa Kamil Khalil Shawar: During the relevant period, Shawar
                     served as a member of the MYAH board as well as the board of ICSH.
                     Shawar was among the Marj al-Zuhur deportees. In 2003, Khalid
                     Mishal identified him as one of the founders of HAMAS in Hebron. He
                     was arrested by the ISA in August 2002 and released in March 2003.




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                    Azam Nu’man abd al-Rahman Salhab al-Tamimi: Salhab was a
                     member of the MYAH board as well as the ICSH administrative Board.
                     He is also a senior operative in HAMAS and was among the Marj al-
                     Zuhur deportees. In 2003, Khalid Mishal identified him as one of the
                     founders of HAMAS in Hebron.

                    Hatem Rashid Qafisha: Qafisha served as the Vice President of
                     MYAH. He was arrested on multiple occasions by Israel and the PA and
                     was among the Marj al-Zuhur deportees. The Government of Israel
                     2004 Report refers to him as someone who is “known as a Hamas
                     activist.”

                    Malek abd al-Salam Misbah Nasser al-Din: Nasser al-Din was an
                     administrator at MYAH and played for its soccer team. He was also
                     among the Marj al-Zuhur deportees and a commander of the Qassam
                     Brigades.

         1035. From the early 1990s through 2004, MYAH enjoyed financial support through its

  CAB account(s) from HAMAS fundraising organizations that included HLF in the United States

  (designated an unlawful association by Israel in 1997 and a terror organization in 1998 and as an

  SDGT by the U.S. in 2001) as well as Interpal (designated an unlawful association by Israel in

  1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), the Al-Aqsa Foundation

  – Germany (designated an unlawful association by Israel in 1997 and terror organization in 1998

  and as an SDGT by the U.S. in 2003) and many other HAMAS fundraising organizations.

         1036. HLF, for example, funded “martyrs” through MYAH with one master list of

  payments made by MYAH divided into six columns: the name of the “martyr” (a Hamas operative

  who is killed), the “martyr’s” beneficiary, the beneficiary’s identity number, his/her relationship

  to the “martyr,” the amount paid, and the signature of a MYAH official. The list contains the names

  of at least three HAMAS operatives:

                Iyad Hasin Abdal Aziz Hadid – involved in the murder of the Lapid family on
                 December 6, 1993; then killed by the IDF on March 24, 1994.

                Marwan Muhamad Halil Abu Ramila – involved in the attack of Ephraim Zarviv in
                 November 1993; then killed by the IDF on March 24, 1994.


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                 Khatem Kader Ya’akov Makhtaseb – a Qassam Brigades operative involved in
                  shooting IDF personnel.

          1037. In sum, throughout the relevant period, MYAH was closely intertwined with

  HAMAS’s terrorist activities.

          1038. On May 29, 2007, the United States Department of Justice named the MYAH as an

  “organization that operates on behalf of, or under the control of, HAMAS” in the list of unindicted

  co-conspirators in the criminal case of United States v. Holy Land Foundation.

                  8.       Beit Fajar Zakat Committee

          1039. The Beit Fajar Zakat Committee (“BFZC”) was founded in 1990 and was managed

  during the relevant period by Dr. Issa Thawabteh, a HAMAS operative.

          1040. Beit Fajar is a small town south of Bethlehem.

          1041. For many years, it has been identified as part of the HAMAS da’wa system in the

  West Bank.

          1042. The principal da’wa activities of the zakat committee have been to support orphans

  and the needy in the Bethlehem region and to operate kindergartens on HAMAS’s behalf.67

          1043. According to Palestinian security officials, the BFZC opened an office in

  Bethlehem “as a result of intense pressure exerted by Dr. Issa Thawabteh and because Dr. Issa

  Thawabteh plays a central role in bringing [in] support funds to Hamas institutions in Bethlehem.”

          1044. During the relevant period, BFZC received funding from the Al-Aqsa Foundation

  in Germany, Interpal, WAMY and a variety of other Union of Good institutions.

          1045. The BFZC received and distributed funds via at least two accounts at CAB

  throughout the relevant period.


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            The Palestinian Preventive Security Forces identified the kindergarten as being connected with HAMAS
  activity and under the control of HAMAS operative Issa Thawabteh.


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          1046. In a June 20, 2001 letter, the Palestinian Authority’s Preventive Security Service

  identified the BFZC as a prominent HAMAS institution, whose members were also associated

  with the Qassam Brigades.68

          1047. On January 6, 2002, the Palestinian Monetary Authority instructed the Palestinian

  banks to report on the sums of money held in the BFZC’s accounts and demanded that they consult

  with it before any withdrawal of money from those accounts.

          1048. In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed the BFZC was part of HAMAS.

          1049. According to the BND:

                   The Zakat Committee of Beit Fajar is under the control of HAMAS and
                   therefore, being part of the social network, is directly associated with
                   HAMAS. The members of the Zakat committee’s leadership: Is Muhammad
                   Khalil THAWABTA, Kamal Said Rashid DIRIYA, Muhammad Jum’s Aqil
                   THAWABTA and Husain Musa Jum’a DIRIYA are members of HAMAS.

          1050. The Israeli Army carried out searches of the offices of the BFZC on April 25, 2002,

  and November 18, 2004.

          1051. The committee was declared an unlawful association in the State of Israel by the

  Israeli Minister of Defense on February 28, 2005, and was outlawed by the head of the IDF’s

  Central Command on the same date.

          1052. The following is a partial list of the prominent HAMAS leaders who served on the

  board of or the management of the BFZC:

                      Dr. Issa Muhammad Khalil Thawabteh: Thawabteh was Chairman
                       of the Beit Fajar Zakat Committee.

                      Jaber Ibrahim Jaber Diriyeh: Diriyeh is a publicly known HAMAS
                       operative who served as a member of the board of BFZC until he was

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           This was later confirmed by HAMAS, which published an article in its daily newspaper in 2007 complaining
  about the Palestinian Authority’s measures against zakat committees controlled by HAMAS.


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                      forced out in 2007 as part of the Palestinian Authority’s 2007 purge of
                      HAMAS-controlled committees in the West Bank.

                     Muhammad Juma Aqel Thawabteh

                     Hussein Musa Juma’a Diriya

                     Sheikh Kamel Saad Rashid Diriyeh

                     Amin al-Fatah Ali Shamarkhah.

          1053. According to an Israeli government assessment, all six men are “HAMAS

  activists.”

          1054. During the relevant period, the BFZC received funding through its CAB account(s)

  from the Al-Aqsa Foundation (designated an unlawful association by Israel in 1997 and terror

  organization in 1998 and as an SDGT by the U.S. in 2003), CBSP (designated an unlawful

  association by Israel in 1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003),

  Interpal (designated an unlawful association by Israel in 1997 and terror organization in 1998 and

  as an SDGT by the U.S. in 2003), the Union of Good (designated an unlawful association in 2002

  by Israel and an SDGT in 2008 by the U.S.) and many other HAMAS fundraising organizations.

          1055. In sum, throughout the relevant period, BFZC was closely intertwined with

  HAMAS’s terrorist activities.

          1056. CAB processed multiple funds transfers from Interpal to CAB’s BFZC account(s)

  after Interpal was designated an SDGT.

                 9.      Al-Islah Charitable Society in Ramallah & Al-Bireh

          1057. The Al-Islah Charitable Society in Ramallah & Al-Bireh (“Al-Islah”) was one of

  the most important components in the da’wa infrastructure of HAMAS in the West Bank, where

  it was considered the pivotal civilian institution of HAMAS.



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         1058. It was created by HAMAS at the direction of HAMAS leaders for the purpose of

  transferring the organization’s funds to HAMAS prisoners and coordinating HAMAS’s da’wa

  activities in the Ramallah area. It was also tasked with providing scholarships to students and

  subsidizing and operating summer camps that encouraged young people to take part in jihad.

         1059. Al-Islah was closely intertwined with HAMAS’s violent terrorist activities, not

  only because it was responsible for recommending grants for, and transferring funds to, HAMAS

  prisoners, as well as the families of terrorists whose homes were destroyed, and who were injured

  or “martyrs,” but also because it provided employment and operational cover to senior HAMAS

  operatives deeply involved in the organization’s terror activities, including recruiting suicide

  bombers, planning attacks, and harboring operatives.

         1060. In fact, HAMAS’s senior da’wa leadership in the Ramallah region was prominently

  represented on Al-Islah’s administrative board and they were frequently replaced because several

  of them were arrested and convicted by Israel for their HAMAS activities.

         1061. Among the members of Al-Islah’s administrative board were three Marj al-Zuhur

  deportees.

         1062. The following is a partial list of the prominent HAMAS leaders who served on Al-

  Islah’s administrative board or as senior employees:

                      Jamal Muhammad Farah al-Tawil (“Jamal Tawil”): Al-Tawil is one
                      of the Marj al-Zuhur deportees and a member of the Palestine Religious
                      Scholars Association. He founded Al-Islah’s Ramallah branch at the
                      outbreak of the Second Intifada. At the beginning of 2002, al-Tawil was
                      arrested by IDF forces69 and was sentenced to three years in prison for
                      transferring funds (through Al-Islah) to terrorists, the families of
                      “martyrs,” HAMAS prisoners, and members of the Qassam Brigades.
                      Al-Tawil was identified in 2003 by Khalid Mashaal as one of the
                      founders of HAMAS in Ramallah. He served approximately six years
                      in Israeli prisons, including from 2002 to February 2005. Tawil was
                      involved in planning several suicide attacks, including the car bomb

  69
         His arrest was reported by the Associated Press on April 15, 2002, identifying him as a leader of HAMAS.


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                  attack in Jerusalem’s Ben Yehuda pedestrian mall in December 2001,
                  an attack implicated in this case. He also served as head of a HAMAS
                  prisoners committee. In 2005, al-Tawil was the successful HAMAS
                  candidate for Mayor of the town of al-Bireh.

                 Omar Muhammad Ahmad Hamdan: Hamdan served as Chairman of
                  Al-Islah from al-Tawil’s arrest in 2002 until May 2005, when the
                  Society’s name was changed. Hamdan also served in senior positions in
                  the RBZC. Hamdan was imprisoned and served two years in an Israeli
                  jail for his involvement in HAMAS terror activities.

                 Muhammad Subhi Yasin Samaha: Samaha served as Chairman of Al-
                  Islah from May 2005, when the Society changed its name from Al-Islah
                  to al-Farah and was a member of the Society’s Ramallah branch from
                  its inception in the year 2000. Samaha is a known senior HAMAS
                  operative in the Ramallah region. Since 2005 he has served as Secretary
                  of the RBZC, which is also controlled by HAMAS.

                 Majed Ismail Mahmud Abu Khadija: Abu Khadija was a member of
                  Al-Islah, but upon the Society’s reorganization and change of name in
                  May 2005, he stopped serving on its administrative board. Abu Khadija
                  was one of the Marj al-Zuhur deportees.

                 Bajes Khalil Mustafa Nakhla: Nakhla was a member of the
                  administrative board of Al-Islah until the Society’s reorganization and
                  change of name in May 2005. Nakhla was among the Marj al-Zuhur
                  deportees and is considered one of the senior HAMAS figures in
                  Ramallah. He was arrested several times by the IDF.

                 Fadel Muhammad Saleh Hamdan: Fadel Hamdan was among the
                  Marj al-Zuhur deportees and was imprisoned in 1996 by the Palestinian
                  Authority. He was also one of the founders of the RBZC and one of the
                  most prominent HAMAS operatives in the Ramallah region. He served
                  as a member of al-Islah’s administrative board. The FBI has cited
                  documents seized in the offices of the Islamic Relief Agency which
                  noted that Hamdan was “directly connected with the planning of suicide
                  attacks and the psychological preparation of those who were about to
                  carry out suicide attacks, including the Mahane Yehuda attack in July
                  1997.”

                 Falah Taher Abdallah Nada: Falah Nada was a senior employee of
                  Al-Islah (from June 2001 until his arrest by Israel on January 21, 2003)
                  where he was responsible for the transfer of funds to families of
                  HAMAS prisoners jailed in Israel and to HAMAS operatives who had
                  been injured. Falah Nada was convicted for his membership in HAMAS
                  and for recruiting a senior member of the Qassam Brigades, Muhamad


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                  Arman, who guided the so called “Silwan Cell,” which was responsible
                  for a series of terrorist acts and murders in which dozens of Israeli
                  civilians died and hundreds of others were injured. (Arman was later
                  arrested, convicted, and sentenced to 36 life sentences.) Nada instructed
                  three female couriers to transfer, on his behalf, letters, secret notes,
                  money, and documents to a number of people including Jamal Al-Tawil,
                  head and founder of the al-Islah society, and Omar Hamdan, also a
                  senior HAMAS member in Ramallah who served as chairman of Al-
                  Islah since the arrest of Al-Tawil in 2002. Within the scope of his
                  employment at al-Islah, Nada was involved in recruiting suicide
                  bombers and hiding wanted men. Based on these activities, Nada
                  received an 81-month prison term.

        1063. Jamal Tawil has long been known as a prominent HAMAS leader.

        1064. In 1998 he was identified by the Dutch daily newspaper NRC Handelsblad as a

  HAMAS leader in Ramallah.

        1065. On August 18, 2000, Agence France Press reported:

              The Palestinian militant group Hamas threatened Friday to strike violently
              at Israel if any of Jerusalem’s Islamic holy sites are damaged.

              Hamas, or the Islamic Resistance Movement, is opposed to any dialogue
              with Israel and has attacked Israelis in the past, especially after an extremist
              Jew killed 29 Muslims at the Cave of the Patriarchs in Hebron in 1994.

              “Israel should remember the suicide attacks led by Hamas after the
              massacre,” Hamas leader Jamal Tawil told movement members
              assembled in Ramallah. (Emphasis added.)

        1066. On October 28, 2000, the Baltimore Sun reported from Ramallah:

              … cameramen encircled Marwan Barghouti, the West Bank leader of
              Yasser Arafat’s Fatah faction, one of the key organizers of the
              demonstrations.

              “This is a message for everybody,” Barghouti said, repeating his refrain,
              “that the intifada will go on until the Israeli occupation ends.”

              Then a tap on a shoulder: Would you like to interview Hamas, a man asked.
              Standing placidly in suit and tie was Jamal Tawil.

              “In the name of my God, we are going on in this intifada until we get our
              objectives,” said Tawil, the Ramallah representative of Hamas, a militant
              Islamic group that has used violence to try to stop the peace process.


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                 “Hamas has its own strategy. We will have to defend ourselves using any
                 means.” (Emphasis added.)

         1067. On July 21, 2001, the Associated Press reported:

                 At a funeral Saturday in the West Bank town of Ramallah, a few hundred
                 people mourned Dia Tawil, a Hamas bomber who injured two dozen Israelis
                 by blowing himself up March 27 near an Israeli bus in Jerusalem. Israeli
                 authorities released his remains Friday.

                 Jamal Tawil, Dia’s uncle and the Hamas spokesman in the town, said
                 Israeli cities including Tel Aviv and Beersheeva should be “open for our
                 fighters” to carry out attacks. He vowed more suicide bombers would
                 “respond for all the Israeli escalation.” (Emphasis added.)

         1068. Al-Islah’s offices were (temporarily) closed by the Palestinian Authority on

  December 15, 2001, during one of its periodic crackdowns on HAMAS.

         1069. On December 16, 2001, Ibrahim Al-Masri, director of the Palestinian Authority’s

  General Intelligence Service in the Ramallah - Al-Bireh District, sent a letter to the director of the

  Palestinian Authority’s General Intelligence Service’s Northern Districts confirming Al-Islah’s

  closure due to its identification as a “Hamas-affiliated” institution.

         1070. Al-Islah was declared an unlawful association by the Israeli Minister of Defense on

  February 25, 2002, as an institution belonging to HAMAS, and by the head of the IDF’s Central

  Command on June 30, 2002.

         1071. In a letter dated November 28, 2002, the BND informed the German Ministry of

  the Interior in Berlin that it believed the Al-Islah was part of HAMAS. According to the BND:

                 Al-Islah Charitable Society is directly associated with HAMAS. President
                 of the association, until he was arrested by Israel, was Jamal ALTAWIL,
                 known as a leading HAMAS member. In the winter of 2001/2002, the
                 association was banned by the Palestinian Authority upon accusations of
                 HAMAS membership. On the premises of the “Welfare Committee” of the
                 association’s branch in Ramallah was found a list of HAMAS activists some
                 of whom died as “martyrs” and for whose families requests were made for
                 financial support from donations received by the association.




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         1072. According to Voice of Palestine (radio) on July 7, 2003, the Israeli army “stormed”

  the headquarters of Al-Islah in Ramallah.

         1073. As Dr. Levitt wrote in HAMAS: Politics, Charity, and Terrorism in the Service of

  Jihad: After his arrest by Israel, Jamal Tawil “told his interrogators that in March 1998 Abu Ahmad

  [a HAMAS leader based in Lebanon] began to wire monthly bank transfers of $12,000 for Hamas

  activities—first into Tawil’s personal account and later into the local account of the al-Islah

  Charitable Society—the Hamas charity Tawil was instructed to found in Ramallah.”

         1074. Dr. Levitt also described an expense report recording Al-Islah’s spending over a

  41-day period in November and December 2000. Over the course of these 41 days, “the charity

  dispersed $4,990 in financial aid to the families of martyrs (including suicide bombers), $16,257

  directly to prisoners, $17,275 for prisoner’s families, and $3,833 for wounded militants. The

  charity even spent money on gifts to families commemorating their suicide bomber relatives;

  papers seized from the al-Islah charity show a series of small gifts—$100 each—presented to the

  families in celebration of the three-day Eid al-Fitr holiday in 2001. Spending supporting terrorists

  and their families represented 46 percent of al-Islah’s spending over that time period, compared to

  43 percent ($39,537) on social welfare.”

         1075. During the relevant period, Al-Islah received funding through its CAB accounts(s)

  from CBSP (designated an unlawful association by Israel in 1997 and terror organization in 1998

  and as an SDGT by the U.S. in 2003), Interpal (designated an unlawful association by Israel in

  1997 and terror organization in 1998 and as an SDGT by the U.S. in 2003), the Al-Aqsa Foundation

  (designated an unlawful association by Israel in 1997 and terror organization in 1998 and as an

  SDGT by the U.S. in 2003), WAMY (designated an unlawful association in 2002 by Israel) and

  many other HAMAS fundraising organizations. In some cases, it received funding from SDGTs




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  even after those entities were designated by the United States.

          1076. Al-Islah continued to receive funding from Interpal even after the latter was

  designated in August 2003.

                 10.     Qalqilya Zakat Committee

          1077. Qalqilya Zakat Committee (“QZC”) was established in 1968 and is considered the

  strongest and most dominant da’wa institution in the Qalqilya region.

          1078. According to the FBI’s Watson Memorandum, reporting by the Israeli government

  “indicates that this zakat committee exists to support HAMAS activity. All four identified

  members of this committee have been identified by the GOI as HAMAS members.”

          1079. Ibrahim Dawud (a/k/a Bilal Hanoun) served as chairman of the QZC during the

  relevant period. The FBI described him as “Imam of the local Mosque, as well as a HAMAS

  activist.”

          1080. Sheikh Riyad Rashid Walwil was a founder, member, and vice chairman of the

  QZC. The FBI noted that Walil “was detained by [Israel] in August 1995 for interview and

  admitted membership in the HAMAS. He was held under administrative arrest until July 1996,

  due to his HAMAS activities.” The Qassam Brigades later acknowledged him as one of HAMAS’s

  prominent leaders.

          1081. The Government of Israel 2004 Report noted that “Members of the Committee’s

  Board of Directors – [are] all publicly identified as Hamas members.”

          1082. The QZC assisted the families of those killed in the Intifada and families of suicide

  bombers and prisoners, including assisting in the rebuilding of homes of terrorists that had been

  demolished.




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         1083. In sum, throughout the relevant period, the Qalqilya Zakat Committee was closely

  intertwined with HAMAS’s terrorist activities.

         1084. On May 29, 2007, the United States Department of Justice named the Qalqilya

  Zakat Committee as an “organization that operates on behalf of, or under the control of, HAMAS”

  in the list of unindicted co-conspirators in the criminal case of United States v. Holy Land

  Foundation.

         1085. During the relevant period, the Qalqilya Zakat Committee received funding through

  its CAB accounts(s) from HLF (designated an unlawful association in 1997 and a terror

  organization in 1998 by Israel, and an SDGT in 2001 by the U.S.), the Union of Good (designated

  an unlawful association in 2002 by Israel, and an SDGT in 2008 by the U.S.), and many other

  HAMAS fundraising organizations.

                11.     Quran and Sunnah Society – Qalqilya

         1086. The Quran and Sunnah Society – Qalqilya (“QSS”) was founded in 1996 by a

  prominent local HAMAS leader, Ibrahim Dawud (a/k/a Bilal Hanoun).

         1087. During the relevant period, both its treasurer (and later chairman), Khalil Khader

  Mustafa Abu Khader, and its vice-chairman, Kheir al-Din Awda Farah Dik, were HAMAS

  operatives.

         1088. The QSS operated two schools and a kindergarten during the relevant period, all

  called “The Martyrs of al-Aqsa.” The Society provided scholarships and subsidies to poorer

  students.

         1089. It also provided financial support to Palestinian terrorists in Israeli prisons.

         1090. During the relevant period, the QSS received funding through its CAB account(s)

  from the Al-Aqsa Foundation and Interpal (both designated unlawful associations by in 1997 and




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  terror organizations in 1998 by Israel, and as SDGTs in 2003 by the U.S.) WAMY (designated an

  unlawful association in 2002 by Israel), and many other HAMAS fundraising organizations.

            1091. In sum, throughout the relevant period, QSS was closely intertwined with

  HAMAS’s terrorist activities.

                   12.    Al-Ihsan Charitable Society – Hebron

            1092. Al-Ihsan Charitable Society - Hebron (“Al-Ihsan”) was established in 1983. It

  specialized in taking care of the disabled and helped HAMAS develop its reputation for helping

  the poor, downtrodden, and unfortunate members of Palestinian society.

            1093. Al-Ihsan is closely related to HAMAS’s preeminent institution in Hebron, the

  ICSH, and many of Al-Ihsan’s and ICSH’s board members and employees overlap.

            1094. For example, Muhammad Eid Misk, one of HAMAS’s founders in Hebron, sat on

  the boards of both institutions, as did Azam Nu’man Abd al-Rahman Salhab al-Tamimi (discussed

  above).

            1095. The following is a partial list of the prominent HAMAS leaders who served on the

  board of Al-Ihsan:

                  Nizar Ramadan: Ramadan served as a board member and treasurer of the
                   Al-Ihsan (Hebron) for 15 years. From 1984-1986, he was the Chairman of
                   al-Kutla al-Islamiya at Hebron University and was one of the Marj al-Zuhur
                   deportees. He was arrested in 2002. He was later elected to the Palestinian
                   Legislative Council as part of HAMAS’s Change and Reform Party.

                  Muhammad Eid Misk: Misk is one of HAMAS’s founders in Hebron and
                   served as is a member of the board of directors of Al-Ihsan in Hebron. He
                   was also an employee of HLF and arrested by Israel and detained twice for
                   several months. In 2003, Khalid Mishal publicly identified him as one of
                   the founders of HAMAS in Hebron.

                  Azam Nu’man abd al-Rahman Salhab al-Tamimi: Salhab served as a
                   board member of Al-Ihsan in addition to serving as a member of the ICSH
                   administrative Board and Deputy Chairman and as a member of the
                   Palestine Religious Scholars Association. He is also a senior operative in


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                 HAMAS and was among the Marj al-Zuhur deportees. He was arrested by
                 the IDF in 2002. In 2003, Khalid Mishal publicly identified him as one of
                 the founders of HAMAS in Hebron.

         1096. During the relevant period, Al-Ihsan received funding through its CAB account(s)

  from HLF (designated an unlawful association in 1997 and terror organization in 1998 by Israel,

  and an SDGT in 2001 by the U.S.) Interpal and the Al-Aqsa Foundation (both designated unlawful

  associations in 1997 and terror organizations in 1998 by Israel, and as SDGTs in 2003 by the U.S.),

  and many other HAMAS fundraising organizations.

  III.   CAB KNOWINGLY AIDED AND ABETTED HAMAS

         1097. CAB has had a long history of facilitating the flow of money used to finance

  terrorism in the Palestinian Territories.

         1098. As far back as the First Intifada, the violent uprising by the Palestinians against

  Israeli rule on the West Bank and Gaza Strip that took place between 1987 and 1993, Israeli

  officials warned CAB that it was being used as a conduit to finance the uprising and that it might

  face closures by the Israeli government.

         1099. Specifically, Medhat Kanaan, then-Director of CAB’s operations in the West Bank

  and CAB’s then-Chairman Jawdat Sha’sh’a met with senior Israeli officials on August 8, 1988,

  who warned them that CAB “was a conduit for funds financing the Intifada.”

         1100. This pattern continued during the Second Intifada (2000-2004) when CAB, once

  again, served as a major conduit for the financing of HAMAS.

         1101. A White House Bulletin dated June 24, 2002, noted that “in Jenin, Israel destroyed

  a building housing a branch of the Cairo-Amman Bank. Israeli officials said the building housed

  a bomb laboratory.” Agence France Presse reported on the Israeli demolition action that same day.




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          1102. CAB provided millions of dollars to HAMAS during the relevant period in a variety

  of ways, including knowingly:

                      Maintaining accounts and/or facilitating payments for prominent
                       HAMAS leaders, including the commanders of HAMAS’s Qassam
                       Brigades;

                      Maintaining accounts for HAMAS organizations in the West Bank and
                       Gaza Strip;

                      Maintaining accounts and/or providing financial services for Specially
                       Designated Global Terrorists affiliated with or belonging to HAMAS;
                       and

                      Facilitating rewards payment to the families of HAMAS suicide
                       bombers and other “martyrs,” and HAMAS prisoners.

  IV.     CAB’S KNOW-YOUR-CUSTOMER OBLIGATIONS

          1103. Since at least 2000, CAB’s principal regulator, Jordan’s central bank, has instructed

  financial institutions to be on the lookout for customers engaging in “dubious” transfers, and to be

  particularly careful when handling foreign currency transactions, especially if the amounts

  involved are large or if the source of funds is in question.

          1104. In October 2001, the inter-governmental Financial Action Task Force (“FATF”)

  issued eight Special Recommendations on steps countries should take to address terrorist

  financing. These included, inter alia, strengthening customer identification measures on

  international and domestic wire transfers and ensuring that entities, in particular non-profit

  organizations (“NPOs”), cannot be misused to finance terrorism.70




  70
           The Central Bank of Jordan, which regulates foreign exchange transactions, issued anti-money laundering
  regulations designed to meet FATF’s 40 Recommendations on Money Laundering in August 2001.



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          1105. Similarly, in October 2001, the Basel Committee on Banking Supervision issued

  its report on “Customer due diligence for banks:”71

                   Certain key elements should be included by banks in the design of KYC
                   programmes. Such essential elements should start from the banks’ risk
                   management and control procedures and should include (1) customer
                   acceptance policy, (2) customer identification, (3) on-going monitoring of
                   high risk accounts and (4) risk management. Banks should not only
                   establish the identity of their customers, but should also monitor account
                   activity to determine those transactions that do not conform with the normal
                   or expected transactions for that customer or type of account.

          1106. The Basel Committee also provided additional guidelines for higher risk accounts:

                   There should be intensified monitoring for higher risk accounts. Every bank
                   should set key indicators for such accounts, taking note of the background
                   of the customer, such as the country of origin and source of funds, the type
                   of transactions involved, and other risk factors. For higher risk accounts:

                          Banks should ensure that they have adequate management
                           information systems to provide managers and compliance officers
                           with timely information needed to identify, analyse and effectively
                           monitor higher risk customer accounts. The types of reports that
                           may be needed include reports of missing account opening
                           documentation, transactions made through a customer account that
                           are unusual, and aggregations of a customer’s total relationship with
                           the bank.

                          Senior management in charge of private banking business should
                           know the personal circumstances of the bank’s high risk customers
                           and be alert to sources of third party information. Significant
                           transactions by these customers should be approved by a senior
                           manager. (Emphasis added.)
          1107. As a financial institution with correspondent banking relationships, including in the

  United States (a member of the Basel Committee), CAB was aware of international banking

  standards, including the above-referenced Know-Your-Customer and enhanced due diligence

  guidelines.


  71
           The Basel Committee, headquartered at the Bank for International Settlements in Basel (a consortium of
  central banks), was established to enhance financial stability by improving the quality of banking supervision
  worldwide. To this end, it issued the industry-standard and highly influential “Basel Accords” policy
  recommendations.


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          1108. Accordingly, at all relevant times, including during the relevant period, CAB had

  actual knowledge that terrorist organizations such as HAMAS require access to funds, including

  wire transfers and untraceable, portable cash, and other banking services in order to operate and in

  order to plan, prepare for, and carry out terrorist attacks, and that providing these services to

  HAMAS-affiliated entities and senior HAMAS leaders would enable HAMAS to plan, prepare

  for, and carry out terrorist attacks and/or enhance HAMAS’s ability to plan, prepare for, and carry

  out such attacks.

          1109. At all relevant times, including during the relevant period, CAB was also aware of,

  and subject to, the rules promulgated by FATF requiring banks to know their customers, perform

  due diligence, and not provide banking services to terrorist organizations.

          1110. At all relevant times, CAB had actual knowledge that providing financial services

  to HAMAS-controlled entities, HAMAS leaders, and the families of HAMAS “martyrs” and

  prisoners, would strengthen HAMAS’s support and internal cohesion and enhance its ability to

  plan, prepare for, and carry out further terrorist attacks.

          1111. Although the Palestinian Authority’s efforts to crack down on HAMAS were

  always temporary in nature and usually performed for the benefit of Western donor countries, it is

  worth noting that the Palestinian Monetary Authority (supervising banks in the Palestinian

  Territories) issued a general circular in May 2000 to Palestinian banks requesting them to report

  substantial incoming funds transfers from abroad.

          1112. In December 2001, the Palestinian Authority also closed a number of societies run

  by HAMAS and Palestinian Islamic Jihad, among them the Islamic Society of Gaza (Al-Jam’iya

  Al-Islamiya), which belongs to and is synonymous with HAMAS.




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          1113. On December 23, 2001, the Palestinian Monetary Authority instructed Palestinian

  banks not to allow funds to be drawn on accounts controlled by the Union of Good and certain

  other charities, including al-Salah, the Islamic Center (Al-Mujama Al-Islami), and the Islamic

  Society in Gaza, without its prior approval, thereby providing CAB and other banks notice that

  these were (at an absolute bare minimum) high-risk accounts.

          1114. On January 6, 2002, the Palestinian Monetary Authority directed the Palestinian

  banks to report on the sums of money held in the accounts of Al-Jam’iya Al-Islamiya and required

  them to consult with it prior to withdrawing funds from those accounts.

          1115. On August 23, 2003, immediately following the HAMAS suicide bombing of

  Egged Bus #2 in Jerusalem (one of the attacks in this Second Amended Complaint), the Palestinian

  Minister of Security took official steps against HAMAS when he identified Al-Jam’iya Al-Islamiya

  and at least ten other organizations as part of HAMAS. The next day, the Palestinian Monetary

  Authority placed a temporary freeze on the bank accounts of Al-Jam’iya Al-Islamiya and other

  HAMAS organizations.

          1116. In the Order forwarded to the Palestinian Prosecutor General on August 24, 2003,

  then-Prime Minister and Minister of the Interior Mahmoud Abbas justified the freeze on the

  accounts by saying that it was a matter of “security issues” and “requirements for the public

  interest.”

          1117. In a letter written to then-Minister of the Economy Salam Fayyad, then-Palestinian

  Minister of Internal Security Mohamed Dahlan openly declared that the steps that had been taken

  were directed against “Hamas organizations.” The letter described the demand to freeze the

  accounts as stopping support for “Hamas Institutions.”




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         1118. Nevertheless, public outcry in the Palestinian Territories led the new Palestinian

  Cabinet to officially cancel the freeze order on November 17, 2003.

         1119. Because the PA and the Palestinian Monetary Authority continuously failed to take

  lasting and meaningful action against HAMAS and its fundraising apparatus, on February 25,

  2004, the Israel Defense Forces and Israeli police forces, guided by Israel Security Agency

  officers, carried out an operation for what the Government of Israel described as “the confiscation

  of terror funds” which were deposited in a CAB branch in Ramallah (West Bank). According to

  the Israeli government, “[i]nformation regarding these bank accounts was presented to the legal

  elements of the ISA, IDF and the Attorney General’s Office - all of whom authorized the

  operation.”

         1120. The seizure targeted numerous HAMAS organizations with accounts at CAB and

  Arab Bank, Plc, including:

                    Al-Jam’iya Al-Islamiya (Islamic Society – Gaza)
                    Islamic Charitable Society – Hebron
                    Islamic University of Gaza
                    Tulkarem Zakat Committee
                    Al-Ansar Charitable Society
                    Jenin Zakat Committee
                    Nablus Zakat Committee
                    Al-Tadamun Charitable Society (Nablus)
                    Ramallah - Al-Bireh Zakat Committee
                    Muslim Youth Association Hebron
                    Beit Fajar Zakat Committee
                    Al-Islah Charitable Society in Ramallah & Al-Bireh.

  V.     CAB PROVIDED             BANKING         SERVICES        TO    NOTORIOUS          HAMAS
         INSTITUTIONS

         1121. As alleged above, HAMAS operates a social service network through local zakat

  committees and charitable societies that were deeply involved in supporting and facilitating

  HAMAS’s violent terrorist activities.



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         1122. During the relevant period, CAB knowingly provided financial services to these

  HAMAS organizations and affirmatively assisted them in collecting, receiving, transmitting, and

  distributing funds to support HAMAS’s ongoing terror campaign.

         1123. A June 30, 2002, research paper issued by COGAT found that:

                 The testimonies of suicide terrorists and their families paint a picture
                 according to which there is a strong relationship between the suicide
                 attacker and his family members. The suicide attacker usually makes the
                 effort to take leave of members of his family, sometimes farewell letters
                 have been found asking for forgiveness from family members and /or
                 explanations as to the motives for suicide and asking the relatives not to
                 mourn him.

                 It therefore seems that the family and relatives are important to the suicide
                 attacker and concerns for his family have a considerable place in his
                 thoughts about the consequences of the suicide.

                 The suicide terrorist can put rest to his worries about the family’s financial
                 future, as the large sums of money that the suicide attacker’s family receive
                 ensure them a good standard of living and even make them rich. Today a
                 terrorist’s family receives twenty-five thousand dollars from Iraq and five
                 thousand dollars from Saudi Arabia (written proof of this has been found in
                 the Bi’ur Hametz operations in Tulkarem and Jenin), and ongoing support
                 from Islamic charitable societies, the Da’wa (for orphans, widows, and the
                 suicide attacker’s family members). We do not have complete information
                 relating to the “package” that the suicide attacker’s family receives from all
                 sources, but we know definitely that the various Da’wa institutions serve as
                 a pipeline for transferring money to these families and that these are large
                 sums totaling tens of thousands of dollars for each family.

         1124. Each of the HAMAS institutions identified as CAB customers during the relevant

  period were involved in providing financial support to the families of so-called “martyrs” –

  including suicide terrorists – thereby providing incentives for further terrorist attacks.

         1125. Each of the HAMAS institutions identified as CAB customers during the relevant

  period were controlled by and employed senior HAMAS leaders and operatives, including

  individuals directly involved in HAMAS’s acts of terrorism.

         1126.    Each of the HAMAS institutions identified as CAB customers during the relevant



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  period served HAMAS’s overall goal to destroy Israel by building grassroots support for HAMAS

  to help it win the “hearts and minds” of Palestinians while promoting its anti-Israel agenda and

  indoctrinating the populace in its ideology.

          1127. Each of the HAMAS institutions identified as CAB customers during the relevant

  period helped launder money for all of HAMAS’s activities and assisted HAMAS’s goals while

  also freeing resources for HAMAS to devote to its violent activities.

                      Throughout the relevant period, CAB knowingly provided financial services to
                       these institutions, generally aware while it was doing so, that it was playing a
                       role in unlawful activities from which HAMAS’s terrorist attacks were a
                       foreseeable risk, and thereby aided and abetted HAMAS by receiving, holding,
                       and transferring funds for the following HAMAS institutions:72

                      AL-MUJAMA AL-ISLAMI (ISLAMIC CENTER – GAZA)
                       Account No. 1-974-3-2111-814
                       Account No. 981

                      AL-JAM’IYA AL-ISLAMIYA (ISLAMIC SOCIETY – GAZA)
                       Account No. 6118643
                       Account No. 5006

                       Rafah Branch
                       Account No. 749367

                       Beit Hanoun Branch
                       Account No. 4315

                      AL SALAH ISLAMIC SOCIETY
                       Account No. 388

                      AL WAFA CHARITABLE SOCIETY
                       Account No. 1411-1

                      ISLAMIC CHARITABLE SOCIETY – HEBRON73
                       Account No. 11 00513-0
                       Account No. 951
                       Account No. 2295

  72
          The cash balances in many of these accounts were seized by the Israeli Army in February 2004.
  73
            ICSH may have maintained as many as a dozen other accounts at CAB through its various sub-chapters and
  affiliates.


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                  Yatta Branch
                  Account No. 001211100 - 9243
                  Account No. 001211100 - 2329

                  Dura Branch
                  Account No. 0021110 - 0742

                  Bani Naim Branch
                  Account No. 2068

                  Beit Awla Branch
                  Account No. 3041

                 MUSLIM YOUTH ASSOCIATION - HEBRON
                  Account No. 4316
                  Account No. 1100771/0 (Wadi Al-Tufah Branch)

                 JENIN ZAKAT COMMITTEE
                  Account No. 476806-7 (Amman, Jordan Branch)
                  Account No. 0150023640000

                  Al Razi Hospital
                  Account No. 1505239277
                  Account No. 02505239277

                 TULKAREM ZAKAT COMMITTEE
                  Account No. 110740-0
                  Account No. 6100439
                  Account No. 130044
                  Account No. 0/1105526
                  Account No. 1109213/3
                  Account No. 11092171/3
                  Account No. 0150027124100 (JOD)
                  Account No. 1250027123700 (USD)
                  Account No. 3350027123700 (NIS)

                 RAMALLAH AL-BIREH ZAKAT COMMITTEE
                  Account No. 111767

                 NABLUS ZAKAT COMMITTEE
                  Account No. 0000211101051
                  Account No. 0010000105032111
                  Account No. 1102247 (Islamic banking)


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                     Account No. 902/400336/50
                     Account No. 02 500 341100 (USD)
                     Account No. 01 500 341100 (JOD)

                    AL-TADAMUN CHARITABLE SOCIETY – NABLUS
                     Account No. 321494

                    BEIT FAJAR ZAKAT COMMITTEE
                     Account No. 15516700

                    AL-ISLAH CHARITABLE SOCIETY IN RAMALLAH & AL-BIREH
                     Account No. 0984

                    QALQILYA ZAKAT COMMITTEE
                     Account No. 11022-1
                     Account No. 01500361866/00
                     Account No. 01500361811
                     Account No. 33/500/37533

                    QURAN AND SUNNAH SOCIETY – QALQILYA
                     Account No. 02/500/366181/00

                    AL-IHSAN CHARITABLE SOCIETY – HEBRON
                     Account No. 001000049032111813
                     Account No. 0010000449032111
                     Account No. 0010000449022111

                    WORLD ASSEMBLY OF MUSLIM YOUTH (GAZA BRANCH)
                     Account No. 6255/1.

         1128. As stated above, HAMAS’s social welfare activities reinforce its terrorist activities

  both directly by providing economic assistance to the families of killed, wounded, and captured

  HAMAS fighters and making it more costly for them to defect (they would lose the material

  benefits that HAMAS provides them), and indirectly by enhancing HAMAS’s popularity among

  the Palestinian population and providing funds for indoctrinating schoolchildren.




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  VI.      CAB AIDED AND ABETTED HAMAS BY DIRECTLY MAINTAINING
           ACCOUNTS FOR PROMINENT HAMAS LEADERS

           1129. During the relevant period, CAB knowingly maintained accounts for well-known

  HAMAS leaders including Abbas al-Sayed, Mohamad Saleh Taha, Abd al-Khaleq Hasan Shadli

  al-Natshe, Ghazi Hamad, and Sayed Salem Abu Musameh.

           1130. The first three of these leaders were at the center of HAMAS’s violent terrorist

  activities, including serving as senior members of the Qassam Brigades, planning attacks, and

  recruiting and encouraging others to do so.

           1131. These five HAMAS leaders were among more than 40 beneficiaries of funds

  transfers from HAMAS operatives in Lebanon, primarily from an individual known as Yusuf al-

  Hayek.

           1132. Yusuf al-Hayek made transfers totaling at least $4 million between July 2000 and

  October 2001 from Arab Bank in Lebanon to beneficiaries in the Palestinian Territories.

           1133. More than 30 of the beneficiaries were senior HAMAS operatives and leaders of

  the organization, or their relatives, including HAMAS founders Sheikh Ahmed Yassin,

  Muhammad Hasan Sham’a, and Salah Shehada (who later co-founded HAMAS’s Qassam

  Brigades), current HAMAS supreme leader Ismail Haniya, and many others.

           1134. A person with a name identical to “Yusuf al-Hayek” is connected to the Welfare

  Association for Palestinian and Lebanese Families (“Al-Waqfiya”) (discussed below).

           1135. The Hayek funds transfers were made on behalf of HAMAS to senior HAMAS

  operatives in the Palestinian Territories, including CAB account holders such as Abbas al-Sayed,

  Mohamad Saleh Taha, Abd al-Khaleq Hasan Shadli al-Natshe, Ghazi Hamad, and Sayed Salem

  Abu Musameh.




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         A.      Abbas al-Sayed

         1136. Throughout the relevant time period (at least until Abbas al-Sayed’s arrest in July

  2002), CAB knowingly maintained account number 150027961600 for al-Sayed, one of

  HAMAS’s most senior political and military leaders in the West Bank at that time.

         1137. Al-Sayed received at least seven transfers from a representative of HAMAS in

  Lebanon through CAB’s correspondent account at Citibank in New York between February 2001

  and May 2001 totaling $69,000.

         1138. According to al-Sayed’s statement to Israeli police, he first met Jamal Mansur (a

  senior HAMAS leader) in prison and was offered employment in HAMAS’s political media

  department.

         1139. After leaving prison, Mansur introduced al-Sayed to several of HAMAS’s most

  senior leaders and was “appointed as the representative of HAMAS in Tulkarem” where, according

  to al-Sayed, he was “participating in activities related to the Intifada, such as demonstrations on

  various occasions, delivering speeches at festivals, participating in seminars, lecturing, conducting

  phone interviews with various satellite channels, and representing Hamas Movement in front of

  popular and official parties.” In sum, at the time al-Sayed maintained his CAB account and

  received funds transfers from HAMAS in Lebanon, he was a public figure, openly known to the

  Palestinian public as a prominent HAMAS leader.

         1140. According to al-Sayed, in August 2001, his “name was published as a person

  wanted by Israel” and he then decided to limit his movements to a minimum.

         1141. On October 8, 2001, the St. Louis Dispatch reported that: “In the West Bank city

  of Tulkarm, about 1,000 Palestinians demonstrated Sunday over the arrest by Palestinian police of




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  Abbas al-Sayed, spokesman for Hamas. The militant group has killed dozens of Israelis in suicide

  attacks.”

          1142. Al-Sayed was one of the planners of the March 27, 2002, Park Hotel Bombing in

  Netanya, Israel. More than two dozen people were killed in the attack, including Hannah Rogen,

  whose estate is a plaintiff in this action.

          1143. According to the September 5, 2002, edition of the Palestinian daily newspaper, Al-

  Hayat Al-Jadida, Abbas al-Sayed was arrested while working at the Tulkarem Zakat Committee.

          1144. Al-Sayed was ultimately convicted for his central role in this attack as well as other

  attacks HAMAS carried out and sentenced to 35 life sentences.

          1145. One of al-Sayed’s accomplices was Fawaz Bashir Badran, a senior Qassam

  Brigades commander in Tulkarem.

          1146. Badran recruited Ahmad Alyan to carry out the March 4, 2001, suicide bombing

  near a bus in Netanya.

          1147. Following the “success” of the bombing, al-Sayed connected Badran to the Qassam

  Brigades infrastructure in Nablus.

          1148. Badran also recruited Mahmud Marmash, who carried out a suicide bombing in the

  Sharon Mall in Netanya on May 18, 2001, killing 5 people. Ahmed Bahar, Chairman of Al-Jam’iya

  Al-Islamiya, publicly praised Marmash in a speech, extolling his martyrdom.

          1149. As noted above, payments to his family as a result of his “martyrdom” were

  deposited into CAB Account No. 1518 26968400.

          1150. Badran also recruited Ahmad Jayusi (convicted co-conspirator in the Passover

  massacre of March 27, 2002) and taught him how to make explosives, but he was killed by Israeli

  forces in July 2001 before he could commit further acts of terrorism.




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         1151. Payments to his family as a result of his “martyrdom” were deposited into CAB

  Account No. 297445.

         B.      Mohamad Saleh Taha

         1152. Throughout the relevant time period, CAB knowingly maintained account number

  3723-1 for Mohamed Saleh Taha, one of the founders of Al-Mujama Al-Islami (The Islamic Center

  – Gaza) and a prominent HAMAS leader in the central Gaza Strip.

         1153. Taha was arrested many times, both by Israel and the Palestinian Authority, for his

  HAMAS-related activities and was one of the terrorists deported to Marj al-Zuhur in 1992. He

  also has served as a lecturer at the Islamic University of Gaza, a core HAMAS institution.

         1154. Taha’s notoriety is indicated by, for example, the BBC Summary of World

  Broadcasts summarizing a published report from the December 17, 1995, edition of the Israeli

  newspaper Haaretz which described his role in a HAMAS rally in Gaza: “A mass rally held by

  Hamas Islamic Resistance Movement in Gaza yesterday was officially told that the movement

  would not take part in the elections in the territories and that the decision was final. Some 30,000

  people repeated the words of Muhammad Taha, a founder of the Muslim Brotherhood in the Gaza

  Strip, who read out the official announcement of the Islamic rejectionist movement. He repeated

  the declaration three times against the background noise of recorded shootings, and the crowd

  applauded him.”

         1155. On October 8, 1997, Israeli television Channel 1 reported that: “a Hamas source in

  the Gaza Strip notes that Palestinian Authority Chairman Yasir Arafat has ordered the release of

  Muhammad Taha, a Hamas leader. This came in response to request by Shaykh Ahmad Yasin, the

  movement’s leader. The Palestinian police arrested Muhammad Taha two weeks ago.”




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         1156. CNN reported on March 2, 2003, regarding an Israeli military incursion into the

  Gaza Strip: “The operation included a search of the home of Muhammad Taha, one of the co-

  founders of Hamas and a senior figure in the group’s political and military wings in Gaza.

  Taha and his son Amin were lightly wounded in a shootout with Israeli troops, IDF said. They

  were arrested and transferred by Israeli security to a hospital inside Israel.” (Emphasis added.)

         1157. Taha received at least five transfers through CAB’s correspondent account from a

  representative of HAMAS in Lebanon at Citibank in New York between December 2000 and

  September 2001 totaling $9,870.

         C.      Ghazi Hamad

         1158. Throughout the relevant time period, CAB also knowingly maintained account

  number 706785 for Ghazi Ahmad Hamad, the long-time HAMAS public spokesman, and “Deputy

  Foreign Minister” in HAMAS’s government in Gaza in 2012.

         1159. Hamad was a senior editor of HAMAS’s newspaper, Al-Risala, and was arrested

  twice by the PA in the 1990s.

         1160. Since the mid-1990s, Hamad was widely identified as a spokesman for HAMAS.

  For example, an article dated May 31, 1994, in The New York Times titled “Gaza’s Militants Must

  Decide What to Do Now” described him as follows:

                 Ghazi Hamad, a Hamas leader in Rafah, suggested that the group’s armed
                 wing, the Qassam Brigades, might shift its attacks to Israel and to West
                 Bank areas outside Jericho. “We will not use violence against the
                 Palestinian police under any circumstances, and we are ready to cooperate
                 with them,” said Mr. Hamad, who recently completed a five-year jail term.
                 “If an attack on Israeli settlers or soldiers will lead to a conflict with the
                 Palestinian police, then we will take another decision. It will have to stop.
                 We don’t want to be a burden.”

         1161. The Associated Press reported on January 26, 1995, that “Ghazi Hamad … served

  five years in Israeli prisons for membership in the Muslim militant group Hamas.”



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         1162. United Press International reported on April 13, 1995, that “Palestinian police

  Thursday arrested a senior leader of the Hamas Islamic Resistance Movement as sweeps continued

  for the fourth day against Muslim fundamentalist groups in the Gaza Strip. Sayed Abu Mosameh,

  an editor of the al-Watan weekly, was taken into custody at the al-Watan newspaper offices along

  with Ghazi Hamad, another editor at the paper.”

         1163. An August 29, 1997, article in The Guardian (UK) discussing HAMAS’s control

  of Al-Jam’iya Al-Islamiya also identified Hamad as a HAMAS spokesman: “Gazi Hamed, a

  journalist and Hamas spokesman, said: ‘Most of the Palestinian people have reached the

  conclusion there is no future in the peace process.’”

         1164. Agence France Presse reported on May 23, 1999, that “Palestinian security men on

  Saturday detained Ghazi Hamad, the editor of the weekly Al-Rissala newspaper, the mouthpiece

  for the Islamic movement in Gaza, apparently in connection with a criminal investigation.”

         1165. On August 15, 1999, the Associated Press reported that “Palestinian police detained

  the editor of a weekly newspaper belonging to the Islamic militant group Hamas and are holding

  him for questioning, an employee of the newspaper said Sunday. Ghazi Hamad, the editor of

  HAMAS’ official newspaper al-Risala, was taken into police custody late Saturday to answer

  questions about an article he published criticizing the Palestinian Authority, the employee said,

  speaking on condition of anonymity. Hamad has been detained several times in the past under

  similar circumstances.”

         1166. Another Associated Press article dated October 12, 2000, described a Palestinian

  Authority prisoner release and cited Ghazi Hamad: “About 350 prisoners were freed in Gaza City,

  including scores of Islamic militants. Thirty-five were released in Nablus and dozens in the West

  Bank town of Hebron. Among those released were Mohammed Deif and Ibrahim Makadmeh,




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  leaders of Hamas’ military wing, Izzedine al Qassam, said Ghazi Hamad, a Hamas spokesman.”

  (Emphasis added.)

         1167. On August 22, 2001, the (UK) Daily Mirror published an article about prospective

  Palestinian suicide bombers, describing a young man who “turned to Hamas and its unrelenting

  message of hostility to the Jews. He listened to the words of Hamas leaders like Ghazi Hamad,

  who has said: ‘There will be no peace. The Jews hate us and we hate them. Israel is a cancer, it

  should be uprooted.’”

         1168. Hamad received at least six transfers from a representative of HAMAS in Lebanon

  through CAB’s correspondent account at Citibank in New York between October 2000 and April

  2001 totaling $50,985.

         D.      Sayed Salem Abu Musameh

         1169. Throughout the relevant period, CAB also knowingly maintained account number

  6105176 for Sayed Salem Abu Musameh.

         1170. Musameh is a senior, veteran HAMAS member, and later, a member of the

  Palestinian Legislative Council on its behalf.

         1171. In a March 4, 1996, article in the Independent, Musameh was identified as “a

  prominent Hamas leader.”

         1172. Musameh received three transfers from a representative of HAMAS in Lebanon

  through CAB’s correspondent account at Citibank in New York between February 2001 and

  September 2001 totaling $6,000.

         E.      Abd al-Khaleq Hasan Shadli al-Natshe

         1173. During the relevant period, CAB also knowingly maintained an account for Abd

  al-Khaleq al-Natshe, the prominent HAMAS leader in Hebron (discussed above in detail.)




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         1174. In addition to serving as a HAMAS leading spokesman and most senior leader in

  Hebron, al-Natshe also worked closely with the Qassam Brigades and assisted its operatives.

  VII.   CAB AIDED AND ABETTED HAMAS BY KNOWINGLY MAINTAINING
         ACCOUNTS AND PROVIDED FINANCIAL SERVICES FOR HAMAS
         ORGANIZATIONS THAT WERE LATER DESIGNATED AS SPECIALLY
         DESIGNATED GLOBAL TERRORISTS

         1175. CAB knowingly provided financial services to HAMAS by maintaining bank

  accounts and/or providing financial services for Specially Designated Global Terrorists belonging

  to HAMAS, including but not limited to:

                   HLF
                    Account No. 2111-4883
                    Account No. 6/375
                    Account No. 2.5957
                    Account No. 0250514976000
                    Account No. 3611853
                    Account No. 0255149760
                    Account No. 4883

                   Al-Waqfiya
                    Account No. 002-500-100068-00

                   Al-Salah Islamic Society
                    Account No. 388.

         1176. All three entities were closely intertwined with HAMAS’s terrorist activities.

         1177. As noted above, on May 6, 1997, the government of Israel designated HLF a

  HAMAS organization and declared that HLF “deals in the practice of transferring monies to

  families of HAMAS activists, who carried out deadly attacks, or who were jailed in the wake of

  these attacks….” Also as noted above, HLF’s affiliation with HAMAS was widely reported,

  including in The New York Times, years before the United States designated HLF an SDGT.

         1178. With respect to HLF, the FBI concluded that:

                evidence strongly suggests that the [HLF] has provided crucial financial
                support for the families of HAMAS suicide bombers, as well as the


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                 Palestinians who adhere to the HAMAS movement. It is believed that by
                 providing these annuities to families of HAMAS members, the [HLF]
                 assists HAMAS by providing a constant flow of suicide volunteers and
                 buttresses a terrorist infrastructure heavily reliant on moral support of the
                 Palestinian populace. According to HLFRD-4, an FBI asset who has
                 provided reliable information in the past, in the words of Shukri Abu Baker,
                 [HLF]’s mission is to support the families of the martyrs.

         1179. According to the Government of Israel 2004 Report, as of December 2004, HLF

  maintained account no. 4883 at CAB’s Islamic Bank branch in Hebron with “[t]ransactions

  amounting to hundreds of thousands of dollars … found in the Foundation’s current account.”

         1180. HAMAS’s Lebanese fundraising organization (and CAB customer), Al-Waqfiya,

  was designated by the U.S. Department of the Treasury in 2012.

         1181. The Treasury Department found that Al-Waqfiya:

                 [E]xist[s] to support the families of Hamas fighters and prisoners and to
                 raise money for programs and projects in the Palestinian territories intended
                 to spread Hamas’s influence and control.

                 Al-Waqfiya, a central component of the Union of Good, which was
                 designated pursuant to E.O. 13224 in November 2008 for supporting
                 Hamas, was established by Hamas in 2000 to financially support the
                 families of Hamas terrorists. The organization has been run by senior
                 Hamas leadership for years, and several senior Hamas leaders play a
                 dominant role within the organization.

         1182. Because Al-Waqfiya sent funds to support “Hamas fighters and prisoners,” these

  reward payments could not have gone unnoticed by its banker. As noted below, according to the

  World Bank, the Gross National Income (“GNI”) per capita in the Palestinian Authority by the

  end of 2003 had fallen to $1,070 U.S. dollars per year. Hence, cross-border transfers from Lebanon

  channeling these kinds of payments were obviously irregular, and there is simply no way CAB did

  not know that it was facilitating illegal support to the families of terrorists. This was especially

  true given Al-Waqfiya’s close connection to the infamous Union of Good.




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         1183. As detailed above, al-Salah was designated an SDGT by the Treasury Department

  on August 7, 2007, determined to have been “run by an identified Hamas leader and employ[ed] a

  number of Hamas members, including members of Hamas’ military wing … everyone knew they

  were affiliated with Hamas and had Hamas directors.” The U.S. government further determined

  that in “late 2001 and early 2002, the AL-SALAH SOCIETY was identified as the largest, best-

  funded Hamas organization in the Palestinian territories and included on a target list of Hamas

  infrastructure to be shut by the Palestinian Authority.”

         1184. Indeed, the PA temporarily closed al-Salah in September 1997, Palestinian security

  forces arrested its leaders, and the PMA temporarily froze its bank accounts in December 2001. It

  was declared an unlawful association by the Israeli Minister of Defense on February 25, 2002, as

  an institution belonging to HAMAS, and by the IDF’s Central Command on June 30, 2002.

  Nonetheless, CAB maintained account(s) for al-Salah throughout this period.

         1185. The services CAB provided to the SDGTs listed above were conducted through

  CAB branches located in the West Bank, Gaza Strip and Lebanon.

         1186. CAB also knowingly transferred funds for SDGTs affiliated with HAMAS through

  its correspondent accounts located in New York, and as detailed above, CAB processed numerous

  payments on behalf of several SDGTs (including the Al-Aqsa Foundation and Interpal) after they

  were designated by the United States.

  VIII. CAB KNOWINGLY MAINTAINED ACCOUNTS FOR ORGANIZATIONS
        THAT FACILITATED PAYMENTS TO THE FAMILIES OF PALESTINIAN
        TERRORISTS

         1187. In the competition for notoriety in supporting Palestinian terrorists, Iraq, and Iran

  both established organizations that, at various times, transferred money in direct support of the




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  families of “martyrs” and prisoners, aiming at strengthening and encouraging the Palestinians to

  continue the violence.

          A.     CAB Knowingly Facilitated Reward Payments Made by Saddam Hussein’s
                 Regime to the Families of Suicide Bombers

          1188. Iraq established a Ba’athist surrogate in Ramallah called Arab Liberation Front

  (“ALF”) in 1969. Itself responsible for a handful of terrorist attacks, during the Second Intifada

  ALF devoted most of its efforts to promoting Saddam Hussein by facilitating and promoting the

  Iraqi regime’s reward payments to families of Palestinian suicide bombers, other “martyrs” and

  those injured during violent clashes with Israel.

          1189. Because Iraq was a designated State Sponsor of Terrorism during the relevant

  period and was subject to strict economic sanctions, Saddam’s regime could not easily transfer

  large sums of money denominated in U.S. dollars since that would require U.S. dollar-clearing and

  settlement activity in the United States.

          1190. U.S. law prohibits most dollar clearing and settlement services performed on behalf

  of State Sponsors of Terrorism. In some cases, involving the evasion of U.S. economic sanctions

  managed by the Office of Foreign Assets Control (“OFAC”), State Sponsors of Terrorism have

  relied on foreign banks willing to deceive U.S. regulators, such as by removing all information

  identifying Iraq as the source of a U.S. dollar-denominated electronic funds transfer through New

  York.

          1191. According to U.S. Congressional investigators, Saddam Hussein illegally diverted

  money from the U.N. oil-for-food program, meant to serve Iraq’s humanitarian needs, to make

  these payments.

          1192. Funds collected from Iraqi oil sales authorized by the U.N.’s oil-for-food program

  were processed exclusively from a U.N. account held at BNP Paribas’s branch in New York.



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         1193. As U.N. investigators would later learn, significant Iraqi oil sales revenues

  deposited in BNP’s oil-for-food program account in New York were subsequently diverted

  through elaborate kickback schemes and secreted into accounts controlled by the Hussein regime.

         1194. These kickbacks allowed Saddam Hussein to maintain his grip on power and to

  transact regime business clandestinely despite severe restrictions imposed on Iraq’s economy by

  U.N. and U.S. sanctions.

         1195. Because of Iraq’s difficulty in transferring U.S. dollars through the global financial

  system, most of the money earmarked for Saddam’s terror incentive program was siphoned from

  the oil-for-food program and covertly transferred from the head office of Iraq’s state-owned Al-

  Rafidain Bank in Baghdad to its branch in Amman, Jordan.

         1196. From there, portions of the illicit U.S. dollar denominated funds were moved to

  Western Union accounts at CAB and ultimately deposited into one or more accounts at CAB

  controlled by the ALF in the Palestinian Territories. Seeking broad Palestinian support for Saddam

  Hussein, ALF made payments to families of martyrs affiliated with any terror organization and

  paid higher amounts than most martyr funding groups. The payments started at $10,000 for a

  martyr’s family, but, as shown below, soon increased significantly.

         1197. Also, unlike other groups, ALF developed a system to incentivize suicide attacks

  over other types of attacks (that may be less spectacular or easier to foil), paying a premium upon

  evidence that the martyr intended to die during the attack, such as by committing a suicide bombing

  or by shooting into a crowded area until gunned down by law enforcement.

         1198. In August 2001, the families of a “martyr” who died as part of a suicide attack

  began receiving $15,000—in March 2002, this was increased to $25,000. Those who died for other




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  reasons, such as so-called “work accidents” (premature detonation of explosives) or in firefights

  with Israeli forces, were paid $10,000.74

          1199. These reward payments constituted a vast sum of money in the Palestinian

  Territories. For instance, according to the World Bank, in 1999, prior to the outbreak of the Second

  Intifada, the Gross National Income (“GNI”) per capita in the Palestinian Authority was $1,730

  U.S. dollars. By the end of 2003, the GNI per capita in the PA had fallen to $1,070 U.S. dollars.75

          1200. Although the Ba’athists did not gain significant traction politically in the

  Palestinian Territories, the ALF was among the “loudest” groups advertising its payments to the

  families of Palestinian terrorists, particularly to the families of successful suicide bombers.

          1201. ALF Martyr payment “ceremonies” received widespread media coverage,

  particularly in the local Palestinian media.

          1202. For example, one of the leading Palestinian daily newspapers, Al Hayat al-Jadida,

  reported on August 15, 2001, on the benefit increase to the families of suicide terrorists from

  $10,000 to $15,000.

          1203. Another leading Palestinian daily newspaper, Al Quds, reported on August 19,

  2001:

                   The Gaza representative of the Arab Socialist Ba’ath party, which rules Iraq,
                   announced yesterday that president Saddam Hussein decided to allocate the
                   sum of $15,000 for each Palestinian martyr’s family….

                   Al-Za’anin [the Gaza representative] clarified that the last decision by the
                   Iraqi president to increase the grant given to Palestinians who carried out
                   martyrdom attacks (“Amaliyat Istishadiya”) to $15,000 comes to emphasize
                   the continuation of the national struggle to restore the Palestinian rights.



  74
          Those only injured were paid $1,000.

  75
          The economic situation in the neighboring Arab countries, in terms of GNI, was even worse. Syria’s GNI,
  for example, was $890 U.S. dollars; Egypt’s GNI was $1,290 U.S. dollars; and Jordan’s GNI was $1,650 U.S. dollars.


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         1204. Media coverage was not limited to local newspapers, however.

         1205. On January 5, 2001, the San Francisco Chronicle reported that ALF visited the

  families of “martyrs” and “recited a Muslim prayer, then handed [a family member] a poster of

  the Iraqi dictator and a $10,000 check. They asked for her signature on a receipt before they left.”

  The article further noted “[Saddam] Hussein’s public succor to the families of these martyrs --

  equal to years of annual income for many Palestinian families ….”

         1206. United Press International reported on January 30, 2001, that “Iraqi president

  Saddam Hussein has given $10,000 to the family of every Palestinian killed in the latest round of

  clashes with Israel, The Washington Post reported Tuesday.”

         1207. Agence France Presse reported on January 31, 2001:

                 The intensive Iraqi aid campaign -- the most effective one in the West Bank
                 and Gaza Strip according to families -- has helped bolster Saddam’s already
                 popular image among Palestinians.

                 At the almost-daily protests in the Palestinian territories, marchers routinely
                 carry posters of the Iraqi president and cry out: “Oh Saddam, oh my love,
                 strike, strike Tel Aviv!”

                                                        ***
                 Rakad Sallim, secretary general of the Arab Liberation Front -- a spinoff of
                 Iraq’s ruling Baath party -- told AFP that the families of 300 “martyrs” of
                 the intifada, the Palestinian revolt against Israeli occupation, have each been
                 bestowed 10,000 dollar checks.

                 Hundreds of seriously injured Palestinians were also handed 1,000 dollars,
                 while those with moderate wounds were awarded 500 dollars, Sallim added,
                 but he refused to provide a specific number.

                 “The leader President Saddam Hussein pledged a billion euros (940 million
                 dollars) to the Palestinian people in addition to an open amount for the
                 martyrs and the injured,” Sallim said.




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           1208. On February 17, 2001, Agence France Presse described a rally in Nablus where

  approximately 1,000 marchers burned U.S., British, and Israeli flags as part of an ALF

  demonstration.

           1209. On February 19, 2001, The Daily Telegraph (UK) described a rally in Ramallah

  involving hundreds of supporters of Saddam Hussein, featuring ALF secretary-general Rakad

  Salem:

                   Mr. Salem is a popular figure himself. He is charged with handing out
                   sizeable compensation payments on behalf of Saddam to the families of the
                   dead and wounded in the uprising. For every martyr, the family receives
                   $10,000 (pounds 6,500) - about six years’ average salary. The wounded are
                   compensated with $1,000 or $500 depending on the severity.

                   So far Mr. Salem has handed out almost $4 million and although Mr. Salem
                   will not say how the money arrives, he assures visitors that it is not running
                   out. “Even if there were 2,000 martyrs, His Excellency would continue to
                   pay,” he said.

           1210. On May 5, 2001, the Associated Press reported that “President Saddam Hussein

  has ordered the donation of 6 million euros (dlrs 5.3 million) to families of victims of the

  Palestinian uprising, the official Iraqi News Agency has reported.”

           1211. On January 31, 2002, the Los Angeles Times reported that Saddam Hussein had

  ordered a memorial erected in one of Baghdad’s main squares in honor of the first Palestinian

  female suicide bomber.

           1212. In March 2002, Saddam announced another increase in payments – families of

  suicide terrorists would receive $25,000 U.S. dollars, while the grants to the families of “ordinary”

  terrorists would remain at $10,000 U.S. dollars.

           1213. On March 26, 2002, an article in the Sydney Morning Herald described a meeting

  of some 200 members of forty-seven families who gathered in the Tulkarem chamber of commerce

  in March 2002 to collect checks.



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         1214. The ALF’s secretary-general Rakad Salem told reporter Paul McGeough that as of

  late March 2002 more than 800 families of Palestinians killed in the unrest had received $10,000

  “martyr” payments, and that the funds had been “transferred by the banks-from the Iraqi banks to

  the banks in Palestine.”

         1215. On that same day, March 26, 2002, Fox News reported on the Sydney Morning

  Herald article, stating: “In Tulkarm, one of the poorest towns on the West Bank, a member of the

  Palestinian Legislative Council handed out the checks from Saddam. The payments have been

  made for at least two years, but the amount has suddenly jumped up by $15,000 - a bonus for the

  families of martyrs, to reward those taking part in the escalating war against Israel.”

         1216. On April 3, 2002, CBS News reported that “Iraqi President Saddam Hussein has

  raised the amount offered to relatives of suicide bombers from $10,000 per family to $25,000, U.S.

  Defense Secretary Donald Rumsfeld said Wednesday.”

         1217. Also in April 2002, the White House issued a statement concerning Saddam

  Hussein’s support for international terrorism,76 noting:

                 In April 2002, Saddam Hussein increased from $10,000 to $25,000 the
                 money offered to families of Palestinian suicide/homicide bombers. The
                 rules for rewarding suicide/homicide bombers are strict and insist that only
                 someone who blows himself up with a belt of explosives gets the full
                 payment. Payments are made on a strict scale, with different amounts for
                 wounds, disablement, death as a “martyr” and $25,000 for a suicide bomber.
                 Mahmoud Besharat, a representative on the West Bank who is handing out
                 to families the money from Saddam, said, “You would have to ask President
                 Saddam why he is being so generous. But he is a revolutionary and he wants
                 this distinguished struggle, the intifada, to continue.”

         1218. The Boston Globe reported on May 30, 2002:

                 Local officials of the Arab Liberation Front, an organization sponsored by
                 Hussein, said that starting a few days ago, they began giving $25,000 to
                 each family whose dwelling in the camp was destroyed. Thirty awards have


  76
         Available at https://georgewbush-whitehouse.archives.gov/infocus/iraq/decade/sect5.html.


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                 been made so far and another 30 to 40 will be made next week, distribution
                 chief Mahmoud Bisharat said yesterday.

                 Hussein also is giving $1,000 to every person who was seriously wounded
                 in the fighting, and $500 to those who were less gravely injured, Bisharat
                 added. The donations are in addition to $25,000 awards Hussein has been
                 making over the past two months to the families of suicide bombers and the
                 $10,000 he gives to relatives of other Palestinians who die while attacking
                 Israelis.

         1219. A June 2, 2002, article in Reuters titled “Iraqi, Saudi aid money wins Palestinian

  hearts” reported that according to the ALF, Iraq provided $20 million since September 2000 and

  quoted one Gaza-based ALF official, Ibrahim al-Za’anin, stating that “President Saddam made

  clear that [suicide] attacks must be considered the utmost act of martyrdom.”

         1220. On July 10, 2002, The New York Times reported that Iraq sent large cash payments,

  using U.S. dollar-denominated banknotes, to the families of Palestinian suicide bombers, further

  cementing Saddam’s popularity among the Palestinians.

         1221. During a public ceremony held on September 10, 2002, in the Palestinian

  Territories, the participants praised the Second Intifada and thanked Saddam Hussein for the

  generous financial aid he bestowed upon the Palestinians. During the ceremony, certificates and

  grants were distributed to the families of the deceased, each receiving approximately $10,000.

         1222. On September 12, 2002, the White House issued a Background Paper on Iraq again

  noting Saddam Hussein’s increased payments to families of Palestinian suicide/homicide bombers

  from $10,000 to $25,000.

         1223. On September 20, 2002, the Israel Ministry of Foreign Affairs published a detailed

  report on its website concerning Saddam Hussein’s financial incentive program for Palestinian

  terrorists. The report identified CAB as a vehicle for these payments and listed eight public




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  ceremonies between May and August 2002 during which the ALF distributed funds to the families

  of Palestinian terrorists.

          1224. On October 9, 2002, Agence France Presse reported:

                  Israel has evidence that Iraqi President Saddam Hussein has transferred
                  some 15 million dollars in funds to the families of Palestinian suicide
                  bombers and other militants over the last two years, Israel’s General
                  Intelligence Services (GSS) said Tuesday.

                  Evidence of multiple financial transfers from Iraq to the West Bank town of
                  Ramallah was revealed during the interrogation of the leader of a pro-Iraqi
                  Palestinian group who was arrested at his Ramallah home last week, the
                  GSS said in a statement.

                  Rakat Salem, secretary general of the Arab Liberation Front and a member
                  of the Palestine National Council, the PLO’s parliament-in-exile, was
                  “directly responsible for the transfer of financial help from Iraq to the
                  families of suicide bombers,” the GSS said.

                  According to documents seized during Israel’s five-week invasion of the
                  West Bank last spring, Salem was identified as the individual appointed by
                  Iraqi President Saddam Hussein to distribute financial grants, it said.

          1225. On October 11, 2002, the Los Angeles Times reported that “Most families of the

  dead received $10,000 [from ALF], but those of suicide bombers often got as much as $25,000--

  the more generous grant awarded, as one of the documents put it, ‘according to the decision of

  Commander Saddam Hussein ... in appreciation of their bravery.’” The article further noted that

  “the Arab Liberation Front has been very public in its activities for nearly two years. The checks

  are typically distributed with much fanfare at public rallies in the West Bank and Gaza Strip.”

          1226. Agence France Presse reported on October 2, 2002, that:

                  Israeli forces arrested the secretary general of a pro-Iraqi PLO group, the
                  Arab Liberation Front, in the West Bank town of Ramallah on Wednesday,
                  the group said.

                  Rakat Salem was arrested in the Ramallah offices of the small Palestine
                  Liberation Organisation faction in this reoccupied town, a Palestinian
                  security official said.



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                   The Arab Liberation Front distributes Iraqi aid to the families of
                   Palestinians killed by Israeli soldiers and also gives Iraqi handouts to
                   relatives of suicide bombers who blow themselves up in Israel.

          1227. On February 1, 2003, the Associated Press reported that:

                   The Arab Liberation Front, a pro-Iraqi Palestinian group, says it has
                   disbursed $35 million of Saddam’s money to relatives of Palestinians killed
                   or wounded in the confrontations with Israel.

                   Families of suicide bombers - there have been 90 since September 2000 -
                   are entitled to $25,000 each, a small fortune in the impoverished Palestinian
                   areas. Relatives of those killed in clashes with troops are paid $10,000.
                   Militants whose homes are demolished by Israel as a deterrent against future
                   violence receive $5,000.

          1228. According to an article in the Guardian on March 12, 2003, CAB held accounts for

  ALF from which “martyr” payments were made:

                   With each cheque, drawn on the Cairo Amman Bank, came a large
                   certificate decorated with the Iraqi and Palestinian flags. “A gift from
                   President Saddam Hussein to the family of a martyr in the al-Aqsa intifada,”
                   the inscription read. “To those who irrigate the land with their blood. You
                   deserve the honour you will receive from God and you will defeat all who
                   bow before your will.”77

          1229. On March 13, 2003, BBC News reported on a public event held in a social hall in

  Gaza City: “One by one, at least 21 families came up to receive their cheques from the Palestinian

  Arab Liberation Front (PALF), a local pro-Iraq group. A Hamas suicide bomber’s family got

  $25,000 while the others - relatives of militants killed in fighting or civilians killed during Israeli

  military operations - all received $10,000 each.”




  77
            The Israeli government identified a bank account of Rakad Salem and two ALF persons who were authorized
  signatories in CAB, noting that CAB is Western Union’s agent in Jordan and the PA and inferring from seized
  documents that the Iraqi regime used Western Union as one method of evading U.S. sanctions and transferring U.S.
  dollars to CAB in the Palestinian Territories.


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          1230. Also on March 13, 2003, the San Jose Mercury News, and the Miami Herald78

  reported from Gaza:

                   In a graduation-style ceremony Wednesday, the families of 22 Palestinians
                   killed fighting Israelis received checks for $10,000 or more, certificates of
                   appreciation and a kiss on each cheek -- compliments of Iraq’s Saddam
                   Hussein.

                   President Bush may say the Iraqi leader’s days are numbered. But 30
                   months into the Palestinian uprising, with Yasser Arafat’s authority and
                   finances eroded and Israel’s army waging a war against Hamas, Saddam is
                   still one man who can deliver the goods.

                   About 400 people attended the ceremony, staged by the Baghdad-backed
                   Arab Liberation Front in a social hall leased for the occasion at the
                   downtown YMCA. A 6-foot-tall portrait of Saddam festooned the room,
                   with a slightly smaller image of Arafat looking over his shoulder.

                                                        ***
                   But the draw, and high point by far, was the presentation of checks, one by
                   one, to a widow or parent or child of 22 Palestinians killed in Gaza in recent
                   months. The certificates declared the gift from President Saddam Hussein;
                   the checks were cut at a Gaza branch of the Cairo-Amman bank.

                   One family got a larger award -- $25,000, reserved for suicide bombers --
                   for a Palestinian who was blown up aboard a boat loaded with explosives
                   off Gaza last year.

          1231. The payments were well enough known that, according to an April 4, 2002, CBS

  article, ALF officer Mahmoud Safi said: “Some people stop me on the street, saying if you increase

  the payment to $50,000, I’ll do it immediately.” While he said the comments were made “mostly

  ... in jest,” he “acknowledged that the support payments for relatives make it easier for some

  potential bombers to make up their minds.”




  78
          A similar report appeared in Canada’s National Post on the same day: “As the names of each of the dead
  men were read into a microphone, their families came forward to the table, shook hands with the political dignitaries
  and accepted a cheque from the Cairo Amman Bank. Stapled to it was a certificate from Saddam dedicated ‘to the
  people who pay with their souls and give the land of Palestine their blood.’”


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          1232. By transferring U.S. dollar-denominated funds whose source was explicitly (and

  very publicly) identified as Saddam Hussein’s regime, CAB knowingly assisted a State Sponsor

  of Terrorism to evade U.S. sanctions. By knowingly facilitating reward payments to the families

  of suicide bombers and other terrorists, CAB knowingly aided and abetted the attacks that injured

  the plaintiffs.

          B.        CAB Knowingly Facilitated Reward Payments to the Families of HAMAS
                    “Martyrs” Made by Hezbollah’s Martyrs Foundation

          1233. Saddam Hussein’s regime was not alone in sponsoring and encouraging Palestinian

  terrorists to perpetrate further attacks. Iran made payments to “martyrs” through Hezbollah’

  Lebanon-based Shahid Foundation (or “Martyrs Foundation”), which sent funds to the Palestinian

  Territories in coordination with the Gaza-based al-Ansar society.79

          1234. The United States designated Hezbollah an FTO in 1997. The designation has

  remained in effect since that time.

          1235. At all relevant times, Hezbollah was (and remains) a radical Islamic terrorist

  organization which views the State of Israel, the United States, and other Western countries as its

  sworn enemies.

          1236. Since its founding, Hezbollah has committed numerous acts of international

  terrorism, many against the United States and U.S. targets.

          1237. From its founding through the present, Hezbollah has carried out hundreds of

  terrorist attacks against American and Israeli targets that have killed hundreds of U.S. citizens and

  wounded hundreds more.




  79
           The Iranian Popular Committee for the Support of the Al-Aqsa Intifada appears to have also coordinated
  funds transfers for Palestinian Islamic Jihad through account 24693 at CAB in Jenin in the name of an individual
  named Adnan Farid Hassan Zayud.


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         1238. Hezbollah’s policy and practice of carrying out terrorist attacks against United

  States targets was well known to CAB, because Hezbollah has openly, publicly, and repeatedly

  acknowledged having such a policy and carrying out such attacks over several decades.

         1239. Hezbollah made these acknowledgments on its official websites, in its official press

  releases, on its official television station, Al-Manar, on its official radio station, Al-Nour, and in

  numerous press conferences and news media interviews conducted by senior Hezbollah officials.

         1240. For example, Hassan Nasrallah, Hezbollah’s Secretary General, and supreme leader

  for decades, has made numerous public pronouncements that leave no doubt about Hezbollah’s

  embrace of terrorism. For example:

                    “... put a knife in your shirt, then get close to an Israeli occupier and stab
                     him.” (Nightline, October 19, 2000)

                    “Suicide attacks shake the enemy from within, they plunge him into an
                     existential crisis, and thus prepare the ground for victory; these acts are
                     completely legitimate, since there are no innocent civilians in Israel;
                     rather they all are occupiers and accomplices to crime and massacre.”
                     (Statement broadcast on Al-Manar TV, September 14, 2001)

                    “Martyrdom operations - suicide bombings - should be exported outside
                     Palestine. I encourage Palestinians to take suicide bombings worldwide.
                     Don’t be shy about it.” (Washington Times, December 6, 2002)

         1241. Like HAMAS, Hezbollah has a unified leadership structure that oversees the

  organization’s many complementary and deeply interconnected elements. Although Hezbollah

  formally divides its operations into various subordinate entities such as its political party that runs

  in parliamentary and local elections, its da’wa organizations, and its Islamic Jihad Organization

  (responsible for perpetrating terrorist attacks), these subordinate directorates are integral,

  constituent parts of Hezbollah itself, and to the extent that it raises or smuggles funds through

  various charitable or commercial entities which have any putatively separate legal personalities or




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  corporate forms, such legal personalities or forms are maintained to assist Hezbollah in its efforts

  to conduct its criminal and terrorist activities under different names and aliases.

          1242. For example, through its Martyrs Foundation (a/k/a Shahid Foundation), Hezbollah

  provides welfare benefits to the families of its “martyrs” (Hezbollah terrorists killed while engaged

  in Jihad), particularly their children.

          1243. Hezbollah has openly, publicly, and repeatedly acknowledged and publicized that

  the Martyrs Foundation belongs to and is a part of Hezbollah, including on its official websites, in

  official press releases issued by Hezbollah, on Hezbollah’s official television station, Al-Manar,

  on Hezbollah’s official radio station, Al-Nour, and in numerous press conferences and news media

  interviews conducted by senior Hezbollah officials.

          1244. The Martyrs Foundation’s affiliation with Hezbollah was not only widely known

  in Lebanon. For example, as early as October 1991, The Independent newspaper (published in

  London) reported that the Martyrs Foundation supplies stipends to the families of Hezbollah

  terrorists.

          1245. Similarly, on May 30, 2000, The Irish Times published an article reporting that

  Hezbollah operatives, including personnel “from the Martyrs’ Foundation,” were moving into

  parts of Southern Lebanon.

          1246. The Martyrs Foundation’s stated purpose since its inception has been to help

  Hezbollah wage jihad against the perceived enemies of Shi’a Islam.

          1247. Its website openly (and prominently) quoted Hezbollah leader Hassan Nasrallah

  offering his gratitude to donors for giving money to the “martyrs’ children who are truthful to their

  covenant with Allah.”




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          1248. The Martyrs Foundation is part of Hezbollah’s da’wa, which a senior U.S. military

  analyst has correctly characterized as the “most important branch of the Hezbollah organization…

  The Social Service Section serves as an equal arm within the organization and is used as much as

  the military and political wing in terms of leverage.” The Martyrs Foundation’s purpose is to

  provide financial and other material support to Hezbollah terrorists wounded in action, and to the

  families of Hezbollah terrorists killed in action. The purpose of that funding and support is to

  “provide peace of mind to current and prospective” Hezbollah terrorists, “by knowing that they

  and their families will be cared for in the event of death or injury.”80

          1249. The U.S. Department of the Treasury has described the Martyrs Foundation–

  Lebanon as “openly affiliated with Hezbollah.”81

          1250. The Martyrs Foundation was designated an SDGT by the U.S. Government on July

  24, 2007.

          1251. The U.S. Treasury Department noted at that time that the Shahid Foundation

  provided funding to, among others, Palestinian suicide bombers:

                   The Martyrs Foundation is an Iranian parastatal organization that channels
                   financial support from Iran to several terrorist organizations in the Levant,
                   including Hizballah, Hamas, and the Palestinian Islamic Jihad (PIJ). To this
                   end, the Martyrs Foundation established branches in Lebanon staffed by
                   leaders and members of these same terrorist groups. Martyrs Foundation
                   branches in Lebanon has also provided financial support to the families of
                   killed or imprisoned Hizballah and PIJ members, including suicide bombers
                   in the Palestinian territories.




  80
           Major James B. Love, Hezbollah: Social Services as a Source of Power, U.S. Joint Special Operations
  University, at 21-24 (2010).
  81
          See Press Release, U.S. Department of the Treasury, Treasury Labels Bank Providing Financial Services to
  Hizballah as Specially Designated Global Terrorist (August 29, 2019), available at https://home.treasury.
  gov/news/press-releases/sm760 and incorporated by reference into the Second Amended Complaint.


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         1252. The Martyrs Foundation largely channeled its support to the families of Palestinian

  suicide bombers and other “martyrs” through a Gaza-based organization calling itself al-Ansar.

         1253. Announcements in Palestinian papers called on the “honorable families of the

  martyrs of the Al-Aqsa Intifada” seeking payments from the al-Ansar society to produce

  documentation proving their claims. For instance, the documents the martyrs’ families from the

  West Bank had to provide included the martyr’s identification card and his picture (if they had it),

  the beneficiary’s identification card, a copy of the death certificate, and a copy of the birth

  certificate of the martyr’s sons if they had them.

         1254. During the relevant period, the Martyrs Foundation’s website openly identified

  prominent HAMAS operatives as martyrs whose families received payments via accounts

  controlled by al-Ansar.

         1255. These HAMAS “martyrs” included senior HAMAS terrorists like Ibrahim Abd al-

  Karim Bani Awda and Basel al-Qawasmeh (commander of the HAMAS cell responsible for the

  Jerusalem Egged Bus #2 bombing and the Jaffa Road Bus #14A bombing, both attacks implicated

  in this case). He appears as Martyr #193 on the al-Ansar’s list of martyrs.

         1256. The list also included the family of Basem Takruri, the suicide bomber responsible

  for the Commuter Bus #6 bombing on May 18, 2003, an attack implicated in this case.

         1257. In yet another example, the family of Iyad Awda Mahmud Taqi, a Qassam Brigades

  operative killed on November 6, 2001, during an attack on Israeli soldiers, received a “martyr”

  payment from the Martyrs Foundation. His father also received a reward payment from the ALF

  to his CAB Account No. 393501.




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           1258. On May 15-16, 2001, al-Ansar published paid ads in Al-Hayat Al-Jadida

  newspaper, calling the families of martyrs in Gaza to come to the Society’s headquarters to receive

  their allocations.

           1259. According to Al-Hayat Al-Jadida, on August 22, 2001, al-Ansar held a public

  celebration in honor of the martyrs’ families

           1260. On its website, al-Ansar expressed its goals explicitly:

                  Al-Ansar opens its doors to the families of martyrs who seek it in order to
                  register their martyrs, who, with their noble blood, have watered the pure
                  soil of Palestine, drawing thereby the features and portrait of the coming
                  freedom and the coming dawn. Al-Ansar follows their path and shares with
                  their families and their parents the grief, the burden and the hope.

           1261. On its website, the Martyrs Foundation was even more direct by publishing lists of

  Palestinian “martyrs” who received support from the foundation and included the dates of the

  martyr’s birth and death, as well as his organizational affiliation (Fatah, HAMAS, PIJ, and the

  PFLP).

           1262. On its website, al-Ansar listed two accounts at CAB:

                      Cairo– Amman Bank, Islamic Transactions Department, 6912/3 – Gaza;
                       and

                      Cairo– Amman Bank, Islamic Business Department, 6157/1 – Nablus.

           1263. Al-Ansar was declared an unlawful association by Israel on October 25, 2003.

           1264. By providing the Martyrs Foundation with the means to transfer funds into the

  Palestinian territories (via al-Ansar) for distribution to the families of Palestinian terrorists, CAB

  was once again deeply involved in both providing financial services to both Hezbollah and

  HAMAS that incentivized, facilitated, and rewarded violent terrorist attacks.




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  IX.    CAB KNOWINGLY MAINTAINED ACCOUNTS FOR THE FAMILIES OF
         HAMAS TERRORISTS AND FACILITATED “MARTYR PAYMENTS” TO
         THOSE ACCOUNTS

         1265. Particularly during the Second Intifada period, it was common for families of so-

  called “martyrs” killed during the commission or attempted commission of terrorist attacks, to

  receive multiple reward payments in amounts vastly exceeding the average yearly income of a

  Palestinian family.

         1266. Speaking in 2001, HAMAS’s founder, Sheikh Ahmed Yassin, claimed that his

  organization distributed $2 million to $3 million in monthly handouts to the relatives of Palestinian

  suicide bombers, “martyrs” killed in attacks on Israelis, and prisoners in Israeli jails.

         1267. These payments were separate from the incentives paid to the same families by the

  ALF and Hezbollah’s Martyrs Foundation (discussed above).

         1268. In sum, the flow of funds to the families of the “martyrs” was unusual, repetitive,

  and involved sums that would raise glaring red flags at any bank.

         1269. Moreover, the payments not only removed an important psychological disincentive

  for suicide bombers and other operatives who otherwise might have worried that their deaths

  would adversely impact their families’ financial situations, but the widely publicized and

  comparatively large sums dispensed also encouraged future would-be terrorists to enlist, knowing

  that they would not only be publicly honored as “martyrs,” but their families would be actively

  rewarded financially for their deeds.

         1270. As described above, CAB maintained accounts for family members of prominent

  HAMAS operatives and processed “martyr payments” made to the families of these individuals,

  including:

                    The family of Mahmud Marmash, a HAMAS suicide bomber who
                     carried out a suicide attack in Netanya. Payments to Marmash’s family
                     were deposited into CAB Account No. 1518 26968400 in Tulkarem.


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                     The family of Imad Faruq Mahmud al-Nashrati, who served as the head
                      of HAMAS’s Qassam Brigades in the Jenin area and who was
                      responsible for organizing suicide bombings and other terror attacks,
                      including the suicide bombing on an Egged bus at the Meron junction
                      on August 4, 2002. Payments to al-Nashrati’s family were deposited
                      into CAB Account No. 253062.

                     The family of Shaman Hussein Muhammad Subh, another senior
                      operative of HAMAS’s Qassam Brigades in the Jenin area who was
                      responsible for recruiting terror cells which planned to execute many
                      terror attacks and kidnap soldiers. Payments to Subh’s family were
                      deposited into CAB Account No. 266353.

                     The family of Shadi Zakariya Rida al-Tubasi, the HAMAS operative
                      who perpetrated the suicide bombing at the “Matza” Restaurant in Haifa
                      on March 31, 2002. Payments to al-Tubasi’s family were deposited into
                      CAB Account No. 243491.

                     The family of Ahmad Jayusi, a HAMAS operative involved in the
                      planning of the Passover suicide bombing of March 27, 2002. Payments
                      to Jayusi’s family were deposited into CAB Account No. 297445.

                     The family of Iyad Awda Mahmud Taqi, a Qassam Brigades operative
                      killed on November 6, 2001, during an attack on Israeli soldiers.
                      Payments to Taqi’s family were deposited into CAB Account No.
                      393501.


                                       CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

     AIDING AND ABETTING HAMAS, A FOREIGN TERRORIST ORGANIZATION,
                     IN VIOLATION OF 18 U.S.C. § 2333(d)

          1271. Plaintiffs repeat and re-allege the allegations of the foregoing paragraphs as if fully

  set forth herein.

          1272. Plaintiffs were all injured by acts of international terrorism as defined by 18 U.S.C.

  § 2331 that were committed, planned, and authorized by HAMAS, a designated FTO at the time

  each act of terrorism described occurred.



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          1273. HAMAS has been a terrorist organization headquartered in the Gaza Strip since

  1987.

          1274. CAB is a Jordanian bank with substantial operations in the Palestinian Territories.

          1275. Banking regulations and industry standards require banks to know their customers.

          1276. CAB knowingly provided substantial assistance to HAMAS by transferring

  significant sums of money to HAMAS and its operatives and maintaining bank accounts for its

  senior operatives and key institutions which were controlled by and/or were alter egos of HAMAS.

          1277. CAB knowingly provided substantial assistance to HAMAS by transferring

  significant sums of money though ALF, the Martyrs Foundation/al-Ansar, and various institutions

  which were controlled by and/or were alter egos of HAMAS to the families of HAMAS suicide

  bombers and other HAMAS “martyrs” and prisoners.

          1278. CAB was fully aware of HAMAS’s conduct, including its campaign of suicide

  bombings and other terrorist acts over a sustained period of time.

          1279. CAB even employed a HAMAS operative and Marj al-Zuhur deportee at its

  Ramallah branch after his return from Lebanon.

          1280. CAB’s own actions knowingly and substantially assisted HAMAS, and plaintiffs’

  injuries were a foreseeable result of the significant sums of money and related assistance CAB

  provided and made available to HAMAS, its leaders, and operatives.

          1281. CAB understood the value and importance to HAMAS of its own role in facilitating

  large transfers of funds, including the cross-border transfer of U.S. dollars, from donors and co-

  conspirators around the world to the Palestinian Territories and making those funds easily available

  to HAMAS.




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          1282. The nature of the acts assisted, which were acts of international terrorism, benefited

  from, inter alia, illegal access to millions of U.S. dollars provided by Defendant.

          1283. CAB knowingly provided this substantial assistance to HAMAS for years,

  including throughout the relevant period.

          1284. Plaintiffs’ injuries were proximately caused by HAMAS’s conduct, which

  Defendant substantially assisted.

          1285. The customers and counter-parties CAB assisted were all involved in supporting

  and facilitating HAMAS’s violence and were closely intertwined with HAMAS’s violent, terrorist

  activities.

          1286. CAB’s customers and counterparties identified herein included HAMAS leaders

  directly involved in recruiting suicide bombers and assisting Qassam Brigades operatives. They

  also included organizations dedicated to supporting and encouraging HAMAS’s terrorist violence,

  including incentivizing HAMAS suicide bombers and other HAMAS operatives by providing

  “martyr” and prisoner payments to their families.

          1287. In sum, all of CAB’s customers and counterparties identified herein were so

  “closely intertwined” with HAMAS’s violent terrorist activities that it is clear that CAB was

  generally aware while it was knowingly providing substantial banking services to those individuals

  and entities that it was playing a role in unlawful activities from which the terrorist attacks

  described above were foreseeable.

          1288. Plaintiffs allege that CAB knowingly aided and abetted HAMAS within the

  meaning of 18 U.S.C. § 2333(d) and within the legal framework of Halberstam v. Welch, 705 F.2d

  472 (D.C. Cir. 1983), which Congress has found to provide “civil litigants with the broadest

  possible basis” for relief against those “that have provided material support, directly or indirectly,




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  to foreign organizations or persons that engage in terrorist activities against the United States.” See

  JASTA, §2(b).

                                      SECOND CLAIM FOR RELIEF

                      COMMITTING ACTS OF INTERNATIONAL TERRORISM
                   IN VIOLATION OF 18 U.S.C. § 2339B(a)(1) AND 18 U.S.C. § 2333(a)

          1289. Plaintiffs repeat and re-allege every allegation of the foregoing paragraphs as if

  fully set forth herein.

          1290. Plaintiffs were injured in terrorist attacks (which were acts of international

  terrorism as defined by 18 U.S.C. § 2331) committed by HAMAS, an FTO so-designated at the

  time each act of terrorism at issue occurred.

          1291. By knowingly providing financial services to HAMAS, CAB has provided material

  support to an FTO designated under the Antiterrorism and Effective Death Penalty Act of 1996 in

  violation of 18 U.S.C. § 2339B(a)(1).

          1292. CAB was fully aware of HAMAS’s terroristic nature, including its long-standing

  campaign of suicide bombings and other acts of terrorism.

          1293. CAB knew that HAMAS had been designated an FTO by the Government of the

  United States.

          1294. CAB’s own actions on behalf of HAMAS – which included knowingly providing

  extensive financial services and maintaining accounts for more than a dozen of HAMAS’s most

  prominent institutions, several prominent HAMAS leaders, the families of HAMAS prisoners and

  “martyrs” – constituted violations of 18 U.S.C. § 2339B(a)(1) that satisfy the definition of “acts

  of international terrorism” under 18 U.S.C. § 2331(1).

          1295. Knowingly facilitating massive payments over an extended period of time to the

  families of suicide bombers and other HAMAS “martyrs” violated all conceivable banking



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  standards and were in no way “routine.” Nor was helping Saddam Hussein, Hezbollah’s Martyrs

  Foundation, and HAMAS subsidize the families of HAMAS suicide bombers and provide financial

  reassurance to “prospective” suicide bombers and terror operatives benign.

         1296. CAB provided financial services and facilitated massive funds transfers over an

  extended period to individuals and entities it knew belonged to HAMAS and to the families of

  HAMAS suicide bombers, other HAMAS “martyrs” and HAMAS prisoners. That conduct was a

  substantial factor in the sequence of responsible causation of the attacks described herein and

  plaintiffs’ injuries were a reasonably foreseeable consequence of that conduct.

         1297. Hence, CAB’s conduct was dangerous to human life and its acts constituted

  violations of the criminal laws of the United States.

         1298. Because CAB continued to knowingly provide vital services to a designated FTO

  during a mass terror campaign and knowingly helped facilitate reward payments to the families of,

  among others, HAMAS suicide bombers, its conduct objectively appeared to be intended to

  intimidate or coerce the civilian population of Israel, intimidate its government, or affect its

  conduct.

         1299. CAB’s conduct transcended national boundaries in terms of the means by which it

  was accomplished.

         1300. By knowingly providing material support to a designated Foreign Terrorist

  Organization, CAB is civilly liable for damages to the plaintiffs for their injuries pursuant to 18

  U.S.C. § 2333(a).




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                                   PRAYER FOR RELIEF

  WHEREFORE, plaintiffs pray that this Court:

               (a)    Accept jurisdiction over this action;

               (b)    Enter judgment against CAB and in favor of plaintiffs for compensatory
                      damages in amounts to be determined at trial;

               (c)    Enter judgment against CAB and in favor of plaintiffs for treble damages
                      pursuant to 18 U.S.C. § 2333(a);

               (d)    Enter judgment against CAB and in favor of plaintiffs for any and all costs
                      sustained in connection with the prosecution of this action, including
                      attorneys’ fees, pursuant to 18 U.S.C. § 2333(a); and

               (e)    Grant such other and further relief as justice requires.




  PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

  September 3, 2021

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  UNITED STATES OF AMERICA          §
                                    §
  VS.                               §                CR NO. 3:04-CR-240-P
                                    §
  HOLY LAND FOUNDATION              §
  FOR RELIEF AND DEVELOPMENT, §
       also known as the “HLF” (01) §
  SHUKRI ABU BAKER, (02)            §                       ECF
  MOHAMMED EL-MEZAIN, (03)          §
  GHASSAN ELASHI, (04)              §
  HAITHAM MAGHAWRI, (05)            §
  AKRAM MISHAL, (06)                §
  MUFID ABDULQADER, (07) and        §
  ABDULRAHMAN ODEH (08)             §


            GOVERNMENT’S SECOND SUPPLEMENTAL TRIAL BRIEF

         The United States submits this supplemental trial brief in support of the evidence

  and arguments relied upon in its case-in-chief. The purpose of this submission is to

  refresh and update the government’s previously filed Trial Briefs [ecf # 656, 757],

  provide the Court with an overview of the case and the different kinds of evidence that

  the government will seek to admit at trial, and to bring to the Court’s attention evidentiary

  issues that arose during the first trial. This submission does not repeat all of the issues

  raised in the government’s earlier Trial Briefs, and this supplemental Trial Brief should

  be construed as incorporating those earlier matters as if they were fully set forth herein.




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                                I. PROCEDURAL HISTORY

         On July 26, 2004, a federal grand jury indicted the above-named defendants in a

  42 count indictment. The indictment charged the defendants with conspiracy to provide

  material support to a designated foreign terrorist organization; twelve counts of providing

  material support to a foreign terrorist organization; conspiracy to provide funds, goods

  and services to a Specially Designated Terrorist; twelve counts of providing funds, goods

  and services to a Specially Designated Terrorist; conspiracy to commit money laundering;

  twelve counts of money laundering; one count of conspiracy to impede the Internal

  Revenue Service and to file false tax returns; and three counts of filing false tax returns of

  an organization exempt from income tax. The defendants Akram Mishal and Haitham

  Maghawri have not been arrested in this case and are fugitives.

         The first trial of this matter began July 16, 2007. The jury was unable to reach a

  verdict on any count against defendants HLF, Baker, Elashi, Abdulqader and Odeh. With

  respect to defendant El-Mezain, the jury hung on Count I and acquitted on the remaining

  counts. On August 29, 2008, the government dismissed the non-conspiracy counts

  against Abdulqader and Odeh only. All defendants will be retried beginning September

  15, 2008.

                              II. FACTUAL BACKGROUND

         As set forth in the superceding indictment, Hamas is an international terrorist

  organization with the stated objective of destroying the State of Israel and replacing it



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  with an Islamic state comprised of what is now Israel, the West Bank and the Gaza Strip.

  Hamas is organized into distinct wings, or bureaus, that perform different functions, but

  operate as a seamless whole. It includes a military wing, responsible for carrying out

  suicide bombings and other terrorist attacks; a social wing, which operates much like a

  social welfare agency; and a political wing, which sits above the military and social wings

  and is responsible for setting policies and guidelines regarding Hamas’ activities. The

  defendant Holy Land Foundation (HLF), sometimes called “the Fund,” was an integral

  part of the Hamas social infrastructure. Not only did HLF operate to support the Hamas

  agenda, but it was created for that very purpose.

         On January 24, 1995, pursuant to Executive Order 12947, the President designated

  Hamas as a Specially Designated Terrorist organization. This designation makes it illegal

  for any United States person or entity to engage in any unlicensed transactions or dealings

  involving the property or interests of Hamas. Hamas’ designation as a Specially

  Designated Terrorist organization has remained in place since January 24, 1995. On

  October 8, 1997, the Secretary of State, pursuant to the laws of the United States,

  designated Hamas as a “Foreign Terrorist Organization.” As a result of this designation,

  it became illegal for any person within the United States or subject to its jurisdiction to

  provide material support or resources to Hamas.




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         A. The Rise of Hamas in the United States

         The conspiracy surrounding this case and involving these defendants began years

  before the enactment of the Executive Order and material support statutes at issue. In late

  1987, violent confrontations between the Palestinians and Israelis sharply increased, and

  Palestinian demonstrations evolved into wide-spread physical resistence. This grass-roots

  resistence to the Israeli presence in the West Bank and Gaza was labeled the First

  Intifada, an Arabic term translated as “uprising.”

         At the outbreak of the First Intifada, Sheik Ahmed Yassin, an Islamic cleric from

  Gaza, was the leader of the Palestinian branch of the Muslim Brotherhood.1 Sheik Yassin

  and his followers, fueled by their resentment of Israel’s existence and a fundamentalist

  Islamist ideology, were instrumental in the First Intifada. While many Palestinians were

  satisfied to have a “two state solution” to the conflict, this was not an acceptable

  compromise for Sheik Yassin and his followers.

         In December 1987, Sheik Yassin, among others, formally established Harakat al-

  Muqawamah al-Ilamiyya, Arabic for the “Islamic Resistance Movement” (known by its

  acronym, Hamas). Hamas’ founding charter makes clear that Hamas is, in fact, the

  Palestinian branch of the Muslim Brotherhood, and calls for the annihilation of Israel

  through “jihad” (holy war), and the creation of an Islamic state in its place. Hamas


         1
           The Muslim Brotherhood is an international, Islamic fundamentalist movement, which started in
  Egypt in 1928, under the following of Islamic leader Sheik Hassan Al Banna. The Brotherhood – also
  called the “Ikwan” – has members and branches all around the world, including the United States, and is
  divided into sub-groups along ethnic and nationalistic lines.

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  defines jihad as including violent activities, with such violent activities being carried out

  by Hamas’ military wing, commonly known as the Izz Al-Din Al-Qassam Brigades (“Al-

  Qassam Brigades”). Hamas frequently engages in suicide bombings, whereby a person is

  smuggled into a civilian population center in Israel wearing an explosive vest, and then

  detonates the explosives at the moment calculated to inflict the most damage. Often, a

  second bomber follows, detonating his explosive device once a crowd of first responders

  have gathered around the wreckage of the first bombing.

          In addition to violent jihad, the Hamas charter also calls for charity as a means of

  securing the population’s loyalty. Through social responsibility, the charter explains,

  "brotherliness would deepen, cooperation, sympathy and unity will be enhanced and the

  ranks will be solidified to confront the enemies.”

         Sheik Yassin designed Hamas on the model of the Muslim Brotherhood, which, in

  addition to armed, paramilitary action, builds its strength on providing for the needs of the

  people as a means of gaining popular support for the Movement and acceptance of its

  Islamic fundamentalist way of life. Through this grass-roots approach, (known as dawa -

  “preaching” or “calling”), Hamas achieves a number of goals. Among other perceived

  benefits, it (1) assures popular support for the movement, and through its popular support

  improves its ability to compete with opposing political factions; (2) provides a base from

  which to indoctrinate and recruit future activists, including military recruits, to carry out

  suicide bombings and other terrorist acts; (3) provides a benign cover through which



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  millions of dollars can be transferred from overseas into Hamas operated or controlled

  institutions; and (4) since money is fungible, the overseas support for the dawa frees

  resources that can then be devoted to terrorist activity.

            In order to raise the requisite funds to support its operations, including its social

  support network, Hamas looked outside of the Palestinian areas, to individuals,

  organizations and foreign governments sympathetic to its mission, including the United

  States.

            By the outbreak of the First Intifada, the Muslim Brotherhood in the United States

  was significant and well organized. In 1987, the governing body of the International

  Muslim Brotherhood decided to focus its mission on the Palestinian issue, and directed

  that Palestine Committees be formed in countries throughout the world. In the United

  States, the Palestine Committee was comprised of active Muslim Brotherhood members

  of Palestinian origin. The leader of the Palestinian Committee in the United States at that

  time was unindicted co-conspirator Mousa Abu Marzook. Marzook is now – and has

  been since 1995 – a Specially Designated Terrorist and Hamas leader. In fact, in the early

  1990s, Marzook left his post as a leader of the United States-based Muslim Brotherhood

  and Palestinian Committee to take over as Hamas’ Political Bureau Chief, the

  organization’s highest official position.




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         B. Documents Seized from Co-Conspirator Ismail Elbarasse

         The creation and growth of the Palestine Committee in the United States are

  evidenced in part by documents that the government seized in 2004 from the Virginia

  home of unindicted co-conspirator and Palestinian Committee member Ismail Elbarasse.

  As shown by those documents and other evidence, the Muslim Brotherhood directed its

  Palestinian Committees throughout the world, including the United States, to carry out the

  mandate of assisting Sheik Yassin and his newly-formed Hamas Movement. In

  accordance with that mandate, the Palestinian Committee in the United States, which

  included the defendants Elashi, Baker and El-Mezain, oversaw a number of sub-

  organizations charged with varying missions calculated to comprehensively address

  Hamas’ needs. These organizations included the United Association for Studies and

  Research (UASR) (“think tank”), the Islamic Association of Palestine (IAP) (propaganda

  and information) and the Occupied Land Fund (OLF) (money), later to become the

  defendant HLF. The defendant Shukri Abu Baker was in charge of the HLF and, along

  with the defendants El-Mezain and Elashi, set out to establish what would become the

  highest grossing Islamic charity in the United States.

         The UASR involved, among others, unindicted co-conspirators Mousa Abu

  Marzook (a Hamas leader) and Yousef Saleh, a.k.a. Ahmed Yousef, and was designed for

  ideological research and development intended to promote a fundamentalist view of the

  Palestinian issue. The UASR was also involved in passing Hamas communiques to the



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  United States-based Muslim Brotherhood community and relaying messages from that

  community back to Hamas. The IAP, which involved the defendant Ghassan Elashi as an

  original incorporator and bank account signatory, was designed as a propaganda facility,

  responsible for Intifada festivals (involving the defendant HLF), pro-Hamas publications,

  and the general rallying of support within the American Muslim community. The IAP

  was the first organization to publish an English version of the Hamas charter. Further,

  during their existence, unindicted co-conspirator and Hamas leader Mousa Abu Marzook

  funneled well over a million dollars into the three organizations (UASR, IAP, OLF/HLF)

  during a time when he was an unemployed graduate student.

         The defendant HLF’s role was to subsidize Hamas’ vital social recruitment and

  rewards program designed to win the hearts and minds of the Palestinian population and

  solidify loyalty to Hamas. In order for Hamas to achieve its objectives, it had to win the

  broad support of the Palestinian population, and it needed a way to bring in large amounts

  of cash from abroad. The defendant HLF set out to do both. Moreover, the HLF did not

  embark on this mission alone. Throughout the world, organizations similar to the HLF

  were being established to achieve the same mission of supporting Hamas.

         C. The Philadelphia Conference

         Although there are varying accounts as to the exact date at which the First Intifada

  officially ended, by most accounts, 1993 and the signing of the Oslo Accords, officially

  called the Declaration of Principles on Interim Self-Government Arrangements, signified



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  the end. The Oslo Accords were a dramatic event in the Israeli-Palestinian conflict So,

  too, were the Oslo Accords significant in the United States, as President Clinton brokered

  the agreement and held a nationally televised signing in Washington, D.C. on September

  13, 1993, between Yasser Arafat (PLO Chairman) and Israel’s Prime Minister Yitzhak

  Rabin and his foreign minister, Shimon Peres. The agreement had several significant

  aspects, including the withdrawal of Israeli forces from parts of the West Bank and Gaza,

  and the creation of the Palestinian National Authority (PA), headed by PLO Chairman

  Yasser Arafat. Under the plan, the PA would perform the services previously provided

  by Israel, including education, health, social welfare, taxation and tourism. The

  agreement also included Letters of Mutual Recognition, whereby the Israeli government

  recognized the PA as the legitimate representative of the Palestinian people, while the

  PLO recognized the right of Israel to exist and renounced terrorism, violence and the

  desire for the destruction of Israel.

         The Oslo Accords were not, however, universally accepted. Hamas rejected the

  agreement for its unacceptable condition of recognizing Israel’s right to exist. For

  Hamas, the Oslo Accords were a threat to Hamas’ survival and in direct confrontation

  with its most valued tenet - the destruction of the State of Israel and the creation of an

  Islamic state in all of what is today Israel, the West Bank, and the Gaza Strip.

         For Hamas’ support network in the United States (the Palestine Committee), the

  signing of the Oslo Accords and America’s brokering of the agreement presented a



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  difficult challenge. The Oslo Accords had provided a degree of public expectation for a

  peaceful resolution to the historic conflict. In order for the Palestine Committee to fulfill

  its mandate of assisting and strengthening Hamas, it would have to be much more

  cautious and organized in its efforts, so as to avoid overt alignment with a group now

  dedicated to undermining the American-backed peace process.

         In October 1993, less than one month after the public signing of the Oslo Accords,

  approximately 20 members of the Palestine Committee gathered together in Philadelphia,

  Pennsylvania to discuss how to proceed in light of the Olso Accords. The defendants

  Shukri Abu Baker, Ghassan Elashi and Mufid Abdulqader were present. Although

  expected to attend, the defendant Muhammad El-Mezain was ill and unable to attend.

         The Federal Bureau of Investigation (FBI) was still in the early stages of its

  investigation of Hamas in the United States when the Palestine Committee met in

  Philadelphia. One of the initial Hamas cases investigated by the FBI involved unindicted

  co-conspirator Abdelhalem Ashqar, an Oxford, Mississippi-based Hamas activist. The

  FBI learned of the Philadelphia meeting through the Ashqar investigation and, as a result,

  the FBI obtained a warrant from the Foreign Intelligence Surveillance Court to monitor

  the meeting, which lasted approximately three days.

         During the meeting, the participants openly discussed the problems that the Oslo

  Accords posed for achieving their objectives and strategized about how best to defeat the

  peace process. The United States was fertile ground for fundraising and propaganda,



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  offering the essential Constitutional protections which afforded the freedom to operate.

  Since the United States had publicly positioned itself behind the peace process, the

  attendees were concerned that disclosure of their true purpose would threaten their

  established infrastructure by aligning them with what they knew was a terrorist

  organization. Attendees were admonished not to mention “Hamas,” but rather to refer to

  it as “Samah,” which is Hamas spelled backwards. Attendees questioned how they could

  continue their quest to defeat the peace process without being viewed as “terrorists.”

  They discussed their concern that the peace process would attract Palestinian support and

  further complicate their ultimate goal of creating an Islamic state throughout Israel. They

  agreed that they must operate under an ostensible banner of apolitical humanitarian

  exercise in order to continue supporting Hamas’ vital social recruitment effort.

         In order to facilitate their continued support of Hamas, the attendees discussed the

  method by which they could provide financial support without an overt alignment with

  Hamas. That method involved supporting institutions, organizations and programs in the

  West Bank and Gaza aligned with the Hamas movement. Attendees identified several

  organizations and zakat committees as “ours.” The infiltration and control of social

  committees and organizations providing humanitarian relief in the West Bank and Gaza

  provided a perfect opportunity for Hamas to widen and strengthen its grip on the

  Palestinian population. Countless interviews and speeches by Hamas leaders have lauded

  its social apparatus as the bedrock of the organization, and the primary source of its



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  influence in the region. This influence would continue to grow, culminating in Hamas’

  rise to political power, and violent take-over of the Gaza Strip from the PA.

         D. Hamas’ Designation as a Terrorist Organization

         By 1995, Hamas had made clear its intention to violently derail the peace process

  by undermining what was perceived as a corrupt and ineffective PA. It did so by

  increasing its violent campaign of suicide bombings, kidnappings and other paramilitary

  actions. The United States fully realized the significant impediment that Hamas and other

  Islamic extremist organizations posed to the peace process. In response, President

  Clinton issued Executive Order 12947 (January 23, 1995), which declared a national

  emergency and made it unlawful to support organizations and individuals committed to

  disrupting the Middle East peace process. Hamas was included in the Annex to the

  original Executive Order, and officially became a Specially Designated Terrorist; a

  designation status created by Executive Order 12947. Subsequently, in 1996, Congress

  passed the Antiterrorism and Effective Death Penalty Act (AEDPA), which created the

  term “Foreign Terrorist Organization” and resulted in the codification of the material

  support statute of Title 18, United States Code, Section 2339B. In October 1997, the

  State Department listed Hamas as a Foreign Terrorist Organization.

         The new statutes enacted pursuant to Executive Order 12947 and AEDPA

  prohibited the provision of any type of support – including charitable – to any component

  of the designated organization. This broad prohibition recognized the vital role a terrorist



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  group’s social infrastructure plays in strengthening the movement by exploiting the needs

  of the civilian population and providing radical indoctrination through its schools and

  social programs.

         The defendants were well aware of Executive Order 12947 and AEDPA and

  expressed considerable concern over the laws’ application. Wiretaps and search warrant

  material revealed significant exposure to and familiarity with the laws. Once again, the

  defendants were forced to adapt to a changing environment. The tone and language of

  the conferences, publications and speakers supported by the defendants began to change

  in order to avoid being publicly associated with Hamas and its agenda. Conference tapes

  possessed by and involving the defendants and the organizations of the Palestine

  Committee reveal the contrast before and after the designations. These early tapes reveal

  the true spirit and intent behind the defendants’ activities and unveil the purpose and

  motive of their organizations.

         In the years following the new anti-terrorism laws, the defendants continued

  providing support to the same organizations and institutions that they supported prior to

  the legislation; however, much more of the defendant HLF’s money was being diverted to

  its own offices and/or representatives located throughout the West Bank and Gaza, which

  would then be passed to the zakat committees and charitable organizations. Between

  1995 and December 2001, the defendant HLF delivered hundreds of thousands of dollars

  into the West Bank and Gaza to construct schools, medical clinics, libraries and other



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  community-based facilities, in addition to supporting individuals and families of

  individuals arrested, detained or injured during violent confrontations with Israel. This

  aid continued to be distributed through an insular network of charity committees

  controlled by Hamas, including many of the same committees identified as “ours” in the

  1993 Philadelphia Conference.

         In September 2000, the violence between Israel and the Palestinians was reignited,

  and quickly escalated into what was labeled the Second Intifada. The Second Intifada

  resulted in numerous arrests, detentions, suicide bombings, and confrontation-related

  injuries and deaths. The defendant HLF was quick to respond and show its support for

  the uprising.

         Various operations and initiatives were conducted by Israel during the Second

  Intifada in an effort to diminish the rapidly growing use of suicide bombings, kidnappings

  and other violent techniques aimed at threatening Israel’s civilian and military

  populations. On March 27, 2002, on the eve of the Jewish holiday of Passover, a Hamas

  operative entered a hotel in a resort town of Natanya and blew himself up. Among the

  many killed were elderly people gathered for the traditional Passover meal, several of

  whom were Holocaust survivors. In response, Israel launched Operation Defensive

  Shield, which targeted the Hamas infrastructure, including certain Islamic charitable

  institutions in the West Bank. This effort, and others that followed, reflected Israel’s

  increasing realization that Hamas’ social network of institutions and programs was a



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  significant contributor to Hamas’ ability to execute terrorist operations. Israel believed

  the targeted institutions were providing employment and cover for Hamas operatives, in

  addition to creating an environment through its schools, clinics and mosques that praised

  terrorist activities, facilitated recruitment, and significantly perpetuated the violent

  confrontation.

         Hamas used its leadership role in the Second Intifada and the loyalty it gained

  through its provision of social services to catapult itself into Parliamentary control.

  Shortly thereafter, it attacked the PA, and ousted them from control in the Gaza Strip. The

  PA remains the governing body in the West Bank. Hamas is now the controlling entity of

  the PA. While Hamas’ suicide bombings and other violent engagement with Israel are

  paramount in the public awareness, it is its social infrastructure that Hamas credits with

  its rise to power.

         Over the years, the PA would, from time to time, attempt to take measures against

  the zakat committees and other organizations run by Hamas. Closures, however, were

  always short lived, a product of the political reality in which the PA needed Hamas to

  provide services that it was unable to effectively provide itself. After Hamas attacked the

  PA and took control of Gaza, however, the PA began to take more serious measures

  against the Hamas social infrastructure. In December 2007, the PA reorganized the zakat

  committees into districts, and began an attempt to enforce existing laws that previously

  went ignored. Hamas decried these measures, and in numerous Arabic publications



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  declared the PA’s actions to be directed against Hamas, a position which confirms the

  fact that Hamas controlled these committees and organizations.

         E. The Hamas International Fundraising Network

         Neither the HLF nor the U.S.-based Palestinian Committee worked in isolation on

  behalf of Hamas. HLF was a vital member of Hamas’ international network of

  organizations dedicated to financing the Hamas agenda, and worked in conjunction with

  organizations in Europe and throughout the world to funnel money to the same closed

  network of Hamas-controlled charity committees in the West Bank and Gaza. These

  other organizations -- including The Palestinian Relief and Development Fund (Interpal)

  in Great Britain, the Al-Aqsa Foundation in Germany, Belgium and Holland, the Comite’

  de Bienfaisance et de Secours aux Palestiniens (CBSP), in France, the Association de

  Secours Palestinien (ASP) in Switzerland; the Palestinian Association in Austria (PVOE);

  and the Palestinian Branch of the World Organization of Muslim Youth (WAMY) --

  operated in much the same way as HLF, sharing fundraising techniques, projects, and

  connections to Hamas leaders. Interpal, Al-Aqsa, CBSP, ASP and PVOE are all

  designated as terrorist organizations in the United States.

                             III. CHARGES AND ELEMENTS

         The following chart shows the charges contained within the superseding

  indictment and which defendants are named in which counts:




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         DEF.         CT.                             CHARGE

   All            1         Conspiracy to Provide Material Support to a Foreign Terrorist
                            Organization, 18 U.S.C. § 2339B(a)(1)

   HLF,           2 - 10    Providing Material Support to a Foreign Terrorist
   Baker,                   Organization, 18 U.S.C. § 2339B(a)(1) and 18 U.S.C. § 2
   Elashi

   HLF,           11        Conspiracy to Provide Funds, Goods and Services to a
   Baker,                   Specially Designated Terrorist, 50 U.S.C. §§ 1701-1706, 31
   Elashi,                  C.F.R. § 595.201
   Abdulqader,
   Odeh

   HLF,           12 -21    Providing Funds, Goods and Services to a Specially
   Baker,                   Designated Terrorist, 50 U.S.C. §§ 1701-1706, 31 C.F.R. §
   Elashi                   595.201 and 18 U.S.C. § 2



   HLF,           22        Conspiracy to commit money laundering, 18 U.S.C. § 1956(h)
   Baker,
   Elashi,
   Abdulqader,
   Odeh

   HLF,           23 - 32   Money laundering, 18 U.S.C. § 1956(a)(2)(A)
   Baker,
   Elashi

                  33        Conspiracy to impede and impair the Internal Revenue Service
   Baker,                   and to File False Return of Organization Exempt from Income
   Elashi                   Tax, 18 U.S.C. § 371

                  34 - 36   Filing false returns of Organization Exempt from Income Tax,
   Baker,                   26 U.S.C. § 7206(1)
   Elashi



          The following chart shows the elements for each offense named in the superseding

  indictment:

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       CT.           CHARGE                                  ELEMENTS

   1         Conspiracy to Provide        First, that two or more persons agreed to provide
             Material Support to a        material support or resources to a foreign
             Foreign Terrorist            terrorist organization;
             Organization, 18 U.S.C. §    Second, that the defendant knowingly became a
             2339B(a)(1)                  member of the conspiracy with the intent to
                                          further its unlawful purpose;
                                          Third, that the charged conspiracy existed on or
                                          after October 8, 1997, the date on which Hamas
                                          was designated a foreign terrorist designation,
                                          and that the defendant was a member of the
                                          conspiracy on or after that date.

   2 - 10    Providing Material           First, that the defendant in question provided
             Support to a Foreign         material support or resources to a foreign
             Terrorist Organization, 18   terrorist organization;
             U.S.C. § 2339B(a)(1) and     Second, that the defendant in question did so
             18 U.S.C. § 2                knowingly; and
                                          Third, that this court has jurisdiction over the
                                          offense.

   11        Conspiracy to Provide        First: that two or more persons agreed to provide
             Funds, Goods and             funds, goods or services to a Specially
             Services to a Specially      Designated Terrorist;
             Designated Terrorist, 50     Second: that the defendant knew the purpose of
             U.S.C. §§ 1701-1706, 31      the agreement and joined in it willfully, that is,
             C.F.R. § 595.201             with the intent to further the unlawful purpose;
                                          and
                                          Third: that one of the conspirators during the
                                          existence of the conspiracy knowingly
                                          committed at least one overt act in order to
                                          accomplish some object or purpose of the
                                          conspiracy.




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   12 - 21   Providing Funds, Goods        First: that the defendant himself or, by aiding
             and Services to a Specially   and abetting another defendant or by being
             Designated Terrorist, 50      aided or abetted by another defendant,
             U.S.C. §§ 1701-1706, 31       contributed funds, goods, or services to, or for
             C.F.R. § 595.201 and 18       the benefit of a Specially Designated Terrorist;
             U.S.C. § 2                    Second: that such funds, goods or services were
                                           in the United States, or thereafter came within
                                           the United States, or thereafter came within the
                                           possession or control of United States persons;




                                                                                          -
                                           Third: that the defendant did so knowingly and
                                           willfully.

   22        Conspiracy to commit          First: that two or more persons agreed to
             money laundering, 18          accomplish a common and unlawful plan to
             U.S.C. § 1956(h)              violate 18 U.S.C. Section 1956, as charged in
                                           the indictment; and
                                           Second, that the Defendant, knowing the
                                           unlawful purpose of the plan, willfully joined in
                                           it;

   23 - 32   Money laundering, 18          First: that the Defendant knowingly transported
             U.S.C. § 1956(a)(2)(A)        transmitted, or transferred a monetary
                                           instrument or funds from a place in the United
                                           States to or through a place outside the United
                                           States or to a place in the United States from or
                                           through a place outside the United States or
                                           attempted to do so; and
                                           Second: that the Defendant engaged in the
                                           attempted transportation, transmission or
                                           transfer with the intent to promote the carrying
                                           on of "specified unlawful activity."

   33        Conspiracy to impede and      First: two or more persons agreed to commit an
             impair the Internal           offense against the United States or to defraud
             Revenue Service and to        the United States;
             File False Return of          Second: the defendant's knowing and voluntary
             Organization Exempt from      participation in the conspiracy; and
             Income Tax, 18 U.S.C. §       Third: the commission of an overt act in
             371                           furtherance of the conspiracy.




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   34 - 36   Filing false returns of     First: That the defendant signed an income tax
             Organization Exempt from    return that contained a written declaration that it
             Income Tax, 26 U.S.C. §     was made under penalties of perjury;
             7206(1)                     Second: That in this return the defendant falsely
                                         stated that the payments shown were going to
                                         Program Services when in the fact the payments
                                         were going to Hamas;
                                         Third: That the defendant knew the statement
                                         was false;
                                         Fourth: That the false statement was material;
                                         and
                                         Fifth: That the defendant made the statement
                                         willfully, that is, with intent to violate a known
                                         legal duty.




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                                IV. EVIDENTIARY ISSUES

         A.     Expert Testimony

                1. The Government’s Experts

         As set forth in the government’s expert notices, the government will call several

  experts to explain the history and evolution of the Hamas organization, its structure,

  central cast, and the goals and objectives of the organization; the charitable organizations

  in the West Bank and Gaza that constitute Hamas’ social infrastructure and their control

  by Hamas; and the methodology by which terrorist organizations, including Hamas, use

  charity to achieve the overall terrorist objectives of the organizations. These experts are

  addressed in the government’s response to the Defendants’ Joint Motion in Limine and

  for a Daubert Hearing [ecf # 1123].

         Judge Fish conducted Daubert hearings with respect to Dr. Matthew Levitt and the

  ISA Witness, and found both to qualify as experts. Defendants do not challenge the

  qualifications of Dr. Bruce Hoffman, an expert that the government did not call in the

  previous trial, but have instead stated that they challenge his “methodology.”

         Rule 703 of the Federal Rules of Evidence codifies the commonly accepted

  principle that an expert’s opinion may be based on otherwise inadmissible material, so

  long as it is of the type reasonably relied upon by other experts in the field. See United

  States v. Williams, 447 F.2d 1285, 1290-91 (5 th Cir. 1971) (en banc), cert. denied, 405

  U.S. 954 (1972). As it did in the first trial, the government will present videos, posters



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  and pictures through the testimony of its expert witnesses to assist the jury in evaluating

  their testimony. In addition, there are items that the experts have reasonably relied upon

  to reach their opinions and which will aid the jury in understanding their testimony. The

  government will seek to admit into evidence many of these same items, and, pursuant to

  Fed. R. Evid. 703, the Court should find that the probative value of these items in

  assisting the jury to evaluate the experts’ opinions substantially outweighs any prejudicial

  effect. See Fed. R. Evid. 703 (“Facts or data that are otherwise inadmissible shall not be

  disclosed to the jury by the proponent of the opinion or inference unless the court

  determines that their probative value in assisting the jury to evaluate the expert’s opinion

  substantially outweighs their prejudicial effect.”); United States v. Gonzalez, 307 F.3d

  906 (9 th Cir. 2002).

         B.      Co-Conspirator Statements

                 1.       General Principles of Conspiracy Law

         The Federal Rules of Evidence provide that a “statement” is not hearsay if it “is

  offered against a party” and “is a statement by a coconspirator of a party during the course

  and in furtherance of the conspiracy.” Fed.R.Evid. 801(d)(2)(E).

         The admission of a coconspirator statement against a defendant is proper where the

  government establishes, by a preponderance of the evidence; (1) that a conspiracy existed,

  (2) that the coconspirator and the defendant against whom the coconspirator’s statement

  is offered were members of the conspiracy, and (3) that the statements were made during



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  the course and in furtherance of the conspiracy.” United States v. Ruiz, 987 F.2d 243, 247

  (5 th Cir. 1993) (citation omitted).

         The trial court’s decision to admit a statement as a coconspirator’s statement is

  reviewed by the appellate court under the abuse of discretion standard. United States v.

  Manzella, 782 F.2d 533, 544-46 (5 th Cir. 1986). All findings of fact made by the trial

  court in its determination regarding the coconspirator exception are to be accepted by the

  appellate court unless clearly erroneous.

         In determining the admissibility of a coconspirator’s statement, the court may

  consider the coconspirator’s statement itself to decide whether a conspiracy existed and

  whether the defendant participated in it. United States v. Broussard, 80 F.3d 1025, 1038

  (5 th Cir. 1996) citing Bourjaily v. United States, 483 U.S. 171, 175 (1987). In rejecting a

  per se rule against considering these statements when ruling on their admissibility, the

  Supreme Court has reasoned that presumptively unreliable hearsay may become probative

  if the statements are considered in light of other evidence in the case. Chief Justice

  Rehnquist, writing for the Court in Bourjaily, explained:

         First, out-of-court statements are only presumed unreliable. The presumption may
         be rebutted by appropriate proof . . .. Second, individual pieces of evidence,
         insufficient in themselves to prove a point, may in accumulation prove it . . ..
         Taken together, these two propositions demonstrate that a piece of evidence,
         unreliable in isolation, may become quite probative when corroborated by other
         evidence. A per se rule barring consideration of these hearsay statements during
         preliminary fact-finding is not therefore required. Even if out-of-court declarations
         by co-conspirators are presumptively unreliable, trial courts must be permitted to
         evaluate these statements for their evidentiary worth as revealed by the particular
         circumstances of the case. Courts often act as fact-finders, and there is no reason

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         to believe that courts are any less able to properly recognize the probative value of
         evidence in this particular area.

  107 S.Ct. at 2781 (emphasis in original). As the italicized segment of the above excerpt

  demonstrates, the heart of the Chief Justice's reasoning is that while out-of-court

  statements are only presumed unreliable, they may nevertheless become quite probative

  when corroborated by other evidence, id. at 2781, and therefore may be considered along

  with the other evidence in ruling on the admissibility of the hearsay statement.

         Some of the documents that the government intends to offer into evidence will not

  always identify the speaker or author of a document. The lack of such information does

  not prevent the admission of such evidence.

         There will be instances during the trial when the government will seek to introduce

  evidence as the acts or statements of a coconspirator or joint venturer, which acts were

  committed, or statements made, prior to the time that one of the defendants has been

  shown to be a member of a conspiracy or joint venture. An example of these type of

  documents are those that were seized from the home of co-conspirator Elbarrasse. As

  Judge Fish found during the first trial, these documents should be admitted as co-

  conspirator statements, even as against those defendants who later joined the conspiracy.

  The rationale behind the admissibility of such evidence is the well-established rule that

  one who joins an ongoing conspiracy is deemed to have adopted the prior acts and

  declarations of conspirators made after the formation and in furtherance of the

  conspiracy. United States v. Barksdale-Contreras, 972 F.2d 111, 114 (5 th Cir. 1992).

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         In addition to establishing the existence of the conspiracy and the defendant’s and

  co-conspirator’s membership in the conspiracy, Fed. R. Evid. 801(d)(2)(E) also requires

  that a statement be made in furtherance of the conspiracy. United States v. Solis, 299

  F.3d 420, 443 (5 th Cir.) cert. denied, 537 U.S. 1060, 123 S.Ct. 640, 154 L.Ed.2d 543 and

  cert denied, 537 U.S. 1094, 123 S.Ct. 705, 154 L.Ed.2d 642 (2002). A trial court’s

  finding that a statement was made in furtherance of a conspiracy is a factual finding,

  which may be reversed only if clearly erroneous. United States v. Green, 180 F.3d 216,

  222 (5 th Cir. 1999).

         A statement is not in furtherance of a conspiracy unless it advances the ultimate

  objects of the conspiracy. United States v. Cornett, 195 F.3d 776, 782 (5 th Cir. 1999)

  (internal citation omitted). “Mere idle chatter” is not admissible under Rule 801(d)(2)(E).

  Id. The courts have consistently held, however, that the “in furtherance” requirement is

  not to be construed too strictly; otherwise, the purpose of the exception would be

  defeated. United States v. Burton, 126 F.3d 666, 674 (5 th Cir. 1997). Accordingly, the

  following types of statements have been found to be “in furtherance of” a conspiracy:

  a statement that identifies the role of one co-conspirator to another (United States v.

  Magee, 821 F.2d 234, 244 (5th Cir.1987)); statements conveying information that could

  have been intended to affect future dealings between the parties (United States v. Patton,

  594 F.2d 444, 447 (5th Cir.1979)); puffing, boasts, and other conversation when used by

  the declarant to obtain the confidence of one involved in the conspiracy ( [United States



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  v.] Miller, 664 F.2d [94,] 98 [ (5th Cir.1981) ] ); statements which are puffing or boasts,

  but which are used to obtain the confidence of the person toward whom the statement is

  directed (United States v. Johnson, 872 F.2d 612, 623 (5th Cir.1989)).Burton, 126 F.3d at

  675 (internal quotation marks, brackets, and ellipses omitted). See also United States v.

  Flores, 63 F.3d at 1377 (statements made to inform conspirators of progress of conspiracy

  or made “in order to encourage loyalty and obedience among the conspirators” are in

  furtherance of the conspiracy).

                2.     Breadth of Conspiracy

         As explained in the summary of the case, the focal point of this case is the

  designated terrorist group Hamas, also known as the Islamic Resistance Movement or

  sometimes simply referred to by its followers as “the Movement.” Although the

  indictment in this case charges the seven named individual defendants and the Holy Land

  Foundation for Relief and Development, it will be obvious that the defendants were not

  acting alone. As noted in the case summary, the defendants were operating in concert

  with a host of individuals and organizations dedicated to sustaining and furthering the

  Hamas movement. Several of the individuals who hold leading roles in the operation of

  Hamas are referenced by name in the indictment.

         The object of the conspiracy was to support Hamas. The support will be shown to

  have taken several forms, including raising money, propaganda, proselytizing, recruiting,

  as well as many other types of actions intended to continue to promote and move forward



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  Hamas’s agenda of the destruction of the State of Israel, the establishment of an Islamic

  state in its place, and disruption of the peace process led by the United States.

         In terms of the organizations comprising the conspiracy, the following non-

  inclusive collection of organizations are within the conspiracy: The International

  Muslim Brotherhood (the parent organization of Hamas); Hamas and its international

  support network; the United States-based Muslim Brotherhood and its sub-group the

  Palestine Committee; organizations overseen by the Palestine Committee, such as the

  defendant Holy Land Foundation (HLF), the Islamic Association for Palestine (IAP), and

  the United Association for Studies and Research (UASR), as well as other organizations.

  See Superceding Indictment, pp. 6-7. Each of the above organizations, as well as its

  members, representatives and supporters were participants in the same joint venture or

  conspiracy -- the conspiracy to support Hamas.

                3.     Co-conspirator statements made after the latest date in the
                       indictment.

         The dates of the actions alleged in the indictment are not controlling for

  determining the duration of a conspiracy. The indictment, in fact, alleges that the

  conspiracy at issue continued until the date of the return of the indictment. The Supreme

  Court addressed the issue of the duration of a conspiracy in Grunewald v. United States,

  353 U.S. 391, 77 S.Ct. 963, 970, 1 L.Ed.2d 931 (1957). The Court stated, “[T]he crucial

  question . . . is the scope of the conspiratorial agreement, for it is that which determines

  both the duration of the conspiracy, and whether the act relied on as an overt act may

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  properly be regarded as in furtherance of the conspiracy. Id. at 970. “Even a unilateral

  act by a single coconspirator, if in furtherance of the purposes of the agreement, is

  sufficient under the terms of § 371" to extend the duration of the conspiracy. United

  States v. Girard, 744 F.2d 1170, 1174 (5 th Cir. 1984) (citations omitted).

                4.     Documents and Materials Seized During the Search of the Home
                       of Ismael Elbarasse, 4502 Whistler Court, Annandale, Va., on
                       August 21, 2004

          As noted above, Judge Fish admitted into evidence the documents seized from the

  home of Ismael Elbarasse. See Order (oral), Sept. 4, 2007. This Court should do the

  same.

          On August 21, 2004, agents of the FBI executed a search warrant at 4502 Whistler

  Ct., Annandale, Virginia, the residence of Ismail Elbarasse. Elbarasse was an associate

  and joint bank account holder of unindicted co-conspirator Mousa Abu Marzook. During

  the first trial, the government offered into evidence selected documents and other items

  seized from Elbarasse’s home, such as audio and video tapes. The audio cassette tapes

  contain the recorded statements of co-conspirators to the defendants in this case. The

  Elbarasse documents lay out the origins, creation and structure of the Muslim

  Brotherhood and the Palestine Committee in the United States. They specifically place

  the HLF within the Palestine Committee, including its mission of supporting Hamas.

  These documents are corroborated by other evidence, including documents seized from




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  co-conspirator Abdelhalim Ashqar, the Philadelphia Conference, and other intercepted

  phone calls.

         Although many of the Elbarasse documents pre-date January 25, 1995, the date

  that Hamas was first designated as a terrorist organization, Rule 801(d)(2)(E), as

  described above, authorizes the admission of statements of persons who were members of

  a joint venture as well as a criminal conspiracy. See United States v. Saimiento-Rozo, 676

  F.2d 146, 149-150 (5 th Cir. 1982)(“it is not necessary that the conspiracy upon which the

  admissibility of [the] statements is predicated be the conspiracy charged. * * * Nor need

  the conspiracy or agreement be criminal in nature; it may be in the form of a joint

  venture”); United States v. Postal, 589 F.2d 862, 886 (5 th Cir. 1979)(noting that

  801(d)(2)(E) “was meant to carry forward the universally accepted doctrine that a joint

  venturer is considered a coconspirator for the purposes of this rule even though no

  conspiracy has been charged.”); United States v. Gil, 604 F.2d 546, 549 (7 th Cir. 1979)

  (“The co-conspirator exception to the hearsay rule . . . is merely a rule of evidence

  founded, to some extent, on concepts of agency law. It may be applied in both civil and

  criminal cases . . . Its rationale is the common sense appreciation that a person who has

  authorized another to speak or to act to some joint end will be held responsible for what is

  later said or done by his agent, whether in his presence or not.”); see also United States v.

  Layton, 855 F.2d 1388 (9th Cir.1988).




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                5. Al-Zaytouna / Ila Falestine

         As described above, and as the government established at the last trial, the

  defendants, through the HLF, were engaged in a conspiracy to support Hamas through

  their membership in the Palestine Committee, an organization created by the U.S. branch

  of the Muslim Brotherhood to assist Hamas, which itself is the Palestinian branch of the

  Muslim Brotherhood. Along with the HLF, whose function was to raise funds on behalf

  of Hamas, the Palestine Committee oversaw the Islamic Association for Palestine

  (“IAP”), the United Association for Studies & Research (“UASR”) and, later on, the

  Council on American Islamic Relations (“CAIR”).

         The function of the IAP was to be the media arm of Hamas in America. In

  fulfilling that function, the IAP published the Hamas charter in English and distributed

  Hamas communiques. The IAP also published, each month, Arabic language magazines

  called Al Zaytouna and Ila Falestine which focused on Palestinian issues with an

  emphasis on support for Hamas. See, e.g., Govt. Exh. 3-23 p. 6 (Elbarasse Search-14).

  Govt. Exh. 3-23, a Palestine Committee document, states, under the heading of

  “achievements of the Islamic Association for Palestine,” that the IAP issued “9 issues

  from Al-Zaytouna magazine, 4 issues from the Palestine Monitor newspaper in English,

  one issue from Ila Falestine and reprinting and distributing 6 statements for Hamas.” Id

  at 6. One issue contained an article about Hamas in which the readers were encouraged

  to donate to the HLF. Another issue included a poem written by the defendant Shukri



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  Abu Baker that praised Hamas. The government intends to offer into evidence several

  redacted issues of the Al Zaytouna and Ila Falestine magazines as co-conspirator

  statements.

         The periodicals are self-authenticating pursuant to Fed. R. Evid. 902, which states

  in part that, “[e]xtrinsic evidence of authenticity as a condition precedent to admissibility

  is not required with respect to the following...(6) Newspapers and Periodicals. Printed

  materials purporting to be newspapers or periodicals.” Newspapers and magazines are

  commonly accepted in this Circuit as self-authenticating and do not require any additional

  evidence to authenticate. Woolsey v. National Transportation Safety Board, 993 F.2d

  516, 520 (5 th Cir. 1993); Snyder v. Whittaker Corporation, 839 F.2d 1085, 1089 (5 th Cir.

  1988)(“However, Fed. R. Evid. 902(6) dispenses with ‘extrinsic evidence of authenticity’

  for printed articles from periodicals.”); Stahl v. Novartis Pharmaceuticals Corp., 283

  F.3d 254, 271 fn. 10 (5 th Cir. 2002); Hicks v. Charles Pfizer & Company, Inc., 446 F.

  Supp. 2d 799, 805 (E.D. Tx. 2005)(“Under the Federal Rules of Evidence, newspaper

  articles are self-authenticating.”).

         In addition, the magazines are not hearsay for at least two reasons. The articles

  and advertisements were created and published by the IAP in order to generate support

  for Hamas. As such, they are co-conspirator statements made in furtherance of the

  conspiracy pursuant to Fed. R. Evid. 801(d)(2)(e), or statements of a defendant pursuant

  to Fed. R. Evid. 801(d)(2)(A), depending on the particular item. In the alternative, the



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  articles are not being offered for their truth but instead to show the state of mind of the

  defendants and their co-conspirators, in the manner to which they hold themselves out to

  the target audience of the magazine. For these reasons, issues of Al Zaytouna and Ila

  Falestine should be admitted into evidence.

          C.      Documents Admissible Pursuant To Fed. R. Evid. 807

          During the first trial, the government sought to introduce documents seized by the

  Government of Israel from the offices of the Palestinian Authority. These documents

  include internal memoranda identifying the financial sources of Hamas, including the

  HLF; PA intelligence documents discussing how Hamas uses schools to recruit

  Palestinian youth; lists of Hamas institutions closed by the PA, including zakat

  committees supported by the defendants; and other similar documents. The documents

  were authenticated by the IDF officer Major Lior. With respect to the hearsay contained

  within the documents, the government argued that Rule 807 applied.2 Rule 807 provides

  that

          [a] statement not specifically covered by Rule 803 or 804 but having
          equivalent circumstantial guarantees of trustworthiness, is not excluded by
          the hearsay rule, if the court determines that (A) the statement is offered as
          evidence of a material fact; (B) the statement is more probative on the point
          for which it is offered than any other evidence which the proponent can
          procure through reasonable efforts; and (c) the general purposes of these
          rules and the interests of justice will best be served by admission of the
          statement into evidence. However, a statement may not be admitted under


          2
             On April 9, 2007, prior to the first trial, the government provided the defense with a notice of
  intent to admit evidence pursuant to Rule 807. The government renewed that notice at the time it
  renewed its prior motions and notices [ecf # 1035, Exh. A, p.7.].

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         this exception unless the proponent of it makes known to the adverse party
         sufficiently in advance of trial or hearing to provide the adverse party with a
         fair opportunity to prepare to meet it, the proponent’s intention to offer the
         statement and the particulars of it, including the name and address of the
         declarant.


         The government argued specifically that the PA documents were trustworthy

  because it was in the interest of Yassir Arafat and Fatah, who operated the PA at the time

  the PA documents were created, to accurately report the movements and activities of an

  organization that was trying to undermine its authority. United States v. Phillips, 219

  F.3d 404, 419 (5 th Cir. 2000)(“In order to find a statement trustworthy, a court must find

  that the declarant of the statement was particularly likely to be telling the truth when the

  statement was made.”). As discussed above, Hamas’ agenda was not only to eliminate

  Israel, but also to sabotage the Oslo Accords and to replace the secular PA regime with an

  Islamist government that would control all of Israel, the West Bank and Gaza.

         Judge Fish declined to admit the seized PA documents under the residual hearsay

  rule. Tr. Transcript, 8/14/07 at 107-08. Since that time, however, events in the West

  Bank and Gaza have proven the reliability of the documents. In December 2007, the PA

  reorganized the entire zakat committee structure in the West Bank in an effort to take

  control of the Hamas social infrastructure. Hamas correctly interpreted the PA measures

  as an attack on its charitable institutions. These widely reported and public measures

  validate the information contained in the seized documents that the government seeks to

  admit, information that identifies some of the committees and individuals known by the

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  PA to be Hamas. Given that these documents seized from the PA have proven to be

  trustworthy, and their probative value is self-evident, the Court should now permit their

  admission pursuant to Fed. R. Evid. 807. See generally Government’s Supplemental

  Trial Brief [ecf #757]; Response to Defendants' Objections Regarding Documents from

  the Government of Israel [ecf #763].

         D. Federal Rule of Evidence 106

         During the prior trial, the government admitted hundreds of documents into

  evidence. The vast majority of documents were admitted in their entirety through two

  FBI Special Agents who were questioned about the contents of the documents and were

  often asked to read certain passages. On many occasions, the defendants requested,

  pursuant to Rule 106 of the Federal Rules of Evidence (“106"), to have additional

  portions of the document read by the agent during direct examination. See, e.g.

  Testimony of Agent Burns, 8/1/07 p. 120-21, 124, 155-56, 160, 162; 8/6/97 p. 57, 69,

  8/7/07 p. 34, 94, 99; 8/27/97 p. 197, 199, 215; 8/8/07 p. 11, 71. Although this tactic was

  disruptive to the government’s presentation, initially, as a courtesy, the government did

  not contest defendants’ requests to have the witness read additional portions. However,

  when the defendants raised Rule 106 continuously, the government objected and argued

  that the defendants were improperly using Rule 106. The Court overruled the

  government’s objection. In the upcoming trial, this Court should ensure that Rule 106 is




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  invoked only where appropriate and applicable, and not permit defendants to disrupt the

  presentation of evidence under the guise of Rule 106.

         Rule 106 states that, “[w]hen a writing or recorded statement or part thereof is

  introduced by a party, an adverse party may require the introduction at that time of any

  other part or any other writing or recorded statement which ought in fairness to be

  considered contemporaneously with it.” The purpose of the rule is to put into context an

  admitted written or recorded statement in order to “secure for the tribunal a complete

  understanding of the total tenor and effect of the utterance.” Beech Aircraft Corporation

  v. Rainey, 488 U.S. 153, 171 (1988) (citation omitted). In essence, the additional part, or

  other document, is being admitted for the purposes of putting into context, explaining or

  qualifying what was said in the original excerpt or document. The intent of the rule is not

  to require additional sections of a document, already admitted in its entirety and subject to

  cross-examination, to be read by a witness on direct examination at the behest of a

  defendant.

         The Fifth Circuit recently stated that “Fed. R. Evid. 106 seeks to relieve this

  tactical disadvantage by permitting an opposing party to combat the unquestioned ‘cold

  transcript’ at the moment of its introduction by entering into evidence the remainder.”

  (italics added) United States v. Garcia, 530 F.3d 348, 354 (5 th Cir. 2008). Garcia

  identifies the term “introduction” as contemplated by the Rule to mean entering into

  evidence, not requiring already admitted evidence to be read.



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         The government has found no case law citing 106 that requires an adverse party to

  compel a witness to read portions of an already admitted document prior to that adverse

  party’s opportunity to question the witness. Specifically, in this matter, when the

  government moves into evidence a complete document, but then only questions the

  witness about a portion of that document, the defendants are not entitled under 106 to

  require an additional portion of the same document or transcript to be read. By admission

  of the complete document, the defendants have an opportunity to question the witness

  about other portions of the exhibit during cross-examination.

         In circumstances where 106 may be applicable -- i.e., when the government admits

  a redacted transcript of an intercepted telephone call -- the defendants must first establish

  that the additional portions of the item that they wish to introduce are relevant and

  explanatory of the already admitted passages. United States v. Garrett, 716 F. 2d 257,

  272 (5 th Cir. 1983); United States v. Abrams, 947 F. 2d 1241, 1250 (5 th Cir. 1991). “The

  passages sought to be admitted by the defendants must be relevant and necessary to

  qualify, explain or place into context the portion already introduced.” United States v.

  Branch, 91 F.3d 699, 728 (5 th Cir. 1996). A mere request to have additional portions

  admitted, without more, is insufficient to meet the requirements of the rule.

         As a practical matter, the government has provided to the defense the redacted

  transcripts of intercepted telephone calls and seized videotapes that the government

  anticipates offering into evidence. If the defendants wish to play additional portions of



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  the videos or calls under Rule 106, the defendants should notify the government as soon

  as possible, and certainly prior to the testimony of the admitting witness (in all likelihood,

  FBI Special Agent Burns). If the government agrees that the additional portions meet the

  requirements of Rule 106, and the government receives sufficient notice, the government

  will amend the transcripts and accompanying tapes prior to admission.

         E. Statements of the Defendants

         As it did in the last trial, the government intends to introduce statements of several

  of the defendants. Among the statements to be introduced are:

  1)     statements made by the defendant Mohamed el-Mezain during interviews with the
         FBI;

  2)     statements made by the defendant Mufid Abdulqader during an interview with the
         FBI;

  3)     excerpts from a sworn declaration by the defendant Shukri Abu Baker which was
         filed in conjunction with the civil lawsuit HLF brought against the government
         seeking to overturn its designation as a Specially Designated Terrorist and
         Specially Designated Global Terrorist;

  4)     excerpts from a sworn deposition given by the defendant Shukri Abu Baker in the
         case styled Stanley Boim, et al, v. Quranic Literacy Institute, et al, in the U.S.
         District Court of the Northern District of Illinois, case number 00-C-2905.

  5)     excerpts from a deposition given by the defendant Mohamad El-Mezain in the
         case styled Stanley Boim, et al, v. Quranic Literacy Institute, et al, in the U.S.
         District Court of the Northern District of Illinois, case number 00-C-2905.


         The government contends that certain of the statements made by the defendants in

  these various settings were true. Those statements are admissible as to that defendant as


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  the statements of a party opponent under Rule 801(d)(2) of the Federal Rules of

  Evidence.

         Certain statements made by the defendants in the above referenced settings were

  false. These statements are admissible as to all defendants on two grounds. First, it is

  part of the government’s allegations that the false statements were a part of the

  conspiracies among and between the defendants and others, and that one of the objects of

  the conspiracy was to conceal the conspiracy’s existence and true purpose. The making

  of false statements by the defendants, either in interviews with law enforcement

  authorities or in other contexts in which a true answer would risk exposing the existence

  and true nature of the conspiracy, are acts made in furtherance of that conspiracy. These

  false statements are admissible as the statements made by a coconspirator during the

  course of and in furtherance of a conspiracy. Fed. Rule of Evidence 801(d)(2)(E).

         Second, such statements are also admissible in that, because the statement is not

  true, it is not being offered for the truth of the matter contained therein and is therefore

  not hearsay. The statement will be offered by the government to show that the statement

  was made by the declarant, not that the contents of the statement are true. See United

  States v. Holmes, 406 F.3d 337, 349 (5th Cir.), cert. denied 126 S.Ct. 375 (2005).

         The above referenced statements are not all of the statements that may fall within

  this category.. Other instances of defendants’ statements or testimony may arise during




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  the trial. The government will establish the admissibility of those statements at the

  appropriate time.

                                     V. CONCLUSION

         The above is in addition to the government’s earlier trial briefs describing the

  kinds of evidence that the government intends to introduce at trial and the bases for

  admission. To the extent additional evidentiary issues arise that merit the Court’s

  attention, the government will supplement this submission as appropriate.

  Dated: Sept. 12, 2008                     Respectfully submitted,

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                                 CERTIFICA TE OF SERVICE

         I hereby certify that on September 12, 2008, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system which will send a notice of

  electronic filing to the following:


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